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             STATE OF RHODE ISLAND                                      SUPERIOR COURT
             PROVIDENCE, SC.

              JOHNSON & WALES UNIVERSITY,                ) C.A. NO. PC
                                                         )
                      Plaintiff                          )
                                                         )
                              v.                         ) COMPLAINT AND DEMAND
                                                         ) FOR JURY TRIAL
              AMERICAN GUARANTEE &                       )
              LIABILITY INSURANCE                        )
              COMPANY,                                   )
                                                         )
                      Defendant                          )


                     Plaintiff Johnson & Wales University ("JWU") brings the following complaint against

             Defendant American Guarantee & Liability Insurance Company ("American Guarantee"), and

             alleges as follows:

                                                 NATURE OF THE ACTION

                     1.      In 2020, our world underwent a seismic change: severe acute respiratory syndrome

             coronavirus 2, also known as SARS-CoV-2, a potentially deadly virus, caused millions of

             Americans to contract the resulting disease known as COVID-19. Federal, state, and local

             governments took various steps in response, dramatically affecting the on-ground operation of

             institutions around the country.      JWU was among those affected. It responded by taking

             appropriate, lawful steps to comply with health and safety mandates and mitigate the harms. In

             short order, JWU transitioned many of its on-ground operations to a remote environment, thus

             continuing to offer the same excellent education and other programs to students and to serve its

             community members. But, of course, JWU also had to close or suspend certain of its on-ground

             operations, to recognize significant revenue losses, to issue substantial refunds, and to incur

             tremendous costs. Having paid large insurance premiums to safeguard against such losses and
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             damages, JWU turned to its insurer, American Guarantee, to receive the insurance for which it had

             paid. Unfortunately, however, American Guarantee responded by reserving its rights and, to date,

             has declined to provide the coverage for which JWU paid. This lawsuit seeks to rectify that

             injustice.

                     2.      Founded in 1914, JWU is a private, nonprofit, accredited institution with more than

             9,000 graduate, undergraduate, and online students at its campuses in Providence, Rhode Island

             and Charlotte, North Carolina. Some students additionally take classes at JWU's Center for Equine

             Studies, in Rehoboth, Massachusetts. Until around May 4, 2021, and May 8, 2021, respectively,

             JWU also had campuses located in Denver, Colorado and North Miami, Florida, respectively.

                     3.      A dynamic, innovative educational leader, with a commitment to diversity and

             inclusion, JWU offers undergraduate and graduate degree programs (among others) through its

             College of Arts & Sciences, College of Business, College of Food Innovation and Technology

             (CFIT), College of Hospitality Management, College of Engineering and Design, College of

             Health and Wellness, and College of Online Education (COE).             JWU's offerings include

             laboratories and other programs that normally (absent the pandemic) take place on-ground, such

             as those in culinary arts, science, engineering and design, and equine studies. JWU's unique model

             provides students with the personalized attention, academic expertise, and industry connections

             that inspire professional success and personal growth.

                     4.      Beginning in or about mid-March 2020, the use and functionality of JWU's

             properties were impaired due to SARS-CoV-2, COVID-19, the presence of SARS-CoV-2 and

             COVID-19 at JWU's properties (and within one mile of JWU's properties), the resulting actions

             and orders of civil authorities, and the need to mitigate loss and damage. In fact, JWU is aware
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             that multiple faculty, students, and staff at its campuses have tested positive for COVID-19 during

             the relevant time period.

                     5.      Although JWU transitioned many of its on-ground operations to a remote

             environment, thus continuing to offer the same excellent education and other programs to students

             and to serve its community members, it nonetheless suffered damages. Indeed, as a result of the

             closures of, limitations on, restrictions on, and suspensions of certain of its on-ground operations

             that followed, JWU suffered substantial financial losses totaling many millions of dollars.

                     6.      Specifically, with regard to the campuses and its other properties, the impacts to

             JWU include but are in no way limited to: the cancellation or postponement of certain classes,

             reconfiguration of class size/class offerings, and reduction in the student body (and loss of tuition

             revenue, including refunds for those classes that were not offered remotely but were cancelled);

             closures and reduced operations of residence halls where students live (including reduced

             occupancy therein) and the need to maintain certain residence halls solely for isolation and

             quarantine of COVID-19-positive and potentially COVID-19-positive students (and loss of

             housing revenue, including but not limited to substantial refunds made to students for room and

             board); closures and reduced operations of dining services (and loss of food and beverage revenue);

             the cancellation or postponement of activities, events, and camps (and loss of related revenue);

             and costs and expenses including, but not limited to: installation of safety-related materials;

             disinfecting supplies and sanitization stations; disinfection and sanitization of site-specific areas

             where a positive case was identified; costs incurred in connection with reducing capacity on

             university-provided transportation; personal protective equipment, including gloves, gowns, and

             masks; health-services (including mental health) related costs, including costs incurred in

             connection     with   COVID-19       testing;   costs   incurred   in   connection   with   securing
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             quarantine/isolation areas for students and delivering meals to such students; purchases of new

             information technology (IT) software and equipment to assist and enable remote or hybrid work

             and learning; substantial human resources costs; and various other items (collectively, "Financial

             Losses").

                     7.      As explained below, JWU purchased $500,000,000 commercial property and

             business interruption insurance policies at a high cost from American Guarantee for the May 1,

             2019, to May 1, 2020, policy period (the "19-20 Policy"), and May 1, 2020, to May 1, 2021, policy

             period (the "20-21 Policy") (collectively, the "Policies"). The Policies provide broad "all-risk"

             coverage, and further provide coverage for losses arising from, among other things, property

             damage and business interruption losses, extra expenses, and time element losses—such as

             closures related to civil authority. Of note, unlike the 20-21 Policy, the 19-20 Policy expressly

             provides additional coverage for "communicable disease" losses subject to a sublimit.

                     8.      As the name suggests, "all-risk" commercial property policies cover all risks of any

             kind or description, unless specifically excluded. Unlike "enumerated perils" property policies,

             which cover only specified causes of loss, "all-risk" property insurance covers even unprecedented

             and unanticipated risks of loss, thereby providing insureds with comfort that all possible risks of

             loss are covered, unless specifically excluded.

                     9.      Given the breadth of its coverage and the express promises American Guarantee

             made in the Policies, JWU turned to American Guarantee for coverage for the Financial Losses

             suffered as a result of SARS-CoV-2, COV1D-19, the resulting actions and orders of civil

             authorities, and the need to mitigate loss and damage. However, instead of honoring its obligations

             under the Policies and the law, American Guarantee has thus far wrongfully withheld the policy

             benefits to which JWU is entitled.
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                     10.     There is no basis for American Guarantee to withhold policy benefits. In selling

             "all-risk" insurance to JWU, American Guarantee promised to provide broad coverage for

             financial losses unless an exclusion clearly and conspicuously applied as a bar to coverage.

             Pursuant to applicable law, as well as authority from states throughout the country, the presence

             of SARS-CoV-2 in a building's airspace and on or around property results in direct physical loss

             of or damage to property because it causes a distinct, demonstrable, physical alteration to property,

             and poses an imminent and severe risk to human health. Thus, JWU's Financial Losses attributable

             to the presence of SARS-CoV-2 fall squarely within the coverage afforded by the Policy it bought

             from American Guarantee.

                     11.     In addition, SARS-CoV-2 and the associated actions and orders of civil authorities

             impaired the insured properties, and properties within one mile of the insured properties, rendering

             them incapable of fulfilling their intended function. This impairment also resulted in "direct

             physical loss of or damage to property" under applicable law as well as authority from states

             throughout the country.

                     12.     Furthermore, even though the insurance industry has employed a standard-form

             "Exclusion For Loss Due To Virus Or Bacteria" Endorsement since 2006 and has known of the

             risk of pandemics for years, the Policies contain no such exclusion. This omission speaks volumes.

                     13.     American Guarantee, contrary to the positions it has taken in response to JWU's

             claim and to the fact that it employed the "Exclusion For Loss Due To Virus Or Bacteria"

             Endorsement in other policies sold to other policyholders, understood and expected that its Policies

             would insure losses resulting from viruses. See, e.g., Causeway Automotive, LLC v. Zurich

             American Insurance Co., 2021 WL 486917 (D.N.J. Feb. 10, 2021) (reflecting that American
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             Guarantee's sister company rejected coverage based on the "Exclusion For Loss Due To Virus

             Or Bacteria" Endorsement).

                     14.     By this lawsuit, JWU seeks damages to compensate it for American Guarantee's

             breaches of the Policies' terms, the duty of good faith and fair dealing, and R.I. Gen. Laws § 9-1-

             33. JWU also seeks declaratory relief confirming that it is entitled to coverage for its Financial

             Losses under the Policies sold by American Guarantee.

                                                 JURISDICTION AND VENUE

                     15.     This Court has jurisdiction over this civil action under RIGL 8-2-14 and RIGL 9-

             30-1 because the amount in controversy exceeds many millions of dollars and because JWU seeks

             a declaratory judgment in this case.

                     16.     Venue is proper in this Court under RIGL 9-4-3 and/or 9-4-4 because JWU's

             principal place of business is in Providence, Rhode Island and a substantial portion of the events

             and omissions giving rise to the claim occurred within Providence, Rhode Island.

                     17.     Jurisdiction and venue are further proper in this Court pursuant to the contractual

             agreement between the parties. The Policies provide that, "Any disputes arising hereunder will be

             exclusively subject to the jurisdiction of a court of competent jurisdiction within the USA."

                                                       THE PARTIES

                     18.     JWU, a postsecondary educational institution, is a nonprofit corporation

             incorporated under the laws of the State of Rhode Island with its principal place of business in

             Providence, Rhode Island.

                     19.     JWU is informed and believes, and on that basis alleges, that American Guarantee

             is a corporation organized and existing under the laws of the State of New York, with its principal

             place of business and headquarters in Schaumberg, Illinois. JWU is further informed and believes,
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             and on that basis alleges, that American Guarantee's ultimate parent company is Zurich Insurance

             Group Ltd. ("Zurich").

                     20.      American Guarantee and the other members of the Zurich brand hold themselves

             out to the public as "Zurich." They maintain a worldwide website at https://www.zurich.com.

             Zurich makes various statements and representations on its website on behalf of its member

             companies, including American Guarantee. JVVU' s Policy is prominently branded as a "Zurich"

             policy on its very first page.

                     21.      According to the Zurich website, Zurich "is a leading multi-line insurer that serves

             its customers in global and local markets. With about 55,000 employees, it provides a wide range

             of property and casualty, and life insurance products and services in more than 215 countries and

             territories."'

                     22.      On its website, Zurich proclaims:

                              At Zurich we are proud of our reputation as a leading insurer, which
                              has stood us in good stead for over 140 years.

                              Throughout Zurich's long history, our focus has been on caring for
                              our customers and serving them. This has not changed over the
                              years as we grew into one of the world's leading insurance group.

                              We have always sought to provide our customers with the best
                              service and products when it matters, helping them to understand
                              and protect themselves from risk...2

                     23.      Since the outbreak of the COVID-19 pandemic, Zurich has made wide-ranging

             representations. The following are some of the many representations and promises that Zurich has

             made, and still makes:

                                  •   "As a society, we are facing unprecedented challenges that
                                      are immediate and will have long-lasting implications. At
                                      Zurich, responding to these challenges goes to the heart of




             I https://www.zurich.com/en/about-us/a-global-insurer.
             2 https://www.zurich.com/en/about-us/a-global-insurer/history-and-heritage.
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                                     our purpose as a business, and our promise to customers."3

                                 •   "The spread of Coronavirus (Covid-19) is unprecedented
                                     and we understand this is an incredibly difficult time for
                                     families and businesses. We are here to help customers and
                                     businesses who are affected by the impact of Covid-19 in
                                     these challenging times."4

                                 •   "Customers buy insurance for times like these. They want to
                                     know that there is a strong financial institution backing them
                                     up when they are in need."5

                                 •   "Our customers need us now more than ever. . . . It's a
                                     challenging time for everyone, everywhere, both personally
                                     and professionally. How we in the insurance sector react in
                                     a crisis can make all the difference for the people we work
                                     with, especially the customers who trust and depend on us."6

                                 •   "David Henderson, chief human resources officer at Zurich,
                                     says that employers' duty of care is vital to the success of the
                                     social contract and that companies who protect their
                                     workforce—physically, mentally, financially—will be
                                     applauded in the post-Covid-19 era. He calls this a 'moment
                                     of truth' for all businesses."'

                     24.     Unfortunately for JWU, American Guarantee has not lived up to its promises,

             stranding JWU without insurance coverage in this "moment of truth."

                        AMERICAN GUARANTEE'S KNOWLEDGE OF PANDEMIC RISKS

                     25.     JWU is informed and believes, and on that basis alleges, that by the time American

             Guarantee sold JWU the Policies, American Guarantee had known for over a decade that there

             were standard-form exclusions available in the insurance marketplace (such as the "Exclusion For


             3 https://www.zurich.conilservices/coronavirus-support.
             4 https://www.zurich.corn/-/media/project/zurich/dotcorn/services/docs/coronavirus-
             supportihomeworking-during-covid-1 9.pdf.
             5 Jack Howell, CEO, Zurich Asia Pacific, https://insuranceasianews.com/zurichs-jack-howell-on-
             ma-covid-19-and-wfh/.
             6 htips://wvvw.zurichna.com/knowledge/articles/2020/06/covid-19s-business-impact-6-ideas-for-
             insurance-brokers.
             ' htips://www.zurich.cornien/knowledgettopics/future-of-workibuilding-a-better-social-contract.
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             Loss Due To Virus Or Bacteria") that could exclude coverage for losses caused by viruses and

             pandemics, that other insurers had included such exclusions in policies they sold, and, in fact, that

             they had previously sold policies to other insureds that include such exclusions.

                     26.     In addition, there were many publicly available reports about the risks of pandemics

             and what insurers should do in the months and years before American Guarantee sold the Policies

             to JWU. For example, one article noted in March 2018:

                             Even with today's technology, a modern severe pandemic would
                             cause substantive direct financial losses to the insurance
                             community. In addition, indirect losses would be severe, most
                             notably on the asset side of the balance sheet.8

                     27.     Other sources accessible to American Guarantee further demonstrate the breadth of

             information available to American Guarantee regarding the risk of pandemics. One insurance

             industry repository shows the proverbial "tip of the iceberg" about how much information was

             available before the Policies were issued. The Insurance Library Association of Boston, founded

             in 1887, describes itself as "the leading resource for and provider of literature, information

             services, and quality professional education for the insurance industry and related interests."9 The

             Association states on its website:

                             The past 20 years [have] seen the rise of a number of pandemics.
                             Slate recently published an article on what has been learned about
                             treating them in that time. We thought it might be apt for us to take
                             a look back and see what the insurance industry has learned as
                             well.10

             The Association lists more than 20 articles, reports, and white papers available to insurers from




             8 "What the 1918 Flu Pandemic Can Teach Today's Insurers," AIR (Mar. 29, 2018),
             https://www.air-worldwide.com/publications/air-currents/2018/What-the-1918-Flu-Pandemic-
             Can-Teach-Today-s-Insurers/.
             9 https://insurancelibrary.org/about/.
             10 http://insurancelibrarv.org/pandemics-and-insurance/.
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             since at least early 2007, long before American Guarantee sold the Policies to JWU.

                     28.     American Guarantee also has known for decades that its policies could be held to

             insure losses from the presence of a virus inside buildings or because a building could not be used

             for its intended purposes or function. As American Guarantee has known for decades, many courts

             have held that the presence of a hazardous substance in property, including the airspace inside

             buildings, constitutes property damage and that there may be "direct physical loss" to property

             even if the property is not structurally damaged or even if the physical alterations are not visible

             to the naked eye. As American Guarantee knew, or should have known, the many decisions

             include the following:

                     •       American Guarantee & Liability Insurance Co. v. Ingram Micro, Inc., 2000 WL

                              726789 (D. Ariz. April 18, 2000): Rejecting American Guarantee's motion for

                             partial summary judgment, granting the insured's, and finding that a power outage

                             caused "direct physical loss or damage" when it put a computer system out of use

                             and unable to function for eight hours.

                     •       Arbeiter v. Cambridge Mutual Fire Insurance Co., 1996 WL 1250616, at *2 (Mass.

                              Super. Ct. Mar. 15, 1996): presence of oil fumes in building constituted "physical

                             loss" to building.

                     •       Essex Insurance Co. v. BloomSouth Flooring Corp., 562 F.3d 399, 406 (1st Cir.

                             2009): odor from carpet and adhesive "can constitute physical injury to property."

                     •       Farmers Insurance Co. of Oregon v. Trutanich, 123 Or. App. 6, 9-11 (1993):

                             "[T]he odor produced by the methamphetamine lab had infiltrated the house. The

                             cost of removing the odor is a direct physical loss."

                     •        Gregory Packaging, Inc. v. Travelers Property Casualty Co. of America, 2014 WL
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                              6675934 (D.N.J. Nov. 25, 2014): Closure of facility because of accidentally

                              released ammonia; while "structural alteration provides the most obvious sign of

                              physical damage, . . . property can sustain physical loss or damage without

                              experiencing structural alteration."

                     •       Hughes v. Potomac Insurance Co. of D.C., 199 Cal. App. 2d 239, 248-49 (1962):

                              The court rejected the insurer's argument that there was no "direct physical loss"

                              to a house left partially overhanging a cliff after a landslide because "[u]ntil such

                              damage was repaired and the land beneath the building stabilized, the structure

                              could scarcely be considered a 'dwelling building' in the sense that rational persons

                              would be content to reside there."

                     •       Matzner v. Seacoast Insurance Co., 1998 WL 566658 (Mass. Super. Ct. Aug. 12,

                              1998): building with unsafe levels of carbon monoxide sustained direct physical

                              loss.

                     •       Mellin v. Northern Security Insurance Co., Inc., 167 N.H. 544, 550-51 (2015): cat

                             urine odor inside condominium constitutes direct physical loss; "a property policy

                              insures 'physical loss changes to the insured property, but also changes that are

                             perceived by a sense of smell' and 'may exist in the absence of structural damage

                              to the insured property.'"

                     •        Oregon Shakespeare Festival Ass'n v. Great American Insurance Co., 2016 WL

                             3267247, at *9 (D. Ore. June 7, 2016): "smoke infiltration in theatre caused direct

                              property loss or damage by causing the property to be uninhabitable and unusable

                              for its intended purpose."

                     •       Port Authority of New York and New Jersey v. Affiliated FM Insurance Co., 311
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                              F.3d 226, 236 (3d Cir. 2002): Property sustained a direct physical loss because it

                              was rendered uninhabitable by the presence of asbestos fibers.

                      •       TRAVCO Insurance Co. v. Ward, 715 F. Supp. 2d 699 (E.D. Va. 2010), aff'd, 504

                              F. App'x 251 (4th Cir. 2013): Insured's residence sustained "direct physical loss"

                              within meaning of homeowners' policy when it was rendered uninhabitable by

                              toxic gases released by drywall manufactured in China, even though drywall was

                              still intact.

                      •       Wakefern Food Corp v. Liberty Mutual Fire Insurance Co., 968 A.2d 724, 727

                              (N.J. App. Div. 2009): Interruption of electrical power to insured supermarkets

                              covered because the term "physical damage" was ambiguous and the losses resulted

                              from damage to the electrical grid, thereby rendering the store locations physically

                              incapable of performing their intended function.

                      •       Western Fire Insurance Co. v. First Presbyterian Church, 165 Colo. 34, 39-40

                              (1968): direct physical loss when gasoline entered church building making it

                              dangerous to use.

                      29.     Thus, American Guarantee knew, or should have known, for decades that it could

             be obligated under the Policies to losses associated with viruses and pandemics.

                      30.     Given the potential liability that insurers, including American Guarantee, faced

             under their policies for losses from pandemics, shortly after the outbreak of SARS in 2003, the

             insurance industry undertook to draft exclusions applicable to losses from viruses and bacteria. In
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             2006, the Insurance Services Office ("ISO"), the insurance industry's drafting organization,

             considered the need to draft an exclusion that would bar coverage for losses caused by a virus.11

                     31.      On July 6, 2006, ISO prepared a circular that included a standard exclusion of loss

             due to viruses and bacteria as part of its filing with state insurance regulators.12 ISO recognized

             that viruses could cause property damage, stating:

                             Disease-causing agents may render a product impure (change its
                             quality or substance), or enable the spread of disease by their
                             presence on interior building surfaces or the surfaces of personal
                             property.13

                     32.      ISO introduced an endorsement containing a standard-form exclusion that it

             entitled "Exclusion Of Loss Due To Virus Or Bacteria" (form CP 01 40 07 06 and, in certain

             jurisdictions, form CP 01 75 07 06).

                     33.     American Guarantee is well aware of the "Exclusion For Loss Due To Virus Or

             Bacteria" Endorsement as it was utilized by Zurich. See, e.g., Causeway, 2021 WL 486917.

                     34.     Thus, American Guarantee has had an "Exclusion For Loss Due To Virus Or

             Bacteria" Endorsement that has been approved for use throughout the United States available to

             it since 2006. Because it did not use that exclusion or any similar provisions, American Guarantee

             did not intend to exclude the losses that JWU suffered.




             11 "ISO is a nonprofit trade association that provides rating, statistical, and actuarial policy forms
             and related drafting services to approximately 3,000 nationwide property or casualty insurers.
             Policy forms developed by ISO are approved by its constituent insurance carriers and then
             submitted to state agencies for review. Most carriers use the basic ISO forms, at least as the
             starting point for their general liability policies." Montrose Chem. Corp. v. Admiral Ins. Co., 10
             Cal. 4th 645, 671 n.13 (1995).
             12 See ISO Circular, "New Endorsements Filed to Address Exclusion of Loss Due to Virus or
             Bacteria," (July 6, 2006), https://www.propertyinsurancecoveragelaw.com/files/2020/03/ISO-
             Circular-LI-CF-2006-175-Virus.pdf.
             13 Id.



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                                                         The Policies

                     35.      For the period May 1, 2019, to May 1, 2020, JWU purchased the 19-20 Policy, an

             occurrence-based commercial property and business interruption policy with limits of

             $500,000,000 per Occurrence, to protect JWU against the possibility of direct physical loss of or

             damage to property and various forms of business and financial losses. A true and correct copy

             of the 19-20 Policy is attached as Exhibit A hereto and incorporated by reference (redacted for

             confidential premium information).

                     36.      For the period May 1, 2020, to May 1, 2021, JWU purchased the 20-21 Policy, an

             occurrence-based commercial property and business interruption policy with limits of

             $500,000,000 per Occurrence, to protect JWU against the possibility of direct physical loss of or

             damage to property and various forms of business and financial losses. A true and correct copy of

             the 20-21 Policy is attached as Exhibit B hereto and incorporated by reference (redacted for

             confidential premium information).

                     37.      The Policies provide broad "all-risk" coverage—that is, coverage against all risks

             of damage and loss except those plainly, clearly, conspicuously, unmistakably, and expressly

             excluded.

                     38.      The Policies are centered around a policy form created by Zurich called "The

             Zurich Edge Policy." That form and Zurich's endorsements comprise the Policies. Except as

             described elsewhere herein, the Policies generally provide materially the same terms and

             conditions.14

                     39.      Zurich introduced its "Edge" policies in 2008. When it did so, it stated:

                             "We listened to our customers and developed a policy that meets
                             their needs," said Mario Vitale, CEO of Zurich's Global Corporate

             14 For ease of reference, in citing or quoting the Policies we refer to the policy provisions in the
             19-20 Policy unless otherwise noted.


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                             in North America (GCiNA) business unit. "This new policy gives
                             them higher limits, broader coverage and greater flexibility. The
                             Zurich Edge dramatically enhances our ability to serve customers in
                             this important line of business and offers significant advantages for
                             global property programs and global property fronting
                             arrangements."

                             "In addition to being globally compliant, the policy also has the
                             advantage of being offered by Zurich, which is often recognized for
                             offering one of the broadest and most diverse portfolios of products
                             and services in the world," Vitale said. "The Zurich Edge policy is
                             clearly written with all limits, sub-limits and other critical coverage
                             issues incorporated within the policy declarations and is supported
                             by Zurich's global network of risk engineering and claims
                             professionals."' 5

                     40.     The Policies insure JWU's "interest in buildings (or structures)" and "Personal

             Property." See 19-20 Policy in 3.01.01-02.

                     41.     The Policies "[i]nsure[] against direct physical loss of or damage caused by a

             Covered Cause of Loss to Covered Property . . . ." Id. ¶ 1.01. The term "direct physical loss of

             or damage . . . to . . . property" is not defined in the Policies. A Covered Cause of Loss is defined

             as "[a]ll risks of direct physical loss of or damage from any cause unless excluded." Id. ¶ 7.11.

                                                    Time Element Coverages

                     42.     The Policies have a separate section providing JWU with "Time Element"

             insurance. The "Loss Insured" provision states in relevant part:

                             The Company [i.e., American Guarantee] will pay for the actual
                             Time Element loss the Insured sustains, as provided in the Time
                             Element Coverages, during the Period of Liability. The Time
                             Element loss must result from the necessary Suspension of the
                             Insured's business activities at an Insured Location. The
                             Suspension must be due to direct physical loss of or damage to
                             Property (of the type insurable under this Policy other than Finished
                             Stock) caused by a Covered Cause of Loss at the Location, or as
                             provided in Off Premises Storage for Property Under Construction


             15http://www.zurichservices.com/zuskna co n fi g. nsf/pages/9123da88864cd81485257433006ed7
             10!OpenDocument&Click=.


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                              Coverages.

                              The Company will also pay for the actual Time Element loss
                              sustained by the Insured, during the Period of Liability at other
                              Insured Locations. The Time Element loss must result from the
                              necessary Suspension of the Insured's business activities at the
                              other Insured Locations. Such other Location must depend on the
                              continuation of business activities at the Location that sustained
                              direct physical loss or damage caused by a Covered Cause of Loss.

             Id. ¶ 4.01.01.

                     43.      The Policies define "Suspension" as "[t]he slowdown or cessation of the Insured's

             business activities .    ." Id. ¶ 7.56.01.

                     44.      The "Period of Liability" for buildings and equipment, as stated in the Policies, is

                              [t]he period starting from the time of physical loss or damage of the
                              type insured against and ending when with due diligence and
                              dispatch the building and equipment could be repaired or replaced,
                              and made ready for operations under the same equivalent physical
                              and operating conditions that existed prior to the damage.

             Id. ¶ 4.03.01.01.

                     45.      The Policies' "Time Element" section also insures "Extra Expense," obligating

             American Guarantee to pay for

                              the reasonable and necessary Extra Expenses incurred by the
                              Insured, during the Period of Liability, to resume and continue as
                              nearly as practicable the Insured's normal business activities that
                              otherwise would be necessarily suspended, due to direct physical
                              loss of or damage caused by a Covered Cause of Loss to Property
                              of the type insurable under this policy at a Location.

             Id. ¶ 4.02.03.

                     46.      The Policies also provide JWU with "Special Coverages & Described Causes of

             Loss." Id. § V.

                     47.      The "Special Coverages" include "Civil or Military Authority" coverage for losses

                              resulting from the necessary Suspension of the Insured's business
                              activities at an Insured Location if the Suspension is caused by
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                              order of civil or military authority that prohibits access to the
                              Location. That order must result from a civil authority's response
                              to direct physical loss of or damage caused by a Covered Cause of
                              Loss to property not owned, occupied, leased or rented by the
                              Insured or insured under this Policy and located within [one mile]
                              of the Insured's Location . . . .

             Id. ¶ 5.02.03.

                     48.      The "Special Coverages" include "Ingress/Egress" coverage for losses that JWU

             suffers when

                              ingress or egress to [an] Insured Location by the Insured's suppliers,
                              customers or employees is prevented by physical obstruction due to
                              direct physical loss of or damage caused by a Covered Cause of
                              Loss to property not owned, occupied, leased or rented by the
                              Insured or insured under this Policy and located within [one mile]
                              of the Insured Location . . . .

             Id. 115.02.15.

                     49.      The "Special Coverages" include insurance for "Professional Fees." Specifically,

             the Policies state that they cover, in pertinent part

                              [t]he actual costs incurred by the Insured, of reasonable fees paid to
                              the Insured's accountants, architects, auditors, engineers or other
                              professionals and the cost of using the Insured's employees, for
                              producing and certifying any details contained in the Insured's
                              books or documents, or such other proofs, information or evidence
                              required by the Company resulting from loss or damage payable
                              under this Policy for the Company has accepted liability.

             Id. ¶ 5.02.23.

                     50.      The "Special Coverages" include insurance for "Protection and Preservation of

             Property." Specifically, the Policies state that they insure

                              [t]he reasonable and necessary costs incurred for actions to
                              temporarily protect or preserve Covered Property; provided such
                              actions are necessary due to actual or imminent physical loss or
                              damage due to a Covered Cause of Loss to such Covered Property;
                              and [t]he Gross Earnings loss or Gross Profit loss sustained by the
                              Insured for a period of time not to exceed [48 hours] prior to and
                              after the Insured first taking reasonable action for the temporary


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                              protection and preservation of Covered Property.

             Id. 115.02.24. This coverage is "subject to the deductible provisions that would have applied had

             the physical loss or damage occurred." Id. ¶ 5.02.24.03.

                     51.      The 19-20 Policy also includes coverage for "Interruption by Communicable

             Disease," providing:

                              The Company will pay for the actual Gross Earnings loss sustained
                              by the Insured, as provided by this Policy, resulting from the
                              necessary Suspension of the Insured's business activities at an
                              Insured Location if the Suspension is caused by order of an
                              authorized governmental agency enforcing any law or ordinance
                              regulating communicable diseases and that such portions of the
                              location are declared uninhabitable due to the threat of the spread of
                              communicable disease, prohibiting access to those portions of the
                              Location.

             Id., Endt. 6. American Guarantee removed that endorsement from the 20-21 Policy.

                     52.      The Policies provide a range of other coverages for losses, which also may apply.

                     53.     None of JWU's losses are conspicuously, plainly, and clearly excluded by the

             Policies.

                                                 The "Contamination Endorsement"

                     54.      The Policies also state in part that they exclude

                             the following unless it results from direct physical loss or damage
                             not excluded by this Policy.

                             Contamination, and any cost due to Contamination including the
                             inability to use or occupy property or any cost of making property
                             safe or suitable for use or occupancy, except as provided by the
                             Radioactive Contamination Coverage of this Policy.

             Id. 73.03.01 & 3.03.01.01.

                     55.      The Policies' standard form defines Contamination (Contaminated) as:

                             Any condition of property due to the actual presence of any foreign
                             substance, impurity, pollutant, hazardous material, poison, toxin,
                             pathogen or pathogenic organism, bacteria, virus, disease causing
                             or illness causing agent, Fungus, mold or mildew.


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             Id. ¶ 7.09 (emphasis added).

                      56.     American Guarantee, however, deleted this provision by endorsement and, thus,

              removed the terms "pathogen or pathogenic organism, bacteria, virus, disease causing or illness

              causing agent" from the definition of Contamination (Contaminated) and from what the Policies

             sought to exclude. Specifically, in an endorsement prominently stating that it "CHANGES THE

              POLICY," and that the section that follows "replaced" the above-referenced language, American

             Guarantee changed the definition of Contamination (Contaminated) to:

                              Any condition of property due to the actual presence of any
                              Contaminant(s).

             Id., Endorsement, EDGE-219-C (01/18) ¶ 11 (the "Contamination Endorsement").

                      57.     The Contamination Endorsement then deletes the standard form's definition of

             Contaminant(s), deleting "asbestos, ammonia" and replacing it as follows:

                              Any solid, liquid, gaseous, thermal or other irritant, including but
                              not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals,
                              waste (including materials to be recycled, reconditioned or
                              reclaimed), other hazardous substances, Fungus or Spores.

             Id., Endorsement, EDGE-219-C (01/18) If 12.

                      58.     The Contamination (Contaminated) exclusion in the Policy therefore went from

             including "pathogen or pathogenic organism, bacteria, virus, disease causing or illness causing

             agent" to removing those terms. Thus, American Guarantee intentionally revised the Policy to

             remove those items from the scope of the exclusion. JWU reasonably understood that those terms

             were no longer part of the exclusion.

                    THE COVID-19 PANDEMIC AND ENSUING CIVIL AUTHORITY ORDERS

                      59.     In December 2019, SARS-CoV-2 and COVID-19 broke out in Wuhan, China.

             Since then, SARS-CoV-2 and COVID-19 spread throughout the world, prompting the World

             Health Organization to declare a global pandemic.


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                      60.     According to the World Health Organization:

                              We know that the disease is caused by the SARS-CoV-2 virus,
                              which spreads between people in several different ways.

                              The virus can spread from an infected person's mouth or nose in
                              small liquid particles when they cough, sneeze, speak, sing or
                              breathe. These particles range from larger respiratory droplets to
                              smaller aerosols.

                                  •    Current evidence suggests that the virus spreads mainly
                                       between people who are in close contact with each other,
                                       typically within 1 metre (short-range). A person can be
                                       infected when aerosols or droplets containing the virus are
                                       inhaled or come directly into contact with the eyes, nose, or
                                       mouth.

                                  •    The virus can also spread in poorly ventilated and/or
                                       crowded indoor settings, where people tend to spend longer
                                       periods of time. This is because aerosols remain suspended
                                       in the air or travel farther than 1 metre (long-range).

                              People may also become infected by touching surfaces that have
                              been contaminated by the virus when touching their eyes, nose or
                              mouth without cleaning their hands.16

                      61.     As to whether there are certain settings where COVID-19 can spread more easily,

              the World Health Organization says:

                              Yes, any situation in which people are in close proximity to one
                              another for long periods of time increases the risk of transmission.
                              Indoor locations, especially settings where there is poor ventilation,
                              are riskier than outdoor locations. Activities where more particles
                              are expelled from the mouth, such as singing or breathing heavily
                              during exercise, also increase the risk of transmission.

                              The "Three C's" are a useful way to think about this. They describe
                              settings where transmission of the COVID-19 virus spreads more
                              easily:




              16See "How does COVID-19 spread between people?"
             https://www. who. int/emergencies/d iseases/novel-coron avi rus-2019/question-and-answers-hubk-
             a-detail/coronavirus-disease-covid-19-how-is-it-transmitted. Unless otherwise noted, citations to
             internet sources are current as of August 6, 2021.


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                                  •   Crowded places;

                                  •   Close-contact settings, especially where people have
                                      conversations very near each other; [and]

                                  •   Confined and enclosed spaces with poor ventilation.

                              The risk of COVID-19 spreading is especially high in places where
                              these "3Cs" overlap!'

                       62.    Various publications report that aerosolized droplets exhaled by normal breathing

             can travel significant distances and stay suspended in air and infective for 16 hours, until gravity

             ultimately forces them to the nearest surface.18 Studies report that SARS-CoV-2 can remain on

             surfaces for at least 28 days.19 SARS-CoV-2 droplets thus physically alter the air and airspace in

             which they are present and the surfaces of both the real and personal property to which they attach.

             By doing so, they can render both real and personal property unusable for its intended purpose and

             function. Steps that have been required to mitigate and prevent this damage include those to

             minimize the spread of SARS-CoV-2 through airspace, inside air, and inside HVAC systems and

             to prevent the formation of fomites (the technical term for surfaces such as doorknobs, countertops,

             and handrails which, when infected with a virus, can serve as a means of transferring the virus to

             new human hosts) on property surfaces.' These steps include physical distancing, regular

             disinfection, air filtration, and further physical alterations, such as installation of physical barriers



             17 Id.,"Are there certain settings where COVID-19 can spread more easily?"
             18 See Leslie Tate, Virus Survives In Air For Hours, Tulanian (Fall 2020),
             https://tulanian,tulane.eduifall-2020/virus-survives-in-air-for-hours.
             19 See, e.g., CNBC, Virus that causes Covid-19 can survive for 28 days on common surfaces,
             research says (Oct. 12, 2020), https://www.cnbc.com/2020/10/12/virus-that-causes-covid-19-
             can-survive-for-28-days-on-surfaces-research-says.html; Shane Riddell, Sarah Goldie, Andrew
             Hill, Debbie Eagles, & Trevor W. Drew, The effect of temperature on persistence of SARS-CoV-
             2 on common surfaces, 17 Virology J., Art. No. 145 (2020),
             https://virologyj.biomedcentral.com/articles/10.1186/s12985-020-01418-7.
             20 See Brent Stephens et al., Microbial Exchange via Fomites and Implicationsfor Human
             Health, Current Pollution Reps. 5, 198-213 (2019), https://doi.org/10.1007/s40726-019-00123-6.


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             restricting the movement of the aerosolized droplets and the installation of sanitizing stations and

             touchless access devices.

                     63.     Though microscopic, SARS-CoV-2—like all viruses—is a physical substance.

             SARS-CoV-2 is highly contagious and mobile. Even with reasonable efforts to slow the spread,

             it spreads from person to person primarily through the airspace and inside air and through surfaces

             via fine aerosolized droplets containing the virus. These aerosolized droplets are expelled into the

             air when infected individuals breathe, talk, sing, cough, or sneeze. Their presence in the air and

             airspace and on property surfaces physically alters the air, airspace, and property surfaces,

             constituting physical damage.

                     64.     Human contact with the air, airspace, and surfaces can lead to the transmission of

             SARS-CoV-2, making it dangerous for individuals to come in contact with real and personal

             property in and on which SARS-CoV-2 may be found. This is a concern for places of employment

             and places open to the public, like university campuses, which accommodate thousands of people

             at any given time and have numerous common touchpoints and areas, such as door handles and

             bathrooms, with surfaces that are potentially used by thousands of people every day.

                           The Presence of SARS-CoV-2 in a Building Presents an Imminent Danger

                     65.     Scientists have likened the ubiquitous aerosolized droplets of the virus to smoke,

             present in the air long after the source of its dissemination has gone.21 Thus, entering a building

             or other location where SARS-CoV-2 is physically present in the air poses an imminent and severe

             risk to human health.




             21See "Airborne Transmission of SARS-CoV-2," Science (Oct. 16, 2020), available at
             https://science.sciencemag.org/content/370/6514/303.2.


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                      66.       Indeed, while SARS-CoV-2 can technically be cleaned from surfaces, it is in this

             way no different from asbestos, mold, odors, smoke, or water that are widely recognized as causing

             damage to property under property insurance policies. Furthermore, any cleaning is temporary at

             most, lasting only until SARS-CoV-2 becomes present again as infected individuals enter a

             building.

                      67.       In its guidance on cleaning surfaces exposed to SARS-CoV-2, the Centers for

             Disease Control and Prevention (CDC) notes that the principal mode by which people are infected

             by SARS-CoV-2 is exposure through respiratory droplets carrying the infectious virus, though

             "[i]t is possible for people to be infected through contact with contaminated surfaces or objects

             (fomites) . . . .9/ 22

                      68.       While studies show that cleaning "reduces the amount of soil (e.g., dirt, microbes

             and other organic agents, and chemicals) on surfaces, [] efficacy varies by the type of cleaner used,

             cleaning procedure, and how well the cleaning is performed."23

                      69.      Moreover, even where intense non-routine surface cleaning is performed by trained

             personnel, as evidenced by a study involving a large hospital network, the virus can survive and

             remain dangerous.24 Indeed, the study's authors pointed to evidence of the airborne spread of viral

             particles to explain why surface cleaning was ineffective in eliminating the danger.25




             22 See Centers for Disease Control, Science Brief: SARS-CoV-2 and Surface (Fomite)
             Transmission for Indoor Community Environments (April 5, 2021),
             https://www.cdc.go v/eoronavi rus/2019-may/more/science-and-research/surface-
             transmission.html.
             23
                Id.
             24 See Zarina Brune et al., Effectiveness of SARS-CoV-2 Decontamination and Containment in a
             COVID-19 ICU, 18 Int'l J. Env't Rsch. & Pub. Health 5, March 2021,
             littps://www.ncbi.nlm.nih.gov/pmc/articles/PMC7967612/.
             25 Id.



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                     70.     Given the difficulties associated with reducing the airborne threat, the CDC sees

             the risk of airborne transmission as being higher than that of surface transmission.26

                                                   "Super Spreading" Events

                     71.     Some studies have described universities as maintaining conditions ripe for "super

             spreading" events.27 According to a CDC study, university environments are vulnerable to the

             rapid spread of COVID-19 due to the "presence of congregate living settings and difficulty limiting

             socialization and group gatherings."28 Likewise, the Journal of the American Medical Association

             (JAMA), points to a combination of the "social and residential settings outside of classrooms" as

             well as the risk of transmission in classrooms as reasons to be concerned about the spread of

             COVID-19 on college campuses.29

                     72.     Indeed, a study of 30 higher education institutions saw spikes in infections within

             the first two weeks of in-person classes, spikes that were "an order of magnitude larger than the

             nationwide peaks of 70 and 150 [per 100,000 people] during the first and second waves of the

             pandemic."3° Likewise, a New York Times survey tracking re-openings in August 2020 identified

             over 26,000 COVID-19 cases at approximately 750 colleges across the county.3I That number



             26 Id.
             27 Misha Gajewski, College Campuses Are Covid-19 Superspreaders, Study Says, FoRBES (Jan.
             13, 2021), https://www.forbes.com/sites/mishagajewski/2021/01/13/college-campuses-are-covid-
             19-superspreaders-studv-says/?sh=3d4a855a52fd; Hannah Lu, et al., Are college campuses
             superspreaders? A data-driven modeling study, Computer Methods in Biomechanics &
             Biomedical Engineering (Jan. 13, 2021),
             https://www.tandfonline.com/doi/ful1/10.1080/10255842.2020.1869221 (collecting studies).
             28 E. Wilson, et al. Multiple COVID-19 clusters on a university campus—North Carolina,
             August 2020, MMWR Morb Mortal Weekly Rep. (Oct. 2, 2020),
             https://www.cdc.gov/minwr/volumes/69/wernm6939e3.htm?s_cid=mm6939e3_w.
             29 Henry T. Walke, et al., Preventing and Responding to COVID-19 on College Campuses,
             JAMA (Sept. 29, 2020), https://jamanetwork.com/journals/jama/fuIlartiele/2771319.
             30 Lu, supra.
             31 Walke, supra.



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             nearly doubled in one week, rising to 51,000 at 1,020 colleges by September 3, 2020.32 It exceeded

             130,000 cases at 1,300 colleges by September 25.33

                        73.   The risks and dangers were not limited to the campuses, however. Local campus

             outbreaks rapidly spread throughout their home counties and triggered spikes in new infections in

             neighboring communities.34

                        74.   As detailed below, the communities in which JWU maintained campuses or

             locations suffered from COVID.

                                                    Providence, Rhode Island

                        75.   As of August 6, 2021, there have been more than 155,500 confirmed COVID-19

             cases in the State of Rhode Island, with more than 2,740 resulting in deaths.35 As of August 6,

             2021, the City of Providence has had nearly 33,000 cases, resulting in 540 deaths.36

                        76.   In Rhode Island, the percentage of tests with positive results for first-time test takers

             increased from 22.3%, as of April 20, 2020, to a peak of 34.4% on December 3, 2020.37

                        77.   In April 2020, Providence had a COVID positivity rate of 1,432 cases per 100,000

             people.38 This rose to 20.6% for the period of April 26, 2020, to May 2, 2020.39


             32   Id.
             33   Id.
             34 Lu, supra.
             35 Tracking Coronavirus in Rhode Island, N.Y. Times,
             https://www.nytimes.comfinteractive/2021/uskhode-island-covid-cases.html.
             36 Rhode Island COVID-19 City and Town Data, R.I. Dep't of Health, https://ridoh-covid-19-
             response-city-town-data-rihealth.hubearegis.com/.
             37 Covid-19 Tracking: Charts & Interactive Data, WPRI, https://www.wpri.com/covid-19-
             tracking-timel ine-maps/.
             38
                1d.
             39 Rhode Island Dept. COVID-19 Data Tracker: COVID-19 Rhode Island Data, R.I. Dep't of
             Health,
             https://docs.google.com/spreadsheets/d/lc2OrNMz8pIbYEKzMJL71.Th2dtThOJa2j1sSMwiDo5G
             z4/edit#gid---35 I 133654.


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                                                    Charlotte, North Carolina

                      78.     As of August 6, 2021, there have been more than 1,067,780 confirmed COVID-19

             cases in the State of North Carolina, with more than 13,740 resulting in deaths.°

                     79.      As of August 6, 2021, Mecklenburg County (the location of the Charlotte campus)

             has had nearly 122,000 confirmed cases of COVID-19 and nearly 1,000 deaths41 At present, the

             Zip Code where the Campus is located (28202), has had nearly 2,200 confirmed cases and, sadly,

             two deaths.42

                     80.      In March 28, 2020, some parts of Charlotte had over 42.1 confirmed positive cases

             per 100,000 residents.43 And, in December 26, 2020, Mecklenburg County was registering a

             positive test rate of 18.2%.44

                                                       Denver, Colorado

                     81.      As of August 6, 2021, there have been more than 583,400 confirmed COVID-19

             cases in the State of Colorado, with more than 7,125 resulting in deaths.45 In Denver County




             40 Tracking Coronavirus in North Carolina: Latest Map and Case Count, N.Y. Times,
             https://www.nytimes.com/interactive/2021/us/north-carolina-covid-cases.html.
             41 Data Behind the Dashboards, N.C. Dep't of Health & Human Servs.,
             https://covid19.ncdhhs.gov/dashboard/data-behind-dashboards (Data for "County Cases and
             Deaths," Mecklenburg County).
             42
                la (Data for "ZIP Code Cases and Deaths").
             43Covid-19 Data for March 28, Mecklenburg Cnty. (March 30, 2020)
             https://www.meckne.gov/tiews/Pages/Mecklenburg-County-COVID-19-Data-for-March-
             28.aspx.
             44Data for January 6, Mecklenburg Cnty. (Jan. 8, 2021),
             https://www.meclaic.govinews/Pages/Mecklenburg-County-COVID-19-Data-for-Janaury-6-
             21.aspx\.
             45 Tracking Coronavirus in Colorado: Latest Map and Case Count, New York Times,
             https://www.nytimes.com/interactive/2021iusicolorada-covid-cases.html.


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             (home to Denver and the Denver campus), as of August 6, 2021, there have been 76,098 total cases

             of COVID-19 and 858 deaths since March 2020,46

                     82.     On March 31, 2020, there were 565 confirmed COVID-19 cases in Denver

             County.47 By December 31, 2020, there were 49,317 confirmed COVID cases in Denver County.48

                                                     North Miami, Florida

                     83.     As of August 6, 2021, there have been more than 2,678,760 confirmed COVID-19

             cases in the State of Florida, with more than 39,400 resulting in deaths.49 As of August 6, 2021,

             Miami-Dade County (home to the North Miami campus) has had more than 542,000 reported cases

             of COVID-19, 6,472 of which resulted in death.5°

                     84.     On April 1, 2020, Miami-Dade County officials tallied a seven-day average of 275

             confirmed cases of COVID-19.51 By July 30, 2020, Miami-Dade had a seven-day average of 2,978

             new positive cases.52 That number peaked on January 8, 2021, when the seven-day average of

             new cases reached 3,240.53




             46 Denver COVID-19 Data Summary, Denver Public Health,
             haps://storymaps.arcgis.com/stori es/50dbb5e7dfb6495292b71b7d8df56d0a.
             47 Denver COVID-19 Data Summary, Denver Public Health,
             hftps://storvmaps.arcgis . co m/stori es/50dbb5 e7dfb6495292b71b7d8df56d0a.
             48 Denver COVID-19 Data Summary, Denver Public Health,
             https://storymaps.arcgis.com/stories/50dbb5e7dfb6495292b71b7d8df56d0a.
             49 Tracking Coronavirus in Florida: Latest Map and Case Count, New York Times,
             https://www.nytimes.com/interactive/2021/usiflorida-covid-cases.html.
             5° Covid-19 Status Report: Miami-Dade, Florida, Johns Hopkins Univ.,
             https://bao.arcgis.com/covid-19/jhu/county/12086.html.
             51 Tracking Coronavirus in Miami-Dade County, Fla., N.Y. Times,
             https://www.nytimes.com/interactive/2021/us/miami-dade-florida-covid-cases.html.
             52 Tracking Coronavirus in Miami-Dade County, Fla., N.Y. Times,
             https://www.nytimes.com/interactive/2021/us/miami-dade-florida-covid-cases.html.
             53 Tracking Coronavirus in Miami-Dade County, Fla., N.Y. Times,
             bttps://www.nytimes.com/interactive/2021/us/miami-dade-florida-covid-cases.html.


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                                                          Rehoboth, MA

                     85.     As of August 6, 2021, there have been more than 725,000 confirmed COVID-19

             cases in the Commonwealth of Massachusetts, with more than 18,000 resulting in deaths.54 As of

             August 6, 2021, Bristol County (home to the Rehoboth Center for Equine Studies), has seen over

             68,500 confirmed COVID-19 cases, more than 1,750 of which have resulted in deaths.55

                     86.     On March 31, 2020, Bristol County saw seven new cases per day per 100,000

             people.56 By April 20, 2020, Bristol County this increased to 35.4 new cases per day per 100,000

             people.57

                                                   Civil Authority Responses

                     87.     As of August 26, 2021, there have been more than 213,752,000 confirmed cases of

             COVID-19 throughout the world, more than 4,459,000 of which have resulted in deaths.58 As of

             August 26, 2021, there have been more than 38,364,000 confirmed cases of COVID-19 in the

             United States, more than 632,000 of which have resulted in deaths.59

                     88.     Due in part to the initial absence of available tests, it is believed that the true number

             of COVID-19 cases is significantly higher than the reported numbers might suggest.6°




             54 Tracking Coronavirus in Massachusetts: Latest Map and Case Count, N.Y. Times,
             https://www.nytimes.com/interactive/2021/us/massachusetts-covid-cases.html.
             55 Tracking Coronavirus in Bristol County, Mass., N.Y. Times,
             https://www.nytimes.com/interactive/2021/us/bristol-massachusetts-covid-cases.htm1,
             56 Bristol County, MA, Covid ActNow, https://covidactnow.org/us/massachusetts-
             ma/county/bristol county/?s-2005924.
             " Id.
             58 See WHO Coronavirus (COVID-19) Dashboard, https://covid 1 9.who.int/.

             59 See https://www.nytimes.corn/interactive/2020/us/coronavirus-us-cases.html.

             6° See NBC News, How many people have had coronavirus with no symptoms? (AP, Apr. 20,
             2020) https://www.nbcnews.com/health/health-news/how-many-people-have-had-coronavirus-
             no-symptoms-n I 1 87681.


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                     89.      In response to the outbreak of SARS-CoV-2 and COVID-19, civil authorities

             throughout the United States began issuing "stay-at-home" and "shelter in place" orders,

             quarantines, limits or bans on public gatherings, and other orders, including orders requiring the

             suspension of business operations.

                     90.      As alleged above, SARS-CoV-2 and COVID-19 were present throughout the states,

             counties, and municipalities where JWU has or had its campuses and properties, including within

             one mile of JWU's campuses and properties. Civil authorities in those jurisdictions issued orders,

             discussed below, to address such direct physical loss or damage both at JWU's campuses and

             properties as well as to those properties within one mile of JWU's campuses and locations.

                     91.      JWU's Rhode Island properties were impacted by a number of civil authority orders

             and actions, including: then-Governor Gina M. Raimondo's statewide Executive Orders 20-02,

             20-03, 20-04, 20-05, 20-06, 20-07, 20-08, 20-09, 20-10, 20-11, 20-12, 20-13, 20-14, 20-15, 20-16,

             20-17, 20-18, 20-23, 20-25, 20-28, 20-30-, 20-31, 20-32, 20-34, 20-36, 20-38, 20-40, 20-41, 20-

             42, 20-44, 20-45, 20-46, 20-47, 20-49, 20-50, 20-52, 20-53, 20-54, 20-55, 20-57, 20-58, 20-59,

             20-60, 20-61, 20-62, 20-63, 20-64, 20-65, 20-66, and 20-67, and Providence Mayor Jorge 0.

             Elorza's executive orders 2020-1, 2020-2, 2020-3, 2020-4, 2020-5, 2020-6, 2020-7, 2020-8, 2020-

             9, 2020-12, 2020-14, and 2020-15.

                     92.      JWU's North Carolina properties were impacted by a number of civil authority

             orders and actions, including: Governor Roy Cooper's statewide Executive Orders 116, 117, 120,

             121, 135, 138, 141, 144, 147, 148, 151, 152, 155, 156, 163, 165, and 169, and county and municipal

             orders issued on March 24, 2020, March 26, 2020, and July 30, 2020.

                     93.      JWU's Colorado properties were impacted by a number of civil authority orders

             and actions, including: Governor Jared Polis's statewide Executive Orders D 2020 003, D 2020
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             007, D 2020 017, D 2020 018, D 2020 024, D 2020 032, D 2020 058, D 2020 076, D 2020 079,

             D 2020 109, D 2020 123, D 2020 125, D 2020 127, D 2020 142, D 2020 144, D 2020 152, D

             2020 154, and D 2020 176, Colorado Department of Public Health Orders issued on March 16,

             2020, March 19, 2020, April 9, 2020, April 26, 2020, April 27, 2020, and May 1, 2020, and county

             and municipal orders issued on March 12, 2020, March 23, 2020, March 26, 2020, April 24, 2020,

             and October 16, 2020.

                     94.     JWU's Florida properties were impacted by a number of civil authority orders and

             actions, including the following state-wide actions: Governor Ron DeSantis's statewide Executive

             Orders 20-51, 20-52, 20-68, 20-71, 20-80, 20-82, 20-83, 20-86, 20-87, 20-91, 20-92, 20-103, 20-

             111, 20-112, 20-114, 20-120, 20-123, 20-131, 20-139; 20-166; 20-192; and 20-316, Florida

             Division of Emergency Management Orders 20-001, 20-002, 20-003, 20-004, 20-005, 20-006;

             State of Florida Department of Business and Professional Regulations Emergency Order 2020-09;

             and county and municipal orders issued on March 12, 2020, March 16, 2020, March 17, 2020,

             March 18, 2020, March 19, 2020, March 23, 2020, March 24, 2020, March 25, 2020, March 26,

             2020, March 27, 2020, March 31, 2020, April 1, 2020, April 2, 2020, April 8, 2020, April 15,

             2020, April 29, 2020, May 6, 2020, May 13, 2020, May 15, 2020, May 20, 2020, May 31, 2020,

             June 3, 2020, June 4, 2020, June 7, 2020, June 10, 2020, June 17, 2020, June 24, 2020, July 1,

             2020, August 27, 2020, September 26, 2020, September 29, 2020, and September 30, 2020.

                     95.     JWU's Massachusetts property was impacted by a number of civil authority orders

             and actions, including the following state-wide actions: Governor Charlie Baker's statewide March

             10, 2020, Declaration of Emergency, Governor Baker's statewide executive orders of March 13,

             2020, March 15, 2020, March 23, 2020, March 24, 2020, March 31, 2020, April 28, 2020, May 1,

             2020, May 18, 2020, May 29, 2020, June 1, 2020, June 6, 2020, June 19, 2020, July 2, 2020,
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             November 2, 2020, December 8, 2020, December 22, 2020; and Massachusetts Department of

             Health March 23, 2020, Stay at Home Advisory.

                     96.      As a result of these civil authority orders, and to reduce or prevent damage to its

             property that would be caused by the presence of SARS-CoV-2, JWU was forced to completely

             or partially suspend certain of its on-ground operations at the insured locations set forth in the

             Policies (as noted, JWU transitioned many of its operations to a remote environment, thus

             continuing to offer the same excellent education and other programs to students and to serve its

             community members, but it nonetheless suffered the damages noted herein). See, e.g., 19-20

             Policy, Appendix E.

                     97.      The above-referenced and subsequent orders issued by governmental (state and

             local) authorities where JWU maintains its campuses and other properties are collectively referred

             to herein as the "Civil Authority Orders."

                     98.      The Civil Authority Orders limited, restricted, and prohibited partial or total access

             to JWU's locations as a result of the presence or imminent threat of SARS-CoV-2 and COVID-19

             as insured against in the Policies issued by American Guarantee. Indeed, the Civil Authority

             Orders restricted or prohibited students (and would-be students) and employees and third parties

             from accessing or visiting JWU's campuses.

                     99.     Specifically, with regard to the campuses, SARS-CoV-2, COVID-19, and the Civil

             Authority Orders impacted JWU's properties as follows (and as described above, in connection

             with JWU's discussion of its Financial Losses):

                     •       Classes: JWU was forced to cancel or postpone certain classes and experienced a

                             reduction in its student body, including a reduction in new student enrollment,

                             which caused it to lose tuition revenue (including in the form of refunds for those
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                              classes that were not offered remotely but were cancelled). JWU also was required

                              to decrease the number of students registered for each course section and therefore

                              increase the number of course sections offered, resulting in increased costs to JWU.

                     •        Residence halls: Closure and reduced occupancy of residence halls where students

                              live and the need to maintain certain residence halls solely for isolation and

                              quarantine of COVID-19-positive and potentially COVID-19-positive students

                              severely reduced revenue JWU derived from student housing (including because

                              JWU made substantial refunds to students for room and board) and required JWU

                              to incur additional costs and expenses to ensure availability of isolation and

                              quarantine areas.

                     •       Dining services: Closure and reduced occupancy of dining services, with some

                              limited to take-out service only, severely reduced revenue derived from the sale of

                             food and beverages.

                     •       Activities, events, and camps: Cancellation or postponement of various activities,

                             events, and camps reduced associated university revenue.

                     100.     In addition, SARS-CoV-2, COVID-19, and the Civil Authority Orders caused JWU

             to incur significant extra costs and expenses. These expenses include but are not limited to those

             spent on the following:

                     •       installation of safety-related materials, such as Plexiglas and signage;

                     •        disinfecting supplies and sanitization stations;

                     •       disinfection and sanitization of site-specific areas where a positive case was

                             identified (including, e.g., all buses that would have transported exposed students

                             or potentially exposed students);
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                    •       personal protective equipment, including gloves, gowns, and masks;

                    •       health-services (including mental health) related costs, including costs incurred in

                            connection with COVID-19 testing;

                    •       costs incurred in connection with securing quarantine/isolation areas for students

                            and delivering meals to such students;

                    •       costs incurred in connection with reducing capacity on university-provided

                            transportation;

                    •       purchases of new information technology (IT) software and equipment to assist and

                            enable remote or hybrid work and learning, including purchases of new systems for

                            orientation, remote access to student labs, and teleconferencing and significantly

                            expanded digital storage; and

                    •       substantial human resources costs.

                    101.    The Civil Authority Orders required the "suspension" of certain of JWU's on-

            ground operations, as that term is defined in the Policies, at all of JWU's campuses and other

            properties.

                    102.    Furthermore, as a result of SARS-CoV-2, COVID-19, and the Civil Authority

            Orders, ingress to and egress from certain of JWU's campuses and other properties were impaired.

             This resulted in substantial financial losses to JWU.

                    103.    Because SARS-CoV-2 attaches to surfaces, lingers in the air and airspace of

            buildings, and can move through HVAC systems to spread throughout buildings, its presence

            causes a distinct, demonstrable, physical alteration to property, thus constituting "physical loss or

            damage" to property as that phrase is used in the Policy. Just like invisible pollution in water alters
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             the water, the presence of the SARS-CoV-2 virus alters the air and airspace in which it is found

             and the property on which it lands.

                     104.    Additionally, the presence or potential presence of SARS-CoV-2 at, on, and in

             property prevents or impairs the use of the property, thus constituting "physical loss" to property

             as that phrase is used in the Policies, even if it were not deemed to constitute "damage" to property

             as that term is used in the Policies.

                     105.    Indeed, since around mid-March 2020, the SARS-CoV-2 virus has been ubiquitous

             throughout the country, causing physical alterations in and to air, airspace, and other property

             throughout the United States, thereby constituting "direct physical loss of or damage to property"

             as that phrase is used in the insurance policies.

                     106.    JWU is therefore informed and believes, and on that basis alleges, that the SARS-

             CoV-2 virus has been present at all or most of its properties or would have been present but for its

             efforts to reduce, prevent, or otherwise mitigate its presence on its properties.

                     107.    MU is aware of multiple positive test results amongst faculty, students, and staff

             at its properties over the relevant period; indeed, JWU conducted regular tests of students, faculty,

             and staff for COVID-19 and received multiple COVID-positive results from this testing.

                     108.    Given the widespread nature of SARS-CoV-2 and COVID-19, SARS-CoV-2 has

             been present at all of JWU's campuses and other properties at one time or another, or would have

             been present had JWU not taken steps to reduce, prevent, or otherwise mitigate its presence on its

             properties. JWU has taken reasonable and necessary steps and incurred considerable expenses to

             eliminate SARS-CoV-2 from its campuses and other properties, to prevent SARS-CoV-2 from

             entering its campuses and other properties, and otherwise to mitigate losses—all as is expressly

             required in the Policies.
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                     109.    JWU has suffered, and continue to suffer, loss and damage covered by the Policy

             in an amount to be established at trial.

                                        AMERICAN GUARANTEE'S BREACHES

                     110.    In or about April 2020, JWU timely notified American Guarantee of its losses.

                     111.    Months later, on September 3, 2020, American Guarantee responded to JWU's

             notice with a response letter that ignored certain coverage grants in the Policies and the above-

             referenced case law.

                     112.    In its response, American Guarantee wrote, without citation or explanation, that "it

             does not appear that the presence of the COVID-19 virus constitutes direct physical loss or damage

             to property." American Guarantee repeated this statement in reference to coverage for Time

             Element and Civil or Military Authority.

                     113.    Further, in its response, American Guarantee cited a contamination provision but

             failed to reference the Contamination Endorsement, and the manner in which the Contamination

             Endorsement altered the contamination provision American Guarantee cited. That Contamination

             Endorsement removed any reference to "pathogen or pathogenic organism, bacteria, virus, disease

             causing or illness causing agent" in the related exclusion. Specifically, ignoring the changed

             definition, American Guarantee wrote that, "The presence of the COVID-19 virus falls within the

             definition of Contamination."

                     114.    American Guarantee also raised in its response some additional exclusions, none of

             which apply.

                     115.    American's Guarantee's response mentioned the "Interruption by Communicable

             Disease" coverage in the 19-20 Policy but did not explain whether American Guarantee had any

             view regarding its application to JWU's losses.
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                       116.   American Guarantee's response otherwise failed to address coverage for

             "Professional Fees" or mitigation costs.

                       117.   In the e-mail providing its response letter, American Guarantee represented to JWU

              that American Guarantee was continuing its investigation and coverage review, and would

             "continue to you [sic] to keep you updated as to our investigation and any additional information

             needed."

                       118.   On November 9, 2020, JWU sent American Guarantee an e-mail asking for a status

             update.

                       119.   After American Guarantee failed to respond to its November 9, 2020, e-mail, JWU

             sent American Guarantee a follow-up e-mail on December 4, 2020, requesting a status update.

             JWU's insurance broker also sent a follow-up to American Guarantee that same day.

                       120.   On December 22, 2020, American Guarantee sent JWU an e-mail requesting: (1) a

             listing of operations that were directly affected by the provided government orders, (2) how they

             were affected, and (3) portions of the locations that were uninhabitable as a result of government

             mandates.

                       121.   On January 8, 2021, JWU provided the requested information, pointing out that the

             affected operations are on campuses or physical locations of JWU and that the majority of these

             locations are "where students attend classes, reside, dine, and participate in other forms of in-

             person activity."

                       122.   On or about March 5, 2021, and April 10, 2021, American Guarantee confirmed

             that the 12-month suit limitation provisions in the Policies were extended through September 5,

             2021. On April 10, 2021, five months after its last request for information, American Guarantee

             requested even more information from JWU.
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                     123.    On or about April 12, 2021, JWU promptly provided the requested information.

                     124.    On or about May 18, 2021, American Guarantee requested even more information

             from JWU.

                     125.    On or about May 20, 2021, JWU promptly provided the requested information.

                     126.    On or about June 3, 2021, JWU requested a claim update from American

             Guarantee. American Guarantee did not respond.

                     127.    On or about June 23, 2021, having received no response to its prior communication,

             JWU again requested a claim update from American Guarantee. American Guarantee did not

             respond.

                     128.    On or about July 22, 2021, having received no response to its prior communication,

             JWU again requested a claim update from American Guarantee. American Guarantee did not

             respond.

                     129.    As of this date, it has been more than three months since JWU has heard anything

             from American Guarantee.

                     130.    Contrary to American Guarantee's position as outlined in its September 3, 2020,

             response letter, JWU's losses, as described above, include both physical loss and damage. In

             addition, JWU's losses have several causes and trigger several different insurance coverages that

             are not excluded in the Policies.

                     131.    Indeed, JWU has sustained covered "Property Damage" as defined in the Policies.

             Given how SARS-CoV-2 lingers in the air and on surfaces, and its manner of transmission, and

             the positive cases on JWU's properties, the insured locations were not capable of being used for

             their essential functions. Likewise, the Civil Authority Orders impaired the properties, constituting

             "direct physical loss of or damage" to those properties.
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                     132.    JWU has also incurred Time Element losses, as defined in the Policies, "result[ing]

             from the necessary Suspension of the Insured's business activities at an Insured Location" and the

             suspension was due to "direct physical loss of or damage to" property caused by the presence of

             SARS-CoV-2 on, in, or around property, the Civil Authority Orders, or both.

                     133.    Likewise, the Civil Authority Orders, which caused the "necessary Suspension" of

             TWU's business activities at insured locations, constitute orders by a civil authority that prohibited

             access to the insured locations resulting from a civil authority's response to "direct physical loss

             of or damage" within one mile of JWU's properties as is required to trigger Civil or Military

             Authority coverage.

                     134.    Also, as a result of the suspensions and curtailments of on-ground operations at its

             properties and as detailed above, JWU has incurred Extra Expense, as defined and used in the

             Policies. These losses were caused by the presence of SARS-CoV-2 on, in, or around property,

             the Civil Authority Orders, or both.

                     135.    Although never addressed by American Guarantee, JWU is entitled to recover at

             the actual costs incurred by JWU of "reasonable fees paid to [JWU' s] accountants, architects,

             auditors, engineers, or other professionals and the cost of using the Insured's employees, for

             producing or certifying any details contained in the Insured's books or documents" under the

             Professional Fees coverage.

                     136.    Additionally, closures were necessary to prevent SARS-CoV-2 from further

             damaging TWU's campuses and other properties. These costs and losses therefore constitute

             reasonable and necessary costs to "temporarily protect or preserve Covered Property." Although

             never addressed by American Guarantee, American Guarantee is obligated to pay these amounts
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             because .IWU's actions, in addition to being required under the common law doctrine of mitigation,

             are covered because they protected the campuses and other properties from further damage.

                     137.    Although JWU has sustained substantial losses falling squarely in multiple

             coverage grants in the Policies, American Guarantee failed and refused to acknowledge coverage

             for the losses and refused to pay any portion of them, including the amounts JWU has incurred,

             and is incurring, to mitigate otherwise insured losses.

                     138.    Furthermore, American Guarantee failed and refused to acknowledge coverage,

             incorrectly asserting that the losses were not caused by direct physical loss or damage or due to

             the prohibition of access by a civil authority. American Guarantee took this position even though

             the localities and states where JWU's properties are located issued orders in response to the

             presence of SARS-CoV-2 in those localities and states, and notwithstanding the fact that the

             presence of SARS-CoV-2 on or around real and personal property and in the airspace amounts to

             "direct physical loss of or damage" to property under the governing rules of insurance policy

             interpretation and applicable law.

                     139.    JWU is informed and believes, and on that basis alleges, that American Guarantee

             contends that even though SARS-CoV-2 caused physical alterations to the air and airspace in

             which it is present and to the surfaces to which its attaches, rendering both the real and personal

             property dangerous, these physical alterations do not constitute "direct physical loss or damage"

             as that phrase is used in the Policies because the physical alterations are not visible to the naked

             human eye.

                     140.    MU is informed and believes, and on that basis alleges that American Guarantee

             failed and refused to acknowledge coverage, and continues to fail and refuse to acknowledge

             coverage, even though it has known for decades that its Policies could be held to cover losses from
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             the presence of a virus inside buildings or because a building could not be used for its intended

             purpose or function.

                     141.    As cited above, JWU is informed and believes, and on that basis alleges, that

             American Guarantee has known for decades that the presence of hazardous substances, including

             microscopic substances, on or in real and personal property have been deemed to constitute

             property damage.

                     142.    At a minimum, given the court decisions cited herein and many others, American

             Guarantee knew that its policy language reasonably could be interpreted to cover losses associated

             with pandemics and viruses. JWU is informed and believes and, on that basis alleges, that rather

             than define "direct physical loss or damage," American Guarantee elected to leave the language

             as-is, knowing that insureds could, and likely would, understand it to mean that virus- and

             pandemic-associated losses would be insured.

                     143.    American Guarantee further compounded the misleading nature of the Policies by

             omitting the standard-form virus exclusion ("Exclusion For Loss Due To Virus Or Bacteria")

             or any other exclusion that could have put insureds like JWU on notice that losses like those

             associated with the current pandemic might not be insured. Although American Guarantee

             referenced an exclusion in the Response Letter, it failed to account for its endorsement which

             removed any reference to "pathogen or pathogenic organism, bacteria, virus, disease causing or

             illness causing agent" in the related exclusion. Accordingly, the Policies do not include, and

             American Guarantee consciously decided not to include, any exclusions conspicuously, plainly,

             clearly, and unambiguously barring coverage for these loses.
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                     144.    To the extent not waived or otherwise excused, JWU has complied with the

             provisions contained in the Policies. Therefore, JWU is entitled to all benefits of the insurance

             provided by the Policies.

                                                  FIRST CAUSE OF ACTION

                                            Breach of Contract (Policy Language)

                     145.    JWU realleges and incorporates by reference each of the allegations contained in

             all paragraphs above as though fully alleged herein.

                     146.    JWU performed all obligations required of it under the Policies, except as otherwise

             excused.

                     147.    American Guarantee breached its duties, or by its actions has indicated its imminent

             intention to breach its duties, under the Policy that it sold to JWU by unreasonably stating that

             JWU sustained no "direct physical loss or damage" and that JWU was not entitled to any Time

             Element, Civil or Military Authority, or various other coverages under the Policies; by refusing to

             acknowledge that the presence of SARS-COV-2 constitutes "direct physical loss or damage" to

             property as that phrase is used in the Policy; and by refusing to acknowledge that the impairment

             of the use or function of property caused by the actual or potential presence of SARS-CoV-2, the

             Civil Authority Orders, and the need to mitigate constitutes "direct physical loss or damage" to

             property as that phrase is used in the Policies.

                     148.    As a direct and proximate result of American Guarantee's contractual breaches,

             JWU has sustained substantial damages for which American Guarantee is liable, in amounts to be

             established at trial. JWU is also entitled to interest on its damages at the legal rate.
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                                                 SECOND CAUSE OF ACTION

                             Breach of the Implied Covenant of Good Faith and Fair Dealing

                     149.    JWU realleges and incorporates by reference each of the allegations contained in

             all paragraphs above as though fully alleged herein.

                     150.    At all pertinent times, American Guarantee had a duty to act in good faith and deal

             fairly with JWU as its insured, and American Guarantee was and is forbidden from doing anything

             which will have the effect of destroying or injuring JWU's right to receive the full benefits of the

             contract. This is a duty that extends to and informs all of the American Guarantee's obligations

             under the Policies.

                     151.    This duty of good faith and fair dealing includes affirmative duties to promptly,

             fairly and honestly investigate and evaluate each claim, to reach valid coverage positions, and to

             articulate the reasons for such positions.

                     152.    Instead of complying with these duties, American Guarantee breached its duties of

             good faith and fair dealing by, among other things:

                             a.      failing to conduct a full and thorough investigation of JWU's claims for

                                     insurance coverage and asserting grounds for denying coverage without

                                     conducting such investigation;

                             b.      wrongfully and unreasonably asserting grounds for denying coverage that

                                     it knew, or should have known, are not supported by, and in fact are

                                     contrary to, the terms of the Policies, the law, and the facts;

                             c.      failing to fully inquire into the bases that might support coverage for

                                     JWU's claims;
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                            d.      failing to conduct an adequate investigation of the losses suffered by JWU,

                                   and asserting grounds for disputing coverage based on its inadequate

                                   investigation;

                            e.     unreasonably delaying its communications and decisions with respect to

                                   DATU's claims;

                            f.     unreasonably failing and refusing to honor its promises and

                                    representations in the Policies it sold to JWU;

                            g.     giving greater consideration to its own interests than it gave to JWU' s

                                   interests; and

                            h.     otherwise acting as alleged above.

                    153.    In breach of the implied covenant of good faith and fair dealing, American

            Guarantee did the things and committed the acts alleged above for the purpose of consciously

            withholding from JWU the rights and benefits to which it is and was entitled under the Policies.

                    154.    As a direct and proximate result of these breaches, which are continuing as of the

            date of the filing of this Complaint, JWU has sustained significant damages for which American

            Guarantee is liable.

                                               THIRD CAUSE OF ACTION

                                      Statutory Bad Faith (R.I. Gen. Laws § 9-1-33)

                    155.    JWU realleges and incorporates by reference each of the allegations contained in

             all paragraphs above as though fully alleged herein.

                    156.    Pursuant to R.I. Gen. Laws § 9-1-33, American Guarantee had a duty to timely

            perform its obligations under the Policies, and American Guarantee was and is forbidden form

            wrongfully and in bad faith refusing to timely perform its obligations under the Policies.
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                     157.    Despite this, American Guarantee denied coverage or refused payment without a

             reasonable basis in fact or law for the denial or refusal.

                     158.    For example, despite repeatedly suggesting that JWU's claim under the

             communicable disease coverage was eligible for payment, American Guarantee failed to make any

             such payment.

                     159.    American Guarantee therefore did the things and committed the acts alleged above,

             in contravention of R.I. Gen. Laws § 9-1-33, for the purpose of consciously withholding from JWU

             the rights and benefits to which it is and was entitled under the Policies.

                     160.    As a result of American Guarantee's actions, JWU was forced to prosecute this

             matter against American Guarantee.

                     161.    As a direct and proximate result of American Guarantee's violation of R.I. Gen.

             Laws § 9-1-33, in addition to the compensatory damages it has suffered for which American

             Guarantee is liable, JWU is also entitled to punitive damages and reasonable attorney fees.

                                                FOURTH CAUSE OF ACTION

                                                    Declaratory Judgment

                     162.    JWU realleges and incorporates by reference each of the allegations contained in

             all paragraphs above as though fully alleged herein.

                     163.    JWU contends that it is entitled to coverage under the Policies for its losses as

             described herein.    JWU is informed and believes, and on that basis alleges, that American

             Guarantee disputes that JWU is entitled to such coverage. Therefore, an actual and justiciable

             controversy exists between JWU and American Guarantee concerning the interpretation and

             construction of the Policies, and the rights and obligations of the parties thereto, with respect to

             JWU's claims.
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                     164.    JWU seeks a judicial declaration from this Court confirming JWU's contentions

             that:

                             a.      Each coverage position of JWU as stated above is correct;

                             b.      No exclusion in the Policy bars or limits coverage, in whole or in part, for

                                     JWU's losses; and

                             c.      That the Policies cover JWU's losses.

                     165.    A declaration is necessary at this time in order that the parties' dispute may be

             resolved and that they may be aware of their prospective rights and duties.

                                                   PRAYER FOR RELIEF

                     WHEREFORE, JWU prays for relief as follows:

                                           ON THE FIRST CAUSE OF ACTION

                     1.      For compensatory damages and consequential damages, plus interest and costs of

             suit, in an amount to be determined at trial;

                                         ON THE SECOND CAUSE OF ACTION

                     2.      For compensatory damages and consequential damages, plus interest and costs of

             suit, in an amount to be determined at trial;

                                          ON THE THIRD CAUSE OF ACTION

                     3.      For compensatory damages, punitive damages, and reasonable attorney fees;

                                         ON THE FOURTH CAUSE OF ACTION

                     4.      For declarations in accord with JWU's contentions stated above;

                                                 ON ALL CAUSES OF ACTION

                     5.      For costs of suit herein;

                     6.      For JWU's reasonable attorneys' fees under RIGL 9-1-45 and 9-1-33; and
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                     7.      For such other, further, and/or different relief as may be deemed just and proper.

                                                 DEMAND FOR JURY TRIAL

                     Plaintiff Johnson & Wales University hereby demands a trial by jury in this action.

             DATED: August 27, 2021                       Respectfully Submitted,




                                                     By: /s/ Joseph D. Whelan
                                                          /s/ Matthew H. Parker
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        Disclosure Statement

                                         It is our pleasure to present the enclosed policy to you
                                                     for presentation to your customer.


                                               INSTRUCTION TO AGENT OR BROKER:

        WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                             WITH THE POLICY.

            Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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        Disclosure Statement

                                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


                         If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                            http://www.zurichnaproducercompensation.com

                                         or call the following toll-free number: (866) 903-1192.



                                This Notice is provided on behalf of Zurich American Insurance Company

                                                    and its underwriting subsidiaries.




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                                                                            The Zurich EDGE
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        Reference Number:              ERP   981 9903-05
                                       0530132019
                                                                                                                                                        a                    a
        Effective Date:
                                                                                                                                                 Z U RI C H
                        THIS DISCLOSURE                     IS   ATTACHED T0 AND MADE PART 0F YOUR POLICY.
                        DISCLOSURE OF IMPORTANT INFORMATION
                      RELATING T0 TERRORISM RISK INSURANCE ACT
                                                                                  SCHEDULE*
         Premium      attributable to risk of loss from certiﬁed acts of terrorism for lines of insurance subject to                          TRIA:




        *Any information required          lo   complete    this   Schedule,   if   not shown above,         will   be shown   in   the Declarations.

       A.    Disclosure of Premium

             In   accordance with the federal Terrorism Risk fnsurance Act (“TRIA”), as amended,                                    we   are required to provide you
             with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certiﬁed
             under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
             premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
        B.   Disclosure of Federal Participation                   in   Payment of Terrorism Losses
             The United States Government may pay a share of insured losses                   resulting from an act of terrorism. The federal
             share   will    decrease by     5%    from    85%     to   30%
                                                                     over a ﬁve year period while the insurer share increases by the same
             amount during the same             period. The schedule below illustrates the decrease in the federal share:

             January1, 201 5 — December              31,   2015    federal share:        85%
             January1, 201 6 — December              31,   2016    federal share:        84%
             January1, 201 T — December              31,   2017    federal share:        83%
             January1, 2018          — December      31,   2018    federal share:        82%
             January1, 201 9         — December      31,   2019    federal share:        81%
             January1, 202E}         — December      31,   2020    federal share:        80%
        C. Disclosure of $1 00 Billion              Cap on    All Insurer     and Federal Obligations
             If aggregate insured losses attributable to terrorist acts certiﬁed under TRIA exceed $100 billion in a calendar year

             (January through December 31) and an insurer has met its deductible under the program, that insurer shall not be
                            ‘l



             liable for the payment of any portion of the amount of such losses that exceeds $1 00 billion, and in such case insured
             losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
             Secretary of Treasury.

        D. Availability

             As  required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
             of terrorism certiﬁed under TRIA with terms, amounts and limitations that do not differ materially from those for losses
             arising from events other than acts of terrorism.

        E.   Deﬁnition of Act of Terrorism under TRIA

             TRIA deﬁnes   "act of terrorism" as any act that is certiﬁed by the Secretary of the Treasury, in accordance with the
             provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
             Insurance Act provides that the Secretary of Treasury shall                       certify    an act of terrorism:
             1.    To be an       act of terrorism;

             2.    To be a       violent act or   an act that    i5   dangerous     to   human   life,   property or infrastmcture;




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Reviewer: Carol3.M. To have resulted in damage withinthe United States, or outside of the United States in the case of an air carrier
                (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
                principally in the United States, on which United States income tax is paid and whose insurance coverage is
                subject to regulation in the United States), or the premises of a United States mission; and
            4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
                United States or to influence the policy or affect the conduct of the United States Government by coercion.
            No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
            Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
            subject to TRIA, do not exceed $5,000,000.




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            SANCTIONS EXCLUSION
            ENDORSEMENT



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

            The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
            language in the policy, whether included in an Exclusion Section or otherwise:
            SANCTIONS EXCLUSION
            Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments
            or provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this
            policy to the extent that such cover, payment, service, benefit, or any business or activity of the insured would
            violate any applicable trade or economic sanctions law or regulation.

            The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
            coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
            coverage provided. Policy may also be referred to as contract or agreement.

            We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
            mean the company providing the coverage.

            Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
            otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.

            These definitions may be found in various parts of the policy and any applicable riders or endorsements.

            ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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          Important Notice                         -   In Witness Clause
                                                                                                                               9
                                                                                                                             ZURICH®

           In return for      the payment of premium, and subject to the terms of this policy, coverage                 is   provided as stated   in this

           policy.

           IN   WITNESS WHEREOF,            this   Company has executed and            attested these presents and,     where required by     law,   has




                                                   W
           caused    this policy to   be countersigned by    its   duly Authorized Representative(s).




                              277M; g.                                                                     QM? Km
                                        President                                                              Corporate Secretary




           QUESTIONS ABOUT YOUR INSURANCE? Your                           agent or broker     is   best equipped to provide information about your
           insurance. Should you require additional information or assistance                in   resolving a complaint, call or write to the following
           (please have your policy or claim number ready):



                                                                      Zurich   in   North America
                                                                  Customer Inquiry Center
                                                                      1299 Zurich Way
                                                               Schaumburg, Illinois 60196-1056
                                                       1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                                               Email: info.source@zurichna.com




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REVieweriféﬁWs       ATTACHED To THE POLICY

          EDGE-400-B                          The Zurich    EDGE Policy (Cover Page)
          U-GU-630-D          CW              Disclosure 0f Important Information Relating to Terrorism Risk
                                              Insurance Act

          U-GU-l 191-A        CW              SANCTIONS EXCLUSION ENDORSEMENT
          U-GU-3 19-F                         Important Notice         -   In Witness Clause

          EDGE-454-C                          The Zurich Edge Table 0f Contents

          EDGE-D-lOO-B                        The Zurich Edge Declarations

          EDGE-lOO-B                          The Zurich Edge Body of Form

          EDGE-450-B                          Appendix    A     -   Earth Movement/Earthquake Zones for             USA
                                              including   its   Commonwealths and             Territories


          EDGE-451-D                          Appendix    B     -   Earth Movement/Earthquake Zones Worldwide except
                                              USA its Commonwealths and Territories
          EDGE-452-B                          Appendix C - Named Storm Zones                     for   USA including its
                                              Commonwealths and Territories

          EDGE-453-D                          Appendix D - Named Storm Zones Worldwide except                        USA and its
                                              Commonwealths and Territories

          EDGE SchLoc                         Appendix E        -
                                                                    Schedule of Locations

          EDGE-ZOl-B                          Amendatory Endorsement              -   Alaska

          EDGE-207-F                          Amendatory Endorsement              -   Connecticut

          EDGE-210-D                          Amendatory Endorsement              -   Florida

          EDGE-21 l-A                         Amendatory Endorsement              -
                                                                                      Georgia

          EDGE-214-C                          Amendatory Endorsement              -   Illinois


          EDGE-215-A                          Amendatory Endorsement              -   Indiana

          EDGE-2 1 7-A                        Amendatory Endorsement              -
                                                                                      Kansas

          EDGE-218-B                          Amendatory Endorsement              -
                                                                                      Kentucky

          EDGE-219-C                          Amendatory Endorsement              -   Louisiana

          EDGE-221-C                          Amendatory Endorsement              -
                                                                                      Maryland

          EDGE-222-C                          Amendatory Endorsement-Massachusetts

          EDGE-220-B                          Amendatory Endorsement              -   Maine

          EDGE-224-B                          Amendatory Endorsement              -   Minnesota

          EDGE-225-B                          Amendatory Endorsement              -   Mississippi

          EDGE-226-A                          Amendatory Endorsement              -   Missouri

          EDGE-227-B                          Amendatory Endorsement              -   Montana

          EDGE-232-B                          Amendatory Endorsement - Nebraska

          EDGE-229-B                          Amendatory Endorsement - Nevada




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          EDGE-233-B                          Amendatory Endorsement            -   New York
          EDGE-236-A                          Amendatory Endorsement            -   Ohio

          EDGE-237-B                          Amendatory Endorsement            -   Oklahoma

          EDGE-240-A                          Amendatory Endorsement            -   Rhode   Island

          EDGE-241-B                          Amendatory Endorsement            -   South Carolina

          EDGE-242-C                          Amendatory Endorsement            -   South Dakota

          EDGE-243-B                          Amendatory Endorsement            -   Tennessee

          EDGE-246-B                          Amendatory Endorsement            -   Vermont

          EDGE-248-B                          Amendatory Endorsement            -   Washington

          EDGE-249-A                          Amendatory Endorsement            -   West Virginia

          EDGE-250-A                          Amendatory Endorsement            -   Wisconsin

          EDGE-251-A                          Amendatory Endorsement            -
                                                                                    Wyoming

          EDGE-252-A VA                       Amendatory Endorsement            -   Virginia

          EDGE-309-A                          Endorsement Limited Coverage for Electronic Data Programs or
                                              Software

          EDGE 303 A                          Endorsement 2     -   Emergency Vacating Expense

          EDGE 303 A                          Endorsement   3   -   Land Improvements, Valuable        Papers,   Agg
                                              Deductible

          ()                                  Endorsement 4     -   Better Green

          EDGE 303 A                          Endorsement 5     -
                                                                    Piers,   wharves, docks, dams,   etc.


          EDGE 303 A                          Endorsement 6     -   Communicable Disease

          U-GU-767-B          CW              Cap on Losses From Certiﬁed Acts of Terrorism




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               Policy     Number
               ERP98 1 9903-05

               Named Insured and Mailing Address
               Johnson & Wales University
               8 Abbott Park P1

               Providence, RI 02903



               hereafter referred to as the First         Named Insured.
               The following         are all hereafter referred t0 as the "Insured", including legal representatives.

               The First      Named Insured;        and

               any subsidiary 0f the First Named Insured. The First Named Insured‘s interest in any partnership, joint venture 0r other
               legal entity in which the First Named Insured has management control or ownership as now constituted 0r hereafter is
               acquired.


               When any   Insured described above is a party to a written contract or agreement on ﬁle, that requires a legal entity to be
               identiﬁed as an additional insured under this Policy, this Policy includes the legal entity as an additional insured, as its interest
               may appear, for physical damage to insured property Which is the subject 0f the written contract 0r agreement 0n ﬁle, before
               any   loss occurs; and does not provide any Time Element Coverage to the legal                 entity, except as   provided under Leasehold
               Interest   Coverage of this policy or as speciﬁcally endorsed t0 the policy.

               Producer
               Marsh USA,       Inc.

               99 High Street
               Boston,    MA     02110



               Policy Period
               Begins     May   1,   2019    at 12:01   AM; Ends May   1,   2020   at 12:01   AM
               Insurance is provided by the following Stock Company
               American Guarantee and Liability Insurance Company
               hereafter referred t0 as the "Company",


               Proportionate Share 0f Company for Loss 0r                          Damage
                           100%               Quota Share      Being $500,000,000 part 0f a $500,000,000 primary        loss layer


               Annual Policy Premium                               Surcharges, Taxes          & Fees               Total Policy   Premium



               PREMIUM PAYABLE
               This Policy      is   issued in consideration 0f an initial premium. The First Named Insured shown on the Policy isresponsible for
               the payment of         all   premiums and Will be the payee for any return premiums paid by the Company. Premiums Will be paid in
               the currency designated in Section II-2.02.




                                                                                                                                        EDGE—D—loo—B   (12/10)
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            SECTION I – POLICY APPLICABILITY
                1.01.       INSURING AGREEMENT
                            This Policy Insures against direct physical loss of or damage caused by a Covered Cause of Loss to Covered
                            Property, at an Insured Location described in Section II-2.01, all subject to the terms, conditions and
                            exclusions stated in this Policy.

                            No coverage can be provided in violation of any U.S. economic or trade sanctions laws or regulations. Such
                            coverage, which may be in violation of any U.S. economic or trade sanctions laws and regulations, shall be
                            null and void and the Company shall not be liable to make any payments or provide any defense under this
                            policy.

                1.02.       APPLICATION OF POLICY PERIOD
                            In the event of a claim the Policy Period is measured by local time at the location where the direct physical
                            loss or damage occurs.

                1.03.      TERRITORY
                            Coverage under this Policy applies to all covered loss or damage that takes place in the United States of
                            America, its territories and possessions, including the District of Columbia and the Commonwealth of Puerto
                            Rico.




                                                                                                                     EDGE-D-100-B (12/10)
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                SECTION II - DECLARATIONS
                     2.01         INSURED LOCATION
                                  This Policy insures an Insured Location unless otherwise provided.
                                  An Insured Location is          a Location   :




                     2.01.01.           Scheduled on       this   Policy by a Schedule 0f Locations attached t0 this Policy; Per Appendix E.

                     2.01.02.           Covered as a Miscellaneous            Unnamed Location and    ;




                     2.01.03.           Covered under the terms and conditions 0f the Newly Acquired Coverage 0r Errors and Omissions
                                        Coverage.

                     2.02.        CURRENCY
                                  A11 amounts, including deductibles and limits of liability, indicated in this Policy are in USD unless otherwise
                                  indicated by the three-letter currency designator as deﬁned in Table A.1 Currency and Funds code list,
                                  International Standards Organization (ISO) 4217, edition effective at inception 0f this Policy.


                     2.03.        POLICY LIMITS OF LIABILITY
                                  The Policy Limit is $500,000,000 for the total of all coverages combined regardless of the number of
                                  Locations involved subject t0 the following provisions:


                     2.03.01.           The Company         Will   pay no more     in   any one (1) Occurrence than         its   proportionate share 0f the Policy
                                        Limit.


                     2.03.02.           Limits 0f Liability stated below 0r elsewhere in this Policy are part of and not in addition to the Policy
                                        Limit.


                     2.03.03.           When an Annual Aggregate Limit of Liability is shown, the Company's maximum amount payable will
                                        not exceed such Limit 0f Liability during the Policy Year regardless of the number of Locations,
                                        Coverages 0r Occurrences involved.

                     2.03.04.           The most the Company will pay in an Occurrence caused by a Described Cause 0f Loss                          is   the Limit 0f
                                                       Described Cause 0f Loss.
                                        Liability for that

                     2.03.05.           Limits 0f Liability in an Occurrence apply to the total loss 0r damage, including any insured                           Time
                                        Element    loss, at all    Locations and for    all   Coverages involved.
                     2.03.06.           Limits 0f Liability


                                            The following are the Limits 0f Liability in an Occurrence unless otherwise shown. The Company
                                            willpay no more in any one (1) Occurrence than its proportionate share.
                                            The    limit    0f Liability     we show    for a coverage part   is    the   maximum amount we       Will   pay for the
                                            coverage    part.

                                            Sublimits within a coverage part            may reduce the amount payable under a coverage part.

                                Limits 0f Liability and Coverage Part

                                Limit                              Description


                                $500,000,000                       Property   Damage (PD) and Time Element (TE) combined at scheduled                locations:     0n
                                                                   ﬁle with the  Company per most recent statement 0f values.
                                                                   But not   t0 exceed:

                                                                    $25,000,000               EXTRA EXPENSE
                                                                    $5,000,000                LEASEHOLD INTEREST
                                $25,000,000                        ACCOUNTS RECEIVABLE

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                              $2,500,000      COMPUTER SYSTEMS DAMAGE
                                              in the   Annual Aggregate

                              $25,000,000     CONTINGENT TIME ELEMENT
                                              CONTINGENT TIME ELEMENT per occurrence but not t0                 exceed:


                                              For scheduled Direct Dependent Time Element Location and scheduled Indirect
                                              Dependent Time Element Location, $25,000,000 per location and per occurrence;

                                              For unscheduled Direct Dependent Time Element Location, $25,000,000 per
                                               location and per occurrence ,
                                              however $25,000,000 for Earth Movement, Flood, Named Storm or Volcanic
                                              Eruption;


                                              For unscheduled Indirect Dependent Time Element Location               ,   $1,000,000 per
                                              location and in the occurrence;


                                              For Indirect Dependent Time Element Location           as   deﬁned   in policy line 7.25.02(3
                                              rd or    more   tiers),   NCP;

                                              For   ATTRACTION PROPERTY Located within                1   miles 0f the Insured Location,
                                              $2,500,000 per location
                                              and in the occurrence


                              $25,000,000     DEBRIS      REMOVAL
                              $25,000,000     DECONTAMINATION COSTS
                              $5,000,000      DEFERRED PAYMENTS
                              $25,000,000     ERRORS AND OMISSIONS
                              $25,000,000     EXPEDITING COSTS
                              $5,000,000      FINE ARTS          but not t0 exceed $50,000 limit per item

                              $5,000,000      FIRE     DEPARTMENT SERVICE CHARGE
                              $25,000,000     INCREASED COST OF CONSTRUCTION
                              $500,000        LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL
                              $5,000,000      LAND IMPROVEMENTS
                              $ 1 0,000,000   MISCELLANEOUS PERSONAL PROPERTY
                              $10,000,000     MISCELLANEOUS UNNAMED LOCATION
                              $10,000,000     OFF PREMISES SERVICE INTERRUPTION
                              $500,000        PROFESSIONAL FEES
                              $2,500,000      RADIOACTIVE CONTAMINATION
                              $1,000,000      RESEARCH ANIMALS in excess of $250,000
                              $250,000        TENANTS PROHIBITED ACCESS
                              $1,000,000      TRANSIT
                              $25,000,000     VALUABLE PAPERS AND RECORDS
                              $5,000,000      NEW CONSTRUCTION AND ADDITIONS
                              $2,500,000      OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
                              $250,000,000    BREAKDOWN OF EQUIPMENT not to exceed:
                                              $2,500,000 for AMMONIA CONTAMINATION
                                              $2,500,000 for      SPOILAGE
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                                $50,000,000                            EARTH MOVEMENT in the Annual Aggregate but not to exceed the following
                                                                       limits in the    Annual Aggregate:

                                                                       a).   NCP      for property located in         Zone     1   for   Earth Movement        as described in
                                                                             Appendix     A & B.
                                                                       b).   NCP      for property located in         Zone 2       for   Earth Movement        as described in
                                                                             Appendix     A & B.
                                $50,000,000                            FLOOD in the Annual Aggregate but not to exceed                         the following limits in the
                                                                       Annual Aggregate:

                                                                       a).   $40,000,000 as respects Locations With any part 0f the legal description within a
                                                                             Special Flood Hazard Area (SFHA) and not otherwise listed herein.

                                                                       b).   $50,000,000 as respects Locations With any part 0f the legal description within a
                                                                             Moderate Flood Hazard Area (MFHA) and not otherwise                          listed herein.

                                                                       c).   $10,000,000 as respects       Newly Acquired Locations
                                                                       d).   $5,000,000 as respects Miscellaneous            Unnamed Locations
                                $500,000,000                           NAMED STORM per occurrence but not to exceed:
                                                                       a),   $50,000,000 for property located in Zone               1   for   Named Storm    as described in
                                                                             Appendix C D.  &
                                                                       b).   $100,000,000 for property located in Zone 2 for                  Named Storm as     described in
                                                                             Appendix C & D.
                                $2,500,000                             EMERGENCY VACATING EXPENSE
                                                                       in the   Annual Aggregate

                                $2,500,000                             CRISIS       EVENT COVERAGE
                                $2,500,000                             Better Green
                                                                                     INDOOR AIR QUALITY TESTING, EXISTING GREEN,
                                                                       per Endorsement for
                                                                       ENHANCED UPGRADE COVERAGE
                                $250,000                               INTERRUPTION BY COMMUNICABLE DISEASE

                     2.03.07.         Causation Deﬁnition: The following term                      is   included in the deﬁnition 0f the Peril as indicated:

                                Storm Surge     is       part of Flood


                     2.03.08.         Time and Distance             Limitations: In addition t0 the Limits of Liability                  shown elsewhere    in this Policy, the
                                      following limitations apply:


                                Located Within       1   mile(s) 0f the Insured Location.                      ATTRACTION PROPERTY
                                60 day period   for property within             1   mile(s) but not to         CIVIL OR MILITARY AUTHORITY
                                exceed a $25,000,000          limit.

                                60 day(s)                                                                       The   actual   Time Element         loss sustained   by   the
                                                                                                               Insured arising out of the Delay in Completion

                                Not Applicable                                                                  GROSS EARNINGS
                                365 day(s)                                                                     EXTENDED PERIOD OF LIABILITY
                                90 day(s)                                                                      ORDINARY PAYROLL
                                30 day period but not         to   exceed a $1,000,000        limit.           IMPOUNDED WATER
                                30 day period   for property Within             1   mile(s) but not t0         INGRESS/EGRESS
                                exceed a $25,000,000          limit.

                                30 day period but not         t0   exceed a $1,000,000        limit.           INTERNATIONAL INTERDEPENDENCY


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                                90 day period but not      to   exceed a $25,000,000 limit per      NEWLY ACQUIRED
                                Location.

                                48 hours    for Gross Earnings: not to exceed a $1,000,000          PROTECTION AND PRESERVATION OF
                                limit per Location.                                                 PROPERTY
                                12 months but not t0 exceed a $1,000,000             limit.         RESEARCH AND DEVELOPMENT


                     2.03.09.           Time Speciﬁcations: As            follows:



                                EARTH MOVEMENT Occurrence                                                                    168 hours

                                NAMED STORM Occurrence                                                                       72 hours

                                Cancellation for non-payment 0f premium                                                       10 days

                                Cancellation for any other reason                                                            90 days


                     2.03.10.           Valuation:   As    follows:



                                Finished Stock                                                          Selling Price


                                Merchandise     that carries the                                        Selling Price
                                Insured's brand or trade        name

                                A11 other Merchandise                                                   Selling Price


                                Vehicles                                                                Actual Cash Value


                                101   Richmond   Street,   Providence,                                  Actual Cash Value
                                RI

                                1146 Narragansett B1Vd., Cranston,                                      Actual Cash Value
                                RI


                     2.04.              QUALIFYING PERIOD
                                        For the Coverages        listed   below the following Qualifying Period   applies:


                                OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE &                                          12 Hours
                                TIME ELEMENT COVERAGE applies separately at each location.
                                COMPUTER SYSTEMS DAMAGE COVERAGE                                                             48 Hours

                                TENANTS PROHIBITED ACCESS COVERAGE applies                         separately at each         2 Days
                                location.


                                NEW CONSTRUCTION AND ADDITIONS: Delay in Completion                                           7 Days
                                applies separately at each location.




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                2.05.               DEDUCTIBLES
                                    Each claim for loss or damage as insured against arising out of any one (1) Occurrence shall be adjusted
                                    separately. The Company shall not be liable unless the Insured sustains loss or damage in excess of the
                                    deductible(s) stated below and then only for the proportionate share of such excess amount(s).

                2.05.01.                A deductible that applies on a per Location basis will apply separately to each Location where the
                                        physical loss or damage occurred regardless of the number of Locations involved in the Occurrence.

                2.05.02.                Unless stated otherwise, if two or more deductibles apply to an Occurrence, the total deducted will
                                        not exceed the largest applicable deductible. If two or more deductibles apply on a per Location
                                        basis in an Occurrence, the largest deductible applying to each Location will be applied separately
                                        to each such Location.
                2.05.03.                If separate Property Damage and Time Element loss deductibles are shown, then the deductibles shall
                                        apply separately.

                2.05.04.                When a “minimum deductible” per Occurrence is shown and is applicable to an Occurrence, the
                                        “minimum deductible” is the minimum dollar amount of covered damage that the Insured will retain
                                        in any one (1) Occurrence. The amount retained for purposes of applying the “minimum deductible”
                                        is the sum of:

                2.05.04.01.             the specified location deductible for each location where the amount of covered damage exceeds the
                                        specified location deductible; and

                2.05.04.02.             the amount of covered damage for each location where the amount of covered damage is less than
                                        specified location deductible.

                2.05.05.                Policy Deductible(s)
                2.05.05.01.             $250,000 combined Property Damage (PD) and Time Element (TE)
                                        per Occurrence except as follows:

                2.05.05.02.             Exceptions to Policy Deductible(s)

                2.05.05.02.01.          Contingent Time Element
                                        $250,000 per Location at each Direct Dependent Time Element Location, Indirect Dependent
                                        Time Element Location, and Attraction Property where the physical loss or damage occurs
                                        regardless of any other deductibles that may also apply.

                                        However, when the loss results from Earthquake, Named Storm and/or Flood such loss shall be
                                        subject to its respective deductible(s) for Direct Dependent Time Element Location as follows:
                2.05.05.02.02.          Earthquake
                                        The following deductibles apply to loss or damage caused by or resulting from Earthquake. This
                                        Earthquake deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.02.01        $250,000 combined Property Damage (PD) and Time Element (TE)
                                        per Occurrence;


                2.05.05.02.03.          Flood
                                        The following deductibles apply to loss or damage caused by or resulting from Flood. This Flood
                                        deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.03.01.       $250,000 combined Property Damage (PD) and Time Element (TE)
                                        per Occurrence except as follows:




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                2.05.05.02.03.02.   As respects Locations with any part of the legal description within a Special Flood Hazard Area
                                    (SFHA):
                                    Property Damage - 5% of the value per the most current Statement of Values on file with the
                                    company as of the date of loss, will be applied to loss to that type of property on the following basis:
                                    i). Each separate building or structure where the direct physical loss or damage occurs;

                                    ii). All personal property within each building or structure where the direct physical loss or
                                         damage occurs;

                                    iii). All personal property in the open at each Location where the direct
                                        physical loss or damage occurs.

                                    Time Element - 5% of the full 12 months Gross Earnings values that would have been earned
                                    following the Occurrence by use of the facilities at the Location where the direct physical loss or
                                    damage occurred and all other Locations where Time Element loss ensues, per Occurrence.

                                    The above Flood deductibles are subject to a minimum deductible of $1,000,000 for Property
                                    Damage
                                    and Time Element combined per Occurrence.
                2.05.05.02.03.03.   As respects Locations with any part of the legal description within a Moderate Flood Hazard Area
                                    (MFHA):
                2.05.05.02.03.03.01. Property Damage (PD) and Time Element (TE) combined - $250,000, per Occurrence.

                2.05.05.02.04.      Named Storm
                                    The following deductibles apply to loss or damage caused by or resulting from Named Storm. The
                                    Named Storm deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.04.01.   $250,000 combined Property Damage (PD) and Time Element (TE)
                                    per Occurrence except as follows:
                2.05.05.02.04.02.   As respects Locations in Zone 1:
                                    Property Damage - 5% of the value per the most current Statement of Values on file with the
                                    company as of the date of loss, will be applied to loss to that type of property on the following basis:
                                    i). Each separate building or structure where the direct physical loss or damage occurs;

                                    ii). All personal property within each building or structure where the direct physical loss or
                                         damage occurs;

                                    iii). All personal property in the open at each Location where the direct
                                        physical loss or damage occurs.

                                    Time Element - 5% of the full 12 months Gross Earnings values that would have been earned
                                    following the Occurrence by use of the facilities at the Location where the direct physical loss or
                                    damage occurred and all other Locations where Time Element loss ensues, per Occurrence.

                                    The above Named Storm deductibles are subject to a minimum deductible of $250,000 for Property
                                    Damage
                                    and Time Element combined per Occurrence.
                2.05.05.02.04.03.   As respects Locations in Zone 2:
                2.05.05.02.04.03.01. Property Damage (PD) and Time Element (TE) combined - $250,000, per Occurrence.

                2.05.05.02.05.      Breakdown of Equipment Deductible(s)
                2.05.05.02.05.01.   $10,000 combined Property Damage (PD) and Time Element (TE)
                                    per Occurrence for loss or damage caused by Breakdown;


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                     2_05_05_02,()6,          Water or Liquid Damage Deductible(s)
                                              Not Applicable

                     2.05.05.02.07.           Other Deductibles

                                              Not Applicable




                     Authorized Representative                                       Date




                     Print    Name   0f Authorized Rep.                              Ofﬁce




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            SECTION III - PROPERTY DAMAGE
                3.01.           COVERED PROPERTY
                                This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, located
                                at an Insured Location or within 1,000 feet thereof or as otherwise provided for in this Policy.

                3.01.01.            The Insured's interest in buildings (or structures) including new construction, additions, alterations,
                                    and repairs that the Insured owns, occupies, leases or rents.

                3.01.02.            The Insured's interest in Personal Property, including Improvements and Betterments.

                3.01.03.            Property of Others will not extend any Time Element Coverage provided under this Policy to the
                                    owner of the property and is limited to property:

                3.01.03.01.             In the Insured's care, custody or control;

                3.01.03.02.             In which the Insured has an insurable interest or obligation;

                3.01.03.03.             For which the Insured is legally liable; or

                3.01.03.04.             For which the Insured has agreed in writing prior to any loss or damage to provide coverage.

                3.01.04.            Personal Property of officers and employees of the Insured.

                3.02.           PROPERTY NOT COVERED
                                This Policy does not insure the following property:

                3.02.01.            Money, precious metal in bullion form, notes, or Securities.

                3.02.02.            Watercraft or aircraft, except when unfueled and manufactured by the Insured.

                3.02.03.            Spacecraft, satellites, associated launch vehicles and any property contained therein.

                3.02.04.            Animals, standing timber and growing crops.

                3.02.05.            Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or
                                    bulkheads.

                3.02.06.            Land, water or any other substance in or on land; except this exclusion does not apply to:

                3.02.06.01.             Land Improvements, or

                3.02.06.02.             Water that is contained in any enclosed tank, piping system or any other processing
                                        equipment.

                3.02.07.            Land Improvements at a golf course.

                3.02.08.            Mines, mineshafts, caverns and any property contained therein.

                3.02.09.            Vehicles of officers and employees of the Insured or vehicles otherwise insured for physical loss or
                                    damage.




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                3.02.10.            Transmission and distribution lines situated beyond 1,000 feet of the Insured Location.

                3.02.11.            Property in transit, except as otherwise provided by the Transit Coverage of this Policy.

                3.02.12.            Contraband or property in the course of illegal transit or trade.

                3.02.13.            Property more specifically insured, except for any excess beyond such more specific insurance
                                    limit.

                3.02.14.            Property sold by the Insured under conditional sale, trust agreement, installment plan or other
                                    deferred payment plan after delivery to customers except as provided by the Deferred Payments
                                    Coverage of this Policy.

                3.02.15.            Electronic Data, Programs and Software, except when they are Stock in Process, Finished
                                    Stock, Raw Materials, supplies or Merchandise or as otherwise provided by the Computer
                                    Systems Damage Coverage or Valuable Papers and Records Coverage of this Policy.

                3.03.           EXCLUSIONS
                                The following exclusions apply unless specifically stated elsewhere in this Policy:

                3.03.01.            This Policy excludes the following unless it results from direct physical loss or damage not
                                    excluded by this Policy.

                3.03.01.01.             Contamination, and any cost due to Contamination including the inability to use or occupy
                                        property or any cost of making property safe or suitable for use or occupancy, except as
                                        provided by the Radioactive Contamination Coverage of this Policy.

                3.03.01.02.             Changes in size, color, flavor, texture or finish.

                3.03.01.03.             Loss or damage arising from the enforcement of any law, ordinance, regulation or rule
                                        regulating or restricting the construction, installation, repair, replacement, improvement,
                                        modification, demolition, occupancy, operation or other use, or removal including debris
                                        removal of any property.

                3.03.02.            This Policy excludes:

                3.03.02.01.             Loss or damage arising from delay, loss of market, or loss of use.

                3.03.02.02.             Indirect or remote loss or damage.

                3.03.02.03.             Loss or damage arising from the interference by strikers or other persons with rebuilding,
                                        repairing or replacing property or with the resumption or continuation of the Insured's
                                        business.

                3.03.02.04.             Unexplained disappearance; mysterious disappearance; or shortage disclosed on taking
                                        inventory when the factual existence of such shortage is solely dependant on inventory
                                        records.

                3.03.02.05.             Loss or damage resulting from the Insured's suspension of business activities, except to the
                                        extent provided by this Policy.

                3.03.02.06.             Any applicable Special Coverage, Described Cause of Loss, or portion of coverage if a Limit
                                        of Liability is identified as NCP in Section II-Declarations.




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                3.03.03.            This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting
                                    from any of the following regardless of any other cause or event, whether or not insured under this
                                    Policy, contributing concurrently or in any other sequence to the loss:

                3.03.03.01.             Nuclear reaction or radiation, any by-product of nuclear reaction, any radiological material or
                                        radioactive contamination however caused; but if direct physical loss of or damage to Covered
                                        Property by fire or sprinkler leakage results, the Company will pay for the loss or damage
                                        caused by the fire or sprinkler leakage.

                3.03.03.02.             War, invasion, act of foreign enemy, hostilities or warlike operations (whether war be declared
                                        or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
                                        proportions of or amounting to an uprising, military or usurped power, nationalization,
                                        confiscation, requisition, seizure or destruction by the government or any public authority,
                                        including action in hindering, combating or defending against any of these. However,
                                        destruction by order of governmental or public authority to prevent spread of fire is covered.

                3.03.03.03.             Any weapon of war or of mass destruction employing biological or chemical warfare, atomic
                                        fission, atomic fusion, radioactive force or radioactive material, whether in time of peace or
                                        war regardless of who commits the act.

                3.03.03.04.             Dishonest, fraudulent or criminal acts by the Insured or any of the Insured's associates,
                                        proprietors, partners, officers, employees, directors, trustees or authorized representatives.

                                        This exclusion does not apply to acts of direct physical loss or damage resulting from a
                                        Covered Cause of Loss intentionally caused by any individual specified above and done
                                        without the knowledge of the Insured. In no event does this Policy cover loss caused by theft
                                        by any individual above.

                3.03.03.05.             Lack of the following services when caused by an event off the Insured Location (except as
                                        provided in Off Premises Service Interruption Property Damage and Time Element Coverage
                                        of this Policy). However, if the lack of any of the following services results in a Covered
                                        Cause of Loss, this exclusion does not apply to the loss or damage caused by the Covered
                                        Cause of Loss.

                3.03.03.05.01.              Incoming electricity, fuel, water, gas, steam, refrigerant;

                3.03.03.05.02.              Outgoing sewage; or

                3.03.03.05.03.              Incoming or outgoing voice, data or video.

                3.03.04.            This Policy excludes the following but any resulting physical damage not otherwise excluded is
                                    insured:

                3.03.04.01.             Faulty, inadequate or defective design, specifications, workmanship, construction or materials
                                        used.

                3.03.04.02.             Loss or damage to stock or material attributable to manufacturing or processing operations
                                        while such stock or material is being processed, manufactured, tested or otherwise worked on.

                3.03.04.03.             Corrosion, depletion, deterioration, erosion, inherent vice, latent defect, rust, wear and tear.

                3.03.04.04.             Changes of temperature (except to machinery or equipment) or changes in relative humidity,
                                        all whether atmospheric or not.




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                3.03.04.05.             Settling, cracking, shrinking, bulging or expansion of: foundations (including any pedestal,
                                        pad, platform or other property supporting machinery), floors, pavements, walls, ceilings or
                                        roofs.

                3.03.04.06.             Insects, animals or vermin damage.

                3.03.04.07.             Cumulative effects of smog, smoke, vapor, liquid and dust.




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                SECTION IV - TIME ELEMENT
                4.01.           LOSS INSURED
                4.01.01.            The Company will pay for the actual Time Element loss the Insured sustains, as provided in the
                                    Time Element Coverages, during the Period of Liability. The Time Element loss must result from
                                    the necessary Suspension of the Insured's business activities at an Insured Location. The
                                    Suspension must be due to direct physical loss of or damage to Property (of the type insurable
                                    under this Policy other than Finished Stock) caused by a Covered Cause of Loss at the Location,
                                    or as provided in Off Premises Storage for Property Under Construction Coverages.

                                    The Company will also pay for the actual Time Element loss sustained by the Insured, during the
                                    Period of Liability at other Insured Locations. The Time Element loss must result from the
                                    necessary Suspension of the Insured's business activities at the other Insured Locations. Such
                                    other Location must depend on the continuation of business activities at the Location that
                                    sustained direct physical loss or damage caused by a Covered Cause of Loss.

                4.01.02.            There is recovery only to the extent that the Insured is:

                4.01.02.01.             unable to make up lost production within a reasonable period of time not limited to the period
                                        during which production is Suspended;

                4.01.02.02.             unable to continue such operations or services during the Period of Liability; and

                4.01.02.03.             able to demonstrate a loss of revenue for the operations, services or production Suspended.

                4.01.03.            The Company insures Time Element loss only to the extent it cannot be reduced by:

                4.01.03.01.             The Insured resuming business activities in whole or part;

                4.01.03.02.             Using damaged or undamaged property (including Raw Stock, Stock in Process or Finished
                                        Stock) at the Insured Location or elsewhere;

                4.01.03.03.             Using the services or property of others;

                4.01.03.04.             Working extra time or overtime; or

                4.01.03.05.             The use of other Locations not covered under this Policy.

                4.01.03.06.             Any amount recovered under property damage coverage at selling price for loss or damage to
                                        Merchandise.

                4.01.04.            The Company will include in any calculation the combined operating results of all Insured
                                    Locations in determining the Time Element loss.

                4.01.05.            In determining the Time Element loss, the Company will evaluate the experience of the business
                                    before and after the loss or damage and the probable experience had no direct physical loss or
                                    damage occurred at an Insured Location during the Period of Liability.

                4.02.           TIME ELEMENT COVERAGES
                4.02.01.           GROSS EARNINGS
                4.02.01.01.        Gross Earnings loss is the actual loss sustained by the Insured during the Period of Liability.




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                4.02.01.02.             Gross Earnings value is determined as follows:

                4.02.01.02.01.              The sum of:

                4.02.01.02.01.01.               Total net sales value of production;

                4.02.01.02.01.02.               Total net sales of Merchandise;

                4.02.01.02.01.03.               The rental income; and

                4.02.01.02.01.04.               Other income derived from the Insured's business activities.

                4.02.01.02.02.              Less the cost of the following:

                4.02.01.02.02.01.               Raw Stock from which production is derived;

                4.02.01.02.02.02.               Supplies consisting of materials consumed directly in conversion of Raw Stock into
                                                Finished Stock or in supplying the service(s) sold by the Insured;

                4.02.01.02.02.03.               Merchandise sold, including related packaging materials; and

                4.02.01.02.02.04.               Service(s) purchased from outsiders (not Insured's employees) for resale, which do
                                                not continue under contract.

                4.02.01.02.03.              Gross Earnings loss is determined as follows:

                                            Gross Earnings value that would have been earned during the Period of Liability, less
                                            charges and expenses that do not necessarily continue during the Period of Liability.

                                            Consideration shall be given to the continuation of normal charges and expenses,
                                            including Ordinary Payroll for the number of consecutive days as stated in the
                                            Declarations but not to exceed the limit shown for Ordinary Payroll, to the extent
                                            necessary to resume the Insured's business activities with the same quality of service that
                                            existed immediately preceding the loss.

                4.02.01.02.04.              This Policy will also pay the reasonable and necessary expenses incurred (except the cost
                                            to extinguish a fire) by the Insured to reduce the amount of Gross Earnings loss during
                                            the Period of Liability. This Policy will pay for such expenses to the extent that they do
                                            not exceed the amount of Gross Earnings loss that otherwise would have been payable.
                                            This provision will not pay for the cost of permanent repair or replacement of property
                                            that has suffered direct physical loss or damage.

                4.02.01.02.05.              This Policy will also pay the increased tax liability incurred by the Insured due to the
                                            profit portion of a Gross Earnings loss payment being greater than the tax liability
                                            incurred on the profits that would have been earned had no loss occurred.

                4.02.02.            EXTENDED PERIOD OF LIABILITY
                                    Upon the termination of the coverage for Gross Earnings loss under 4.02.01.01. this Policy will
                                    continue to pay the actual Gross Earnings loss sustained by the Insured until the earlier of:

                4.02.02.01.             The date the Insured could restore its business with due diligence, to the condition that would
                                        have existed had no direct physical loss or damage occurred to the Insured's Covered Property;
                                        or




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                4.02.02.02.             The number of consecutive days as stated in the Declarations

                4.02.02.03.             Exclusion 4.02.05.01.02.01. is deleted during the Extended Period of Liability and is
                                        replaced with:

                                        4.02.05.01.02.01.          A reduction in sales after the Extended Period of Liability ends due
                                                                   to suspension, cancellation or lapse of any lease, contract, license or
                                                                   orders.

                4.02.03.            EXTRA EXPENSE
                                    The Company will pay for the reasonable and necessary Extra Expenses incurred by the Insured,
                                    during the Period of Liability, to resume and continue as nearly as practicable the Insured's normal
                                    business activities that otherwise would be necessarily suspended, due to direct physical loss of or
                                    damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                                    a Location.

                                    The Company will reduce the amount payable as Extra Expense by the fair market value remaining
                                    at the end of the Period of Liability for property obtained in connection with the above.

                                    Extra Expenses mean that amount spent to continue the Insured's business activities over and above
                                    the expenses the Insured would have normally incurred had there been no direct physical loss of or
                                    damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                                    a Location. Extra Expense does not include any Gross Earnings loss, the cost of permanent repair
                                    or replacement of property that has suffered direct physical loss or damage, or expenses otherwise
                                    payable elsewhere in the Policy.

                4.02.04.            LEASEHOLD INTEREST
                                    The Company will pay for the actual Leasehold Interest loss incurred by the Insured (as lessee)
                                    resulting from direct physical loss of or damage caused by a Covered Cause of Loss to a building
                                    (or structure) which is leased and not owned by the Insured, as follows:

                4.02.04.01.             If the building (or structure) becomes wholly untenantable or unusable and the lease
                                        agreement requires continuation of the rent, the Company will pay the Insured the present
                                        value of the actual rent payable for the unexpired term of the lease, not including any options;

                4.02.04.02.             If the building (or structure) becomes partially untenantable or unusable and the lease
                                        agreement requires continuation of the rent, the Company will pay the Insured for the present
                                        value of the proportionate amount of the actual rent payable for the unexpired term of the
                                        lease, not including any options; or

                4.02.04.03.             If the lease is cancelled by the lessor pursuant to the terms of the lease agreement or by
                                        operation of law, this Policy will pay the Insured for their Lease Interest for the first three (3)
                                        months following the loss or damage and for their Net Lease Interest for the remaining
                                        unexpired term of the lease.

                4.02.04.04.             The Insured must use any suitable property or service owned, controlled, or obtainable from
                                        any source to reduce the loss.

                4.02.04.05.             In addition to the exclusions elsewhere in this Policy, the Leasehold Interest Coverage
                                        excludes:

                4.02.04.05.01.          Any increase in the Leasehold Interest loss resulting from the suspension, lapse or cancellation
                                        of any lease;




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                4.02.04.05.02.                Any loss from the Insured exercising an option to cancel the lease; or

                4.02.04.05.03.                Any loss from an act or omission by the Insured that constitutes default under the lease.

                4.02.05.              EXCLUSIONS
                                      In addition to the exclusions elsewhere in this Policy, the following exclusions apply to Time
                                      Element Coverage;

                4.02.05.01.               This Policy does not insure against:

                4.02.05.01.01.                Any loss during any idle period that would have been experienced had the Suspension of
                                              business activities not occurred. This includes, but is not limited to, when production,
                                              operation, services, delivery or receipt of goods or services or any other business activities
                                              would have ceased, or would not have taken place or would have been prevented due to:

                4.02.05.01.01.01.                  Planned or rescheduled shutdown;

                4.02.05.01.01.02.                  Strikes or other work stoppage; or

                4.02.05.01.01.03.                  Any reason other than physical loss or damage insured by this Policy.

                4.02.05.01.02.                Any increase in Time Element loss due to:

                4.02.05.01.02.01.                  Suspension, cancellation or lapse of any lease, contract, license or orders;

                4.02.05.01.02.02.                  Fines or damages for breach of contract or for late or non-completion of orders;

                4.02.05.01.02.03.                  Penalties of any nature; or

                4.02.05.01.02.04.                  Any other consequential or remote factors.

                4.02.05.01.03.                Any loss resulting from loss or damage to Finished Stock, nor the time required for their
                                              reproduction.

                4.02.05.01.04.                Any Time Element loss due to physical loss or damage not insured by this Policy on or
                                              off of the Insured Location.

                                              However, in the event that a Suspension is due to a Covered Cause of Loss and during
                                              such Suspension a loss that is otherwise excluded occurs, the Company will pay for the
                                              Time Element loss which is directly caused by the Covered Cause of Loss to Covered
                                              Property under this Policy.

                4.02.05.01.05.                Any Time Element loss resulting from damage to Property of Others; however this
                                              exclusion does not apply to Time Element loss suffered by the Insured as a direct result of
                                              the damage to Property of Others.

                4.03.               PERIOD OF LIABILITY
                4.03.01.              The Period of Liability applying to all Time Element Coverages, except Leasehold Interest, and as
                                      shown below or if otherwise provided under any Special Coverage, and subject to any Time Limit
                                      provided in 2.03.08., is as follows:




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                4.03.01.01.             For building and equipment: The period starting from the time of physical loss or damage of
                                        the type insured against and ending when with due diligence and dispatch the building and
                                        equipment could be repaired or replaced, and made ready for operations under the same or
                                        equivalent physical and operating conditions that existed prior to the damage. The expiration
                                        of this Policy will not limit the Period of Liability.

                4.03.01.02.             For building and equipment under construction: The equivalent of the above period of time
                                        will be applied to the level of business that reasonably would have been achieved after
                                        construction and startup would have been completed had there been no direct physical loss or
                                        damage. Due consideration will be given to the actual experience of the business after
                                        completion of the construction and startup.

                4.03.01.03.             For Stock in Process and Merchandise: The period of time required with the exercise of due
                                        diligence and dispatch to restore Stock in Process to the same state of manufacture in which it
                                        stood at the inception of the interruption of production or suspension of business operations or
                                        services and to replace physically damaged Merchandise.

                4.03.01.04.             For Raw Materials and supplies: The period of time of actual interruption of production or
                                        suspension of operations or services resulting from the inability to get suitable Raw Materials
                                        and supplies to replace Raw Materials and supplies damaged, but limited to that period for
                                        which the damaged Raw Materials and supplies would have supplied operating needs.

                4.03.02.            The Period of Liability applying to all Time Element Coverage, except Leasehold Interest, or if
                                    otherwise provided under any Special Coverage, and subject to any Time Limit provided in
                                    2.03.08., does not include any additional time due to the Insured's inability to resume operations
                                    for any reason, including but not limited to:

                4.03.02.01.             Making changes to equipment;

                4.03.02.02.             Making changes to the buildings or structures except as provided in the Increased Costs of
                                        Construction Coverage of the Special Coverages section; or

                4.03.02.03.             Re-staffing or retraining employees.




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            SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS
                5.01.           OPERATION OF SPECIAL COVERAGES & DESCRIBED CAUSES
                                OF LOSS:
                5.01.01.            Special Coverages & Described Causes of Loss are subject to the applicable Limit of Liability
                                    and are included within and will not increase the Policy Limit.

                5.01.02.            Special Coverages & Described Causes of Loss are subject to the Policy provisions, including
                                    applicable exclusions and deductibles, all as shown in this section and elsewhere in this Policy,
                                    whether or not a Limit of Liability is shown.

                5.01.03.            If coverage is afforded under any Special Coverage or Described Cause of Loss, the applicable
                                    Limit of Liability for that Special Coverage or Described Cause of Loss is the most the Company
                                    will pay for all the loss or damage described therein even if coverage would otherwise be available
                                    under any other part of this Policy.

                5.01.04.            If no Limit of Liability is shown in this Policy, the Limit of Liability for that Special Coverage or
                                    Described Cause of Loss is part of the Policy Limit.

                5.01.05.            If NCP is shown for any Special Coverage or Described Cause of Loss in this Policy, then no
                                    coverage is provided for that Special Coverage or Described Cause of Loss.

                5.01.06.            If two or more Limits of Liability apply to a claim for loss or damage, or some part thereof, the
                                    lesser applicable Limit of Liability shall apply to the claim, or to the part thereof.

                5.01.07.            The Company will pay no more in any one (1) Occurrence than our proportionate share of any
                                    applicable Limit of Liability regardless of the number of Locations affected by such Occurrence
                                    and regardless of whether additional or greater limits would otherwise be available under any other
                                    part of this Policy.

                5.01.08.            Any Annual Aggregate limit is the most the Company will pay in the Policy Year regardless of
                                    the number of Occurrences.

                5.01.09.            In the event of loss or damage involving any one or more of the following Special Coverage or
                                    Described Causes of Loss, the Company will pay no more for the total of all such coverage
                                    combined than our proportionate share of the Policy Limit.

                5.02.           DESCRIPTION OF SPECIAL COVERAGES
                5.02.01.            ACCOUNTS RECEIVABLE
                .                   The Company will pay for the actual loss sustained resulting from direct physical loss of or
                                    damage caused by a Covered Cause of Loss to the Insured's accounts receivable records as
                                    respects the following:

                5.02.01.01.             All sums due the Insured from customers, provided the Insured is unable to collect these sums
                                        as a result of direct physical loss or damage to accounts receivable records;

                5.02.01.02.             Interest charges on any loan obtained by the Insured to offset impaired collections resulting
                                        from direct physical loss of or damage to accounts receivable records but only for such period
                                        of time reasonable and necessary for the Insured to resume normal collections;




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            5.02.01.03.             Necessary collection expense in excess of normal collection cost due to direct physical loss of or
                                    damage to accounts receivable records; and

            5.02.01.04.             Other expenses, when reasonably incurred by the Insured in re-establishing accounts receivable
                                    records following direct physical loss of or damage to accounts receivable records.

            5.02.01.05.             For the purpose of this insurance, credit card charge records shall be deemed to represent sums due
                                    the Insured from customers, until the charge records are delivered to the credit card company.

            5.02.01.06.             When there is proof that direct physical loss of accounts receivable records has occurred and the
                                    Insured cannot accurately establish the total amount of accounts receivable outstanding as of the
                                    date of loss, the amount payable shall be computed as follows:

            5.02.01.06.01.              The monthly average of accounts receivable during the last available twelve (12) months; the
                                        reasonable and necessary collection expenses in excess of normal collection costs due to direct
                                        physical loss of or damage to accounts receivable records; and the reasonable and necessary
                                        expenses incurred in reestablishing accounts receivable records following direct physical loss
                                        or damage, shall be adjusted in accordance with the percentage increase or decrease in the
                                        twelve (12) months average of monthly gross revenues which may have occurred in the
                                        interim.

            5.02.01.06.02.              The monthly amount of accounts receivable as established in 5.02.01.06.01.above shall be
                                        further adjusted in accordance with any demonstrable variance from the average for the
                                        particular month in which the loss occurred. Consideration will also be given to the normal
                                        fluctuations in the amount of accounts receivable within the fiscal month involved.

            5.02.01.06.03.              The Company shall deduct from the total amounts of account receivable, the amount of
                                        accounts evidenced by records not lost or damaged, or otherwise established or collected by
                                        the Insured, and an amount to allow for probable bad debts which the Insured normally would
                                        have been unable to collect and for the normal collection costs incurred due to accounts
                                        receivable.

            5.02.01.07.             The following additional exclusion applies:

                                    This Coverage does not insure against shortage resulting from bookkeeping, accounting, billing
                                    errors or omissions, alteration, falsification, manipulation, concealment, destruction or disposal of
                                    accounts receivable records committed to conceal the wrongful giving, taking, obtaining or
                                    withholding of money, securities or other property; but only to the extent of such wrongful giving,
                                    taking, obtaining or withholding.

            5.02.02.            AMMONIA CONTAMINATION
                                In the event of direct physical loss of or damage to Covered Property caused by a Breakdown of
                                Covered Equipment at a Scheduled Location, the Company will pay for resulting Ammonia
                                Contamination.

            5.02.03.            CIVIL OR MILITARY AUTHORITY
                                The Company will pay for the actual Time Element loss sustained by the Insured, as provided by this
                                Policy, resulting from the necessary Suspension of the Insured's business activities at an Insured
                                Location if the Suspension is caused by order of civil or military authority that prohibits access to the
                                Location. That order must result from a civil authority's response to direct physical loss of or damage
                                caused by a Covered Cause of Loss to property not owned, occupied, leased or




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                                    rented by the Insured or insured under this Policy and located within the distance of the Insured's
                                    Location as stated in the Declarations. The Company will pay for the actual Time Element loss
                                    sustained, subject to the deductible provisions that would have applied had the physical loss or
                                    damage occurred at the Insured Location, during the time the order remains in effect, but not to
                                    exceed the number of consecutive days following such order as stated in the Declarations up to the
                                    limit applying to this Coverage.

                5.02.04.            COMPUTER SYSTEMS DAMAGE
                                    The Company will pay for direct physical loss of or damage to the Insured's Electronic Data,
                                    Programs, Software and the actual Time Element loss sustained, as provided by this Policy,
                                    during the Period of Interruption directly resulting from mysterious disappearance of code, any
                                    failure, malfunction, deficiency, deletion, fault, Computer Virus or corruption to the Insured's
                                    Electronic Data, Programs, Software at an Insured Location. The Company will also pay for
                                    such loss or damage that may arise out of or result from any authorized or unauthorized access in,
                                    of, or to any computer, communication system, file server, networking equipment, computer
                                    system, computer hardware, data processing equipment, computer memory, microchip,
                                    microprocessor, integrated circuit or similar device.

                                    This Coverage will only apply when the Period of Interruption exceeds the time shown as
                                    Qualifying Period in the Qualifying Period clause of the Declarations section. If the Qualifying
                                    Period is exceeded, then this Policy will pay for the amount of loss in excess of the Policy
                                    Deductible, but not more than the limit applying to this Coverage.
                5.02.04.01.             The following additional exclusions apply:

                5.02.04.01.01.              The Company will not pay for any loss or damage to Electronic Data, Programs or
                                            Software when they are Raw Stock, Stock in Process, Finished Stock manufactured by
                                            the Insured, and supplies or other Merchandise.

                5.02.04.01.02.              Errors or omissions in processing or copying, except when direct physical loss or
                                            damage caused by a Covered Cause of Loss results. Then only that resulting
                                            damage is covered.

                5.02.04.01.03.              Loss or damage to Electronic Data, Programs or Software from errors or omissions in
                                            programming or machine instructions.

                5.02.05.            CONTINGENT TIME ELEMENT
                                    This Policy covers the actual Time Element loss as provided by the Policy, sustained by the
                                    Insured during the Period of Liability directly resulting from the necessary Suspension of the
                                    Insured's business activities at an Insured Location if the Suspension results from direct physical
                                    loss of or damage caused by a Covered Cause of Loss to Property (of the type insurable under
                                    this Policy) at Direct Dependent Time Element Locations, Indirect Dependent Time Element
                                    Locations, and Attraction Properties located worldwide, except for in the following:

                                    Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                                    -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                                    Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                                    Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                                    Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                                    Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                                    Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,
                                    Palestine, Reunion, Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri




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                                                Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo,
                                                Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                                    Any other country where prohibited by United States law or where trade relations are unlawful as
                                    determined by the Government of the United States of America or its agencies.

                5.02.05.01.             As respects Contingent Time Element:

                5.02.05.01.01.              The Insured will influence and cooperate with the Direct Dependent Time Element
                                            Locations, Indirect Dependent Time Element Locations, and Attraction Properties in
                                            every way and take any reasonable and necessary action, including the use of other
                                            machinery, supplies or locations, to mitigate the loss payable hereunder.

                5.02.05.01.02.              In determining the indemnity payable hereunder, the Company will consider the amount
                                            of income derived before the date of physical loss or damage and the probable amount of
                                            income after the date of loss or damage.

                5.02.05.01.03.              4.02.05.01.03. does not apply.

                5.02.05.02.         Any Time Element loss directly or indirectly caused by or resulting from any Terrorist Activity
                                    regardless of any other cause or event, whether or not insured under this Policy, contributing
                                    concurrently or in any other sequence to the loss is excluded when the Direct Dependent Time
                                    Element Locations, Indirect Dependent Time Element Locations, and Attraction Properties
                                    is outside of the USA, its territories, possessions and missions, and the Commonwealth of Puerto
                                    Rico.

                5.02.05.03.         As respects Indirect Dependent Time Element Locations and Attraction Properties any Time
                                    Element loss resulting from physical loss or damage caused by or resulting from Earthquake,
                                    Flood, or Named Storm regardless of any other cause or event, whether or not insured under this
                                    Policy, contributing concurrently or in any other sequence to the loss is excluded.

                5.02.06.            DEBRIS REMOVAL
                                    This Policy covers the reasonable and necessary costs incurred to demolish and remove debris of
                                    property from an Insured Location that remains following direct physical loss or damage resulting
                                    from a Covered Cause of Loss. This includes the cost to demolish the physically undamaged
                                    portion of such property insured due to the enforcement of any law or ordinance regulating the
                                    demolition, construction, repair, replacement or use of buildings or structures at an Insured
                                    Location.

                5.02.06.01.             This Coverage does not insure the costs to remove:

                5.02.06.01.01.              Property Not Covered that is Contaminated; or

                5.02.06.01.02.              The Contaminant in or on Property Not Covered, whether or not the Contamination
                                            results from direct physical loss or damage caused by a Covered Cause of Loss. This
                                            Coverage shall cover the costs of removal of contaminated Covered Property or the
                                            Contaminant in or on Covered Property only if the Contamination, due to the actual not
                                            suspected presence of Contaminant(s), of the debris resulted from direct physical loss or
                                            damage caused by a Covered Cause of Loss.




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                5.02.07.            DECONTAMINATION COSTS
                                    If Covered Property is Contaminated from direct physical loss of or damage caused by a Covered
                                    Cause of Loss to Covered Property and there is in force at the time of the loss any law or
                                    ordinance regulating Contamination due to the actual not suspected presence of Contaminant(s),
                                    then this Policy covers, as a direct result of enforcement of such law or ordinance, the increased
                                    cost of decontamination and/or removal of such Contaminated Covered Property in a manner to
                                    satisfy such law or ordinance. This Coverage applies only to that part of Covered Property so
                                    Contaminated due to the actual not suspected presence of Contaminant(s) as a result of direct
                                    physical loss or damage. The Company is not liable for the costs required for removing
                                    Contaminated uninsured property nor the Contaminant therein or thereon, whether or not the
                                    Contamination results from a Covered Cause of Loss.

                5.02.08.            DEFERRED PAYMENTS
                                    This Policy will pay for direct physical loss of or damage caused by a Covered Cause of Loss, to
                                    Personal Property (of the type insurable under this Policy). Such property must be sold by the
                                    Insured under a conditional sale, trust agreement, or installment or deferred payment plan. Such
                                    property must have been delivered to the buyer. Coverage is limited to the unpaid balance for
                                    such property.

                                    In the event of loss to property sold under deferred payment plans, the Insured will use all
                                    reasonable efforts, including legal action, if necessary, to collect outstanding amounts due or to
                                    regain possession of the property.

                5.02.08.01.             Under this Coverage the Policy excludes loss or damage:

                5.02.08.01.01.              Pertaining to products recalled including, but not limited to, the costs to recall, test or to
                                            advertise such recall by the Insured;

                5.02.08.01.02.              From theft or conversion by the buyer of the property after the buyer has taken possession
                                            of such property;

                5.02.08.01.03.              To the extent the buyer continues payments; or

                5.02.08.01.04.              Not within the covered Territory of this Policy.

                5.02.09.            ERRORS AND OMISSIONS
                                    The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                    to property which is not payable under this Policy because of an error or unintentional omission at
                                    the time of Policy inception in the description or inclusion of any Location owned, occupied,
                                    leased or rented by the Insured to be Covered Property; but only to the extent this Policy would
                                    have provided coverage had the error or unintentional omission not been made.

                                    The Policy also covers the actual Time Element loss sustained by the Insured, during the Period of
                                    Liability resulting from the necessary Suspension of the Insured's business activities at that
                                    Location, if the Suspension is caused by direct physical loss of or damage caused by a Covered
                                    Cause of Loss to such Property.

                                    The Insured must report any error or unintentional omission as soon as possible.

                5.02.09.01.             This Coverage does not apply:




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                5.02.09.01.01.              If there is coverage available under Newly Acquired Coverage or Miscellaneous Unnamed
                                            Locations Coverage of this Policy; or

                5.02.09.01.02.              For any error or omission in limits or deductibles.

                5.02.10.                    EXPEDITING COSTS
                                            This Policy covers the reasonable and necessary costs incurred to pay for the temporary
                                            repair of direct physical loss of or damage caused by a Covered Cause of Loss to
                                            Covered Property and to expedite the permanent repair or replacement of such damaged
                                            property.

                                            This Coverage excludes costs recoverable elsewhere in this Policy, or of permanent repair
                                            or replacement of damaged property.

                5.02.11.            FINE ARTS
                                    The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                           to Fine Arts at an Insured Location.

                5.02.11.01.                 This Policy excludes loss or damage to Fine Arts directly or indirectly caused by or
                                            resulting from the following regardless of any other cause or event, whether or not
                                            insured under this Policy, contributing concurrently or in any other sequence to the loss:

                5.02.11.01.01.              Breakage of bric-a-brac, glassware, marble, porcelain, statuary, and similar fragile
                                            property resulting from the article being dropped or knocked over, whether intentional or
                                            accidental;

                5.02.11.01.02.              Any repairing, restoring or retouching process; or

                5.02.11.01.03.              Any pre-existing condition.

                5.02.12.            FIRE DEPARTMENT SERVICE CHARGE
                                    The Company will pay for the reasonable additional expenses, resulting from costs of fire
                                    extinguishing materials expended, incurred by the Insured when the Fire Department is called to
                                    save or protect Covered Property from a Covered Cause of Loss at an Insured Location. The Fire
                                    Department Service Charges are those assumed by contract or agreement prior to loss or damage or
                                    required by local ordinance.

                5.02.13.            IMPOUNDED WATER
                                    The Company will pay for the actual Time Element loss as provided by this Policy, sustained by
                                    the Insured during the Period of Liability resulting from the necessary Suspension of the Insured's
                                    business activities at an Insured Location if the Suspension is caused by the lack of a supply of
                                    water from a water supply stored behind dams or in reservoirs on the Insured Location. The water
                                    supply must be used as a Raw Material or for generation of power or for other manufacturing
                                    purposes. The inadequate supply of water must result from the release of the water from the water
                                    supply and be caused by direct physical loss of or damage caused by a Covered Cause of Loss to
                                    the dam, reservoir, or connected equipment. The Company will pay for the actual Time Element
                                    loss sustained, in excess of the applicable deductible, but not to exceed the number of consecutive
                                    days as stated in the Declarations after the damaged dam, reservoir or connected equipment has
                                    been repaired or replaced, with the exercise of due diligence and dispatch, up to the limit applying
                                    to this Coverage.




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                     5.02.14.              INCREASED COST OF CONSTRUCTION
                     5.02.14.01.           This Policy covers the reasonable and necessary costs incurred, described in 05.02.14.03., t0
                                           satisfy the minimum requirements of the enforcement 0f any law or ordinance regulating the
                                           demolition, construction, repair, replacement 0r use of buildings or structures at an Insured
                                           Location, provided:


                     5.02.14.01.01.             Such law or ordinance         is   in force   on the date 0f direct physical   loss   0f 0r damage caused
                                               by a Covered Cause of Loss t0 Covered                 Property; and


                     5.02. 14.01.02.            Its   enforcement   is   a direct result 0f direct physical loss 0f 0r damage caused by a Covered
                                                Cause 0f Loss    to      Covered Property.

                     5.02.14.02.           This Coverage does not cover loss due t0 any law 0r ordinance with which the Insured was
                                                                                  When the building was undamaged, and the Insured
                                           required to comply before the loss, even
                                           did not comply.


                     5.02. 14.03.          This Coverage, as respects the property insured in 5.02.14.01 ., covers:


                     5.02.14.03.01.            The increased cost t0 repair 0r rebuild the physically damaged portion of such property
                                               with materials and in a manner to satisfy such law 0r ordinance; and

                     5.02.14.03.02.            The increased cost t0 rebuild physically undamaged property that has been demolished
                                               with materials and in a manner t0 satisfy such law 0r ordinance, to the extent that such
                                               costs result when the demolition 0f the insured property is required to satisfy such law 0r
                                                ordinance.


                     5.02. 14.03.03.            This Coverage applies only t0 the costs described in 5,02,14,03. The portion 0f the cost to
                                               repair, rebuild or replace propertyWith property 0f like kind and quality is not part 0f this
                                                Coverage and_is     t0    be considered direct physical loss of 0r damage under          1.01.


                     5.02.14.04.           This Coverage excludes any costs incurred as a direct or indirect result 0f enforcement 0f any
                                           laws 0r ordinances regulating any form 0f Contamination.


                     5.02.14.05.           The Company’s maximum              liability for this   Coverage in any Occurrence Will not exceed the
                                           actual cost incurred in 5.02. 14.03.        up   t0 the limit applying t0 this Coverage.


                     5.02.15.          INGRESS/EGRESS
                                       The Company         pay for the actual Time Element loss sustained by the Insured, as provided by
                                                        will
                                       this Policy, resulting  from the necessary Suspension 0f the Insured's business activities at an
                                       Insured Location if ingress or egress to that Insured Location by the Insured's suppliers, customers
                                       0r employees is prevented by physical obstruction due t0 direct physical loss 0f 0r damage caused
                                       by a Covered Cause 0f Loss t0 property not owned, occupied, leased 0r rented by the Insured 0r
                                       insured under this Policy and located Within the distance of the Insured Location as stated in the
                                       Declarations. The Company Will pay for the actual Time Element loss sustained, subject to the
                                       deductible provisions that would have applied had the physical loss or damage occurred at the
                                       Insured Location, during the time ingress or egress remains prevented by physical obstruction but
                                       not t0 exceed the number 0f consecutive days as stated in the Declarations following such
                                       obstruction up t0 the limit applying t0 this Coverage.


                     5 .02. 1 6.       INTERNATIONAL INTERDEPENDENCY
                                       The Company         pay for the actual Time Element loss sustained by the Insured, as provided by
                                                        will
                                       this Policy, resulting  from the necessary suspension 0f the Insured's business activities at an
                                       Insured Location, if the suspension is caused by direct physical loss 0f 0r damage t0 Property (0f




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                                    the type insurable under this Policy other than Finished Stock) caused by a Covered Cause of
                                    Loss at a Location, that would be an Insured Location if it were located in the Coverage Territory
                                    of this Policy.

                                    The Location that sustains direct physical loss or damage cannot be located within the Coverage
                                    Territory of this Policy and is located anywhere in the world, except for:

                                    Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                                    -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                                    Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                                    Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                                    Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                                    Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                                    Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,
                                    Palestine, Reunion, Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri
                                    Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan,
                                    Uganda, Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                                    Any other country where prohibited by United States law or where trade relations are unlawful as
                                    determined by the Government of the United States of America or its agencies.

                                    The Insured Location must depend on the continuation of business activities at the Location that
                                    sustained direct physical loss or damage caused by a Covered Cause of Loss. The Company will
                                    pay for the actual Time Element loss sustained, in excess of the Policy Deductible, but not to
                                    exceed the number of consecutive days following such suspension as stated in the Declarations up
                                    to the limit applying to this Coverage.

                5.02.16.01.         Any Time Element loss directly or indirectly caused by or resulting from any Terrorist Activity
                                    regardless of any other cause or event, whether or not insured under this Policy, contributing
                                    concurrently or in any other sequence to the loss is excluded when the Location, that would be an
                                    Insured Location if it were located in the Coverage Territory of this Policy is outside of the USA,
                                    its territories, possessions and missions, and the Commonwealth of Puerto Rico.

                5.02.17.            LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                                    DISPOSAL
                                    This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal of the
                                    actual not suspected presence of Contaminant(s) from uninsured property consisting of land,
                                    water or any other substance in or on land at the Insured Location if the release, discharge or
                                    dispersal of such Contaminant(s) is a result of direct physical loss of or damage caused by a
                                    Covered Cause of Loss to Covered Property.

                5.02.17.01.             This Policy excludes the cost to cleanup, remove and dispose of Contaminant(s) from such
                                        property:

                5.02.17.01.01.              At any Location where the building or structure is not insured by this Policy;

                5.02.17.01.02.              At any property insured under Newly Acquired, Errors and Omissions or Miscellaneous
                                            Unnamed Location Coverage provided by this Policy; or

                5.02.17.01.03.              When the Insured fails to give written notice of loss to the Company within 180 days
                                            after inception of the loss.




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                5.02.18.            LAND IMPROVEMENTS
                                    The Company will pay for the additional cost of reclaiming, restoring or repairing Land
                                    Improvements resulting from direct physical loss of or damage caused by a Covered Cause of
                                    Loss to Covered Property at an Insured Location.

                5.02.18.01.             As respects lawns, plants, shrubs or trees direct physical loss or damage directly or indirectly
                                        caused by or resulting from Earthquake, Flood, or Named Storm regardless of any other
                                        cause or event, whether or not insured under this Policy, contributing concurrently or in any
                                        other sequence to the loss is excluded.

                5.02.19.            MISCELLANEOUS PERSONAL PROPERTY
                                    The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                    to the following property while within the coverage territory but away from an Insured Location.

                5.02.19.01.             The Insured's interest in Personal Property; and

                5.02.19.02.             Property of Others that is:

                5.02.19.02.01.              In the Insured's care, custody or control;

                5.02.19.02.02.              In which the Insured has an insurable interest or obligation;

                5.02.19.02.03.              For which the Insured is legally liable; or

                5.02.19.02.04.              For which the Insured has agreed in writing prior to any loss or damage to provide
                                            coverage.

                5.02.19.02.05.              This Coverage excludes property in transit or insured under any other coverage in this
                                            Policy.

                5.02.20.            MISCELLANEOUS UNNAMED LOCATIONS
                5.02.20.01.             The Company will pay for:

                5.02.20.01.01.              Direct physical loss of or damage caused by a Covered Cause of Loss at a
                                            Miscellaneous Unnamed Location; and

                5.02.20.01.02.              The actual Time Element loss sustained by the Insured, during the Period of Liability,
                                            resulting from the Suspension of the Insured's business activities if such Suspension is
                                            caused by direct physical loss or damage caused by a Covered Cause of Loss;

                5.02.20.02.             To the following:

                5.02.20.02.01.              Covered Property at a Miscellaneous Unnamed Location that has been reported to the
                                            Insurer, but agreed by the Insurer not to be scheduled;

                5.02.20.02.02.              Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                                            the Insurer and is under the Insured's care, custody and control; or

                5.02.20.02.03.              Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                                            the Insurer and is not under the Insured's care, custody and control.

                5.02.20.03.                 This Coverage will not apply for loss or damage that is payable under any other provision
                                            in this Policy.




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                5.02.21.            NEWLY ACQUIRED
                                    The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                    to property (of the type insurable under this Policy), at any Location purchased, leased or rented
                                    by the Insured after the inception date of this Policy. This Coverage applies from the date of
                                    purchase, lease or rental. The Policy also covers the actual Time Element loss sustained by the
                                    Insured, during the Period of Liability resulting from the necessary Suspension of the Insured's
                                    business activities at that Location, if the Suspension is caused by direct physical loss of or
                                    damage caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                                    The Coverage provided above will end at the earliest of: the Policy expiration, the number of
                                    consecutive days as stated in the Declarations after the Insured first acquired an interest in the
                                    Covered Property, or when the Insured reports the Location to the Insurer.

                5.02.22.            OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND
                                    TIME ELEMENT LOSS
                                    The Company will pay for direct physical loss of or damage to Covered Property and for the
                                    actual Time Element loss sustained as provided by the Policy during the Period of Service
                                    Interruption at Insured Locations caused by the interruption of an incoming service
                                    consisting of electricity, gas, fuel, steam, water, refrigeration, voice, data or video or from the
                                    lack of outgoing voice, data, video or sewage service.

                                    The lack of service must result from direct physical loss of or damage caused by a Covered Cause
                                    of Loss to property (other than satellites but including transmission and distribution lines) of the
                                    supplier of such service located within this Policy's Territory, that immediately prevents in whole
                                    or in part the delivery of such usable services.

                                    This Coverage will only apply when the Period of Service Interruption exceeds the time shown
                                    as Qualifying Period in the Qualifying Period clause of the Declarations section. If the
                                    Qualifying Period is exceeded, then this Policy will pay for the amount of loss in excess of the
                                    applicable deductible, but not more than the limit applying to this Coverage.

                5.02.22.01.             Exclusions 3.03.01.02. and 3.03.04. do not apply to Off Premises Service Interruption
                                        Property Damage and Time Element Loss.

                5.02.22.02.             The following additional exclusion applies:

                                        This Policy excludes direct physical loss or damage and Time Element loss directly or
                                        indirectly caused by or resulting from the interruption of such services, when such interruption
                                        is caused directly or indirectly by the failure of the Insured to comply with the terms and
                                        conditions of any contracts the Insured has for the supply of such specified services regardless
                                        of any other cause or event, whether or not insured under this Policy, contributing
                                        concurrently or in any other sequence to the loss.

                5.02.23.            PROFESSIONAL FEES
                                    This Policy covers the actual costs incurred by the Insured, of reasonable fees paid to the Insured's
                                    accountants, architects, auditors, engineers, or other professionals and the cost of using the
                                    Insured’s employees, for producing and certifying any details contained in the Insured's books or
                                    documents, or such other proofs, information or evidence required by the Company resulting from
                                    loss or damage payable under this Policy for which the Company has accepted liability.




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                                    This Coverage will not include the fees and costs of attorneys, Public Adjusters, and loss
                                    appraisers, all including any of their subsidiary, related or associated entities either partially or
                                    wholly owned by them or retained by them for the purpose of assisting them, nor the fees and
                                    costs of loss consultants who provide consultation on coverage or negotiate claims.

                5.02.24.            PROTECTION AND PRESERVATION OF PROPERTY
                                        This Policy covers, up to the limit applying to this Coverage:

                5.02.24.01.             The reasonable and necessary costs incurred for actions to temporarily protect or preserve
                                        Covered Property; provided such actions are necessary due to actual or imminent physical loss
                                        or damage due to a Covered Cause of Loss to such Covered Property; and

                5.02.24.02.             The Gross Earnings loss sustained by the Insured for a period of time not to exceed the hours
                                        listed in the Declarations prior to and after the Insured first taking reasonable action for the
                                        temporary protection and preservation of Covered Property.

                5.02.24.03.             This Coverage is subject to the deductible provisions that would have applied had the physical
                                        loss or damage occurred.

                5.02.25.            RADIOACTIVE CONTAMINATION
                                    The Company will pay for direct physical loss of or damage to Covered Property at an Insured
                                    Location caused by sudden and accidental radioactive contamination, including resultant radiation
                                    damage, provided:

                5.02.25.01.             Radioactive contamination arises out of material at the Insured Location:

                5.02.25.01.01.               Which is commonly known to be radioactive;

                5.02.25.01.02.               Is used as part of the Insured's business activities; and

                5.02.25.01.03.               There is neither a nuclear reactor capable of sustaining nuclear fission in a self-supporting
                                             chain reaction, nor any new or used nuclear fuel which is intended for or which has been
                                             used in that type of nuclear reactor at the Insured Location.

                5.02.26.            RESEARCH AND DEVELOPMENT
                                    The Company will pay for the fixed charges and fixed expenses (including Ordinary Payroll)
                                    actually incurred by the Insured directly attributable to the interruption of research and
                                    development project(s) after direct physical loss of or damage caused by a Covered Cause of Loss
                                    to research and development project(s) up to the limit applying to this Coverage.

                5.02.26.01.             Coverage starts when there is direct physical loss of or damage caused by a Covered Cause of
                                        Loss to research and development project(s) and ends the earlier of:

                5.02.26.01.01.               The time period stated in the Declarations; or

                5.02.26.01.02.               When the research and development project(s) has resumed.

                5.02.26.02.             This Policy will not pay for any other Time Element loss under this Coverage. Loss under
                                        this Coverage does not include any fixed charges and/or fixed expenses (including Ordinary
                                        Payroll) otherwise payable elsewhere in the Policy.




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                5.02.27.            RESEARCH ANIMALS

                                    The Company will pay for death of Research Animals and the Insured’s reasonable and necessary
                                    costs incurred to research, replace or restore the animal lost to the condition that existed prior to
                                    the loss when caused by a Covered Cause of Loss, while anywhere within this Policy’s Territory,
                                    including while in transit, when the loss is in excess of the amount stated in the Declarations. No
                                    deductible applies to this Coverage. This Coverage does not apply to loss of the Research Animals
                                    that cannot be replaced to the condition that existed prior to the loss.

                5.02.27.01.             The following additional exclusions apply:

                5.02.27.01.01.              Death or destruction from natural causes, unknown causes, medical procedures including
                                            surgery, inoculation, parturition, or abortion;

                5.02.27.01.02.              Errors or omission in processing and/or failure on the part of the Insured to provide
                                            nourishment, medicine or sanitary conditions;

                5.02.27.01.03.              Contamination of animal, food or medicine;

                5.02.27.01.04.              The intentional slaughter of animals;

                5.02.27.01.05.              Escape, unless directly resulting from a Covered Cause of Loss; or

                5.02.27.01.06.              Death or destruction resulting from activities of any animal, unless resulting from a
                                            Covered Cause of Loss.

                5.02.28.            SPOILAGE
                                    In the event of spoilage of Raw Materials, Stock in Process, Finished Stock or Merchandise,
                                    caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, the
                                    Company will pay for such spoilage provided the Raw Materials, Stock in Process, Finished
                                    Stock or Merchandise is in storage or in the course of being manufactured.

                5.02.29.            TENANTS PROHIBITED ACCESS
                                    The Company will pay for the actual Gross Earnings loss sustained, as provided by this Policy,
                                    resulting from the necessary Suspension of the Insured's business activities at an Insured Location
                                    if access to that Location by the Insured's suppliers, customers or employees is physically
                                    obstructed due to the owner, landlord or a legal representative of the building owner or landlord,
                                    prohibiting access to the Insured Location. This Coverage will only apply when the period of time
                                    that access is prohibited exceeds the time shown as Qualifying Period in the Qualifying Period
                                    clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay
                                    for the amount of loss in excess of the Policy Deductible, but not more than the limit applying to
                                    this Coverage.

                5.02.29.01.             The following additional exclusion applies:

                                        This Policy excludes loss directly or indirectly caused by or resulting from prohibited access
                                        to the Insured Location, when such prohibited access is caused directly or indirectly by the
                                        failure of the Insured to comply with the terms and conditions of any contracts the Insured has
                                        for the use of such Location regardless of any other cause or event, whether or not insured
                                        under this Policy, contributing concurrently or in any other sequence to the loss.




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                5.02.30.             TRANSIT
                5.02.30.01.                 The Company will pay for direct physical loss of or damage caused by a Covered Cause
                                            of Loss to Covered Property while in transit within the coverage Territory and including:

                5.02. 30.01.01.             The Insured's interest in Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S)
                                            shipments and Returned shipments. The Insured’s contingent interest is admitted.

                5.02. 30.01.02.             The Insured's loss of property caused by fraud or deceit perpetrated by any person or
                                            persons who may represent themselves to be the proper party or parties to receive goods
                                            for shipment or accept goods for delivery.

                5.02. 30.01.03.             The Insured's legal liability as a carrier of lawful goods and merchandise by vehicles
                                            under bills of lading or shipping receipts issued by the Insured, while in the Insured's
                                            custody or in the custody of connecting carriers in transit.

                5.02. 30.01.04.             The Insured’s interest in general average, salvage and other charges on shipments covered
                                            hereunder.

                5.02. 30.01.05.             The Insured is granted the privilege to ship under released or limited bills of lading or
                                            shipment receipts.

                5.02. 30.02.            The Policy also covers the actual Time Element loss sustained by the Insured, during the
                                        Period of Liability resulting from the necessary Suspension of the Insured's business activities
                                        at the destination Location, if the Suspension is caused by direct physical loss of or damage
                                        caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                                        The Company will pay for the reasonable and necessary extra expenses incurred by the
                                        Insured, during the Period of Liability, to resume and continue as nearly as practicable the
                                        Insured's normal business activities that otherwise would be necessarily suspended, due to
                                        direct physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                                        insurable under this policy.

                                        The Company will reduce the amount payable as extra expense by the fair market value
                                        remaining at the end of the Period of Liability for property obtained in connection with the
                                        above.

                                        Extra expenses mean that amount spent to continue the Insured's business activities over and
                                        above the expenses the Insured would have normally incurred had there been no direct
                                        physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                                        insurable under this policy. Extra expense does not include any Gross Earnings loss, the cost
                                        of permanent repair or replacement of property that has suffered direct physical loss or
                                        damage, or expenses otherwise payable elsewhere in the Policy.

                5.02. 30.03.            Coverage starts when Covered Property is in or on the transporting vehicle and the vehicle
                                        leaves the originating Location and ends upon arrival at the destination Location and the
                                        goods are transferred to the custody and control of the consignee, warehouseman, or receiver.

                5.02. 30.04.            The Company will not pay for loss or damage to:

                5.02. 30.04.01.             Property while waterborne, except:

                5.02. 30.04.01.01.              While on the navigable inland waterways of a country;

                5.02. 30.04.01.02.              While on roll-on/roll-off ferries between countries; or




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                5.02. 30.04.01.03.                 While on coastal shipments.

                5.02. 30.04.02.                Property shipped by mail from the time it passes into custody of any governmental postal
                                               service;

                5.02. 30.04.03.                Property for sale while in the care, custody or control of the Insured's sales persons or
                                               representatives;

                5.02. 30.04.04.                Any conveyance used for property in transit;

                5.02. 30.04.05.                Property insured under any import or export ocean marine insurance; or

                5.02. 30.04.06.                Property under airborne shipment unless by regularly scheduled passenger airlines or air
                                               freight Carriers.

                5.02. 30.05.             If this Policy expires during the due course of transit, coverage is extended until the shipment
                                         is delivered to its final destination.

                5.02.31.             VALUABLE PAPERS AND RECORDS
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                     to Valuable Papers and Records at an Insured Location. For all Valuable Papers and Records,
                                     the Company will pay for the value of the blank personal property, and the Insured's reasonable
                                     and necessary costs incurred to research, replace or restore the information lost or damaged
                                     thereon.

                                     Except:

                                     For Electronic Data and/or Program (Software), the Company will pay for the value of the
                                     blank Media, and the cost of reproducing the Electronic Data and/or Program (Software) from
                                     duplicates or originals of the previous generation of the data.

                                     This Coverage does not apply to loss or damage to property that cannot be repaired or restored
                                     with like kind or quality.

                5.02.32.             NEW CONSTRUCTION AND ADDITIONS
                                     The Company will pay, up to the limit applying to this Coverage, for:

                5.02.32.01.              Direct physical loss of or damage to Property of the type insurable under this policy that is
                                         New Construction or Additions;

                5.02.32.02.              The actual Time Element loss sustained by the Insured arising out of the Delay in
                                         Completion; and

                5.02.32.03.              The Actual Loss Sustained incurred by the Insured as Soft Costs during such Delay in
                                         Completion.

                5.02.32.04.              The Coverage for Time Element will only apply when the Delay in Completion exceeds the
                                         time shown as Qualifying Period in the Qualifying Period clause of the Declarations section.
                                         If the Qualifying Period is exceeded, then this Policy will pay up to the number of
                                         consecutive days stated in the Declarations after the Qualifying Period.

                5.02.32.05.              The following additional exclusion applies to coverage provided in NEW CONSTRUCTION
                                         AND ADDITIONS:




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                                        This Policy excludes direct physical loss or damage directly or indirectly caused by or
                                        resulting from the effects of rain, sleet, or snow, whether or not driven by wind, on the interior
                                        portion of buildings under construction or addition when the installation of the roof, walls or
                                        windows of such buildings has not been completed regardless of any other cause or event,
                                        whether or not otherwise insured under this Policy, contributing concurrently or in any other
                                        sequence to the loss.

                5.02.33.            OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
                                    This Policy covers direct physical loss or damage to property (of the type insurable under this
                                    Policy) caused by a Covered Cause of Loss that is under contract to be used in a construction
                                    project at an Insured Location. Coverage attaches at the time such property is delivered to the
                                    Insured or its contractor (with respect to the property under construction) by the manufacturer or
                                    supplier and such property is located at a storage site within this Policy’s Territory but away from
                                    the Insured Location.

                                    This Coverage includes necessary expendable materials and supplies to be used in the construction
                                    project but does not include any property owned or rented by the contractor.

                5.03.           DESCRIBED CAUSES OF LOSS
                5.03.01.            BREAKDOWN OF EQUIPMENT
                                    The Company will pay for direct physical loss of or damage to Covered Equipment, Time
                                    Element loss and Special Coverages loss as provided by this Policy, if such loss or damage is
                                    caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, which
                                    manifests itself by physical damage at the time of its Occurrence and necessitates repair or
                                    replacement; subject to the terms and conditions set forth in this Policy, regardless of any other
                                    cause or event contributing concurrently or in any other sequence of loss.

                                    All Breakdown(s) at any one Insured Location that manifest themselves at the same time and are
                                    the result of the same cause will be considered one Breakdown.

                5.03.02.            EARTH MOVEMENT
                                    The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                    loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                    Earth Movement regardless of any other cause or event contributing concurrently or in any other
                                    sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
                                    sprinkler leakage or Flood will not be considered loss by Earth Movement within the terms and
                                    conditions of this Policy.

                                    All Earth Movement that occurs within the period defined in the Declarations will constitute a
                                    single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
                                    elect the point in time when the period defined in the Declarations begins; but such point in time
                                    must not precede loss or damage to Covered Property.

                5.03.03.            FLOOD
                                    The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                    loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                    Flood regardless of any other cause or event contributing concurrently or in any other sequence of
                                    loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism or sprinkler
                                    leakage will not be considered to be loss by Flood within the terms and conditions of this Policy.




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                5.03.04.            NAMED STORM
                                    The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                    loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                    Named Storm; regardless of any other cause or event contributing concurrently or in any other
                                    sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
                                    sprinkler leakage or Flood will not be considered loss by Named Storm within the terms and
                                    conditions of this Policy.

                                    All Named Storm damage that occurs within the period defined in the Declarations will constitute
                                    a single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
                                    elect the point in time when the period defined in the Declarations begins; but such point in time
                                    must not precede loss or damage to Covered Property.




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            SECTION VI –GENERAL POLICY CONDITIONS
                6.01.            CANCELLATION/NON-RENEWAL

                6.01.01.             Cancellation

                6.01.01.01.               The First Named Insured shown in the Declarations may cancel this Policy by mailing or
                                          delivering to the Company advance written notice of cancellation.

                6.01.01.02.               The Company may cancel this Policy by mailing or delivering to the First Named Insured
                                          written notice of cancellation at least:

                6.01.01.02.01.                The number of days before the effective date of cancellation if the Company cancels for
                                              nonpayment of premium, as stated in the Declarations; or

                6.01.01.02.02.                The number of days before the effective date of cancellation if the Company cancels for
                                              any other reason, as stated in the Declarations.

                6.01.01.03.               The Company will mail or deliver notice to the First Named Insured's mailing address
                                          shown in the Declarations of this Policy or any Endorsement attached thereto.

                6.01.01.04.               Notice of cancellation will state the effective date of cancellation. The Policy Period will end
                                          on that date.

                6.01.01.05.               If this Policy is cancelled, the Company will send the First Named Insured any premium
                                          refund due. If the Company cancels, the refund will be pro rata. If the First Named Insured
                                          cancels, the refund may be less than pro rata but no less than the customary short rate amount.
                                          The cancellation will be effective even if the Company has not made or offered a refund.

                6.01.01.06.               If notice is mailed, proof of mailing will be sufficient proof of notice.

                6.01.01.07.               If under the laws of the jurisdiction in which the property is located, such cancellation terms
                                          or conditions are different, then cancellation terms or conditions will be as permitted by such
                                          laws.

                6.01.02.             Non-renewal

                6.01.02.01.               The Company may non-renew this Policy by mailing or delivering to the First Named
                                          Insured written notice, the number of days before the non-renewal, as permitted by law in the
                                          jurisdiction where in the property is located.

                6.02.            CERTIFICATES OF INSURANCE
                                 Any certificate of insurance issued in connection with this Policy is provided solely as a matter of
                                 convenience or information for the addressee(s) or holder(s) of such certificate of insurance, except as
                                 provided under the Policy when a loss payee(s) or mortgagee(s) are named. The certificate does not
                                 amend, extend or alter the coverage afforded by the Policy.
                                 In the event this policy is cancelled pursuant to the CANCELLATION/NON-RENEWAL provision,
                                 other than for nonpayment of premium, and except as provided otherwise, the Company shall endeavor
                                 to provide notice of cancellation to those entities set out in the certificates of insurance on file with the
                                 Company, as soon as practicable, after notifying the First Named Insured. However, in no event will
                                 failure to provide notice to entities set out in certificates of insurance waive the Company’s right or
                                 ability to cancel the policy as allowed by law.




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                                The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance
                                consistent with the foregoing.


                6.03.           CONCEALMENT, MISREPRESENTATION OR FRAUD
                6.03.01.            This Policy is void as to all Insureds in any case of fraud by any Insured as it relates to this Policy
                                    at any time. It is also void if any Insured, at any time, intentionally conceals or misrepresents a
                                    material fact concerning:

                6.03.01.01.              This Policy;

                6.03.01.02.              The Covered Property;

                6.03.01.03.              The Insured's interest in Covered Property; or

                6.03.01.04.              A claim under this Policy.

                6.04.           CONFORMITY TO STATUTES
                                Any provisions required by law to be included in policies issued by the Company shall be deemed to
                                have been included in this Policy.

                                If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies,
                                and if certain provisions are required by law to be stated in this Policy, this Policy shall be read so as
                                to eliminate such conflict or deemed to include such provisions for Insured Locations within such
                                jurisdictions.

                6.05.           CONTROL OF DAMAGED GOODS
                                In the event of direct physical loss of or damage caused by a Covered Cause of Loss to Finished
                                Stock or Merchandise that carries the Insured's brand or trade name; this Policy gives control of the
                                physically damaged property as follows, all subject to 6.05.05.

                6.05.01.            The Insured will have full rights to the possession, control and disposition of damaged property in
                                    the event of insured direct physical loss or damage to such property provided the Company agrees
                                    that the property is physically damaged.

                6.05.02.            The Insured, using reasonable judgment, will decide if the Insured can reprocess or sell the
                                    physically damaged property.

                6.05.03.            If the Company takes possession of property that carries the Insured's brand or trade name that
                                    has sustained direct physical loss or damage, the Company will pay for the Insured or the
                                    Insured representative to stamp “salvage”, remove, or obliterate the brand, label or trade name
                                    on the property or its containers if doing so will not damage the property. In either event, the
                                    Insured must re-label such property or its containers to comply with any applicable law.

                6.05.04.            The salvage value of property that is claimed damaged shall be determined at the time of loss.

                6.05.05.            The Insured will allow the Company to deduct from the amount of loss otherwise payable, the fair
                                    market value of such salvage, which could have been obtained on any sale or other disposition of
                                    goods or products through normal insurance industry salvage practices.




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                     6.06.            CURRENCY FOR LOSS PAYMENT
                     6.06.01.             Losses will be adjusted and paid in the currency designated in 2.02., unless directed otherwise by
                                          the Insured.  In the event 0f a loss adjustment involving local currency, the exchange-selling rate
                                          Will be calculated as follows:


                     6.06.01.01.                As     respects the calculation     0f deductibles and Limits 0f             Liability, the rate    0f exchange
                                                published in the Midwest Ed. ofThe Wall Street Journal on the date 0f settlement.

                     6.06.01 .02.               As   respects direct physical loss 0r    damage    t0   Real and Personal Property:

                     6.06.01.02.01.                    The cost to   repair 0r replace Real    and Personal Property will be converted         at the   time the
                                                       cost 0f repair or replacement     is   incurred based on the rate 0f exchange published in the
                                                       Midwest Ed. ofThe Wall        Street Journal     on the date 0f settlement.

                     6.06.01.02.02.                    If such property   is   not replaced or repaired, the conversion Will be based on the rate of
                                                       exchange published      in the Midwest Ed. ofThe Wall Street Journal 0n the date of loss.


                     6.06.01.03.                As  respects Time Element loss the conversion will be based 0n the average 0f the rate of
                                                exchange published in the Midwest Ed. 0f The Wall Street Journal on the date 0f loss and the
                                                rate 0f exchange published in the Midwest Ed. 0f The Wall Street Journal on the last day 0f
                                                the Period 0f Liability.


                     6.06.01.04.                If theMidwest Ed. 0f The Wall Street Journal was not published 0n the stipulated date, or the
                                                rateof exchange was not published on the stipulated date, the rate 0f exchanged Will be as
                                                published on the next business day the rate is published.


                     6.07.            INSPECTIONS            AND SURVEYS
                     6.07.01.             The Company has the         right but not the obligation t0       make inspections and surveys       at   any time, to
                                          give the Insured reports 0n the conditions found, and t0            recommend changes.

                     6.07.02.             Any inspections, surveys, reports or recommendations relate only to insurability and the premiums
                                          t0 be charged. The Company does not make safety inspections. The Company does not undertake
                                          to perform the duty of any person or organization t0 provide for the health or safety of workers or
                                          the public, nor does it represent that conditions are safe, healthful, or comply With laws,
                                          regulations, codes 0r standards.


                     6.07.03.             This condition applies not only t0 the Company, but also t0 any rating, advisory, rate service 0r
                                          similar organization that makes insurance inspections, surveys, reports 0r recommendations.


                     6.08.            JOINT LOSS
                                      This clause applies only if all of the following requirements are met:


                     6.08.01.             The   BREAKDOWN OF EQUIPMENT                        Coverage     is   shown   as   NCP   in the Declarations   0f   this
                                                       BREAKDOWN
                                          Policy and the                     OF EQUIPMENT Coverage carried by the Named Insured,
                                          insuring the Covered Property contains a similar Joint Loss provision with substantially the same
                                          requirements, procedures, and conditions as contained in this Policy.


                     6.08.02.             The loss 0r damage to the Covered Property was caused by a Covered Cause 0f Loss for which
                                          both the Insurer(s) of the Property Coverage and the Insurer(s) 0f the                 OF     BREAKDOWN
                                          EQUIPMENT Coverage admit to some liability for payment under the respective policies.




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                6.08.03.            The total amount of loss is agreed to by the Insured, the Insurer(s) of the Property Coverage and
                                    the Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage.

                6.08.04.            The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                                    EQUIPMENT Coverage disagree as to the amount of loss that both should pay that is attributable
                                    to:

                6.08.04.01.             An accident covered under the BREAKDOWN OF EQUIPMENT Coverage; and

                6.08.04.02.             A Covered Cause of Loss under the Property Coverage.

                6.08.05.            If the requirements listed above are satisfied, the Insurer(s) of the Property Coverage and of the
                                    BREAKDOWN OF EQUIPMENT Coverage will make payments to the extent, and in the
                                    manner, described in the following:

                6.08.05.01.             The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage will pay, after the Insured's
                                        written request, the entire amount of loss that they have agreed as being covered by
                                        BREAKDOWN OF EQUIPMENT Coverage and one-half (1/2) the amount of loss that is in
                                        disagreement.

                6.08.05.02.             The Insurer(s) of the Property Coverage will pay, after the Insured's written request, the entire
                                        amount of loss that they have agreed as being covered by the Property Coverage and one-half
                                        (1/2) the amount of loss that is in disagreement.

                6.08.05.03.             The amount in disagreement to be paid by the Insurer(s) of the BREAKDOWN OF
                                        EQUIPMENT Coverage and the Insurer(s) of the Property Coverage under this Joint Loss
                                        provision shall not exceed the amount payable under the equivalent loss adjustment provisions
                                        of the Insurer(s) of the Property Coverage and the BREAKDOWN OF EQUIPMENT
                                        Coverage.

                6.08.06.            The amount to be paid under this Joint Loss provision shall not exceed the amount that would
                                    have been paid had no Property Coverage or, in the alternative, no BREAKDOWN OF
                                    EQUIPMENT Coverage been in effect at the time of loss.

                6.08.07.            Acceptance by the Insured of sums paid under this Joint Loss provision does not alter, waive or
                                    surrender any other rights against the Insurer(s).

                6.08.08.            Additional Conditions:

                6.08.08.01.             The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                                        EQUIPMENT Coverage agree to submit their differences to arbitration within 90 days after
                                        payment of the loss under the terms of this Joint Loss provision.

                6.08.08.02.             The Insured agrees to cooperate with any arbitration procedures. There will be three
                                        arbitrators: one will be appointed by the Insurer(s) of the BREAKDOWN OF EQUIPMENT
                                        Coverage and the one will be appointed by the Insurer(s) of the Property Coverage. The two
                                        arbitrators will select a third arbitrator. If they cannot agree, either may request that selection
                                        be made by a judge of a court having jurisdiction. A decision agreed to by two of the three
                                        arbitrators will be binding on both parties. Judgment on any award can be entered in any
                                        court that has jurisdiction. The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage
                                        will pay their designated arbitrator and the Insurer(s) of the Property Coverage will pay their
                                        designated arbitrator. The Insurer(s) of the BREAKDOWN OF EQUIPMENT and the
                                        Insurer(s) of the Property Coverage will split the expense of the third arbitrator.




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                6.09.           JURISDICTION
                                Any disputes arising hereunder will be exclusively subject to the jurisdiction of a court of competent
                                jurisdiction within the USA.

                6.10.           LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
                                OBLIGATIONS
                6.10.01.            When specified in the Policy or in Certificates of Insurance on file with the Company, the
                                    Company will pay for covered loss to property insured under this Policy to each:

                6.10.01.01.             Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear, in order of
                                        precedence; or

                6.10.01.02.             Mortgagee as its interest may appear, in order of precedence.

                6.10.02.            The interest of the specified Lender or Mortgagee in property insured under this Policy will not
                                    be invalidated by:

                6.10.02.01.             Any act or neglect of any Insured.

                6.10.02.02.             Commencement of foreclosure, notice of sale, or similar proceedings with respect to the
                                        property.

                6.10.02.03.             Change in the title or ownership of the property.

                6.10.02.04.             Change to a more hazardous occupancy.

                6.10.03.            The Lender or Mortgagee will notify the Company of any known change in ownership, occupancy,
                                    or hazard and, within ten (10) days of written request by the Company, may pay the increased
                                    premium associated with such known change. If the Lender or Mortgagee fails to pay the
                                    increased premium, all coverage under this Policy will cease.

                6.10.04.            In the event of a claim, upon request of the Company, the Lender or Mortgagee will cooperate in
                                    any claim investigation.

                6.10.05.            If this Policy is cancelled at the request of the Insured or its agent, the coverage for the interest of
                                    the Lender or Mortgagee will terminate ten (10) days after the Company sends to the Lender or
                                    Mortgagee written notice of cancellation, unless:

                6.10.05.01.             Earlier terminated by authorization, consent, approval, acceptance, or ratification of the
                                        Insured's action by the Lender, Mortgagee, or its agent.

                6.10.05.02.             This Policy is replaced by the Insured, with a policy providing coverage for the interest of the
                                        Lender or Mortgagee, in which event coverage under this Policy with respect to such interest
                                        will terminate as of the effective date of the replacement policy, notwithstanding any other
                                        provision of this Policy.

                6.10.06.            The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under this
                                    Policy, by sending the specified Lender or Mortgagee written notice sixty (60) days prior to the
                                    effective date of cancellation, if cancellation is for any reason other than non-payment of premium.
                                    If the Insured has failed to pay any premium due under this Policy, the Company may cancel this
                                    Policy for such non-payment, but will send the Lender or Mortgagee written notice ten (10) days
                                    prior to the effective date of cancellation. If the Lender or Mortgagee fails to pay the premium due
                                    by the specified cancellation date, all coverage under this Policy will cease.




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                6.10.07.            The Company has the right to invoke this Policy's Suspended Property clause. When the Company
                                    suspends the insurance, it will apply to the interest of any Lender or Mortgagee. The Company
                                    will send the specified Lender or Mortgagee, at the last known address, a copy of such notice.

                6.10.08.            If the Company pays a Lender or Mortgagee for any loss, and denies payment to the Insured, the
                                    Company will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the
                                    rights of the Lender or Mortgagee under all securities held as collateral. No subrogation will
                                    impair the right of the Lender or Mortgagee to recover the full amount of its claim. At its option,
                                    the Company may pay to a Lender or Mortgagee the whole principal due on the debt or mortgage
                                    plus any accrued interest and charges. In this event, all rights and securities will be assigned and
                                    transferred from the Lender or Mortgagee to the Company, and the remaining debt or mortgage
                                    will be paid to the Company.

                6.10.09.            If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the Insured's
                                    failure to do so, will render proof of loss within sixty (60) days of notice and will be subject to the
                                    Insured’s duties, obligations and provisions of this Policy when presenting a claim.

                6.10.10.            In no event will the amount payable to a Lender or Mortgagee exceed the amount which would be
                                    payable to the Named Insured.

                6.11.           LIBERALIZATION
                                If during the period that insurance is in force under this Policy, any filed rules or regulations are
                                revised by statute so as to broaden this insurance without additional premium charge, such extended or
                                broadened insurance will inure to the benefit of the Insured within such jurisdiction, effective the date
                                of the change specified in such statute.

                6.12.           LOSS ADJUSTMENT/PAYABLE
                                Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or
                                as directed by the First Named Insured.

                                When a Lender or Mortgagee is named in the Certificates of Insurance on file with the Company, the
                                Lender or Mortgagee will be included in loss payment as their interests may appear.

                                When a Loss Payee is named in the Certificates of Insurance on file with the Company, the loss payee
                                will be included in loss payments made to the insured as their interests may appear. The loss payee has
                                no other rights under the policy.

                6.13.           LOSS CONDITIONS
                6.13.01.            DUTIES IN THE EVENT OF LOSS OR DAMAGE

                                    The Insured must see that the following are done in the event of direct physical loss or damage to
                                    Covered Property:

                6.13.01.01.             Notify the police if a law may have been broken.

                6.13.01.02.             Give the Company prompt notice of the loss or damage. Include a description of the property
                                        involved.

                6.13.01.03.             As soon as possible, give the Company a description of how, when and where the loss or
                                        damage occurred.




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                6.13.01.04.             Take all reasonable steps to protect the Covered Property from further damage caused by a
                                        Covered Cause of Loss. If feasible, set the damaged property aside and in the best possible
                                        order for examination. Also, keep a record of expenses for emergency and temporary repairs
                                        for consideration in the settlement of the claim. This will not increase the Limit of Liability.

                6.13.01.05.             At the Company's request, provide a complete inventory of the damaged and undamaged
                                        property, including quantities, costs, values and amount of loss claimed.

                6.13.01.06.             As often as reasonably required, permit the Company to inspect the property and records
                                        evidencing the loss or damage, including taking some or all of damaged and undamaged
                                        property for inspection, testing and analysis, and permit the Company to make copies of the
                                        Insured's books and records.

                6.13.01.07.             Permit the Company to question the Insured, the Insured's employees and agents under oath,
                                        while not in the presence of any other insured and at such times as may be reasonably
                                        required, about any matter relating to this insurance or the loss or damage, including an
                                        Insured's books and records. In the event of this examination, an Insured's answers must be
                                        signed or attested to by a notary public or certified court reporter.

                6.13.01.08.             Give the Company a signed sworn statement of loss containing the information necessary to
                                        investigate the claim. If requested by the Company, the Company will supply the necessary
                                        form and the Insured must return this completed form within sixty (60) days of the request or
                                        as required by law.

                6.13.01.09.             Cooperate with the Company in the investigation or settlement of the claim.

                6.13.02.            ABANDONMENT

                                    There may be no abandonment of any property to the Company.

                6.13.03.            SUBROGATION

                                    The Insured is required to cooperate in any subrogation proceedings. To the extent of the
                                    Company's payment, the Insured's rights of recovery against any party are transferred to the
                                    Company.

                                    The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss,
                                    nor will such waiver affect the Insured's rights under this Policy.

                                    Any recovery from subrogation proceedings, less costs incurred by the Company in such
                                    proceedings, will be payable to the Insured in the proportion that the amount of any applicable
                                    deductible and/or any provable uninsured loss, bears to the entire provable loss amount.

                6.13.04.            APPRAISAL

                                    If the Insured and the Company fail to agree on the value of the property or the amount of loss,
                                    each will, on the written demand of either, select a competent, disinterested, and impartial
                                    appraiser, who has no direct or indirect financial interest in the claim. Each will notify the other
                                    of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal
                                    unless it has first fully complied with all provisions of this Policy, including Duties in the Event of
                                    Loss or Damage and has provided the Company with a signed and sworn statement of loss.

                                    The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers
                                    fail to agree upon an umpire within 15 days then, on the request of the Insured or the Company, a
                                    judge of a court of record in the jurisdiction in which the appraisal is pending will select the
                                    umpire. The




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                                     appraisers will then appraise the value of the property or the amount of loss. They will state
                                     separately, the actual cash value and replacement cost value, as of the date of loss and the amount
                                     of loss, each item of physical loss or damage or, if for Time Element loss, the amount of loss for
                                     each Time Element Coverage of this Policy.

                                     If the appraisers fail to agree, they will submit their differences to the umpire. An award
                                     stating separately the actual cash value and replacement cost value, as of the date of loss and
                                     the amount of loss, for each item of physical loss or damage or, if for Time Element loss, the
                                     amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two
                                     will determine the amount of loss.

                                     Once there is an award, the Company retains the right to apply all policy terms and conditions
                                     (including but not limited to deductibles, exclusions, and Limits of Liability) to the award.
                                     The Company further retains its right to deny the claim in whole or in part.

                                     The Insured and the Company will each pay its chosen appraiser and bear equally the other
                                     expenses of the appraisal and umpire.

                6.13.05.             SUIT AGAINST THE COMPANY

                                     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
                                     equity unless the Insured has fully complied with all the provisions of this Policy. Legal action
                                     must be started within (12) twelve months after the date of direct physical loss or damage to
                                     Covered Property or to other property as set forth herein.

                                     If under the laws of the jurisdiction in which the property is located, such twelve months'
                                     limitation is invalid, then, any such legal action needs to be started within the shortest limit of time
                                     permitted by such laws.

                6.14.            NO REDUCTION BY LOSS
                                 Loss or damage shall not reduce the amount of insurance recoverable, except where an Annual
                                 Aggregate applies. The reinstatement of any exhausted Annual Aggregate is not permitted unless
                                 authorized by the Company in writing.

                6.15.            OTHER INSURANCE
                                 Insurance that is intended to pay proportionally with this insurance as a part of a property insurance
                                 plan or program expressly written with other participants is not other insurance as described below..

                6.15.01.             The Company will not be liable if, at the time of loss or damage, there is any other insurance that
                                     would attach in absence of this insurance; except that this insurance shall apply only as excess,
                                     Difference in Conditions/Difference in Limits and in no event as contributing insurance, and then
                                     only after all other insurance has been exhausted.

                6.15.02.             The Company gives the Insured permission to purchase insurance for all or any part of the
                                     deductibles in this Policy, and the existence of underlying insurance shall not prejudice the
                                     Insured's rights under this Policy.

                6.15.02.01.              The deductible and any amount paid under such insurance that would be covered under this
                                         Policy, shall apply to the deductible that would apply in this Policy.

                6.15.02.02.              This Policy shall then apply on an excess, Difference in Conditions/Difference in Limits basis.




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                6.15.03.             The Insured can purchase excess insurance commencing on or after the inception of this Policy that
                                     is specifically excess over the Limits of Liability set forth in this Policy without prejudice to this
                                     Policy and the existence of such insurance shall not reduce any liability under this Policy.

                6.15.04.             The Company will not be liable if, at the time of loss or damage, there is any insurance with
                                     National Flood Insurance Program (NFIP); except that this insurance shall apply only as excess
                                     and in no event as contributing insurance, and then only after all NFIP insurance has been
                                     exhausted.

                6.15.05.             The Company will not be liable if, at the time of loss or damage, there is any insurance for New
                                     Construction and Additions under a specific policy for such New Construction and Additions;
                                     except that this insurance shall apply only as excess and in no event as contributing insurance, and
                                     then only after all specific insurance has been exhausted.

                6.15.06.             The Company will not be liable if, at the time of loss or damage, there is any insurance for stock
                                     under a specific policy for such stock; except that this insurance shall apply only as excess and in
                                     no event as contributing insurance, and then only after all specific insurance has been exhausted.

                6.16.            POLICY MODIFICATION
                6.16.01.             This Policy contains all of the agreements between the Insured and the Company concerning this
                                     insurance. The Insured and the Company may request changes to this Policy. Only endorsements
                                     issued by the Company and made a part of this Policy can change this Policy.

                6.16.02.             Notice to any agent or knowledge possessed by any agent or by any other person will not create a
                                     waiver or change any part of this Policy or prevent the Company from asserting any rights under
                                     the Policy.

                6.17.            PRIVILEGE TO ADJUST WITH OWNER
                                 In the event of loss or damage involving Property of Others in your care, custody or control, we have
                                 the right, but not the duty to:

                6.17.01.             Settle the loss or damage with the owners of the Property.

                6.17.02.             Provide a defense for legal proceedings brought against the Insured. If provided, the expense for
                                     this defense will be at the Company’s cost and will not reduce any applicable limit of insurance.

                6.18.            SETTLEMENT OF CLAIMS
                6.18.01.             Loss Payment

                6.18.01.01.              In the event of loss or damage to Covered Property, the Company will, at its option, either:

                6.18.01.01.01.                Pay the value of lost or damaged property;

                6.18.01.01.02.                Pay the cost of repairing or replacing the lost or damaged property;

                6.18.01.01.03.                Take all or any part of the property at any agreed valuation; or

                6.18.01.01.04.                Repair, rebuild or replace the property with other property of like kind and quality.

                6.18.02.             The Company will give notice of its intentions within thirty (30) days after receiving the sworn
                                     statement of loss or as required by law.




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                6.18.03.             The Company will not pay more than the Insured's financial interest in the Covered Property.
                6.18.04.             The Company will pay for covered loss or damage within thirty (30) days or as required by law,
                                     after receiving the sworn statement of loss, if the Insured has complied with all the terms of this
                                     Policy; and

                6.18.04.01.              The Company has reached agreement on the amount of loss; or

                6.18.04.02.              An appraisal award has been made, subject to 6.13.04.

                6.18.05.             Priority of Payment

                                     In the event of a claim that involves more than one interest and/or coverage and/or peril; the
                                     insured has the option to apportion recovery under this Policy when submitting final proof of loss,
                                     subject to the overall amount of claim not exceeding the applicable limit of liability and subject to
                                     all other terms and conditions of the policy.

                                     For the purpose of attachment of coverage for excess layers, claims involving any interest and/or
                                     peril covered in the primary or underlying excess layers, but not covered in higher excess layers,
                                     will be recognized by such excess layers as eroding or exhausting the occurrence limits of the
                                     primary and/or underlying excess layer(s). Nothing, however, will extend coverage in such
                                     layers(s) to include loss from any interest and/or peril not covered in the excess layer(s) itself.

                6.19.            SUSPENDED PROPERTY
                                 When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's
                                 representatives may immediately suspend this insurance for that property. This can be done by
                                 delivering or mailing a written notice to the First Named Insured's mailing address or to the address
                                 where the Covered Property is located. Once suspended, this insurance can be reinstated only by an
                                 endorsement. Any unearned premium due will be returned by the Company.

                6.20.            TITLES
                                 The titles of the various paragraphs and endorsements are solely for reference and shall not in any way
                                 affect the provisions to which they relate.

                6.21.            TRANSFER OF RIGHTS AND DUTIES
                                 The Insured rights and duties under this Policy may not be transferred without the Company giving
                                 written consent.

                6.22.            VALUATION
                                 In the event of any claim for direct physical loss of or damage to Covered Property:

                6.22.01.             The basis of adjustment is on a replacement cost basis unless a specific valuation applies.
                                     Replacement Cost shall be the cost to repair, rebuild or replace the damaged property (without
                                     deduction for depreciation) with materials of like kind, quality and capacity at the same or another
                                     site, but no more than the lesser of:

                6.22.01.01.              The cost to repair;

                6.22.01.02.              The cost to rebuild or replace on the same or another site with materials of equivalent size,
                                         kind, quality and capacity;




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                6.22.01.03.              The necessary cost actually expended in repairing, rebuilding or replacing on the same or
                                         another site, but not exceeding the operating capacity that existed at the time of the loss; or

                6.22.01.04.              The Limits of Liability applicable to the lost or damaged property.

                6.22.02.             If there is direct physical loss of or damage to Covered Property for which repair, rebuilding or
                                     replacement has not started within two (2) years from the date of direct physical loss or damage,
                                     the Company will not be liable for more than the actual cash value of the property destroyed.

                6.22.03.             The Company, will pay the reduction in value of insured components or parts of products directly
                                     resulting from physical loss or damage caused by a Covered Cause of Loss to other insured
                                     components or parts of products, or part of a pair or set as follows:

                6.22.03.01.              In case of loss or damage to any components or parts of products, or part of a pair or set, the
                                         Company will at its option:

                6.22.03.01.01.               Pay the cost of repairing or replacing any part to restore the components or parts of
                                             products, pair or set to its value before the loss or damage;

                6.22.03.01.02.               Repair or replace any part to restore the components or parts of products, pair or set to its
                                             value before the loss or damage; or

                6.22.03.01.03.               Pay the difference between the value of the components or parts of products, pair or set
                                             before and after the loss or damage.

                6.22.03.02.              If settlement is based on a constructive total loss, the Insured will surrender the undamaged
                                         parts of such property to the Company.

                6.22.04.             The following property shall be valued as specified below:

                6.22.04.01.              For Raw Materials and supplies, the replacement cost.

                6.22.04.02.              For Stock in Process, the value of Raw Materials and labor expended plus the proportion of
                                         overhead charges attributable to that Stock in Process.

                6.22.04.03.              For Finished Stock manufactured by the Insured, the valuation as stated in the Declarations.
                                         If valued at Selling Price, this Policy will also pay the increased tax liability incurred by the
                                         Insured due to the profit portion of a loss payment involving Finished Stock being greater
                                         than the tax liability of the profits that would have been earned had no loss occurred.

                6.22.04.04.              For Merchandise that carries the Insured's brand or trade name, the valuation as stated in the
                                         Declarations.

                6.22.04.05.              For all other Merchandise, the valuation as stated in the Declarations.

                6.22.04.06.              For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such
                                         property to the physical condition that existed on the date of loss or the cost to replace the
                                         article or the value if stated on a schedule on file. If the Fine Arts article cannot be replaced
                                         and an appraisal is not available, the valuation shall be market value based on prevailing
                                         conditions at the time of loss or damage.

                6.22.04.07.              For property covered under Deferred Payments, the lesser of the total amount of unpaid
                                         installments less finance charges or the actual cash value of the property at the time of loss or
                                         the cost to repair or replace with material of like size, kind and quality.




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                6.22.04.08.              The selling price of buildings (or structures) or machinery and equipment, other than stock,
                                         offered for sale on the date of loss, but no more than the cost to repair or replace.

                6.22.04.09.              The cost to replace non-repairable electrical or mechanical equipment, including computer
                                         equipment, with equipment that is the most functionally equivalent to that damaged or
                                         destroyed, even if such equipment has technological advantages, represents an improvement in
                                         function, or forms part of a program of system enhancement.

                6.22.04.10.              Improvements and Betterments at replacement cost if such property is repaired or replaced
                                         at the expense of the insured. If there is direct physical loss of or damage to Improvements
                                         and Betterments which are not repaired, rebuilt or replaced at the expense of the insured, the
                                         Company will not be liable for more than a proportion of the original cost determined as
                                         follows:

                6.22.04.10.01.               Multiply the original cost of the Improvements and Betterments by the number of days
                                             from the loss or damage to the expiration of the lease; and

                6.22.04.10.02.               Divide the amount determined in 6.22.04.10.01. by the number of days from the
                                             installation of the Improvements and Betterments to the expiration of the lease.

                6.22.04.10.03.               If the lease contains a renewal option, the expiration of the renewal option period will
                                             replace the expiration of the lease in this procedure.

                6.22.04.11.              For property that is useless to the Insured or obsolete, the actual cash value.

                6.22.04.12.              For vehicles, the valuation as stated in the Declarations.

                6.22.04.13.              The Insured may elect not to repair or replace such damaged Covered Property, however, if
                                         loss settlement proceeds are expended on other capital expenditures, on property of the type
                                         insurable under this policy, related to the business activities of the Insured within two years
                                         from the date of loss, the lesser of the repair or replacement cost of such property will be paid.
                                         As a condition of collecting under this clause, such expenditure must be unplanned as of the
                                         date of loss and be made at a Scheduled Location. This clause does not extend to Increased
                                         Cost of Construction.




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            SECTION VII - DEFINITIONS
                              The following term(s) wherever used in this Policy means:

                7.01.             Ammonia Contamination - The loss or damage, including salvage expense, caused by ammonia
                                  contacting or permeating Covered Property under refrigeration or in process requiring refrigeration, as
                                  the result of any one accident.

                7.02.             Annual Aggregate - The maximum amount of loss or damage payable in any one (1) Policy Year
                                  regardless of the number of Occurrences within the same policy year.

                7.03.             Anticipated Date of Completion - The date on which the work is scheduled to be completed, as
                                  stated in the construction contract or amendments to such contract, for the start of commercial
                                  operations or use and occupancy.

                7.04.             Attraction Properties - A property within the distance described in the declarations of an Insured
                                  Location that attracts customers to the Insured's business.

                7.05.             Average Daily Value (ADV) - The 100% Gross Earnings value at the Location(s) where the direct
                                  physical loss or damage occurred and all other Locations where Time Element loss ensues for the
                                  Policy Period divided by the number of working days in the Policy period.

                7.06.             Breakdown -

                7.06.01.              A failure of pressure or vacuum equipment;

                7.06.02.              An electrical failure including arcing; or

                7.06.03.              A mechanical failure including rupture or bursting caused by centrifugal force.

                7.06.04.              7.06.01., 7.06.02., 7.06.03. includes an explosion to a steam boiler, electric steam generator, steam
                                      piping, steam turbine, steam engine, gas turbine, or moving or rotating machinery when such
                                      explosion is caused by centrifugal force or mechanical failure; but not the explosion of gases or
                                      fuel within the furnace of any Covered Equipment or within the flues or passages through which
                                      the gases of combustion pass; nor combustion explosion outside the Covered Equipment.

                7.06.05.              Breakdown does not mean or include:

                7.06.05.01.               Malfunction including but not limited to adjustment, alignment, calibration, cleaning or
                                          modification;

                7.06.05.02.               Defects, erasures, errors, limitations or viruses in computer equipment and programs;

                7.06.05.03.               Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

                7.06.05.04.               Damage to any vacuum tube, gas tube or brush;

                7.06.05.05.               Damage to any structure or foundation supporting any Covered Equipment or any of its
                                          parts;

                7.06.05.06.               Functioning of any safety or protective device; or

                7.06.05.07.               Cracking of any part on an internal combustion gas turbine exposed to the products of
                                          combustion.




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                7.07.            Carrier - Contract or public truck men and motor transit companies or connecting carriers.

                7.08.            Computer Virus - Any Software, Electronic Data or code that affects the operation or functionality
                                 of any computer, communication system, file server, networking equipment, computer system,
                                 computer hardware, data processing equipment, computer memory, microchip, microprocessor
                                 (computer chip), integrated circuit or similar device in computer equipment, Program, Computer
                                 Software or operating systems, programming instructions, or data including, but not limited to any
                                 destructive Program, computer code, Computer Virus, worm, logic bomb, denial of service attack,
                                 smurf attack, vandalism, Trojan Horse or any other data introduced into any electronic system causing
                                 deletion, destruction, degradation, corruption, malfunction or compromise of Electronic Data,
                                 Software or electronic business systems.

                7.09.            Contamination(Contaminated) - Any condition of property due to the actual presence of any foreign
                                 substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism,
                                 bacteria, virus, disease causing or illness causing agent, Fungus, mold or mildew.

                7.10.            Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant,
                                 including but not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including
                                 materials to be recycled, reconditioned or reclaimed), asbestos, ammonia, other hazardous substances,
                                 Fungus or Spores.

                7.11.            Covered Cause of Loss - All risks of direct physical loss of or damage from any cause unless
                                 excluded.

                7.12.            Covered Equipment - Any boiler fired pressure vessel, unfired vessel normally subject to vacuum or
                                 internal pressure other than weight of its contents, refrigerating and air conditioning systems, any metal
                                 piping and its accessory equipment, and mechanical, or electrical machines or apparatus used for the
                                 generation, transmission, or utilization of mechanical or electrical power, not otherwise excluded as
                                 Covered Property.

                7.12.01              Covered Equipment does not include any of the following:

                7.12.01.01.               Part of pressure or vacuum equipment that is not under internal pressure of its contents or
                                          internal vacuum;

                7.12.01.02.               Insulating or refractory material, but not excluding the glass lining of any Covered
                                          Equipment;

                7.12.01.03.               Non-metallic pressure or vacuum equipment unless it is constructed and used in accordance
                                          with the American Society of Mechanical Engineers (ASME) code or another appropriate and
                                          approved code;

                7.12.01.04.               Catalyst;

                7.12.01.05.               Vessels, piping and other equipment that is buried below ground and requires the excavation
                                          of materials to inspect, remove, repair or replace;

                7.12.01.06.               Vehicle, aircraft, self-propelled equipment or floating vessel including any Covered Property
                                          (equipment) that is mounted upon or used solely with any one or more Vehicle(s), aircraft,
                                          self-propelled equipment or floating vessel;

                7.12.01.07.               Drag-line, excavation or construction equipment including any Covered Property or Covered
                                          Equipment that is mounted upon or used solely with any one or more drag-lines, excavation,
                                          or construction equipment;




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                7.12.01.08.               Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade,
                                          non-electrical cable, chain, belt, rope, clutch plate, brake pad, non-metal part or any part or
                                          tool subject to periodic replacement;

                7.12.01.09.               Equipment or any part of such equipment manufactured by the Insured for sale.

                7.13.            Daily Value (DV) - The 100% Gross Earnings value at the Location(s) where the direct physical loss
                                 or damage occurred and all other Locations where Time Element loss ensues, for the Period of
                                 Liability divided by the number of working days in such Period of Liability.

                7.14.            Delay in Completion - The period of time between the Anticipated Date of Completion and the
                                 actual date on which commercial operations or use and occupancy can commence with the exercise of
                                 due diligence and dispatch.

                7.15.            Described Cause(s) of Loss - Breakdown of Equipment, Earth Movement, Flood, or Named Storm.

                7.16.            Direct Dependent Time Element Location -

                7.16.01.             Any Location of a direct: customer, supplier, contract manufacturer or contract service
                                     provider to the Insured;

                7.16.02.             Any Location of any company under a royalty, licensing fee or commission agreement with
                                     the Insured.

                7.16.03.             A Direct Dependent Time Element Location does not include Locations that are Insured
                                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                                     receiving from, the Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or
                                     video.

                7.17.            Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth
                                 sinking, rising, shifting, or sinkhole collapse.
                7.18.            Electronic Data - Data of any kind that is recorded or transmitted in a form usable in electronic
                                 computer systems or networks, microchips, integrated circuits or similar devices in non-computer
                                 equipment, and which can be stored on Media for use by Programs.
                7.19.            Fine Arts - Includes, but is not limited to, bona fide works of art, works of rarity, works of historical
                                 values, works of artistic merit, photographs (positives and negatives), lithographs, illustrations, gallery
                                 proofs, original records, and similar property.

                7.20.            Finished Stock – Stock, which is ready for sale by the Insured, that is manufactured:

                7.20.01.             By the Insured; or

                7.20.02.             Under the Insureds’ direction and to the Insureds’ specifications.

                7.20.03.             For the purposes of the Gross Earnings Coverage only:

                7.20.03.01.               Finished Stock also includes whiskey and alcoholic products being aged.

                7.20.03.02.               Finished Stock does not include stock that is held for sale at any retail outlet insured under
                                          this Policy or that has been sold, that is manufactured:

                7.20.03.02.01.                By the Insured; or

                7.20.03.02.02.                Under the Insureds’ direction and to the Insureds’ specifications.




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                7.21.            First Named Insured - The First Insured listed under Named Insured.

                7.22.            Flood - A general and temporary condition of partial or complete inundation of normally dry land
                                 areas or structure(s) caused by:

                7.22.01.             The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves, tsunami,
                                     the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                                     bodies of water; or the spray there from all whether driven by wind or not; or

                7.22.02.             Mudflow or mudslides caused by accumulation of water on or under the ground.

                7.22.03.             Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by
                                     Flood.

                7.22.04.             Flood also includes Storm Surge if shown on the declarations as part of Flood.

                7.23.            Fungus (or Fungi) - Any form of fungus including, but not limited to, yeast, mold, mildew, rust, smut,
                                 mushroom, spores, mycotoxins, odors, or any other substances or gases, products or byproducts
                                 produced by, released by, or arising out of the current or past presence of Fungi.

                7.24.            Improvements and Betterments - Fixtures, alterations, installation or additions comprising part of a
                                 building occupied, but not owned by the Insured and acquired or made at the Insured's expense which
                                 the Insured cannot legally move.

                7.25.            Indirect Dependent Time Element Location -

                7.25.01.             Any Location of a company that is a direct: customer, supplier, contract manufacturer or contract
                                     service provider to a Direct Dependent Time Element Location; or

                7.25.02.             Any Location of a company that is an indirect: customer, supplier, contract manufacturer or
                                     contract service provider to a Direct Dependent Time Element Location.

                7.25.03.             An Indirect Dependent Time Element Location does not include Locations that are Insured
                                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                                     receiving from, the Direct Dependent Time Element Location, electricity, fuel, gas, water,
                                     steam, refrigeration, sewage, voice, data or video.

                7.26.            Land Improvements - Lawns, plants, shrubs or trees; pavements, roadways, sidewalks or similar
                                 works, but not including any fill or land beneath such property.

                7.27.            Lease Interest - The excess rent paid for the same or similar replacement property over actual rent
                                 otherwise payable had there been no loss or damage, plus cash bonuses or advance rent paid (including
                                 any maintenance or operating charges) for each month during the unexpired term of the lease.

                7.28.            Location -

                7.28.01.             As specified in the Schedule of Locations;

                7.28.02.             If not so specified in the Schedule of Locations:

                7.28.02.01.              a Location is a building(s) bounded on all sides by public streets, clear land space or open
                                         waterways, each not less than fifty feet wide;

                7.28.02.02.              A site or tract of land occupied or available for occupancy with tangible property; or

                7.28.03.             If the Insured is a tenant,




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                7.28.03.01.               those portions of the building not rented by the Insured; or

                7.28.03.02.               those portions of the building not intended to be rented by the Insured or others.

                7.29.            Media - Tangible personal property on which Electronic Data or Programs can be recorded, but not
                                 the Data or Programs themselves. Money or Securities are not Media.

                7.30.            Merchandise - Goods kept for sale by the Insured which are not Raw Stock, Stock in Process or
                                 Finished Stock.
                7.31.            Miscellaneous Unnamed Location - A Location owned, leased or rented by the Insured, but not
                                 specified in the Schedule of Locations.

                7.32.            Moderate Flood Hazard Area (MFHA) - Is an area defined by FEMA (The Federal Emergency
                                 Management Agency) or any foreign equivalent, between the limits of the base flood and the
                                 0.2-percent-annual-chance or 500-year flood. A Moderate Flood Hazard Area is shown on the FIRM
                                 per FEMA and includes but is not limited to Zone B or Zone X (shaded). If not defined by FEMA or
                                 any foreign equivalent, it is an area between the limits of the base flood and the
                                 0.2-percent-annual-chance or 500-year flood.

                7.33.            Money - Currency, coins and bank notes whether or not in current use; travelers checks, register
                                 checks and money orders held for sale to the public.

                7.34.            Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and
                                 Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane
                                 Center or any comparable worldwide equivalent.

                                 Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

                7.35.            NCP - No Coverage Provided.

                7.36.            Net Lease Interest - That sum which placed at six percent 6% interest compounded annually would
                                 equal the Lease Interest (less any amounts otherwise payable).

                7.37.            New Construction or Additions - Additional square footage beyond what existed and was usable for
                                 the Insured’s business activities as of the inception of the policy period.

                7.38.            Occurrence - All loss(es) or damage that is attributable directly or indirectly to one cause or a series of
                                 similar or related causes. All such loss(es) or damage will be treated as one Occurrence. However, if
                                 Occurrence is specifically defined anywhere in this Policy, that definition will apply to the applicable
                                 coverage provided.

                7.39.            Operations - The Insured's business activities at the Insured Location.

                7.40.            Ordinary Payroll - Payroll expenses for all employees except officers, executives, department
                                 managers, employees under contract, and other important professional employees. Payroll expenses
                                 include the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and
                                 Workers' Compensation premiums the Insured pays for.
                7.41.            Period of Interruption - The period starting when the Insured's Electronic Data Processing Equipment
                                 or Media fails to operate and ending when with due diligence and dispatch, the Insured's Electronic
                                 Data Processing Equipment or Media could be restored to the same or equivalent operating condition
                                 that existed prior to the failure. The Period of Interruption does not include the additional time to
                                 make changes to the Insured's Electronic Data Processing Equipment or Media.




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                7.42.            Period of Service Interruption - The period starting when an interruption of a specified service
                                 occurs and ending when with due diligence and dispatch, the service could be restored to the same or
                                 equivalent operating condition that existed prior to the failure.

                7.43.            Policy Year - The (12) twelve consecutive months after the date coverage begins on this Policy.

                7.44.            Program (Software) - Any computer software, computer applications, or recorded instructions,
                                 whether digital or otherwise, for the processing, sequencing, collecting, transmittal, recording, retrieval
                                 or storage of Electronic Data.

                7.45.            Public Adjusters - Individuals or groups, including consultants, secured specifically for the purpose of
                                 representing the Insured's interest in the adjustment of a claim(s) under this Policy.

                7.46.            Qualifying Period - The continuous period of time expressed in hours or days which must be
                                 exceeded before coverage under this Policy begins.

                7.47.            Raw Stock (or Raw Material) - Materials in the state in which the Insured receives it for conversion
                                 into stock in process or Finished stock.

                7.48.            Scheduled Location - A Location scheduled on this Policy.

                7.49.            Securities - Negotiable and non-negotiable instruments or contracts representing either Money (but
                                 does not include Money) or other property and includes:

                7.49.01.             Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value
                                     in a meter) in current use; and

                7.49.02.             Evidences of debt issued in connection with credit or charge cards, which are not issued by the
                                     Insured.

                7.50.            Selling Price - The regular cash selling price at the Location where the loss occurs, less all discounts,
                                 pilferage, waste, returns and charges to which the Finished Stock and Merchandise would have been
                                 subject had no loss occurred.

                7.51.            Soft Costs - Expenses which are necessarily incurred during the Period of Liability, that would not
                                 have been incurred if the Delay in Completion had not occurred, at Locations undergoing renovation
                                 or in the course of construction, limited to the following:

                7.51.01.             Construction loan fees -The additional cost incurred to rearrange loans necessary for the
                                     completion of construction, repairs or reconstruction, including; the cost to arrange refinancing,
                                     accounting work necessary to restructure financing, legal work necessary to prepare new
                                     documents, charges by the lenders for the extension or renewal of loans necessary.

                7.51.02.             Commitment fees, leasing and marketing expenses - The additional cost of returning any
                                     commitment fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and
                                     marketing due to loss of tenant(s) or purchaser(s).

                7.51.03.             Additional fees – The additional cost for: architects, engineers, consultants, attorneys and
                                     accountants needed for the completion of construction, repairs or reconstruction.

                7.51.04.             Carrying costs – The additional cost of: property taxes, building permits, additional interest on
                                     loans, realty taxes and insurance premiums.

                7.52.            Special Flood Hazard Area (SFHA) - Is an area defined by FEMA (The Federal Emergency
                                 Management Agency) or any foreign equivalent that will be inundated by the flood event having a
                                 1-percent chance of being equaled or exceeded in any given year. The 1-percent annual chance flood is




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                                 also referred to by FEMA as the base flood or 100-year flood. SFHA’s per FEMA include but are not
                                 limited to Zone A, Zone AO, Zone AH, Zones A1-A30, Zone AE, Zone A99, Zone AR, Zone AR/AE,
                                 Zone AR/AO, Zone AR/A1-A30, Zone AR/A, Zone V, Zone VE, and Zones V1-V30. If not defined
                                 by FEMA or any foreign equivalent, it is an area that will be inundated by the flood event having a
                                 1-percent chance of being equaled or exceeded in any given year.

                7.53.            Spores - Any reproductive body produced by or arising out of any Fungus (or Fungi).

                7.54.            Stock in Process - Raw Stock (or material) which has undergone any aging, seasoning, mechanical or
                                 other process of manufacture at the Insured Location, but which has not become Finished Stock.

                7.55.            Storm Surge - A general and temporary condition of partial or complete inundation by salt water,
                                 caused by wind driven waves that result from a Named Storm, of normally dry land areas or
                                 structure(s) in coastal areas, bays or inland waters connected to an ocean or sea.

                7.56.            Suspension (Suspended) -

                7.56.01.             The slowdown or cessation of the Insured's business activities: or

                7.56.02.             As respects rental income that a part or all of the Insured Location is rendered
                                     untenantable.

                7.57.            Terrorist Activity - Any activity;

                7.57.01.             Defined as Terrorist Activity under the laws of the place where it is committed, or

                7.57.02.             Which involves any of the following:

                7.57.02.01.              The hijacking or sabotage of any conveyance (including an aircraft, vessel, or vehicle).

                7.57.02.02.              The seizing or detaining of, or threatening to kill, injure or continue to detain any person in
                                         order to compel a third person (including a governmental organization ) to do or abstain from
                                         doing any act as an explicit or implicit condition for the release of the individual seized or
                                         detained.

                7.57.02.03.              A violent attack upon an internationally protected person (as defined in section 1116(b)(4) of
                                         title 18, United States Code) or upon the liberty of such a person.

                7.57.02.04.              An assassination.

                7.57.02.05.              The use of any biological agent, chemical agent, or nuclear weapon or device, explosive or
                                         firearm (other than for mere personal monetary again), with intent to endanger, directly or
                                         indirectly, the safety of one or more individuals or to cause damage to property.

                7.57.02.06.              A threat, attempt, or conspiracy to do any of the foregoing.

                7.57.02.07.              Any act or acts deemed or declared by any government official, law enforcement agency,
                                         intelligence agency or other public authority to be terrorism or a terrorist act(s).

                7.58.            Valuable Papers and Records - Inscribed or printed or written documents, manuscripts or records,
                                 including abstracts, books, deeds, drawings, films, maps, mortgages, prints and tracings, card index
                                 systems, files, tapes, discs, drums, cells, magnetic recordings or storage Media for electronic data
                                 processing, Electronic Data, Program(Software); but Valuable Papers and Records does not mean
                                 Money or Securities.




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              Appendix
              USA including its Commonwealths
                                             A - Earth Movement/Earthquake
                                                                                               and Territories
                                                                                                                Zones for
                                                                                                                                      9
                                                                                                                                    ZURICH‘
              This   list is   for   is   for informational purposes only   and does not convey any coverage under the policy.



              COUNTRY           -    The United    States of America
                       STATE                     ZONE                           COUNTIES/PARISHES/INDEPENDENT CITIES
              ALABAMA                               3     Colbert, Franklin, Lauderdale, Lawrence, Limestone,   Morgan
                                                    4    Balance of State
              ALASKA                                1    Balance of State
                                                    2    North Slope
              ARIZONA                               4     Entire State
              ARKANSAS                              1     Clay, Craighead, Crittenden, Cross, Greene, Lee, Mississippi, Poinsett, St Francis
                                                    2     Independence, Jackson, Lawrence, Lonoke, Monroe, Phillips, Prairie, Randolph, Sharp, White,
                                                          Woodruff
                                                    3     Arkansas, Cleburne, Cleveland, Desha, Drew, Faulkner, Fulton, Grant, Izard, Jefferson,
                                                         Lincoln, Pulaski, Saline, Stone
                                                    4     Balance 0f State
              CALIFORNIA                            1    Entire State
              COLORADO                              4    Entire State
              CONNECTICUT                           4     Entire State
              DELAWARE                              4    Entire State
              D. C. (Territory)                     4    District   0f Columbia — Washington D. C.
              FLORIDA                               4     Entire State
              GEORGIA                               4     Entire State
              HAWAII                                1     Entire State
              IDAHO                                 3     Bannock, Bear Lake, Can'bou, Franklin, Oneida, Power
                                                    4    Balance of State
              ILLINOIS                              1     Alexander, Pulaski

                                                    2     Bond, Clay, Clinton, Edwards, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson,
                                                          Johnson, Lawrence, Madison, Marion, Massac, Monroe, Perry, Pope, Randolph, Richland,          St.

                                                          Clair, Saline, Union, Wabash, Washington, Wayne, White, Williamson

                                                    3     Calhoun, Christian, Clark, Coles, Crawford, Cumberland, Douglas, Edgar, Efﬁngham, Fayette,
                                                          Greene, Jasper, Jersey, Macoupin, Montgomery, Morgan, Moultrie, Pike, Sangamon, Scott,
                                                          Shelby
                                                    4    Balance of State

              INDIANA                               2     Crawford, Daviess, Dubois, Gibson, Greene, Knox, Lawrence, Martin, Orange, Perry, Pike,
                                                          Posey, Spencer, Sullivan, Vanderburgh, Warrick

                                                    3     Brown, Clay, Fayette, Johnson, Morgan, Monroe, Owen, Rush, Shelby, Union, Vigo

                                                    4     Balance 0f State
              IOWA                                  4     Entire State

              KANSAS                                4     Entire State

              KENTUCKY                              1     Ballard, Carlisle, Fulton,   Hickman, McCracken
                                                    2    Breckinridge, Butler, Caldwell, Calloway, Christian, Crittenden, Daviess, Graves, Hancock,
                                                          Henderson, Hopkins, Livingston, Logan, Lyon, Marshall, McLean, Muhlenberg, Ohio,
                                                          Simpson, Todd, Trigg, Union, Warren, Webster
                                                    4     Balance 0f State
              LOUISIANA                             4    Entire State

              MAINE                                 4    Entire State

              MARYLAND                              4     Entire State




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                       STATE   ZONE                             COUNTIES/PARISHES/INDEPENDENT CITIES
              MASSACHUSETTS     4     Entire State
              MICHIGAN          4     Entire State
              MINNESOTA         4     Entire State


              MISSISSIPPI       1     DeSoto, Tunica
                                2     Alcorn, Benton, Bolivar, Coahoma, Lafayette, Leﬂore, Marshall, Panola, Pontotoc, Prentiss,
                                      Quitman, Sunﬂower, Tallahatchie, Tate, Tippah, Tishomingo, Union, Yalobusha
                                3     Calhoun, Carroll, Chickasaw, Choctaw, Clay, Grenada, Holmes, Humphreys Issaquena,
                                                                                                                   ,


                                      Itawamba, Lee, Lowndes, Monroe, Montgomery, Oktibbeha, Sharkey, Warren, Washington,
                                      Webster, Yazoo
                                      Balance 0f State
              MISSOURI          1     Bollinger, Butler, Cape Girardeau, Dunklin, Mississippi, New Madrid, Pemiscot, Scott,
                                      Stoddard
                                2     Carter, Iron, Jefferson, Madison, Oregon, Perry, Reynolds, Ripley, St. Francois, Ste.
                                      Genevieve, St. Charles, St. Louis, Washington, Wayne, and the City 0f St Louis

                                3     Audrain, Callaway, Cole, Crawford, Dent, Franklin, Gasconade, Howell, Lincoln, Maries,
                                      Marion, Miller, Montgomery, Osage, Phelps, Pike, Pulaski, Ralls, Shannon, Texas, Warren
                                4     Balance 0f State
              MONTANA           4     Entire State
              NEBRASKA          4     Entire State
              NEVADA            1     Carson City, Douglas
                                2     Lyon    ,   Storey,   Washoe
                                3     Clark
                                4     Balance 0f State

              NEW HAMPSHIRE     4     Entire State
              NEW JERSEY        4     Entire State
              NEW MEXICO        4     Entire State
              NEW YORK          4     Entire State
              NORTH CAROLINA    4     Entire State
              NORTH DAKOTA      4     Entire State
              OHIO              4     Entire State
              OKLAHOMA          4     Entire State
              OREGON            2     Clackamas, Multnomah, Washington
                                3     Benton, Clatsop, Columbia, Coos, Curry, Douglas,   Hood River,   Jackson, Josephine, Lane,
                                      Lincoln, Linn, Marion, Polk, Tillamook, Yamhill
                                4     Balance of State
              PENNSYLVANIA      4     Entire State
              RHODE ISLAND      4     Entire State
              SOUTH DAKOTA      4     Entire State
              SOUTH CAROLINA    1     Berkely, Charleston, Dorchester


                                3     Bamberg, Beaufort, Calhoun, Clarendon, Colleton, Georgetown, Hampton,      Jasper,
                                      Orangeburg, Richland, Sumter, Williamsburg
                                4     Balance 0f State
              TENNESSEE         1     Crockett, Dyer, Haywood, Lake, Lauderdale, Obion, Shelby, Tipton
                                2     Benton, Carroll, Chester, Decatur, Fayette, Gibson, Hardeman, Hardin, Henderson, Henry,
                                      Humphreys, Madison, McNairy, Weakley
                                3     Cheatham, Davidson, Dickson, Hickman, Houston, Lawrence, Lewis, Montgomery, Perry,
                                      Robertson, Stewart,       Wayne
                                4     Balance 0f State
              TEXAS             4     Entire State




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              STATE                          ZONE                          COUNTIES/PARISHES/INDEPENDENT CITIES
              UTAH                               2   Davis, Salt Lake, Utah
                                                 3   Cache, Morgan, Rich, Summit, Wasatch, Weber
                                                 4   Balance 0f State
              VERMONT                            4   Entire State
              VIRGINIA                           4   Entire State
              WASHINGTON                         1   Clallam, Island, Jefferson, King, Kitsap, Mason, Pierce, San Juan, Thurston
                                                 2   Skagit,   Snohomish, Whatcom
                                                 3   Clark, Cowlitz, Grays Harbor, Lewis, Paciﬁc, Skamania,     Wahkiakum,
                                                 4   Balance of State
              WEST VIRGINIA                      4   Entire State
              WISCONSIN                          4   Entire State
              WYOMING                            4   Entire State


              Commonwealths and        Territories   of The United States 0f America
                                                                    ZONE
              AMERICAN SAMOA                                         2      Entire Territory
              GUAM                                                   1      Entire Territory
              NORTHERN MARIANA ISLANDS                               2      Entire   Commonwealth
              PUERTO RICO                                            1      Entire   Commonwealth
              U.S.   VIRGIN ISLANDS                                  1      Entire Territory for Limits 0f Liability
                                                                     2      Entire Territory for Deductibles
              A11 other   US   Territories   and Possessions         2      Entire Territory




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          Appendix B - Earth Movement/Earthquake Zones
          Worldwide except USA its Commonwealths and
                                                                                                                                                                                            a
                                                                                                                                                                                          ZURICH“
          Territories

          This   list is   for   is   for informational purposes only   and does not convey any coverage under the policy.




            Country                                                      Zone                                                     Provincesfl‘erritories/States/C ounties

           ALBANIA                                                                      1                                         Entire Country

           ALGERIA                                                                                                                Balance 0f Country
                                                                                                                                  Adrar, Bechar, Tamanghasset, Ouargla,      Illizi,   Tindouf, Ghardaia
           ANDORRA                                                                                                                Entire Country

           ANGUILLA                                                                                                               Entire Country for Limits of Liability

                                                                                                                                  Entire Country for Deductibles

           ANTARCTICA                                                                                                             Entire Country

           ANTIGUA & BARBUDA                                                                                                      Entire Country for Limits of Liability

                                                                                                                                  Entire Country for Deductibles

           ARGENTINA                                                                                                              Mendoza, Neuquen, San Juan
                                                                                                                                  Catamarca, Jujuy,      Salta,   Tucuman
                                                                                                                                  Balance of Country
           ARMENIA                                                                                                                Entire Country

           ARUBA                                                                                                                  Entire Country

           AUSTRALIA              including Christmas Island,                                                                     Christmas Island   ,
                                                                                                                                                         Cocos (Keeling) Islands
            Cocos (Keeling) Islands
                                                                                                                                  Western Australia
                                                                                                                                  Balance of Country
           AUSTRIA                                                         Nth-‘NH-b-wa-P-NP‘v-‘JkaH-b-wawr—‘hlvi-‘Nb—‘WNH-b-FN




                                                                                                                                  Entire Country

           AZERBAIJAN                                                                                                             Entire Country

           BAHAMAS                                                                                                                Entire Country

           BAHRAIN                                                                                                                Entire Country

           BANGLADESH                                                                                                             Entire Country

           BARBADOS                                                                                                               Entire Country for Limits 0f Liability

                                                                                                                                  Entire Country for Deductibles

           BELARUS                                                                                                                Entire Country

           BELGIUM                                                                                                                Entire Country

           BELIZE                                                                                                                 Entire Country

           BENIN                                                                                                                  Entire Country

           BERMUDA                                                                                                                Entire Country

           BHUTAN                                                                                                                 Balance of Country
                                                                                                                                  Gasa
           BOLIVIA                                                                                                                La Paz
                                                                                                                                  Oruro, Potosi, Tarija
                                                                                                                                  Beni, Chuquisaca, Cochabamba, Pando, Santa Cruz

           BOSNIA & HERZEGOVINA                                                                                                   Entire Country




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           BOTSWANA                             4    Entire Country

           BRAZIL                               4    Entire Country

           BRITISH VIRGIN ISLANDS               1    Entire Country for Limits of Liability

                                                2    Entire Country for Deductibles

           BRUNEI DARUSSALAM                    3    Entire Country

           BULGARIA                             2    Entire Country

           BURKINA FASO                         4    Entire Country

           BURUNDI                              2    Entire Country

           CAMBODIA                             4    Entire Country

            CAMEROON                            3    Entire Country

            CANADA                              2    British Columbia, Ontario, Quebec,   Yukon   except listed postal codes
                                                     With ﬁrst 3 characters in Zones 3 and 4
                                                3    British Columbia Postal Codes:V8C,V8G,VOM,VOT,VOV,V1M,V2P,
                                                     V2R,V2S,V2T,V2V,V2W,V2X,V2Y,V3B,V3C,V3E,V3 G,V3H,V3J.
                                                     V3K,V3L,V3N,V3R,V3T,V3V,V3Y,V4N,V4R,V4S,V4W,V4X,V4Z,
                                                     V5A,V5B,V5C,V5E,V5G,V5H,V5J,V5K,V5L,V5M,V5N,V5R,V5T,
                                                     V5V,V5Y,VSZ,V6A,V6B,V6C,V6E,V6G,V6H,V6J,V6K,V6L,V6R,
                                                     V6T,V6Z,V7G,V7H,V7J,V7K,V7L,V7M,V7N,V7P,V7R,V7S,V7T,
                                                     V7V,V7W,V7X,V7Y,V8B,V8J
                                                     New Brunswick Postal Codes: E1G,E1N,E1V,E1X,E2A,E2E,E2G,
                                                     E2H,E2J,E2K,E2L,E2M,E2N,E2P,E2R,E2S,E2V,E3A,E3B,E3C,E3E,
                                                     E3L,E3N,E3V,E3Y,E3Z,E4A,E4B,E4C,E4E,E4G,E4J,E4S,E4T,E4V,
                                                     E4W,E4X,E4Y,E4Z,E5A,E5B,E5C,E5E,E5H,E5J,E5K,E5L,E5M,
                                                     E5N,E5P,E5R,E5S,EST,E5V,E6A,E6B,E6C,E6E,E6G,E6H,E6J,E6K,
                                                     E6L,E7A,E7B,E7C,E7E,E7G,E7H,E7J,E7K,E7L,E7M,E7N,E7P,E8A,
                                                     E8B,E8C,E8E,E8G,E8J,E8K,E8L,E8M,E8N,E8P,E8R,E9A,E9B,E9C,
                                                     E9E,E9G,E9H,
                                                     Ontario Postal Codes:   KOE,KOG,K6T,K6V,K7A,K7H
                                                     Quebec Postal Codes:GOE,GOJ,GOK,GOM,GON,GOP,GOS,GOV,GOY,
                                                     GOZ,G4R,G4S,GSB,G5J,G5X,G5Y,GSZ,G6A,G6B,G6E,G6G,G6H,
                                                     G6J,G6K,G6L,G6P,G6R,G6S,G6T,G7A,G7B,G7G,G7H,G7J,G7K,
                                                     G7N,G7P,G7S,G7T,G7X,G7Y,G7Z,G8A,JOA,JOB,JOE,JOH,JOJ,J 1A,
                                                     J1 C,J1E,J1 G,J1H,J1J,J1K,J1L,J1M,J1N,J1R,J1
                                                                                              S,J1T,J1X,J2G,J2H,
                                                     J2J,J2K,J2L,J2M,J2N,J2R,J2S,J2T,J2X,J3M,J9V




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RGVieweri @mhﬂtry                             Zone      Provinces/Territories/States/Counties
            CANADA (continued)                  4       British Columbia Postal Codes: VOC,VOJ,V 1 J,V2K,V2M,VOA,VOB,
                                                        VOE,VOG,VOH,VOK,VOL,VOW,VOX,V 1 A,V 1 B,V 1 C,V 1 E,V 1 G,V 1 H,
                                                        V 1 K,V 1 L,V1N,V 1 P,V 1 R,V1 S,V1 T,V 1 V,V 1 W,V 1 X,V 1 Y,V 1 Z,V2A,
                                                        V2B,V2C,V2E,V2G,V2H,V2J,V2L,V2N,V4T,V4V
                                                        Ontario Postal Codes: KOH,KOK,KOL,KOM,K7G,K7K,K7L,K7M,
                                                        K7N,K7P,K7R,K8N,K8P,K8R,K8V,K9A,K9H,K9J,K9K,K9L,K9V,
                                                        LOA,LOB,LOC,LOE,LOG,LOH,LOJ,LOK,LOL,LOM,LON,LOP,LOR,LOS,
                                                        L1A,L1B,L1C,L1E,L1G,L1H,L1J,L1K,L1L,L1M,L1P,L1R,L1S,L1T,
                                                        L 1 V,L 1 W,L1X,L 1 Y,L 1 Z,L2A,L2E,L2G,L2H,L2J,L2M,L2N,L2P,
                                                        L2R,L2S,L2T,L2V,L2W,L3B,L3C,L3 K,L3M,L3P,L3R,L3 S,L3T,
                                                        L3V,L3X,L3Y,L3Z,L4A,L4B,L4C,L4E,L4G,L4H,L4J,L4K,L4L,L4M
                                                        L4N,L4P,L4R,L4S,L4T,L4V,L4W,L4X,L4Y,L4Z,LSA,L5B,LSC,
                                                        L5E,L5G,L5H,L5J,L5K,L5L,L5M,L5N,L5P,L5R,L5 S,L5T,L5V,
                                                        L5W,L6A,L6B,L6C,L6E,L6G,L6H,L6J,L6K,L6L,L6M,L6P,L6R,
                                                        L6S,L6T,L6V,L6W,L6X,L6Y,L6Z,L7A,L7B,L7C,L7E,L7G,L7J,
                                                        L7K,L7L,L7M,L7N,L7P,L7R,L7S,L7T,L8E,L8G,L8H,L8J,L8K,L8L,
                                                        L8M,L8N,L8P,L8R,L8S,L8T,L8V,L8W,L9A,L9B,L9C,L9G,L9H,
                                                        L9K,L9L,L9M,L9N,L9P,L9R,L9S,L9T,L9V,L9W,L9Y,L9Z,M 1 B,
                                                        M1C,M1E,M1G,M1H,M1J,M1K,M1L,M1M,M1N,M1P,M1R,M1S,
                                                        M 1 T,M 1 V,M 1 W,M 1 X,M2H,M2J,M2K,M2L,M2M,M2N,M2P,MZR,
                                                        M3A,M3B,M3C,M3H,M3 J,M3K,M3L,M3M,M3N,M4A,M4B,M4C,
                                                        M4E,M4G,M4H,M4J,M4K,M4L,M4M,M4N,M4P,M4R,M4S,M4T,
                                                        M4V,M4W,M4X,M4Y,M5A,M5B,MSC,M5E,M5G,M5H,M5J,M5K,
                                                        M5L,M5M,M5N,M5P,M5R,M5 S,M5T,M5V,M5W,M5X,M6A,M6B,
                                                        M6C,M6E,M6G,M6H,M6J,M6K,M6L,M6M,M6N,M6P,M6R,M6S,
                                                        M7A,M7Y,M8V,M8W,M8X,M8Y,MSZ,M9A,M9B,M9C,M9L,M9M,
                                                        M9N,M9P,M9R,M9V,M9W,NOA,NOB,NOC,NOE,NOG,NOH,NOJ,
                                                        NOK,NOL,NOM,NON,NOP,NOR,N 1 A,N 1 C,N 1 E,N 1 G,N 1 H,N 1 K,N 1 L,
                                                        N M,N
                                                          1   1 P,N 1 R,N1 S,N 1 T,N2A,N2B,N2C,N2E,N2G,N2H,N2J,N2K,

                                                        N2L,N2M,N2N,N2P,N2R,N2T,N2V,NZZ,N3A,N3B,N3C,N3E,N3H,
                                                        N3L,N3P,N3 R,N3 S,N3T,N3V,N3W,N3Y,N4B,N4G,N4K,N4L,N4N,
                                                        N4S,N4T,N4V,N4W,N4X,N4Z,N5A,N5C,N5H,N5L,N5P,N5R,N5V,
                                                        N5W,N5X,N5Y,N5Z,N6A,N6B,N6C,N6E,N6G,N6H,N6J,N6K,N6L,
                                                        N6M,N6N,N6P,N7A,N7G,N7L,N7M,N7S,N7T,N7V,N7W,N7X,
                                                        N8A,N8H,N8M,N8N,N8P,N8R,N8,N8T,N8V,N8W,N8X,N8Y,N9A,
                                                        N9B,N9C,N9E,N9G,N9H,N9J,N9K,N9V,N9Y,POA,POB,POC,POE,
                                                        POG,POH,POJ,POK,POL,POM,PON,POP,POR,POS,POT,POV,POW,POX,
                                                        POY,P 1 A,P 1 B,P 1 C,P 1 H,P 1 L,P 1 P,P2A,P2B,P2N,P3A,P3B,P3 C,P3E,
                                                        P3 G,P3L,P3N,P3P,P3Y,P4N,P4P,P4R,P5A,P5E,P5N,P6A,P6B,P6C,
                                                        P7A,P7B,P7C,P7E,P7G,P7J,P7K,P7L,P8N,P8T,P9A,P9N
                                                        Quebec Postal Codes: GOC,GOG,GOW,G4T,G4X,G8B,G8C,G8E,
                                                        G8G,G8H,G8J,G8K,G8L,G8M,G8N,G8P,JOM,JOY,JOZ,J9P,J9T,J9X,
                                                        J9Y,J9Z
                                                        Balance 0f Country
            CAPE VERDE                                  Entire Country

            CAYMAN ISLANDS                      th—‘h
                                                        Entire Country for Limits 0f Liability

                                                        Entire Country for Deductibles

            CENTRAL AFRICAN REPUBLIC                    Entire Country




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RGVieweri @mhﬂtry                             Zone   Provinces/Territories/States/Counties
            CHAD                                4    Entire Country

            CHILE                               1    Entire Country

            CHINA                               1    Liaoning, Tianjin, Hebei, Shandong, Gansu, Sichuan, Shaanxi,
                                                     Yunnan
                                                2    Tibet   Autonomous Region, Macau
                                                3    Balance of Country
                                                4    Hong Kong
            COLOMBIA                            1    Antioquia, Cauca, Choco, Narino, Quindio, Risaralda, Valle del
                                                     Cauca, Bogota
                                                2    Balance of Country
                                                3    Amazona, Arauca, Caqueta, Casanare, Guainia, Guaviare, Meta,
                                                     Putumayo, San Antes and Providencia, Vaupes, Vichada
           COMOROS                              4    Entire Country

           CONGO, REPUBLIC OF                   2    Entire Country

           COOK ISLANDS                         2    Entire Country

           COSTA RICA                           1    Entire Country

           CROATIA                              2    Entire Country

           CURACAO                              3    Entire Country

           CYPRUS                               2    Entire Country

           CZECH REPUBLIC                       3    Entire Country

           DENMARK                              4    Entire Country

           DJIBOUTI                             2    Entire Country

           DOMINICA                             1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           DOMINICAN REPUBLIC                   1    Entire Country
           ECUADOR                              1    Entire Country

           EGYPT                                2    Cairo, Dakahlia, Damietta, Gharbia, Ismailia, Kafr el-Sheikh,
                                                     Monuﬁa, North    Sinai, Port Said,   Red   Sea, Sharqia, Suez

                                                3    Balance of Country
           EL SALVADOR                          1    Entire Country

           EQUATORIAL-GUINEA                    4    Entire Country

           ERITREA                              2    Entire Country

           ESTONIA                              4    Entire Country

           ETHIOPIA                             2    Balance of Country
                                                3    Benishangul, Dure Dawa, Gambela, Harari, Somalia, Tigray

           FAROE ISLANDS                        4    Entire Country

           FEDERATED STATES OF MICRONESIA       2    Entire Country

           FIJI                                 1    Entire Country

           FINLAND                              4    Entire Country

           FRANCE                               3    Entire Country

           FRENCH GUIANA                        4    Entire Country

           FRENCH POLYNESIA                     4    Entire Country

           GABON                                2    Ogooue-Ivindo, Ogooue-Lolo
                                                3    Balance 0f Country
           GAMBIA                               4    Entire Country

           GERMANY                              3    Entire Country




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           GHANA                                1    Accra
                                                2    Balance 0f Country
           GIBRALTAR                            3    Entire Country

           GREECE                               1    Entire Country

           GREENLAND                            3    Entire Country

           GRENADA                              1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           GUADELOUPE                           1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           GUATEMALA                            1    Balance 0f Country
                                                3    Peten
           GUINEA                               2    Boke
                                                3    Balance 0f Country
           GUINEA-BISSAU                        3    Entire Country

           GUYANA                               3    Entire Country

           HAITI                                1    Entire Country

           HONDURAS                             1    Balance 0f Country
                                                3    Atlantida, Colon,   Comayagua, E1   Paraiso, Francisco Morazan,
                                                     Gracias a Dios, Islas de 1a Bahia, Olancho, Yoro
           HUNGARY                              3    Entire Country

           ICELAND                              2    Northeast Region, South Region, Southern Peninsula Region,
                                                     Capital Region

                                                3    Balance of Country
           INDIA                                1    Arunachal Pradesh, Assam, Gujarat, Haryana, Himachal Pradesh,
                                                     Jammu and Kashmir, Manipur, Meghalaya, Mizoram, Nagaland,
                                                     Punj ab, Uttarakhand
                                                3    Balance 0f Country
           INDONESIA                            2    Balance of Country
                                                3    (B0rneo)-East Kalimantan, South Kalimantan, West Kalimantan,
                                                     Central Kalimantan, Riau, Jambi, South Sulawesi, Southeast
                                                     Sulawesi, Bengka—Belitung, West Nusa Tenggara

           IRAQ                                 2    Entire Country

           IRELAND                              4    Entire Country

           ISLE OF MAN                          3    Entire Country

           ISRAEL                               1    Entire Country

           ITALY                                1    Balance 0f Country
                                                3    Liguria,   Lombardy, Marche, Piedmont, Aosta Valley, Trentino-Alto
                                                     Adige/Siidtirol, Veneto, Sardinia

           IVORY COAST (COTE-D’IVOIRE)          4    Entire Country

           JAMAICA                              1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles
           JAPAN                                1    Balance 0f Country
                                                2    Prefectures 0f Akita, Fukui, Fukuoka, Gifu,   Gunma, Hiroshima,
                                                     Ishikawa, Kagoshima, Niigata, Okayama, Okinawa, Saga, Shimane,
                                                     Tochigi, Tottori, Toyama,   Yamaguchi




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           JORDAN                               1    Balance 0f Country
                                                3    Ma'an
           KAZAKHSTAN                           1    Entire Country

           KENYA                                2    Entire Country

           KIRIBATI                             2    Entire Country

           KOSOVO                               3    Entire Country

           KUWAIT                               4    Entire Country

           KYRGYZSTAN (KYRGYZ REPUBLIC)         1    Entire Country

           LAOS                                 2    Balance of Country
                                                3    Attapu, Bolikhamxai, Champasak,   Khammouan,   Salavan,
                                                     Savannakhet, Xekong
           LATVIA                               4    Entire Country

           LEBANON                              1    Entire Country

           LESOTHO                              2    Balance of Country
                                                3    Berea, Butha-Buthe, Leribe, Mokhotlong, Thaba-Tseka

           LIBERIA                              4    Entire Country

           LIBYA                                2    Entire Country

           LIECHTENSTEIN                        4    Entire Country

           LITHUANIA                            4    Entire Country

           LUXEMBOURG                           4    Entire Country

           MACEDONIA                            1    Entire Country

           MADAGASCAR                           3    Entire Country

           MALAWI                               2    Entire Country

           MALAYSIA                             3    Entire Country

           MALDIVES                             4    Entire Country

           MALI                                 4    Entire Country

           MALTA                                4    Entire Country

           MARSHALL ISLANDS                     4    Entire Country

           MARTINIQUE                           1    Entire Country for Limits of Liability

                                                2    Entire Country for Deductibles

           MAURITANIA                           4    Entire Country

           MAURITIUS                            4    Entire Country

           MAYOTTE                              2    Entire Country

           MEXICO                               1    Balance of Country
                                                4    Chihuahua, Campeche, Coahuila, Durango, Nuevo Leon, Quintana
                                                     R00, San Luis Potosi, Sonora, Tamaulipas, Yucatan, Zacatecas
           MOLDOVA                              2    Entire Country

           MONACO                               3    Entire Country

           MONGOLIA                             1    Balance 0f Country
                                                2    GOVi-Altai, Arkhangai, Bulgan, Selenge, TOV, Ovorkhangai

                                                3    Khentii, Dundgovi,   Domogovi, Domod, Sukhbaatar
           MONTENEGRO                           2    Entire Country

           MONTSERRAT                           1    Entire Country For Limits

                                                2    Entire Country for Deductibles




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           MOROCCO                              2    Fés-Boulemane (Fés)   Gharb-Chrarda-Béni Hssen (Kénitra),
                                                                           ,


                                                     Tangier-Tétouan (Tangier)
                                                3    Taza-Al Hoceima-Taounate (A1 Hoceima)
                                                4    Balance of Country
           MOZAMBIQUE                           2    Manica, Sofala, Zambezia
                                                3    Balance 0f Country
           NAMIBIA                              4    Entire Country

           NAURU                                2    Entire Country

           NEPAL                                1    Entire Country

           NETHERLANDS                          4    Balance of Country
                                                3    Bonaire
                                                1    Saba, Sint Eustatius for Limits of Liability
                                                3    Saba, Sint Eustatius for Deductibles
           NEW CALEDONIA                        3    Entire Country

           NEW ZEALAND                          1    Balance of Country
                                                3    Northland, Auckland, Waikato
           NICARAGUA                            1    Balance 0f Country
                                                3    RAAN (Bilwi), RAAS (Blueﬁelds)
           NIGER                                4    Entire Country

           NIGERIA                              4    Entire Country

           NIUE                                 2    Entire Country

           NORFOLK ISLAND                       2    Entire Country

           NORWAY                               4    Entire Country

           OMAN                                 4    Entire Country

           PAKISTAN                             1    Balance of Country
                                                3    Punj ab
           PALAU                                2    Entire Country

           PALESTINE                            1    Entire Country

           PANAMA                               2    Entire Country

           PAPUA NEW GUINEA                     1    Entire Country

           PARAGUAY                             4    Entire Country

           PERU                                 1    Entire Country

           PHILIPPINES                          1    Entire Country

           PITCAIRN ISLANDS                     2    Entire Country

           POLAND                               4    Entire Country

           PORTUGAL                             2    Lisbon, Santarém, Faro, Azores   Autonomous Region
                                                4    Balance of Country
           QATAR                                4    Entire Country

           REUNION                              4    Entire Country

           ROMANIA                              2    Entire Country

           RUSSIAN FEDERATION                   1    Kamchatka, Buryatia, Tuva, Altai Republic,, Stavropol, Chechnya,
                                                     Adygea, Krasnodar, Karachay-Cherkessia, Ingushetia, Dagestan,
                                                     Kabardino-Balkaria, North Ossetia—Alania
                                                3    Balance of Country




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           RWANDA                               2                                                                 Entire Country

           SAMOA (WESTERN)                                                                                        Entire Country

           SAN MARINO                                                                                             Entire Country

           SAO TOME & PRINCIPE                                                                                    Entire Country

           SAUDI ARABIA                                                                                           Jizan,   Tabuk
                                                                                                                  Balance 0f Country
           SENEGAL                                                                                                Entire Country

           SERBIA                                                                                                 Entire Country

           SEYCHELLES                                                                                             Entire Country

           SIERRA LEONE                                                                                           Entire Country

           SINGAPORE                                                                                              Entire Country

           SINT    MAARTEN                                                                                        Entire Country for limits of Liability

                                                                                                                  Entire Country for Deductibles

           SLOVAKIA                                                                                               Entire Country

           SLOVENIA                                                                                               Entire Country

           SOLOMON ISLANDS                                                                                        Entire Country

           SOMALIA                                                                                                Entire Country

           SOUTH AFRICA                                                                                           Free State, Western Cape

                                                                                                                  Balance of Country
           SOUTH KOREA                                                                                            Entire Country

           SOUTHERN SUDAN                                                                                         Entire Country

           SPAIN                                NHH-P-hN-PNHN>—l[\)>—t[\.)>—tNHWWNWWWNWr—KNUJWH-lk-h-PNW-PN-PNN




                                                                                                                  Andalusia, Murcia
                                                                                                                  Balance of Country
           SR1   LANKA                                                                                            Entire Country

           ST.   BARTHELEMY                                                                                       Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   KITTS   AND NEVIS                                                                                Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   LUCIA                                                                                            Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   MARTIN                                                                                           Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   VINCENT AND GRENADINES                                                                           Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           SURINAME                                                                                               Entire Country

           SWAZILAND                                                                                              Entire Country

           SWEDEN                                                                                                 Entire Country

           SWITZERLAND                                                                                            Entire Country

           TAIWAN                                                                                                 Entire Country

           TAJIKISTAN                                                                                             Entire Country

           TANZANIA                                                                                               Kigoma, Arusha, Singida, Dodoma, Manyara, Rukwa, Mbeya,
                                                                                                                  Iringa,   Ruvuma, Mtwara
                                                                                                                  Balance 0f Country




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ReViewe“ Cﬂﬁﬂﬂtry                                                       Zone     Provinces/Territories/States/Caunties
            THAILAND                                                      2       Chiang Rai, Payao, Nan, Chang Mai,      Mae Hong    Son, Lampang,
                                                                                 Lampun, Phrae,                                     Kamphaeng
                                                                                                    Uttaradit, Sukhothai, Tak, Phitsanulok,
                                                                                              Nakhon Sawan, Uthai Thani, Kanchanaburi, Chai Nat,
                                                                                 Phet, Phichit,
                                                                                 Lop Buri, Sara Buri, Nakon Nayok, Ang Thong, Phra Nakhon Si
                                                                                 Ayuthaya, Nakhon Fathom, Sing Buri, Pathum Thani, Bangkok,
                                                                                  Samut Songkhram, Samut Sakhon, Nonthaburi, Samut Prakan,
                                                                                 Phetchaburi
                                                                          3      Balance 0f Country
            TIMOR-LESTE                                                   2      Entire Country

            TOGO                                                          3      Entire Country

            TONGA                                                         2      Entire Country

            TRINIDAD AND TOBAGO                                           1      Entire Country for Limits of Liability

                                                                          2      Entire Country for Deductibles

            TUNISIA                                                       2      Ariana, Béja,    Ben Arous,   Bizerte, Gafsa, Jendouba,   Manouba,
                                                                                 Monastir, Nabeul, Sousse, Tunis, Zaghouan

                                                                          3      Balance 0f Country
            TURKEY                                                        1      Entire Country

            TURKMENISTAN                                                  1      Entire Country

            TURKS AND CAICOS                                              1      Entire Country for Limits of Liability

                                                                          3      Entire Country for Deductibles

            TUVALU                                                        4      Entire Country

            UGANDA                                                        2      Entire Country

            UKRAINE                                                       4      Entire Country

            UNITED ARAB EMIRATES                                          4      Entire Country

            UNITED KINGDOM including Guernsey,                            3      Entire Country
            Jersey

            URUGUAY                                                       4      Entire Country

            UZBEKISTAN                                                    1      Entire Country

            VANUATU                                                       2      Entire Country

            VATICAN CITY                                                  1      Entire Country
            VENEZUELA                                                     1      Balance 0f Country
                                                                          2      Carabobo, Aragua, Guarico, Vargas, Miranda, Dpto Capital,
                                                                                 Anzoategui, Monagas
                                                                          4      Delta Amacuro, Bolivar,       Amazonas
            VIETNAM                                                       2      Lai Chau, Lao Cai,    Yen Bai, Son La, Hoa Binh, Vinh Phu,      Hanoi,
                                                                                 Hai Phong, Ha Tay, Hai Hung, Thai Binh, Nom Ha, Ninh Binh,
                                                                                 Thanh Hoa, Nghe An, Ha Tinh, Quang Binh, Quang Ngai, Binh
                                                                                 Dinh, Phu Yen, Khanh Hoa, Ninh Thuan
                                                                          3      Balance of Country
            WESTERN SAHARA                                                4      Entire Country

            YEMEN                                                         4      Entire Country

            ZAMBIA                                                        2      Northern, Southern

                                                                          3      Balance of Country
            ZIMBABWE                                                      3      Entire Country




           Any   country not listed   is   Zone   1   unless stated differently in the Declarations of the Policy.




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              Appendix C — Named Storm Zones
              its Commonwealths and Territories
                                                                                                            for     USA including
                                                                                                                                                                e
                                                                                                                                                              ZURICHE
              This   list is   for   is   for informational purposes only         and does not convey any coverage under the policy.


          WIND ZONES ARE DEFINED AS FOLLOWS:
          COUNTRY — The United States of America




          STATE                                 ZONE                                     COUNTIES/PARISHES/INDEPENDENT CITIES
          Alabama                                                 Baldwin, Mobile
                                                                  Clarke, Covington, Escambia, Geneva, Houston, Washington
          Florida                                                 Bay, Brevard, Broward, Calhoun, Charlotte, CitIus, Collier, Dixie, Duval, Escambia,
                                                                  Flagler, Franklin, Glades, Gulf, Hendry, Hernando, Hillsborough, Indian River, Jefferson,
                                                                  Lee, Levy, Liberty, Manatee, Martin, Miami-Dade, Monroe, Nassau, Okaloosa, Okeechobee,
                                                                  Palm Beach, Pasco, Pinellas, Saint Johns, Saint Lucie, Santa Rosa, Sarasota, Taylor,
                                                                  Volusia, Wakulla Walton, Washington
                                                                  Balance of State
          Georgia                                                 Bryan, Camden, Chatham, Glynn, Liberty, McIntosh
                                                   Hr—INb—IN
                                                                  Appling, Brantley, Bulloch, Charlton, Efﬁngham, Evans, Long, Pierce, Tattnall,                    Wayne
          Hawaii                                                  Entire State
          Louisiana                                               Ascension, Assumption, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans,
                                                                  Plaquemines,   St.   Bernard,   St.   Charles, St. James,   St.   John the Baptist,   St.   Martin,   St.   Mary,
                                                                  St.   Tammany, Tangipahoa, Terrebonne, Vermilion, Washington
                                                                  Acadia, Allen, Beauregard, Calcasieu, East Baton Rouge, East Feliciana, Evangeline,
                                                                  Iberville, Jefferson Davis, Lafayette, Pointe Coupes, St. Landry, St. Helena, West Baton
                                                                  Rouge, West Feliciana
          Maryland                                                Somerset, Wicomico, Worcester
          Mississippi                                r—INr—tr—I
                                                                  George, Hancock, Harrison, Jackson, Pearl River, Stone
                                                                  Amite, Forrest, Greene, Lamar, Marion, Perry, Pike, Walthall Wilkinson
          North Carolina                                          Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven, Currituck,
                                                                  Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank, Fender, Perquimans,
                                                                  Tyrrell,   Washington
                                                                  Bladen, Duplin, Gates, Greene, Hertford, Lenoir, Pitt, Robeson, Sampson
          South Carolina                                          Beaufort, Berkeley, Charleston, Colleton, Dorchester, Georgetown, Horry, Jasper
                                                   b—‘Nr—IN



                                                                  Allendale, Bamberg, Clarendon, Dillon, Florence,            Hampton, Marion, Williamsburg
          Texas                                                   Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jackson, Jefferson, Kenedy,
                                                                  Kleberg, Matagorda, Nueces, Orange, Refugio, San Patricio, Willacy
                                                                  Austin, Bee, Brooks, Colorado, DeWitt, Duval, Fort Bend, Goliad, Grimes, Hardin, Harris,
                                                                  Hidalgo, Jasper, Jim Hogg, Jim Wells, Lavaca, Liberty, Live Oak, McMullen, Montgomery,
                                                                  Newton, Polk, San Jacinto, Starr, Tyler, Victoria, Walker, Waller, Wharton
          Virginia                                                Accomack, Gloucester, Isle 0f Wight, James City, Lancaster, Mathews, Middlesex,
                                                                  Northampton, Northumberland, Southampton, Surry, York
                                                                  Independent Cities: Chesapeake, Franklin City, Hampton, Newport News, Norfolk,
                                                                  Poquoson, Portsmouth, Suffolk, Virginia Beach, and Williamsburg
                                                                  Caroline, Charles City, Essex, Henrico, King and Queen, King George, King William,                           New
                                                                  Kent, Prince George, Richmond, Sussex, Westmoreland




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          Commonwealths and        Territories   0f The United States of America
                                                            ZONE
          AMERICAN SAMOA                                        2     Entire Territory
          GUAM                                                  1     Entire Territory
          NORTHERN MARIANA ISLANDS                              1     Entire   Commonwealth
          PUERTO RICO                                           1     Entire   Commonwealth
          U.S.   VIRGIN ISLANDS                                 1     Entire Territory
          A11 other   US   Territories   and Possessions        1     Entire Territory




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          Appendix D — Named Storm Zones Worldwide except
          USA and its Commonwealths and Territories
                                                                                                                               a
                                                                                                                             ZURICH“
          This   list is   for is for informational purposes only   and does not convey any coverage under the policy.


          WIND ZONES ARE DEFINED AS FOLLOWS:

            Country                                                  Zone     Provinces/Territories/States/Counties
           ALBANIA                                                     4      Entire Country

           ALGERIA                                                     3      Entire Country

           ANDORRA                                                     3      Entire Country

           ANGUILLA                                                    1      Entire Country

           ANTARCTICA                                                  4      Entire Country

           ANTIGUA & BARBUDA                                           1      Entire Country

           ARMENIA                                                     4      Entire Country

           ARGENTINA                                                   4      Entire Country

           ARUBA                                                       1      Entire Country for Limits of Liability

                                                                       3      Entire Country for Deductibles
           AUSTRALIA including Christmas Island,                       1      Western Australia Postcodes: 6701,6707,67 10,671 1,67 12,
           Cocos (Keeling) Islands                                            67 1 3,67 14,67 1 6,6718,6720,672 1 ,6722,6725,6726,6728,673 1
                                                                                                                                           ,


                                                                              6733,6740,6743,6751,6754,6760,6762,6765,
                                                                              Northern Territory Postcodes: 0800,08 1 0,0812,0820,0822,
                                                                              0828,0829,0830,0832,0835,0836,0837,0838,0840,0841,0845,
                                                                              0846,0847,0850,0852,0853,0854,0862,0880,0885,0886,
                                                                              Christmas Island, Cocos (Keeling) Islands
                                                                       2      Queensland Postcodes: 4580,458 1 ,4620,462 1 ,4630,4650,
                                                                              4655,4659,4660,4662,4670,467 1 ,4673 ,4674,4676,4677,4678,
                                                                              4680,4694,4695,4697,4699,4700,4701,4702,4703,4704,4705,
                                                                              4706,4707,4710,471 1,4712,4714,4715,4716,4717,4718,4720,
                                                                              472 1 ,4723 ,4737,4738,4739,4740,474 1 ,4742,4743,4744,4745,
                                                                              4746,4750,4751,4753,4754,4756,4757,4798,4799,4800,4801,
                                                                              4802,4803,4804,4805,4806,4807,4808,4809,4810,481 1,48 12,
                                                                              4813,4814,4815,4816,4817,48 1 8,4819,4820,4830,4849,4850,
                                                                              4852,4854,4855,4856,4857,4858,4859,4860,4861,4865,4868,
                                                                              4869,4870,4871,4872,4873,4874,4875,4876,4877,4878,4879,
                                                                              4880,4881,4882,4883,4884,4885,4886,4887,4888,4890,4891,
                                                                              4895
                                                                       3      Balance of Country
           AUSTRIA                                                     4      Entire Country

           AZERBAIJAN                                                  4      Entire Country

           BAHAMAS                                                     1      Entire Country

           BAHRAIN                                                     4      Entire Country

           BANGLADESH                                                  1      Entire Country

           BARBADOS                                                    1      Entire Country

           BELARUS                                                     4      Entire Country




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           Country                            Zone   Provinces/Territories/States/Counties

           BELGIUM                              3    Entire Country

           BELIZE                               1    Entire Country

           BENIN                                4    Entire Country

           BERMUDA                              1    Entire Country

           BHUTAN                               4    Entire Country

           BOLIVIA                              4    Entire Country

           BOSNIA & HERZEGOVINA                 4    Entire Country

           BOTSWANA                             3    Entire Country

           BRAZIL                               4    Entire Country

           BRITISH VIRGIN ISLANDS               1    Entire Country

           BRUNEI DARUSSALAM                    4    Entire Country

           BULGARIA                             4    Entire Country

           BURKINA FASO                         4    Entire Country

           BURUNDI                              1    Entire Country

           CAMBODIA                             3    Entire Country

           CAMEROON                             4    Entire Country

           CANADA                               4    Entire Country

           CAPE VERDE                           3    Entire Country

           CAYMAN ISLANDS                       1    Entire Country

           CENTRAL AFRICAN REPUBLIC             4    Entire Country

           CHAD                                 3    Entire Country

           CHILE                                3    Entire Country

           CHINA                                1    Hainan, Macau, Guangdong, Fujian, Zhejiang, Shanghai,
                                                     Jiangsu,   Shangdong
                                                2    Hong Kong
                                                4    Balance 0f Country
           COLOMBIA                             3    Entire Country

           COMOROS                              3    Entire Country

           CONGO, REPUBLIC OF                   4    Entire Country

           COOK ISLANDS                         1    Entire Country

           COSTA RICA                           1    Entire Country

           CROATIA                              3    Entire Country

           CURACAO                              1    Entire Country for Limits of Liability

                                                3    Entire Country for Deductibles

           CYPRUS                               4    Entire Country

           CZECH REPUBLIC                       4    Entire Country

           DENMARK                              3    Entire Country

           DJIBOUTI                             4    Entire Country

           DOMINICA                             1    Entire Country

           DOMINICAN REPUBLIC                   1    Entire Country

           ECUADOR                              4    Entire Country

           EGYPT                                4    Entire Country

           EL SALVADOR                          2    Entire Country

           EQUATORIAL GUINEA                    4    Entire Country

           ERITREA                              4    Entire Country




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           ESTONIA                              3    Entire Country

           ETHIOPIA                             4    Entire Country

           FAROE ISLANDS                        3    Entire Country

           FEDERATED STATES OF MICRONESIA       1    Entire Country

           FIJI                                 1    Entire Country

           FINLAND                              3    Entire Country

           FRANCE                               4    Entire Country

           FRENCH GUIANA                        4    Entire Country

           FRENCH POLYNESIA                     1    Entire Country

           GABON                                3    Entire Country

           GAMBIA                               4    Entire Country

           GERMANY                              3    Entire Country

           GHANA                                3    Entire Country

           GIBRALTAR                            3    Entire Country

           GREECE                               4    Entire Country

           GREENLAND                            4    Entire Country

           GRENADA                              1    Entire Country

           GUADELOUPE                           1    Entire Country

           GUATEMALA                            1    Izabal

                                                2    Balance 0f Country
           GUINEA                               4    Entire Country

           GUINEA-BISSAU                        4    Entire Country

           GUYANA                               3    Entire Country

           HAITI                                1    Entire Country
           HONDURAS                             1    Entire Country

           HUNGARY                              4    Entire Country

           ICELAND                              4    Entire Country

           INDIA                                1    Andhra Pradesh, Jharkhand, Mizoram,   Orissa,   Tamil Nadu,
                                                     Tripura, West Bengal

                                                3    Balance 0f Country
           INDONESIA                            3    Entire Country

           IRAQ                                 4    Entire Country

           IRELAND                              3    Entire Country

           ISLE OF MAN                          3    Entire Country

           ISRAEL                               4    Entire Country

           ITALY                                3    Entire Country

           IVORY COAST (COTE-D’IVOIRE)          4    Entire Country

           JAMAICA                              1    Entire Country

           JAPAN                                3    Regions of Hokkaido, Tohoku
                                                1    Balance 0f Country
           JORDAN                               4    Entire Country

           KAZAKHSTAN                           4    Entire Country

           KENYA                                3    Entire Country

           KIRIBATI                             1    Entire Country

           KOSOVO                               4    Entire Country




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           Country                            Zone   Provinces/Territories/States/Counties
           KUWAIT                               4    Entire Country

           KYRGYZSTAN (KYRGYZ REPUBLIC)         4    Entire Country

           LAOS                                 3    Entire Country

           LATVIA                               3    Entire Country

           LEBANON                              4    Entire Country

           LESOTHO                              4    Entire Country

           LIBERIA                              4    Entire Country

           LIBYA                                4    Entire Country

           LIECHTENSTEIN                        4    Entire Country

           LITHUANIA                            3    Entire Country

           LUXEMBOURG                           4    Entire Country

           MACEDONIA                            4    Entire Country

           MADAGASCAR                           2    Entire Country

           MALAWI                               4    Entire Country

           MALAYSIA                             3    Entire Country

           MALDIVES                             3    Entire Country

           MALI                                 4    Entire Country

           MALTA                                4    Entire Country

           MARSHALL ISLANDS                     2    Entire Country

           MARTINIQUE                           1    Entire Country

           MAURITANIA                           4    Entire Country

           MAURITIUS                            1    Entire Country
           MAYOTTE                              1    Entire Country

           MEXICO                               1    Baja California Sur, Colima, Campeche, Chiapas, Guerrero,
                                                     Jalisco, Michoacan, Oaxaca, Quintana R00, Tabasco,
                                                     Tamaulipas, Veracruz, Yucatan
                                                4    Balance of Country
           MOLDOVA                              4    Entire Country

           MONACO                               3    Entire Country

           MONGOLIA                             4    Entire Country

           MONTENEGRO                           4    Entire Country

           MONTSERRAT                           1    Entire Country

           MOROCCO                              4    Entire Country

           MOZAMBIQUE                           1    Entire Country

           NAMIBIA                              4    Entire Country

           NAURU                                4    Entire Country

           NEPAL                                4    Entire Country

           NETHERLANDS                          4    Balance of Country
                                                1    Bonaire for Limits of Liability
                                                3    Bonaire for Deductibles
                                                1    Saba
                                                1    Sint Eustatius




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           Country                            Zone   Provinces/Territories/States/Counties
           NEW CALEDONIA                        1    Entire Country

           NEW ZEALAND                          3    Entire Country

           NICARAGUA                            1    RAAN (Bilwi), RAAS (Blueﬁelds)
                                                2    Balance of Country
           NIGER                                4    Entire Country

           NIGERIA                              4    Entire Country

           NIUE                                 1    Entire Country

           NORFOLK ISLAND                       2    Entire Country

           NORWAY                               3    Entire Country

           OMAN                                 3    Entire Country

           PAKISTAN                             3    Entire Country

           PALAU                                1    Entire Country

           PALESTINE                            4    Entire Country

           PANAMA                               3    Entire Country

           PAPUA NEW GUINEA                     3    Entire Country

           PARAGUAY                             4    Entire Country

           PERU                                 4    Entire Country

           PHILIPPINES                          1    Entire Country

           PITCAIRN ISLANDS                     1    Entire Country
           POLAND                               3    Entire Country

           PORTUGAL                             3    Azores Autonomous Region
                                                4    Balance 0f Country
           QATAR                                4    Entire Country

           REUNION                              1    Entire Country

           ROMANIA                              4    Entire Country

           RUSSIAN FEDERATION                   4    Entire Country

           RWANDA                               4    Entire Country

           SAMOA (WESTERN)                      1    Entire Country

           SAN MARINO                           4    Entire Country

           SAO TOME & PRINCIPE                  4    Entire Country

           SAUDI ARABIA                         4    Entire Country

           SENEGAL                              4    Entire Country

           SERBIA                               4    Entire Country

           SEYCHELLES                           3    Entire Country

           SIERRA LEONE                         4    Entire Country

           SINGAPORE                            4    Entire Country

           SINT    MAARTEN                      1    Entire Country

           SLOVAKIA                             4    Entire Country

           SLOVENIA                             4    Entire Country

           SOLOMON ISLANDS                      2    Entire Country

           SOMALIA                              4    Entire Country

           SOUTH AFRICA                         4    Entire Country

           SOUTH KOREA                          2    Entire Country




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           Country                                                      Zone     Provinces/Territories/States/Counties

           SOUTHERN SUDAN                                                 4      Entire Country

           SPAIN                                                          4      Entire Country

           SR1 LANKA                                                      2      Entire Country

           ST. BARTHELEMY                                                 1      Entire Country

           ST. KITTS AND NEVIS                                            1      Entire Country

           ST.   LUCIA                                                    1      Entire Country

           ST.   MARTIN                                                   1      Entire Country

           ST.VINCENT AND THE GRENADINES                                  1      Entire Country

           SURINAME                                                       4      Entire Country

           SWAZILAND                                                      4      Entire Country

           SWEDEN                                                         3      Entire Country

           SWITZERLAND                                                    4      Entire Country

           TAIWAN                                                         1      Entire Country

           TAJIKISTAN                                                     4      Entire Country

           TANZANIA                                                       4      Entire Country

           THAILAND                                                       3      Entire Country

           TIMOR—LESTE                                                    3      Entire Country

           TOGO                                                           4      Entire Country

           TONGA                                                          1      Entire Country

           TRINIDAD AND TOBAGO                                            1      Entire Country

           TUNISIA                                                        4      Entire Country

           TURKEY                                                         4      Entire Country

           TURKMENISTAN                                                   4      Entire Country

           TURKS AND CAICOS                                               1      Entire Country

           TUVALU                                                         3      Entire Country

           UGANDA                                                         4      Entire Country

           UKRAINE                                                        4      Entire Country

           UNITED ARAB EMIRATES                                           4      Entire Country

           UNITED KINGDOM including Guernsey,                             3      Entire Country
           Jersey
           URUGUAY                                                        3      Entire Country

           UZBEKISTAN                                                     4      Entire Country

           VANUATU                                                        1      Entire Country

           VATICAN CITY                                                   4      Entire Country

           VENEZUELA                                                      3      Entire Country

           VIETNAM                                                        2      Entire Country

           WESTERN SAHARA                                                 4      Entire Country

           YEMEN                                                          3      Entire Country

           ZAMBIA                                                         4      Entire Country

           ZIMBABWE                                                       4      Entire Country




          Any    country not listed   is   Zone   1   unless stated differently in the Declarations of the Policy




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                Appendix E                     -   Schedule 0f Locations
                                                                                                          9
                                                                                                        ZURICH


                                                    Johnson     & Wales University
                                                                  ERP 9819903-05
                                                             05-01-2019 t0 05-01-2020



                                                                     City               State        Country
                Address



                215 South Cedar         St                           Charlotte                  NC              US
                235 South Cedar         St                           Charlotte                  NC              US

                425 West 5th Street                                  Charlotte                  NC              US
                725 West 4th       St                                Charlotte                  NC              US
                800 West Trade          St                           Charlotte                  NC              US
                800 West Trade          St                           Charlotte                  NC              US
                801 West Trade          St                           Charlotte                  NC              US
                901 West Trade          St                           Charlotte                  NC              US
                                                                     Charlotte                  NC              US
                1740 Pontiac       St                                Denver                     CO              US
                1790 Pontiac       St                                Denver                     C0              US
                1800 Oneida St                                       Denver                     CO              US
                1900 Olive    St                                     Denver                     C0              US

                1900 Olive    St                                     Denver                     CO              U5

                7039   E   18th Ave                                  Denver                     CO              US

                7050 Montview Blvd                                   Denver                     C0              US
                7110 Montview Blvd                                   Denver                     C0              US
                7150 Montview Blvd                                   Denver                     CO              US

                7150 Montview           Blvd                         Denver                     C0              US

                715D Montview           Blvd                         Denver                     CO              U5
                7150 Montview           Blvd                         Denver                     CO              US
                7150 Montview           Blvd                         Denver                     C0              US
                7150 Montview           Blvd                         Denver                     CO              US
                1   Washington Avenue                                Providence                 RI              US
                                                                                                     EDGE   SchLoc   ([01] l)
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                1   Washington Avenue                                       Providence    RI            US
                1   Washington Avenue                                       Providence    RI            US
                100 Harborside Blvd.                                        Providence    RI            US
                100 Washington Avenue                                       Providence    RI            US
                108-128 Harborside Blvd.                                    Providence    RI            US

                1128 Narragansett          Blvd.                            Cranston      RI            US
                1128 Narragansett          Blvd.                            Cransotn      RI            US
                1128 Narragansett          Blvd.                            Cranston      RI            US
                1144 Narragansett Blvd                                      Cranston      RI            U5
                1146 Narragansett Blvd                                      Cranston      RI            US

                1150 Narragansett Blvd                                      Cranston      RI            US
                120 Harborside Blvd.                                        Cranston      RI            US
                2   Washington Avenue                                       Providence    RI            US
                265 Harborside Blvd.                                        Providence    RI            US

                305 Shipyard                                                Providence    RI            US
                305 Shipyard                                                Providence    RI            US
                321 Harborside Blvd                                         Providence    RI            US
                333 Shipyard        St                                      Providence    RI            US

                55 Shipyard Street                                          Providence    RI            US
                60 Harborside Blvd                                          Cranston      RI            US
                62 Shipyard    St.                                          Providence    RI            US
                90 Washington Avenue                                        Providence    RI            US
                12350 Biscayne Blvd                                         North Miami   FL            US
                12900 NE 17th Avenue                                        North Miami   FL            US
                12900 NE 17th Avenue                                        North Miami   FL            US

                13025 Emerald Drive                                         North Miami   FL            US
                1600 NE 126th Sreet                                         North Miami   FL            US
                1505 NE 126th Street                                        North Miami   FL            US
                164042 NE 126th St                                          North Miami   FL            US
                1700 NE 133rd Street                                        North Miami   FL            US
                1701 N E 127th St                                           North Miami   FL            US

                1701 N   E   127th St                                       North Miami   FL            US

                1704, 174D     8:   177D NE 125th Street   8:   1705   8:   North Miami   FL            US
                1735 NE 124th Street

                1725 NE 125th Street                                        North Miami   FL            US
                115 Cedar Street                                            Providence
                101 Richmond         St.                                    Providence    RI            US
                135 Norwood Ave                                             Cranston      RI            US
                29 Frances St                                               Rehoboth      MA            US
                63 Baker St                                                 Providence    RI            US

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                10 Abbott Park Place                             Providence         RI                US
                101 Cedar Street                                 Providence         RI                US
                101 Pine Street                                  Providence         RI                US
                111 Dorrance Street                              Providence         RI                US
                135   Clifford Street                            Providence         RI                US

                15 Foster Street                                 Providence         RI                US
                15 Hospital Street                               Providence         RI                US
                2   Richmond Street                              Providence         RI                US

                200 Weybosset      St                            Providence         RI                US
                250-266 Weybosset       St                       Providence         RI                US

                270 Weybossett Street                            Providence         RI                US
                274 Pine Street                                  Providence         RI                US
                274 Weybossett Street                            Providence         RI                US

                291 Westminster Street                           Providence         RI                US
                30 Chestnut Street                               Providence         RI                US
                32 Page Street                                   Providence         RI                US
                37 Richmond Street                               Providence         RI                US
                59 Chestnut Street                               Providence         RI                US
                60 Broad Street                                  Providence         RI                US
                8 Abbott Park Place                              Providence         RI                US

                80 Pleasant Valley Pkwy                          Providence         RI                US

                80 Pleasa nt Valley Pkwy                         Providence         RI                US

                One Park Rowe West                               Providence         RI                US
                91 Friendship Street                             Providence         RI                U5
                75 Chestnut Street                               Providence         RI                US




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        Amendatory Endorsement - Alaska



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, Cancellation/Non-renewal, is deleted in its entirety and replaced by the following:

             CANCELLATION/NON-RENEWAL/CONDITIONAL RENEWAL

             Cancellation

             The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
             written notice of cancellation.

             The Company may cancel this Policy by mailing or delivering to the First Named Insured and to the agent or broker of record
             written notice of cancellation at least the greater of:

                 Ten (10) days before the effective date of cancellation if the Company cancels for discovery of fraud or material
                 misrepresentation by the insured;

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
                 premium, as stated in the Declarations; or

                 Sixty (60) days or the number of days before the effective date of cancellation if the Company cancels for any other reason,
                 as stated in the Declarations.

             The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
             Policy or any Endorsement attached thereto and to the agent or broker of record.

             Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

             If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
             the refund will be pro rata. If the First Named Insured cancels, the refund may be subject to a cancellation fee of 7.5% of any
             unearned premium. If the Company cancels, any unearned premium will be returned before the effective date of cancellation or
             forty-five (45) days after the cancellation notice is given in cases of nonpayment, misrepresentation or fraud. If the Insured
             cancels, any unearned premium will be returned the later of the effective date of cancellation or 45 days after receipt of the
             request for cancellation.

             If notice is mailed, proof of mailing will be sufficient proof of notice.

             If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
             cancellation terms or conditions will be as permitted by such laws.

             Non-renewal

             The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, the number of
             days before the non-renewal, as permitted by law in the jurisdiction where in the property is located.

             Conditional Renewal

             If the premium to renew this policy increases more than 10% for a reason other than an increase in coverage or exposure basis,
             or if after the renewal there will be a material restriction or reduction in coverage not specifically requested by the First Named
             Insured, the Company shall mail written notice of the change(s) to the First Named Insured the number of days before the
             expiration date of the policy, as permitted by law in the jurisdiction where in the property is located.

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        2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRSENTATION OR FRAUD, is deleted in its
             entirety and replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD
                The Company will not pay for any loss or damage in any case involving misrepresentations, omissions, concealment of
                facts, or incorrect statements:
                          That are fraudulent;
                          That are material either to the acceptance of the risk, or to the hazard assumed by the Company; or
                          If the Company, in good faith, would not have:
                                    Issued the policy or contract;
                                    Issued a policy or contract in as large an amount, or at the same premium or rate; or
                                    Provided coverage with respect to the hazard resulting in the loss;
                          if the true facts had been made known to the Company as required either by the application for the policy or
                          contract or otherwise.

        3.   Section VI-General Policy Conditions, Loss Conditions, Appraisal is deleted in its entirety and replaced by the following:

             APPRAISAL

             If the Insured and the Company fail to agree on the value of the property or the amount of loss, each will, on the written
             demand of either, select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the
             claim. Each will notify the other of the appraiser selected within 10 days of such demand. The Insured may not invoke
             appraisal unless it has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage
             and has provided the Company with a signed and sworn statement of loss.

             The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
             within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
             appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
             They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
             item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

             If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash
             value and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or,
             if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any
             two will determine the amount of loss and will be binding on the Company.

             Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
             deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in
             whole or in part.

             All expenses and fees, not including counsel or adjuster fees, incurred because of the appraisal shall be paid as determined
             by the umpire.

        3. The following is added to Subsection 6.13.01 of Section VI-General Policy Conditions, Loss Conditions, Duties in the Event of
           Loss or Damage:

             The Insured has the right to an attorney being present during any examination under oath.

        4.   The following is added to Section VI-General Policy Conditions and supersedes any provision to the contrary:

             As required by Alaska Statute Section 21.36.212, we will not deny a claim if a risk, hazard or contingency insured against is the
             dominant cause of a loss and an excluded risk, hazard, or contingency is also in the chain of causes but operates on a secondary
             basis.




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        5.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
             fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date on which
             the cause of action accrues.




        All other terms, conditions and limitations of this Policy remain unchanged.




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          Amendatory Endorsement - Connecticut
                                                                                                                                                          9
                                                                                                                                                        ZURICH®

           Insured   Name                                                         Policy    Number                               Effective Date
           Johnson    & Wales University                                          ERP9819903-05                                  05/0 1/2019



          THISENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN CONNECTICUT. PLEASE
          READ IT CAREFULLY.
          1.   SECTION V i SPECIAL COVERAGES                           & DESCRIBED CAUSES OF LOSS, DESCRIPTION OF SPECIAL COVERAGES, is
               amended by        the addition of the following:


                                                                                                                     Covered Cause 0f Loss,
               In the event of an electrical outage 0r interruption of electn'cal service at an Insured Location from a
               Personal Property that        is    perishable food that       you donate     emergency shelter operated or supervised by a
                                                                                                t0 a temporary
               municipality or the state during a state of emergency for a limited time period Will be considered physically damaged, for the
               purpose 0f coverage as required by Connecticut Public Act 12-123 only, if:


               a)    The   Insured's food establishment is classiﬁed as class III or class              IV pursuant    t0 regulations adopted under section 19a—36
                     of Connecticut general            statutes;



               b)    The Governor proclaims             that a state   of emergency   exists;




               c)    The   electrical   outage or interruption of electrical service to the Insured Location                is   forecast   by the    electric supplier to last

                     longer for that Insured Location than the time period prescribed by the Department of Public Health or local director of
                     health, 0r   an authorized agent thereof, for the safe handling 0f such perishable food;


               d)    Such perishable food         is   donated prior to the expiration of the time period described in c) above; and


               e)    The Insured provides us written documentation from such                    shelter stating the date   and time of such donation.

               Coverage under       this provision is        provided only up the applicable Limit of Liability and subject to               all   other terms and conditions
               of the policy.

          2.    SECTION VI — GENERAL POLICY CONDITIONS, CANCELLATION/NON—RENEWAL,                                                           is   deleted in   its   entirety   and
               replaced by the following:


               Cancellation


                     The First Named Insured shown                 in the Declarations   may cancel this    Policy by mailing 0r delivering to the             Company
                     advance written notice of cancellation.

                     For Policies in Effect Sixty (60) Days or Less, the Company                   may cancel this   Policy   by mailing         or delivering to the First
                     Named Insured written notice of cancellation at least:

                           Ten   (10) days before the effective date of cancellation if the           Company    cancels for      nonpayment of premium.




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                    Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
                Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                cancellation at least ten (10) days before the effective date of cancellation if the Company cancels for one or more of the
                following reasons:

                    Nonpayment of premium;

                    Conviction of a crime arising out of acts increasing the hazard insured against;

                    Discovery of fraud or material misrepresentation by the Insured in obtaining the Policy or in perfecting any claim;

                    Discovery of any willful or reckless act or omission by the Insured increasing the hazard insured against; or;

                    A determination by the Commissioner that continuation of the Policy would violate or place the Company in violation
                    of the law.

                If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
                Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                cancellation at least sixty (60) days before the effective date of cancellation if the Company cancels for one or more of the
                following reasons:

                    Physical changes in the property which increase the hazard insured against;

                    A material increase in the hazard insured against; or

                    A substantial loss of reinsurance by the Company affecting this particular line of insurance.

                The Company may not cancel policies in effect for sixty (60) days or more or renewal policies for any reason other than the
                reasons described above.

                If the Company cancels for nonpayment of premium, the Insured may continue the coverage and avoid the effect of
                cancellation by payment in full at any time prior to the effective date of cancellation.

                Notice of cancellation will state the reason(s) for cancellation.

                Notice of Cancellation will be delivered or sent by Registered mail, Certified mail, or Mail evidenced by a United States
                Post Office certificate of mailing.

                The Company will give notice to the First Named Insured at the last mailing address known.

                Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                cancellation will be effective even if the Company has not made or offered a refund. Notice of cancellation will state that
                the excess premium (if not tendered) will be refunded on demand.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

            Non-renewal




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                 The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
                 non-renewal at least sixty (60) days before the expiration date of this Policy stating the reason for non-renewal . This
                 notice will be delivered or sent by Registered mail or Certified mail to the last address known to us. The Company is not
                 required to send this notice if nonrenewal is due to the Insured failure to pay any advance premium required for renewal.

            3.   SECTION VI – GENERAL POLICY CONDITIONS, LENDERS LOSS PAYEE AND MORTGAGE HOLDER
                 INTERESTS AND OBLIGATIONS, is modified to add the following:

                 Mortgagee interests and obligations. If loss hereunder is made payable, in whole or in part, to a designated mortgagee not
                 named herein as the insured, such interest in this policy may be cancelled by giving to such mortgagee a ten days' written
                 notice of cancellation.

                 If the insured fails to render proof of loss such mortgagee, upon notice, shall render proof of loss in the form herein
                 specified within sixty (60) days thereafter and shall be subject to the provisions hereof relating to appraisal and time of
                 payment and of bringing suit. If this Company shall claim that no liability existed as the mortgagor or owner, it shall, to the
                 extent of payment of loss to the mortgagee, be subrogated to all the mortgagee's rights of recovery, but without impairing
                 mortgagee's right to sue; or it may pay off the mortgage debt and require an assignment thereof and of the mortgage. Other
                 provisions relating to the interests and obligations of such mortgagee may be added hereto by agreement in writing.


            4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

                 For any loss subject to the Standard Fire Insurance Policy of the State of Connecticut, as set forth in the General Statutes of
                 Connecticut, if any conditions of the Standard Fire Insurance Policy of the State of Connecticut are construed to be more
                 liberal than the conditions of this Policy, then the conditions of The Standard Fire Insurance Policy of the State of
                 Connecticut will apply with respect to the perils insured by the Standard Fire Policy of Connecticut.

            5.   SECTION VI –GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
                 following and supersede anything to the contrary:

                 Any provisions required by Connecticut law to be included in policies issued by the Company shall be deemed to have
                 been included in this Policy.

                 If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
                 provisions are required by Connecticut law to be stated in this Policy, this Policy shall be read so as to eliminate such
                 conflict or deemed to include such provisions for Insured Locations within such jurisdictions.

            6.   SECTION VI –GENERAL POLICY CONDITIONS, SUIT AGAINST THE COMPANY, is amended by the addition of the
                 following and supersede anything to the contrary:

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within twenty-four (24)
                 months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

                 If under the laws of the jurisdiction in which the property is located, such twenty-four months' limitation is invalid, then,
                 any such legal action needs to be started within the shortest limit of time permitted by such laws.


            7.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

                 For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such property to the physical
                 condition that existed on the date of loss or the cost to replace the article or the value if stated on a




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            schedule on file. If the Fine Arts article cannot be replaced and an appraisal is not available, the valuation shall be market
            value based on prevailing conditions at the time of loss or damage.

            and

            The cost to replace non-repairable electrical or mechanical equipment, including computer equipment, with equipment that is the
            most functionally equivalent to that damaged or destroyed, even if such equipment has technological advantages, represents an
            improvement in function, or forms part of a program of system enhancement.


        All other terms, conditions and limitations of this Policy remain unchanged




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        Amendatory Endorsement - Florida
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 A single claim on a property insurance policy which is the result of water damage may not be used as the sole cause for
                 cancellation or nonrenewal unless the insurer can demonstrate that the insured has failed to take action reasonably requested
                 by the insurer to prevent a future similar occurrence of damage to the insured property.

                 Cancellation for Policies in Effect for Ninety (90) Days or Less

                     If this Policy has been in effect for ninety (90) days or less, the Company may cancel this Policy by mailing or
                     delivering to the First Named Insured written notice of cancellation, accompanied by the specific reasons for
                     cancellation, at least:

                            Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                            Twenty (20) days before the effective date of cancellation if the Company cancels for any other reason, except the
                            Company may cancel immediately if there has been a material misstatement or misrepresentation, or a failure to
                            comply with underwriting requirements established by the Company.

                     The Company may not cancel:

                            On the basis of property insurance claims that are the result of an act of God, unless the Company can
                            demonstrate, by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary as
                            requested by the Company to prevent recurrence of damage to the insured property; or

                            Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                            can demonstrate that the Insured has failed to take action reasonably requested by us to prevent a future similar
                            occurrence of damage to the insured property.

                 Cancellation for Policies in Effect for More Than Ninety (90) Days

                     If this Policy has been in effect for more than ninety (90) days, the Company may cancel this Policy only for one or
                     more of the following reasons:

                            (a) Nonpayment of premium;

                            (b) The Policy was obtained by a material misstatement;

                            (c) In the event of failure to comply, within ninety (90) days after the effective date of coverage, with
                                underwriting requirements established by the Company before the effective date of coverage;

                            (d) There has been a substantial change in the risk covered by the Policy;

                            (e) The cancellation is for all Insureds under such Policies for a given class of Insured;

                            (f) On the basis of property insurance claims that are the result of an act of God, if the Company can demonstrate,
                                by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary by the
                                Company to prevent recurrence of damage to the insured property;

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                         (g) On the basis of a single property insurance claim which is the result of water damage, if the Company can
                             demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                             similar occurrence of damage to the insured property; or

                         (h) The cancellation of some or all of our policies is necessary to protect the best interests of the public or
                             policyholders and such cancellation is approved by the Florida Office of Insurance Regulation.

                     If the Company cancels this Policy for any of these reasons, the Company will mail or deliver to the First Named
                     Insured written notice of cancellation, accompanied by the specific reasons for cancellation, at least:

                         Ten (10) days before the effective date of cancellation if cancellation is for nonpayment of premium; or

                         Forty-five (45) days before the effective date of cancellation if:

                         (a) Cancellation is for one of the other reasons stated in paragraphs (a) through (g) above and this policy does not
                             cover a residential structure or its contents; or

                         (b) Cancellation is based upon the reason stated in (h) above.

                         120 days before the effective date of cancellation if cancellation is for one of the reasons stated in paragraphs (b)
                         through (g) above and this policy covers a residential structure or its contents.

                     If this policy has been in effect for more than 90 days and covers a residential structure or its contents, the Company
                     may not cancel this policy based on credit information available in public records.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than 90% of the pro rata unearned premium. If the return premium is not refunded with the notice of cancellation or when
                this policy is returned to us, the Company will mail the refund within 15 working days after the date cancellation takes
                effect, unless this is an audit policy.

                If this is an audit policy, then subject to the Insured’s full cooperation with us or our agent in securing the necessary data
                for audit, the Company will return any premium refund due within 90 days of the date cancellation takes effect. If our audit
                is not completed within this time limitation, then the Company shall accept the Insured’s own audit, and any premium
                refund due shall be mailed within 10 working days of receipt of the Insured’s audit.

                The cancellation will be effective even if the Company has not made or offered a refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.


            Non-Renewal

                1.   The Company may non-renew this Policy by mailing or delivering to the First Named Insured, at the Insured’s last
                     mailing address known to us, written notice of non-renewal, accompanied by the specific reason for non-renewal at
                     least:

                     (a) Forty-five (45) days prior to the expiration of this Policy if this policy does not cover a residential structure or its
                         contents of it is necessary to protect the best interests of the public or policyholders and such nonrenewal is
                         approved by the Florida Office of Insurance Regulation; or

                     (b) 120 days prior to the expiration of the policy if this policy covers a residential structure or its contents.

                2.   Any notice of nonrenewal will be mailed or delivered to the first Named Insured at the last mailing address known to
                     the Company. If notice is mailed, proof of mailing will be sufficient proof of notice.




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                3.   The Company may not refuse to renew this policy:

                     (a) On the basis of property insurance claims that are the result of an act of God, unless the Company can
                         demonstrate, by claims frequency or otherwise, that the Insured failed to take action reasonably necessary as
                         requested by the Company to prevent recurrence of damage to the insured property;

                     (b) On the basis of filing of claims for Sinkhole Loss. However, the Company may refuse to renew this policy if:

                         (1) The total of such property insurance claim payments for this policy equals or exceeds the policy limits in
                             effect on the date of loss for property damage to the covered building; or
                         (2) The Insured has failed to repair the structure in accordance with the engineering recommendations upon which
                             any loss payment or policy proceeds were based; or
                     (c) Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                         can demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                         similar occurrence of damage to the insured property.

                     (d) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if this policy
                         includes Sinkhole Loss coverage. If the Company nonrenews this policy for purposes of removing Sinkhole Loss
                         coverage, pursuant to section 627.706, Florida Statutes, the Company will offer the Insured a policy that includes
                         catastrophic ground cover collapse coverage.

                     (e) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if nonrenewal of
                         some or all of the Company’s policies is necessary to protect the best interests of the public or policyholders and
                         such nonrenewal is approved by the Florida Office of Insurance Regulation.

            Limitations on Cancellation and Nonrenewal In the Event of Hurricane or Wind Loss- Residential Property

                The following provisions apply to a policy covering a residential structure or its contents, if such property has sustained
                damage as a result of a hurricane or windstorm that is the subject of a declaration of emergency by the Governor and filing
                of an order by the Commissioner of Insurance Regulation:

                (a) Except as provided in the paragraph (b), the Company may not cancel or nonrenew the policy until at least 90 days
                    after repairs to the residential structure or its contents have been substantially completed so that it is restored to the
                    extent that it is insurable by another insurer writing policies in Florida. If the Company elects to not renew the policy,
                    the Company will provide at least 100 days’ notice that the Company intends to nonrenew 90 days after the substantial
                    completion of repairs.

                (b) The Company may cancel or nonrenew the policy prior to restoration of the structure or its contents for any of the
                    following reasons:

                     (1)   Nonpayment of premium;
                     (2)   Material misstatement or fraud related to the claim;
                     (3)   The Company determines that the Insured has unreasonably caused a delay in the repair of the structure; or
                     (4)   The Company has paid the policy limits.

                     If the Company cancels or nonrenew for nonpayment of premium, the Company will give the Insured 10 days' notice.
                     If the Company cancels or nonrenews for a reason listed in Paragraph (b)(2), (b)(3) or (b)(4), the Company will give
                     the Insured 45 days' notice.
               With respect to a policy covering a residential structure or its contents, any cancellation or nonrenewal that would otherwise
               take effect during the duration of a hurricane will not take effect until the end of the duration of such hurricane, unless a
               replacement policy has been obtained and is in effect for a claim occurring during the duration of the hurricane. The
               Company may collect premium for the period of time for which the policy period is extended.
               With respect to the above paragraph, a hurricane is a storm system that has been declared to be a hurricane by the National
               Hurricane Center of the National Weather Service (hereafter referred to as NHC). The hurricane occurrence begins at the time
               a hurricane watch or hurricane warning is issued for any part of Florida by the NHC and ends 72 hours after the termination
               of the last hurricane watch or hurricane warning issued for any part of Florida by the NHC.

        2. SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
           its entirety and replaced by the following:


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              CONCEALMENT, MISREPRESENTATION OR FRAUD

                  This Policy may be void as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It may
                  also be void if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

                       This Policy;

                       The Covered Property;

                       The Insured's interest in Covered Property; or

                       A claim under this Policy.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
           its entirety and replaced by the following:

                  No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                  Insured has fully complied with all the provisions of this Policy. Legal action must be started within five (5) years from the
                  date of loss.

        4.    The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
              Payment:

              The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
              statement of loss, if the Insured has complied with all the terms of this Policy; and

                  The Company has reached agreement on the amount of loss; or

                  An appraisal award has been made,

              and replaced by the following:

              If the Insured has complied with all the terms of this Policy, the Company will pay for covered loss or damage within:

                  Twenty (20) days after receiving the sworn statement of loss and reaching written agreement with the Insured; or

                  Thirty (30) days after receiving the sworn statement of loss; and

                  There is an entry of a final judgment; or

                  A filing of an appraisal award with the Company.

        5. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS Is amended by adding the following:

             A claim, supplemental claim or reopened claim for loss or damage caused by the peril of windstorm or hurricane is barred unless
             notice of the claim supplemental claim or reopened claim is given to the Company within 3 years after the hurricane first made
             landfall or the windstorm caused covered damage.

             For purposes of this section, the term “supplemental claim” or “reopened claim” means any additional claim for recovery from
             the insurer for losses from the same hurricane or windstorm which the insurer has previously adjusted pursuant to the initial
             claim.

        6. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

             Upon receipt of a claim for a Sinkhole Loss to a covered building, the Company shall meet the following standards in
             investigating a claim:

             (1) Inspect the Insured's premises to determine if there is Structural Damage that may be the result of Sinkhole Activity.



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              (2) If the        Company conﬁrms              that Structural      Damage                              of such damage or discovers
                                                                                                exists but is unable to identify a valid cause
                    that such        damage   is   consistent with Sinkhole Loss, the                Company
                                                                                             engage a Professional Engineer or a Professional
                                                                                                                shall
                    Geologist to conduct testing as provided in s. 627.7072, Florida Statutes to determine the cause of the loss within a
                    reasonable professional probability and issue a report as provided in s. 627.7073, Florida Statutes only if Sinkhole Loss is
                    covered under the policy. Except as provided in subsections (4) and (6), the fees and costs of the Professional Engineer or
                    Professional Geologist shall be paid by the Company.


              (3)   Following the          initial      inspection 0f the policyholder's premises, the              Company     shall provide written notice t0 the Insured
                    disclosing the following information:


                    (a)   What the Company               has determined to be the cause of damage, if the                  Company   has   made such   a determination.


                    (b)   A statement of the circumstances under which the Company is required t0 engage a Professional Engineer or a
                          Professional Geologist to verify or eliminate Sinkhole Loss and to engage a Professional Engineer to                                     make
                          recommendations regarding land and building stabilization and foundation repair.

                    (c)   A statement regarding the right of the Insured t0 request testing by a Professional Engineer 0r a Professional Geologist,
                          the circumstances under             which     the Insured     may demand certain testing, and the          circumstances under Which the Insured
                          may     incur costs associated With testing.


              (4) (a) If the       Company         determines that there         is   n0 Sinkhole Loss, the Company may deny the claim.

                    (b) If coverage for           Sinkhole Loss         is   available and theCompany denies the claim without performing testing under
                          s.   627.7072, Florida Statutes, the Insured                  may demand testing by the Company under s. 627.7072, Florida Statutes.

                          1.   The   Insured‘s     demand      for testing     must be communicated          to the   Company     in writing within    60 days   after the Insured's
                               receipt of the insurer's denial of the claim.


                          2.   The Insured    shall pay 50 percent 0f the actual costs 0f the analyses and services provided under ss. 627.7072, Florida
                               Statutes    and 627.7073, Florida Statutes or $2,500, whichever is less.

                          3.   The Company           shall   reimburse the Insured for the costs           if the   Company's engineer or geologist provides written
                               certiﬁcation pursuant to          s.   627.7073, Florida Statutes that there           is   Sinkhole Loss.


              (5) If a Sinkhole           Loss     is   veriﬁed, the    Company        shall   pay   t0 stabilize the land   and building and repair the foundation in
                    accordance with the recommendations 0f the Professional Engineer retained pursuant to subsection (2), with notice to the
                    Insured, subject t0 the coverage and terms 0f the policy. The Company shall pay for other repairs t0 the structure and contents
                    in accordance with the termsof the policy. If a covered building suffers a Sinkhole Loss, the insured must repair such
                    damage                                Company's Professional Engineer’s recommended repairs. However, if the Company's
                                  0r loss in accordance with the
                    Professional Engineer determines that the repair cannot be completed within policy limits, the Company must pay t0
                    complete the repairs recommended by the insurer's Professional Engineer or tender the policy limits of the affected building
                    t0 the Insured.


                    (a)   The Company may limit its total claims payment to the actual cash value of the Sinkhole Loss, which does not include
                          underpinning 0r grouting or any other repair technique performed below the existing foundation 0f the building, until the
                          Insured enters into a contract for the performance of building stabilization or foundation repairs in accordance with the
                          recommendations set forth in the Company's report issued pursuant t0 s. 627.7073, Florida Statutes.

                    (b) In order to prevent additional                 damage     to the building or structure, the Insured          must enter   into a contract for the
                          performance of building stabilization and foundation repairs within 90 days after the Company conﬁrms coverage for the
                          Sinkhole Loss and notiﬁes the Insured 0f such conﬁlmation. This time period is tolled if either party invokes the Neutral
                          Evaluation process, and begins again 10 days                         after the conclusion     of the Neutral Evaluation process.


                    (c)   After the Insured enters into the contract for the performance of building stabilization and foundation repairs, the
                          Company         shallpay the amounts necessary to begin and perform such repairs as the work is performed and                               the expenses
                          are incurred.      The Company may not require the Insured to advance payment for such repairs.

                          If repair has     begun and the aforementioned professional engineer determines that the repairs Will exceed the applicable
                          Limit 0f Insurance, the     Company will pay only the remaining portion 0f the applicable Limit of Insurance upon such




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                           determination.            The most     the   Company       will pay for the total of all Sinkhole Loss, including building and land stabilization
                           and foundation        repair, is the applicable            Limit 0f Insurance on the affected building.


                     (d)   The    stabilization       and   all   other repairs t0 the structure and contents           must be completed within 12 months           after entering into
                           the contract for repairs described in paragraph (b) unless:


                            1.   There   is   a mutual agreement between the                  Company and the        Insured;


                            2.   The claim      is   involved with the Neutral Evaluation process;


                            3.   The claim      is   in litigation; 0r


                            4.   The claim      is   under appraisal or mediation.

                     (e)   Upon the Company's               obtaining the written approval of any lienholder, the                    Company may make payment        directly to the
                           persons selected by the Insured to perform the land and building stabilization and foundation repairs. The decision by the
                           Company t0 make payment t0 such persons does not hold the Company liable for the work performed. The Insured may
                           not accept a rebate from any person performing the repairs speciﬁed in this section. If an Insured does receive a rebate,
                           coverage      is   void and the Insured must refund the amount of the rebate to the Company.


               (6) If the        Company       obtains, pursuant to           s.   627.7073, Florida Statutes, written certiﬁcation that there           is   no Sinkhole Loss or   that
                     the cause 0f the          damage was not Sinkhole                Activity,   and   if the   Insured has submitted the Sinkhole claim without good faith
                     grounds for submitting such claim, the Insured shall reimburse the Company for 50 percent of the actual costs of the analyses
                     and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida Statutes; however, an Insured is not
                     required to reimburse the Company more than $2,500 with respect to any claim. The Insured is required t0 pay reimbursement
                     only if the Insured requested the analysis and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida
                     Statutes and the Company, before ordering the analysis under s. 627.7072, Florida Statutes, informs the Insured in writing of
                     the Insured's potential liability for reimbursement and gives the Insured the opportunity to withdraw the claim.


               (7)   The Company may engage a professional                            structural engineer to      make recommendations       as to the repair of the structure.


               (8)   Any claim,          including but not limited             t0, initial,   supplemental, and reopened claims under an insurance policy that provides
                     sinkhole coverage           is   barred unless notice of the claim            was given to the insurer in accordance with the terms 0f the policy
                     within 2 years after the policyholder                    knew    0r reasonably should have         known about the sinkhole loss.


          7.         SECTION VI i GENERAL POLICY CONDITIONS, LOSS CONDITIONS                                                    is   amended by adding    the following:


                     (a)    Within 90 days after an insurer receives notice of a property insurance claim from a policyholder, the insurer shall pay or
                           deny such claim or a portion of the claim unless the failure to pay such claim or a portion of the claim is caused by factors
                           beyond the control of the insurer Which reasonably prevent such payment. Any payment of a claim or portion of a claim
                           paid 90 days after the insurer receives notice of the claim, or paid more than 15 days after there are no longer factors
                           beyond the control of the insurer which reasonably prevented such payment, whichever is later, shall bear interest at the
                           rate set forth in s. 55.03. Interest begins to accrue from the date the insurer receives notice 0f the claim. The provisions of
                           this subsection may not be waived, voided, 0r nulliﬁed by the terms of the insurance policy. If there is a right to
                           prejudgment interest, the insured shall select whether t0 receive prejudgment interest or interest under this subsection.
                           Interest is payable When the claim or portion of the claim is paid. Failure to comply with this subsection constitutes a
                           Violation of this code. However, failure to comply with this subsection shall not form the sole basis for a private cause of
                           action.


                     (b)   Notwithstanding subsection                   (4), for    purposes of this subsection, the term “claim” means any of the following:


                            1.   A claim under an insurance policy providing residential coverage as deﬁned in                              s.   627.4025(l);


                            2.   A claim for structural 0r contents coverage under a commercial property insurance policy if the insured structure is
                                  10,000 square feet or            less; or


                            3.   A claim for contents coverage under a commercial tenants policy ifthe insured premises is                                10,000 square feet or   less.




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                  (c)      This subsection shall not apply to claims under an insurance policy covering nonresidential commercial structures or
                        contents in  more than one state.


                SECTION VII — DEFINITIONS, Earth Movement is                              deleted in   its   entirety   and replaced by the following:

                Earth Movement - Any Earth Movement including earthquake,                               landslide,      mine subsidence,       earth sinking, rising, shifting,   and
                Sinkhole collapse. Catastrophic Ground Cover Collapse                            (CGCC) will not be              considered Earth       Movement within the
                terms and conditions of this Policy.


                SECTION VII — DEFINITIONS,                   the following   is    added    to the deﬁnition of Terrorist Activity:


                If both the Terrorist Activity           and subject   loss take place at       Locations         in the   USA,   its territories,   possessions and missions, and
                the   Commonwealth 0f Puerto            Rico, then any Terrorist Activity shall be an act of terrorism as                       deﬁned by the (United   States)
                Terrorism Risk Insurance Act 2002, as amended.

          10.   SECTION VII — DEFINITIONS,                   the following   is   added:


                Catastrophic       Ground Cover Collapse (CGCC)                    -   Geological activity that results in          all   the following:


                      1.     The abrupt collapse of the ground         cover;


                      2.     A depression in the ground cover clearly Visible to the naked eye;

                      3.     Structural        Damage t0 the covered building, including the foundation; and
                      4.     The insured   structure being      condemned and ordered            to   be vacated by the governmental agency authorized by law                to
                             issue such an order for that structure.


                Contents coverage applies if there is a loss resulting from a catastrophic ground cover collapse. Damage consisting merely of
                the settling or cracking of a foundation, structure, or building does not constitute a loss resulting from a catastrophic ground
                cover collapse.


                Neutral Evaluation         —   The   alternative dispute resolution provided in              s.   627.7074, Florida Statutes.


                Neutral Evaluator — A professional engineer or a Professional Geologist who has completed a course of study in alternative
                dispute resolution designed or approved by the department for use in the neutral evaluation process and who is determined by
                the department to be fair and impartial.


                Primary Structural Member -                 A structural element designed to provide support and stability for the vertical or lateral loads of
                the overall structure.


                Primary Structural System               -   An assemblage    of Primary Structural Members.

                Professional Engineer        A person, as deﬁned in 471.005, Florida Statutes, who has a bachelor's degree 0r higher in
                                               -                              s.

                engineering.     A professional engineer must also have experience and expertise in the identiﬁcation ofSinkhole Activity as well
                as other potential causes of Structural            Damage.

                Professional Geologist          -   A person, as deﬁned in        s.   492. 102, Florida Statutes,         who   has a bachelor's degree or higher in geology
                or related earth science and experience and expertise in the identiﬁcation ofSinkhole Activity as well as other potential
                geologic causes ofStructural            Damage.

                Sinkhole - A landform created
                                              by subsidence of soil, sediment, 0r rock as underlying strata are dissolved by groundwater. A
                Sinkhole forms by collapse into subterranean voids created by dissolution 0f limestone 0r dolostone 0r by subsidence as these
                strata are dissolved.


                Sinkhole Activity - Settlement or systematic weakening of the earth supporting the covered building only if the settlement or
                systematic weakening results from contemporaneous movement 0r raveling 0f soils, sediments, or rock materials into
                subterranean voids created by the effect of water on a limestone or similar rock formation.



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            Sinkhole Loss - Structural Damage to the covered building, including the foundation, caused by Sinkhole Activity. Contents
            coverage and additional living expenses apply only if there is Structural Damage to the covered building caused by Sinkhole
            Activity.

            Structural Damage - A covered building, regardless of the date of its construction, has experienced the following:

            1. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the Florida Building
              Code, which results in settlement related damage to the interior such that the interior building structure or members become
              unfit for service or represents a safety hazard as defined within the Florida Building Code;

            2. Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or the Florida Building
              Code, which results in settlement related damage to the primary structural members or primary structural systems that
              prevents those members or systems from supporting the loads and forces they were designed to support to the extent that
              stresses in those primary structural members or primary structural systems exceeds one and one-third the nominal strength
              allowed under the Florida Building Code for new buildings of similar structure, purpose, or location;

            3. Damage that results in listing, leaning, or buckling of the exterior load-bearing walls or other vertical primary structural
              members to such an extent that a plumb line passing through the center of gravity does not fall inside the middle one-third of
              the base as defined within the Florida Building Code;

            4. Damage that results in the building, or any portion of the building containing primary structural members or primary
              structural systems, being significantly likely to imminently collapse because of the movement or instability of the ground
              within the influence zone of the supporting ground within the sheer plane necessary for the purpose of supporting such
              building as defined within the Florida Building Code; or

            5. Damage occurring on or after October 15, 2005, that qualifies as Substantial Structural Damage as defined in the Florida
              Building Code.

          11. SECTION V – SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, B. Description of Special Coverages, TAX
              LIABILITY is deleted in its entirety and replaced by the following:

              TAX LIABILITY

                If the amount of loss covered hereunder cannot be paid in the country where the loss occurred and the corporate tax rate is
                higher in the country where the payment occurs, and the payee is required to pay tax on the claim proceeds or has realized a
                reduction of a tax benefit that would otherwise have been recognized in the payee's country of residence, the Company will
                be liable for the difference in tax basis as an additional loss payment (ALP).

                Financial accounting income shall be determined under generally accepted accounting principles or standards.

                Financial accounting income and corporate income tax shall be determined in the local currency of the country where the
                loss occurred and where the loss payments are received.

                The ALP will be paid only after receipt of documentation supporting the claim and a certification by the Chief Executive
                Officer or Chief Financial Officer of the payee that to the best of his or her knowledge, based on a review of all applicable
                financial and tax data:

              1).The payee is required to pay tax on the claim proceeds or will realize a reduction of a tax benefit that would otherwise
                have been recognized in the payee's country of residence; and

              2).The tax to be paid and pre-tax Financial Accounting Income data provided is accurate and complete and fairly presents in
                all material respects the financial results of the payee in the applicable country.

                Notwithstanding the coverage for tax payment granted under this Coverage, it is understood and agreed that the Insured
                will cooperate with the Company in making every reasonable effort to have the amount of loss paid in the country in which
                the loss occurred, where permitted by law. In addition the Insured agrees to try to mitigate any loss that the Company may
                be responsible for under this Tax Liability Coverage.




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                With respect to payments made under this Coverage, the Company may examine and audit the Insured's books and records
                at any time up to three years after payment.

          12. Any reference to First Named Insured shown in this policy shall be deemed to refer to the Named Insured as shown on the
              declarations.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Georgia



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                    No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                    Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
                    months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.



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        Amendatory Endorsement - Illinois


                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and
             replaced by the following:

             Cancellation

             The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
             written notice of cancellation.

             If this Policy has been in effect for 60 days or less, except as provided below when the Policy covers real property other than
             residential property occupied by four families or less, the Company may cancel this Policy by mailing written notice of
             cancellation at least:

             Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or,
             Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

             If this Policy has been in effect for more than 60 days, except as provided below when the Policy covers real property other
             than residential property occupied by four families or less, the Company may cancel this Policy only for one or more of the
             following reasons:
             a.   Nonpayment of premium;
             b.   The Policy was obtained through a material misrepresentation;
             c.   The First Named Insured has violated any of the terms and conditions of the Policy;
             d.   The risk originally accepted has measurably increased;
             e.   Certification to the Director of Insurance of the loss by reinsurance by the insurer which provided coverage to the Company
                  for all or a substantial part of the underlying risk insured; or
             f.   A determination by the Director that the continuation of the Policy could place the Company in violation of the insurance
                  laws of this State.
             If the Company cancels this Policy based on one or more of the above reasons except for nonpayment of premium, the
             Company will mail written notice at least 60 days before the effective date of cancellation. When cancellation is for
             nonpayment of premium, the Company will mail written notice at least 10 days before the effective date of cancellation.
             The Company will mail notice to the First Named Insured’s last known mailing address.

             Notification of cancellation will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
             to the mortgagee or lienholder listed on the Policy.

             Notice of cancellation will state the effective date and specific reason(s) for cancellation. The Policy Period will end on that
             date.

             If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
             the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less than the
             customary short rate amount. The cancellation will be effective even if the Company has not made or offered a refund.



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             If notice is mailed, then proof of mailing will be sufficient proof of notice.

             If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
             cancellation terms or conditions will be as permitted by such laws.

             The following applies only if this Policy covers property other than residential property occupied by four families or less:

             If any one or more of the following conditions exists at any building that is Covered Property in this Policy, the Company may
             cancel this Policy by mailing to the First Named Insured written notice of cancellation, by both certified and regular mail, if:

             a.   After a fire loss, permanent repairs to the building have not started within 60 days of satisfactory adjustment of loss, unless
                  the delay is due to a labor dispute or weather conditions.

             b.            The building has been occupied 60 or more consecutive days. This does not apply to:
                  (1) Seasonal unoccupancy; or
                  (2) Buildings under repair, construction or reconstruction, if property secured against unauthorized entry.
             c.   The building has:
                  (1) An outstanding order to vacate;
                  (2) An outstanding demolition order; or
                  (3) Been declared unsafe in accordance with the law.
             d.        Heat, water, sewer service or public lighting have not been connected to the building for 30 consecutive days or more.
             The Policy will terminate 10 days following receipt of the written notice by the named insured(s).
             The following applies only with respect to grain in public grain warehouses:
                  The First Named Insured or the Company may cancel this Policy at any time by mailing to:
                  a.     The other; and
                  b.     The Director of the Illinois Department of Agriculture (at its Springfield Office);
                  60 days’ written notice of cancellation.
             Non-renewal

             The Company may non-renew this Policy by mailing to all Named Insured, the Insured’s last mailing address known to us,
             written notice of non-renewal, accompanied by the specific reason for non-renewal at least sixty (60) days prior to the
             expiration of this Policy. Proof of mailing will be sufficient proof of notice.

             If the Company offers to renew or continue and the First Named Insured does not accept, this Policy will terminate at the end of
             the current policy period. Failure to pay the required renewal or continuation premium when due shall mean that the First
             Named Insured has not accepted the offer.

             If the Company fails to mail proper written notice of nonrenewal and the First Named Insured obtains other insurance, this
             Policy will end on the effective date of that insurance.

             Notification of nonrenewal will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
             the mortgagee or lienholder listed on the Policy.

        2.   SECTION VI- General Policy Conditions, Loss Conditions, Suit Against The Company is deleted in its entirety and replaced
             by the following:

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity, unless the Insured
             has fully complied with all the provisions of this Policy. Legal action must be started within twelve (12) months after the date
             of direct physical loss or damage to Covered Property or to other property as set forth herein. However, the Company will
             extend this period by the number of days between the date the proof of loss is filed and the date the claim is denied in whole or
             in part.




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        3.   SECTION VI- General Policy Conditions, Other Insurance, the following provision is deleted:

             The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
             this insurance; except that this insurance shall apply only as excess, Difference in Conditions/Difference in Limits and in no
             event as contributing insurance, and then only after all other insurance has been exhausted.

             And replaced with the following:

             The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
             this insurance; except that this insurance shall apply only as pro rata contributing insurance.

        4.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

             When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
             Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
             be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

             And replaced with the following:

             When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
             Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
             address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
             an endorsement. Any unearned premium due will be returned by the Company.




                                 All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement – Indiana


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             The Company will not pay for any loss or damage in any case of:

                 Concealment or misrepresentation of a material fact; or

                 Fraud

                 Committed by an insured at any time relating to a claim under this Policy.

             However, this does not apply when a claim is made by an Innocent Coinsured provided:

                 The property loss or damage occurs to a the primary residence of the Innocent Coinsured as covered under COVERED
                 PROPERTY.

                 The Final Settlement for the property loss or damage is at least 60% of available insurance proceeds under the Policy.

             The following is added and supersedes provisions to the contrary:

             Any payment made pursuant to a claim made by an Innocent Coinsured as described above, will be for:

                 The actual cost of repair or replacement of the property that is the subject of the claim if the actual cost of repair or
                 replacement is less than or equal to the maximum limit of coverage under the Policy, or

                 The maximum limit of coverage under the Policy is the actual cost of repair or replacement of the property that is the
                 subject of the claim is greater than the maximum limit of coverage under the Policy.

             Any payment made pursuant to above, is limited to the following:

                 An Innocent Coinsured’s ownership interest in the property, less any payments the Company makes to mortgagee or other
                 lienholder with a secured interest in the property.

                 The Company will not pay another coinsured for any part of the claim for which the Company has already paid to an
                 Innocent Coinsured.

                 The Company will not pay an amount that is greater than the amount an Innocent Coinsured is entitled to under a decree
                 of dissolution of marriage between the Innocent Coinsured and an individual described below.

             As used in this endorsement, Innocent Coinsured is an insured who:

                 Did not have knowledge of, cooperate in, or intentionally contribute to a property loss or damage that was caused or
                 arranged by another individual who:

                     Is an insured and:




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                Died in connection with the circumstances that caused the property loss or damage; or

                Has been charged with a crime based on a court finding that there is probable cause to believe that the individual
                committed the crime in connection with the circumstances that caused the property loss or damage;

                Signs a sworn affidavit attesting that they did not have knowledge of, cooperate in, or intentionally contribute to the
                property loss or damage; and

                Cooperates in the investigation and resolution of the claim for the property loss or damage, any police investigation related
                to the property loss or damage, and any criminal prosecution of the individual that caused or arranged the property loss or
                damage.

            As used in this endorsement, Final Settlement is a determination:

                Of the amount owed by the Company to an Innocent Coinsured under COVERED PROPERTY under this Policy and for
                property loss or damage to the Innocent Coinsured’s primary residence; and

                Made by:

                Acceptance of a proof of loss by the Company;

                Execution of a release by an Innocent Coinsured;

                Acceptance of an arbitration award by the Innocent Coinsured and the Company; or

                Judgment of a court of competent jurisdiction.

            However, Final Settlement does not apply to loss or damage related to contents, personal property or another loss that is not
            covered under Covered Property under this Policy.




                                All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Kansas


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from Section VI-General Policy Conditions, Cancellation/Non-renewal, Cancellation,

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations; or

                 The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                 Declarations.

             and replaced by the following:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations, which shall not be less than five (5) days if the nonpayment is for a premium installment; or

                 The greater of thirty (30) days or the number of days before the effective date of cancellation if the Company cancels for
                 any other reason, as stated in the Declarations.

        2.   Section VI-General Policy Conditions, Loss Conditions, Appraisal, is deleted in its entirety .

        3. Section VI-General Policy Conditions, Loss Conditions, Suit Against the Company, is deleted in its entirety and replaced by the
           following:

             SUIT AGAINST THE COMPANY

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
             fully complied with all the provisions of this Policy. Legal action must be started within five (5) years after the date of direct
             physical loss or damage to Covered Property or to other property as set forth herein.

             If under the laws of the jurisdiction in which the property is located, such twelve months' limitation is invalid, then, any such
             legal action needs to be started within the shortest limit of time permitted by such laws.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Kentucky


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1. The following section is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL:

            The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
            least:

                The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                in the Declarations; or

                The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                Declarations.

            and replaced with:

            The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
            least:

                Fourteen (14) days before the effective date of cancellation if this Policy has been in effect for sixty (60) days or less.
                Cancellation can be for any reason, and the notice will state the reason for cancellation.

                For Policies in effect for more than sixty (60) days or that are a renewal of a Policy the Company issued:

                    Fourteen (14) days before the effective date of the cancellation, if cancellation is for nonpayment of premium; or

                    Seventy-five (75) days before the effective date of cancellation, if cancellation is for:

                         Discovery of fraud or material misrepresentation made by the Insured or with the Insureds' knowledge in obtaining
                         the Policy, continuing the Policy, or in presenting a claim under the Policy;

                         Discovery of willful or reckless acts or omissions on the Insureds' part which increase any hazard insured against;

                         The occurrence of a change in the risk which substantially increases any hazard insured against after insurance
                         coverage has been issued or renewed;

                         A violation of any local fire, health, safety, building, or construction regulation or ordinance with respect to any
                         insured property or the occupancy thereof which substantially increases any hazard insured against;

                         The Company is unable to reinsure the risk covered by the Policy; or

                         A determination by the commissioner that the continuation of the Policy would place the Company in violation of
                         the Kentucky insurance code or regulations of the commissioner.




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        2.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety
             and replaced by the following:

             Non-renewal

                For the purpose of this Condition:

                    Any Policy period or term of less than six (6) months shall be considered to be a Policy period or term of six (6)
                    months; and

                    Any Policy period or term of more than one (1) year or any Policy with no fixed expiration date shall be considered a
                    Policy period or term of one (1) year.

                If the Company elects not to renew this Policy, the Company will mail or deliver written notice of nonrenewal, stating the
                reason for nonrenewal, to the first Named Insured shown in the Declarations, at the last mailing address known to the
                Company, at least seventy-five (75) days before the expiration date of the Policy period.

                If notice of nonrenewal is not provided pursuant to this Condition, coverage under the same terms and conditions shall be
                deemed to be renewed for the ensuing Policy period upon payment of the appropriate premium until the Insured has
                accepted replacement coverage with another insurer, or until the Insured has agreed to the nonrenewal.

                If the Company mails or delivers a renewal notice to the first Named Insured at least thirty (30) days before the end of the
                Policy period, stating the renewal premium and its due date, the Policy will terminate without further notice unless the
                renewal premium is received by the Company or its authorized agent by the due date.

                If this Policy terminates because the renewal premium has not been received by the due date, the Company will, within
                fifteen (15) days, mail or deliver to the first Named Insured at the last known address a notice that the Policy was not
                renewed and the date it was terminated.

                If notice is mailed, proof of mailing is sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Louisiana

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.01.01.is deleted in its entirety and replaced by the
             following:

             3.03.01.01. Contamination or asbestos, and any cost due to Contamination or asbestos including the inability to use or
                         occupy property or any cost of making property safe or suitable for use or occupancy.

        2.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.03.03 is deleted in its entirety and replaced by the
             following:

             3.03.03.03    Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic
                           fusion, radioactive force or radioactive material, regardless of who commits the act.

        3. Section VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and replaced
           with the following::

                 If this Policy is cancelled, the Company will return any premium refund due. The cancellation will be effective even if the
                 Company has not made or offered a refund.

                 1.   If the first Named Insured cancels, the refund will not be less than 90% of the pro rata unearned premium, rounded to
                      the next higher whole dollar. The refund will be returned within 30 days after the effective date of cancellation.

                      We will send the refund to the first Named Insured and any mortgagee that has provided us with written notice of the
                      percentage of the premium being funded with the mortgagee's own funds. The percentage of the unearned premium
                      attributable to the mortgagee shall be returned to the mortgagee and the percentage of the unearned premium
                      attributable to the first Named Insured shall be returned to the first Named Insured.

                 2.   If we cancel, the refund will be pro rata and we will send the refund to the first Named Insured

                 If we cancel a policy that has been in effect for fewer than 60 days and is not a renewal of a policy we issued,
                 we will give written notice to the First Named Insured at least:

                 1.       10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

                 2.       60 days before the effective date of cancellation, if we cancel for any other reason.

                  If we cancel a policy that has been in effect for 60 days or more, or is a renewal of a policy we issued, we will give written
                 notice to the First Named Insured at least:

                 1.   10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

                 2.   30 days before the effective date of cancellation, if we cancel for any other reason.

                 Cancellation of a policy in effect more than 60 days will be based on one of the following reasons:

                 1.   Nonpayment of premium.

                 2.    Fraud or material misrepresentation made by or with the knowledge of the named insured in obtaining the policy,
                      continuing the policy, or presenting a claim under the policy.



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                 3.   Activities or omissions on the part of the named insured change or increase any hazard insured against.

                 4.   Change in the risk, which increases the risk of loss after coverage has been issued or renewed.

                 5.   Determination by the Commissioner (of Insurance) that the continuation of the policy would jeopardize the solvency of
                      the insurer or place the insurer in violation of the law.

                 6.   Violation or breach of policy terms or conditions by the Insured.

                 7.   Other approved reasons.

                 If we elect not to renew the policy, we will mail or deliver written notice of nonrenewal to the First Named Insured at
                 least 60 days before its expiration date, or its anniversary date if it is a policy written for a term of more than one year or
                 with no fixed expiration date. The notice will include the insured’s loss run information for the period the policy has been
                 in force, not to exceed three years.

        4.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             This Policy will be canceled in any case of fraud by any Insured as it relates to this Policy at any time. It will also be canceled
             if any Insured, at any time, intentionally conceals or misrepresents a material fact, with the intent to deceive concerning:

                 1. This Policy;

                 2. The Covered Property;

                 3. The interest in the Covered Property; or

                 4. A claim under this Policy.

        5.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
             following:

             The Company will be entitled to recovery only after the insured has been fully compensated for the loss or damage sustained,
             including expenses incurred in obtaining full compensation for the loss or damage.

        6.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL is deleted in its entirety.

        7.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
             Payment:

                 The Company has reached agreement on the amount of loss; or

             and replaced by the following:

                 The Company has reached agreement on a portion of or the total amount of loss; or

        8.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                      No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                      Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
                      months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

        9.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

             Any reference to “ the most functionally equivalent “ shall be replaced with “of like kind and quality”.




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          10.   SECTION II — DECLARATIONS, Time                    Speciﬁcations,       is   deleted in   its   entirety   and replaced by the following:

                     2.03.10.   Time Speciﬁcations: As        follows:



                                 EARTH MOVEMENT Occurrence                                                       168 hours

                                 NAMED STORM Occurrence                                                          72 hours

                                 Cancellation for nonpayment of premium                                          10 days

                                 Cancellation for any other reason                                               60 days


          11.   The following   is   deleted from   SECTION VII - DEFINITIONS

                                      C0ntaminati0n(Contaminated)               -
                                                                                    Any condition of property due             to the actual presence    of any foreign
                                      substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
                                      Virus, disease causing 0r illness causing agent,            Fungus, mold 0r mildew.

                and replaced by the following:

                                      C0ntaminati0n(Contaminated)               -
                                                                                    Any condition of property due t0 the                actual presence of any
                                      Contaminant(s).

          12.   The following   is   deleted from   SECTION VII — DEFINITIONS:

                                      C0ntaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant, including but
                                      not limited t0 smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials t0 be recycled,
                                      reconditioned 0r reclaimed), asbestos, ammonia, other hazardous substances, Fungus 0r Spores.


                 And replaced with the      following:


                                      C0ntaminant(s)     -
                                                             Any   solid, liquid, gaseous,       thermal or other          irritant,   including but not limited to smoke,
                                      vapor, soot, fumes, acids,     alkalis,   chemicals, waste (including materials to be recycled, reconditioned 0r
                                      reclaimed), other hazardous substances,            Fungus 0r Spores.




          All other terms, conditions        and    limitations 0f this Policy         remain unchanged.




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        Amendatory Endorsement - Maryland
                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The Cancellation subsection under SECTION IV- GENERAL POLICY CONDITIONS, CANCELLATION/NON- RENEWAL
             is deleted in its entirety and replaced by the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 When this policy has been in effect for 45 days or less and is not a renewal policy, the Company may cancel this policy by
                 mailing to the First Named Insured, at the last mailing address, written notice of cancellation, stating the reason for
                 cancellation, at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

                     15 days before the effective date of cancellation if the Company cancels because the risk does not meet its underwriting
                     standards.

                 When this policy has been in effect for more than 45 days or is a renewal policy, the Company may cancel this policy by
                 mailing to the First Named Insured, at the last mailing address, written notice of cancellation at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

                     45 days before the effective date of cancellation if the Company cancels for a permissible reason other than
                     nonpayment of premium, stating the reason for cancellation. The Company may cancel only for one (1) or more of the
                     following reasons:

                            When there exists material misrepresentation or fraud in connection with the application, policy, or presentation of
                            a claim.

                            A change in the condition of the risk that results in an increase in the hazard insured against. A matter or issue

                            related to the risk that constitutes a threat to public safety.

                 If this policy is cancelled, the Company will send the First Named Insured any premium refund due.

                 The refund will be pro rata if:

                     The First Named Insured cancelsor:

                     The policy is not a renewal policy, and the First Named Insured cancels upon receiving written notice that the
                     Company recalculated the premium based on the discovery of a material risk factor during the first 45 days the policy
                     has been in effect. Other than this type of cancellation, the refund will be calculated as follows:

                     For policies written for one year or less, the Company will refund 90% of the pro rata unearned premium. For policies
                     written for more than one year:

                            If the policy is cancelled in the first year, the Company will refund 90% of the pro rata unearned premium for the

                            first year, plus the full annual premium for subsequent years.

                            If the policy is cancelled after the first year, the Company will refund the pro rata unearned premium.
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                     Continuous and Annual Premium Payment Policies

                         The Company will refund 90% of the pro rata unearned premium for the year in which the policy is cancelled.

                         The Company will retain the minimum premium, except if the policy is cancelled as of the inception date.

                         However, if this policy is financed by a premium finance company and the Company or the premium finance
                         company or the First Named Insured cancels the policy, the refund will consist of the gross unearned premium
                         computed pro rata, excluding any expense constant, administrative fee or nonrefundable charge filed with and
                         approved by the insurance commissioner.

                     The cancellation will be effective even if the Company has not made or offered a refund.

                The Company will send notice of cancellation to the First Named Insured by certificate of mail if:

                The Company cancel for nonpayment of premium; or

                      This policy is not a renewal of a policy the Company issued and has been in effect for 45 days or less.

                The Company will send notice to the First Named Insured by certificate of mail or by commercial mail delivery service if
                the Company cancels for a reason other than nonpayment of premium and this policy:

                     Is a renewal of a policy we issued; or

                     Has been in effect for more than 45 days.

                The Company will maintain proof of mailing in a form authorized or accepted by the United States Postal Service or by
                other commercial mail delivery service when such service is used. Proof of mailing will be sufficient proof of notice.

        2. SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD, is deleted in its
            entirety.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in its
            entirety and replaced by the following:

            No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
            fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date of direct
            physical loss or damage to Covered Property or to other property as set forth herein.

        4. SECTION VI – GENERAL POLICY CONDITIONS, SUSPENDED PROPERTY, is deleted in its entirety.

        5. The following is added to 3.02. PROPERTY NOT COVERED:

            Any property, prior to a loss, found to be in, or exposed to, a dangerous condition, by any of the Company's representatives, and
            the Insured is put on notice for such condition, until the dangerous condition has been corrected.




                                 All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Massachusetts


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

            MASSACHUSETTS CONDITION

            1.   In spite of any provision of any general or special law:

                 a)    The Company will not pay for loss or damage to buildings or structures caused by any Covered Cause of Loss if the
                       amount of loss is $5,000 or more unless the Insured first submits a certificate of municipal liens from the collector of
                       taxes of the city or town where the property is located.

                 b) The Company will pay to the city or town any amount outstanding on the certificate of municipal liens arising from the
                    provisions of Massachusetts General Law Chapters 40, 59, 60, 80, 83, and 164, Sections 58B through 58F.

                 The payment will not exceed the amount of loss payable under this Policy.

                 We will send the Insured and the mortgage holder proof of payment to the city or town.

                 c)    The claim of the city or town will have priority over the claim of any mortgage holder, assignee, Insured or any other
                       interested party, except where otherwise provided by the laws of the United States.

                 d) The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

                       1) Amounts paid to a city or town; or

                       2) Amounts not paid to a city or town based upon a certificate showing that no municipal liens exist.

                 This section 1. above does not apply to any owner-occupied one to four-family dwelling if the owner of the dwelling lived
                 there when the claim for loss or damage arose.

            2.   The Company will not pay any claim for:

                 a). Loss, damage, or destruction of $1,000 or more to a building or structure; or

                 b). Loss, damage or destruction, of any amount, that causes a building or structure to become:

                       1).   Dangerous to life or limb; or

                       2).   Unused, uninhabited or abandoned and open to the weather; as provided under Massachusetts General Law,
                             Section 6 of Chapter 143;

                 c).    Without giving at least ten (10) days written notice before such payment to:

                       1).   The Building Commissioner or the appointed Inspector of Buildings; and

                       2).   The Board of Health or the Board of Selectmen of the city or town where the property is located

            3.   If at any time before the Company's payment, the city or town notifies the Company by certified mail of its intent to begin
                 proceedings designed to perfect a lien under Massachusetts General Law:

                 a). Chapter 143, Section 3A or 9; or


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                 b). Chapter 111, Section 127B;

                 The Company will not pay while the proceedings are pending. The proceedings must be started within thirty (30) days
                 after the Company receives the notice.

                 Any lien perfected under the Massachusetts General Laws referred to above, will extend to the city or town and may be
                 enforced by it against the proceeds of this Policy.

            4.   The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

                 a)   Amounts paid to a city or town; or

                 b) Amounts not paid to a city or town under sections 2. and 3. above.

        A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

            STANDARD FIRE POLICY PROVISIONS

            Your Policy contains LEGAL ACTION AGAINST US, APPRAISAL and CANCELLATION provisions.
            Massachusetts law requires that the Suit, Appraisal and Cancellation provisions of the Massachusetts Standard Fire Policy
            supersede any similar provisions contained in your Policy. Therefore, all LEGAL ACTION AGAINST US, APPRAISAL and
            CANCELLATION provisions contained in your policy are void. The Suit, Appraisal and Cancellation provisions of the
            Massachusetts Standard Fire Policy shall apply instead

            In consideration of the Provisions and Stipulations Herein or Added Hereto and of the Premium Specified in the Declarations,
            this Company, for the term of years specified in the Declarations from inception date (At 12:01 A.M. Standard Time) to
            expiration date (At 12:01 A.M. Standard Time) at location of property involved, to an amount not exceeding the amount(s)
            specified in the Declarations, does insure the Insured named in the Declarations and legal representatives, to the extent of the
            actual cash value of the property at the time of loss or the valuation terms of the policy, but in no event for more than the
            interest of the Insured, against all LOSS BY FIRE, LIGHTNING AND BY REMOVAL FROM PREMISES ENDANGERED
            BY THE PERILS INSURED AGAINST IN THIS POLICY, EXCEPT AS HEREINAFTER PROVIDED, to the property
            described in the Declarations while located or contained as described in this Policy or pro rata for five (5) days at each proper
            place to which any of the property shall necessarily be removed for preservation from the perils insured against in this Policy,
            but not elsewhere.

            Assignment of this Policy shall not be valid except with the written consent of this Company.

            This Policy is made and accepted subject to the foregoing provisions and stipulations and those hereinafter stated, which are
            hereby made a part of this Policy together with such other provisions, stipulations and agreements as may be added hereto, as
            provided in this Policy.

            Concealment fraud.

            This entire Policy shall be void if, whether before or after a loss, the Insured has willfully concealed or misrepresented any
            material fact or circumstance concerning this insurance or the subject thereof, or the interest of the Insured therein, or in case of
            any fraud or false swearing by the Insured relating thereto.

            Uninsurable and excepted property.

            This Policy shall not cover accounts, bills, currency, deeds, evidences of debt, money or securities; nor, unless specifically
            named herein in writing, bullion or manuscripts.

            Perils not included.

            This Company shall not be liable for loss by fire or other perils insured against in this Policy caused, directly or indirectly, by
            (a) enemy attack by armed forces, including action taken by military, naval or air forces in resisting an actual or an immediately
            impending enemy attack; (b) invasion; (c) insurrection; (d) rebellion; (e) revolution; (f) civil war; (g) usurped power; (h)
            order of any civil authority except acts of destruction at the time of and for the purpose of preventing the spread of fire,
            provided that such fire did not originate from any of the perils excluded by this Policy; (i) neglect of the Insured to use all




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            reasonable means to save and to preserve the property at and after a loss, or when the property is endangered by fire in the
            neighboring premises; (j) nor shall this company be liable for loss by theft.

            Other Insurance.

            Other insurance may be prohibited or the amount of insurance may be limited by endorsement attached hereto.

            Conditions suspending or restricting insurance.

            Unless otherwise provided in writing added hereto this Company shall not be liable for loss occurring (a) while the hazard is
            increased by any means within the control or knowledge of the Insured; or (b) while the Described Premises, whether intended
            for occupancy by owner or tenant, are vacant or unoccupied beyond a period of sixty (60) consecutive days, for residential
            premises of three units or less and thirty (30) consecutive days for all other premises, or (c) as a result of explosion or riot,
            unless fire ensues, and in that event for loss by fire only. . This paragraph does not suspend or restrict the coverage contained in
            the following policies: Zurich Edge Domestic Policy, Edge-100-B (12/10); Zurich Edge Global Policy, Edge-101-B (12/10);
            Zurich Edge Domestic Healthcare Policy, Edge-102-B (12/10); Zurich Edge Global Healthcare Policy, Edge-103-B (12/10).

            Other perils of subject.

            Any other peril to the insured against or subject of insurance to be covered in this Policy shall be by endorsement in writing
            hereon or added hereto.
            Added provisions.

            The extent of the application of insurance under this Policy and of the contribution to be made by this Company in case of loss,
            and any other provision or agreement not inconsistent with the provisions of this Policy, may be provided for in writing added
            hereto, but no provision may be waived except such as by the terms of this Policy is subject to change.

            Waiver provisions.

            No permission affecting this insurance shall exist, or waiver of any provision be valid, unless granted herein or expressed in
            writing hereto. No provision stipulation or forfeiture shall be held to be waived by any requirement or proceeding on the part of
            this Company relating to appraisal or to any examination provided for herein.

            Cancellation of Policy.

            This Policy shall be cancelled at any time at the request of the Insured, in which case this Company shall, upon demand and
            surrender of this Policy, refund the excess of paid premium above the customary short rates for the expired time. This Policy
            may be cancelled at any time by this Company by giving to1 the Insured a five (5) days written notice of cancellation, and to the
            mortgagee to whom this Policy is payable twenty (20) days written notice of cancellation except where the stated reason for
            cancellation is nonpayment of premium where, in such instance, this Policy may be cancelled at any time by this Company by
            giving to the Insured a ten (10) days written notice of cancellation, and the mortgagee a twenty (20) days written notice of
            cancellation, with or without tender of the excess paid premium above the pro rata premium for the expired time, which excess,
            if not tendered, shall be refunded on demand. If notice is mailed, proof of mailing will be sufficient proof of notice. Notice of
            cancellation shall state that said excess premium (if not tendered) will be refunded on demand and shall state or be accompanied
            by a statement of the specific reason or reasons for such cancellation. After this Policy has been in effect for sixty (60) days, or
            after sixty (60) days from any anniversary date, no notice of cancellation shall be effective unless it is based on the occurrence,
            after the effective date of the Policy, of one or more of the following:

            (1) nonpayment of premium; (2) conviction of a crime arising out of acts increasing the hazard insured against; (3) discovery
            of fraud or material misrepresentation by the Insured in obtaining the Policy; (4) discovery of willful or reckless acts or
            omissions by the Insured increasing the hazard insured against; (5) physical changes in the property insured which result in the
            property becoming uninsurable; or (6) a determination by the commissioner that continuation of the Policy would violate or
            place the Insurer in violation of the law. Where the stated reason is nonpayment of premium, the Insured may continue the
            coverage and avoid the effect of the cancellation by payment at any time prior to the effective date of cancellation.

            Mortgagee interests and obligations.




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            Notwithstanding any other provisions of this Policy, if this Policy shall be made payable to a mortgagee of the covered real
            estate, no act or default of any person other than such mortgagee or his agent or those claiming under him, whether the same
            occurs before or during the term of this Policy, shall render this Policy void as to such mortgagee nor affect such mortgagee !~
            right to recover in case of loss on such real estate; provided, that the mortgagee shall on demand pay according to the
            established scale of rate for any increase of risk not paid for by the Insured; and whenever this Company shall be liable to a
            mortgagee for any sum for loss under this Policy for which no liability exists as to the mortgagor, or owner, and this Company
            shall elect by itself, or with others, to pay the mortgagee, the full amount secured by such mortgage, then the mortgagee shall
            assign and transfer to the Company interested, upon such payment, the said mortgage together with the note and debt thereby
            secured.

            Pro rata liability.

            This Company shall not be liable for a greater proportion of any loss than the amount hereby insured shall bear to the whole
            insurance covering the property against the peril involved.

            Requirements in case loss occurs.

            The Insured shall give immediate written notice to this Company of any loss, protect the property from further damage,
            forthwith separate the damaged and undamaged personal property, put it in the best possible order, furnish a complete inventory
            of the destroyed and damaged property, showing in detail the quantity, description, actual cash value and amount of loss
            claimed; and the Insured shall forthwith render to this Company a signed, sworn statement in proof of loss which sets forth to
            the best knowledge and belief of the Insured the following: the time and cause of the loss, the interest of the Insured and of all
            others in the property, the actual cash value of each item thereof and the amount of loss thereto, all encumbrances thereon, all
            other contracts of insurance, whether valid or not, covering any of said property, any changes in the title, use, occupancy,
            location, possession or exposures of said property, since the issuing of this Policy, by whom and for what purpose any building
            herein described and the several parts thereof were occupied at the time of loss and whether or not it then stood on leased
            ground, and shall furnish a copy of all the descriptions and schedules in all Policies and detailed estimates for repair of the
            damage. The Insured, as often as may be reasonably required, shall exhibit to any person designated by this Company all that
            remains of any property herein described, and submit to examinations under oath by any person named by this Company, and
            subscribe the same; and as often as may be reasonably required, shall produce for examination all books of account, bills,
            invoices and other vouchers, or certified copies thereof if originals be lost, at such reasonable time and place as may be
            designated by this Company or its representative, and shall permit extracts and copies thereof to be made.

            When loss payable.

            In case of any loss or damage, the Company within thirty (30) days after the Insured shall have submitted a statement, as
            provided in the preceding clause, shall either pay the amount for which it shall be liable, which amount if not agreed upon shall
            be ascertained by award of referees as hereinafter provided, or replace the property with other of the same kind and goodness, or
            it may, within fifteen (15) days after such statement is submitted, notify the Insured of its intention to rebuild or repair the
            premises, or any portion thereof separately covered by this Policy, and shall thereupon enter upon said premises and proceed to
            rebuild or repair the same with reasonable expedition. It is more over understood that there can be no abandonment of the
            property described to the Company, and that the Company shall not in any case be liable for more than the sum insured, with
            interest thereon from the time when the loss shall become payable, as provided above. The Company shall be liable for the
            payment of interest to the Insured at a rate of one (1) percent over the prime interest rate on the agreed figure commencing
            thirty (30) days after the date an executed proof of loss for such figure is received by the Company, said interest to continue so
            long as the claim remains unpaid.

            Appraisal.

            In case of loss under this Policy and a failure of the parties to agree as to the amount of loss, it is mutually agreed that the
            amount of such loss shall be referred to three disinterested men, the Company and the Insured each choosing one out of three
            (3) persons to be named by the other, and the third being selected by the two (2) chosen, and the award in writing by a majority
            of the referees shall be conclusive and final upon the parties as to the amount of loss or damage, and such reference, unless
            waived by the parties, shall be a condition precedent to any right of action in law or equity to recover for such loss; but no
            person shall be chosen or act as a referee, against the objection of either party, who has acted in a like capacity within four (4)
            months.

            Suit.




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            No suit or action against this Company for the recovery of any claim by virtue of this Policy shall be sustained in any court of
            law or equity in this commonwealth unless commenced within two (2) years from the time the loss occurred; provided,
            however, that if, within said two (2) years, in accordance with the provisions of the preceding paragraph, the amount of loss
            shall have been referred to arbitration after failure of the parties to agree thereon, the limitation of time for bringing such suit or
            action shall in no event be less than ninety (90) days after a valid award has been made upon such reference or after such
            reference or award has been expressly waived by the parties. If suit or action upon this Policy is enjoined or abated, suit or
            action may be commenced at any time within one (1) year after the dissolution of such injunction, or the abatement of such suit
            or action, to the same extent as would be possible if there was no limitation of time provided herein for the bringing of such
            suit or action.

            Subrogation.

            This Company may require from the Insured an assignment of all rights of recovery against any party for loss to the extent that
            payment therefore is made by this Company.

        C. The following is added to Paragraph B. Description of Special Coverages of SECTION V – SPECIAL COVERAGES &
           DESCRIBED CAUSES OF LOSS:

                MASSACHUSETTS RESIDENTIAL FUEL TANKS SPILLS COVEAGE - PROPERTY REMEDIATION FOR
                “RELEASE OF HEATING OIL”
                a)   With respect to the “release of heating oil” from a tank, or any piping, fuel supply lines, equipment, or systems
                     connected to the tank, at a residential property, the Company will pay for:

                     1). Reasonable response action costs the Insured incurred under chapter 21E or 21K of the Massachusetts law or
                         applicable regulations, including costs to assess and remediate a “release of heating oil” impacting soil, indoor
                         air, water and other environmental media at that residential property; and

                     2). With respect to a “release of heating oil” for which response action costs are incurred and covered pursuant to 1).
                         above, direct physical loss of or damage to personal property at that residential property.

                b) The most the Company will pay under this endorsement for a “release of heating oil” is the applicable limits provided
                   in this policy or $50,000 whichever is greater, for the total of all loss, damage, or costs regardless of:

                     1) The amount of time over which the “release of heating oil” continues and regardless of whether the release
                        occurs in repeated intervals;

                     2). The number of policy years during which the “release of heating oil” persists;

                     3). Whether the heating oil is released from one or multiple outlets on the tank body and its related equipment;

                     4). Whether there are multiple effects, such as damage to personal property, pollution of land and pollution of water;

                     5). Whether the effects of the “release of heating oil” are discovered and reported once or discovered and reported
                         over time as such effects become apparent;

                     6). The number of locations affected by the “release of heating oil”; or

                     7). The number of claims made.

                     Notwithstanding anything to the contrary in the Policy, the coverage provided by this endorsement is included within
                     the Policy Limit.

                c)   The following additional exclusions apply:

                     The Company will not pay:




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                     1) For any loss of business income or any expenses incurred due to interruption or reduction in business operations,
                        including any Time Element Coverages, even if the Policy includes such coverage;

                     2). For any other consequential loss, damage or costs; or

                     3). To replace any heating oil that was released.

                d) The Company will not pay for loss, damage or costs under this endorsement until the amount of loss, damage or costs
                   exceed $1,000. The Company will then pay the amount of loss, damage or costs in excess of $1,000 up to the
                   applicable limit, subject to all applicable provisions of A. above. This deductible applies whenever there is a “release
                   of heating oil” covered under this endorsement. No other deductible will apply to the coverage provided solely by
                   this endorsement.

                e)   When the “release of heating oil” results from a covered cause of loss, the following apply:

                     1) If the loss or damage described in A.a. 2) above is also covered under another coverage(s) in this Policy, then such
                        covered loss or damage will be settled in accordance with all applicable terms of that coverage and this
                        endorsement will not apply. Any deductible applicable to that coverage that is higher than $1,000 is recoverable
                        under this endorsement but not to exceed $50,000.

                     2) With respect to pollution of land and water, the costs addressed in A.a.1) above will be settled under the terms of
                        the Land and Water Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs
                        Coverage, and this endorsement will apply as excess if the amount of coverage available under the Land and Water
                        Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs Coverage is less than
                        $50,000.

                f)   Coverage applies only in response to a “release of heating oil” which an insured first discovers or learns of during the
                     current policy year and reports to the Company as soon as practicable. If the First Named Insured discovers or
                     learns of the “release of heating oil” during the policy year and reports it to the Company following the end of that
                     policy year, coverage will apply, provided this endorsement was in effect when the First Named Insured discovered
                     or learned of the “release of heating oil”, if the First Named Insured reported the “release of heating oil” to the
                     Company as soon as practicable.

        D. The following is added to SECTION VI. GENERAL POLICY CONDITIONS, OTHER INSURANCE:
           Except as provided in 1) below, if there is other insurance covering the same loss, damage or costs covered, the Company will
           pay only its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss, damage, or costs
           that the amount of insurance that applies under this endorsement bears to the total amount of insurance covering such loss,
           damage, or costs.

            1). If there is a service agreement covering the same loss, damage, or costs, this insurance is excess over any other
                amounts payable under the service agreement. If there is a government fund covering the same loss, damage, or costs, the
                Company will pay its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss,
                damage, or costs that the amount of insurance that applies under this endorsement bears to the total amount of insurance
                covering such loss, damage, or costs to the extent permitted by law.

        E. The following is added to SECTION VII. DEFINITIONS:

            Compliance means compliance with Massachusetts’s law governing release prevention, pursuant to applicable subsection (b) or
            (c) of section 38J of chapter 148 of the laws of Massachusetts.

            Personal property means property owned by you.

            “Release of heating oil” means both the release of and the threat of release of heating oil.

            Residential property means a one (1) to four (4) unit dwelling used for living or sleeping located in the Commonwealth of
            Massachusetts.

            Service Agreement means a fuel system service plan, property restoration plan, or similar service or warranty agreement, even
            if it is characterized as insurance




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            Tank means a liquid fuel tank in which heating oil is stored and from which heating oil is delivered or pumped through a fuel
            supply line to a device for burning oil in heating appliances, whether located within a residential property or other structure
            and installed at or below grade level, or located outdoors. Tank does not mean any underground tank, wherever located.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Maine

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

                Cancellation

                1) The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                   advance written notice of cancellation.

                2) The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                   cancellation which will not be effective prior to ten (10) days after the receipt by the First Named Insured of the
                   notice.

                3) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                   this Policy or any Endorsement attached thereto.

                4) Notice of cancellation will state the effective date of and reasons for cancellation. The Policy Period will end on that
                   date.

                5) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
                   less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
                   offered a refund.

                6) A post office certificate of mailing to the First Named Insured at the last known mailing address will be conclusive
                   proof of receipt of notice on the third calendar day after mailing.

                7) If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by
                   the Company, the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Fraud or material misrepresentation made by the Insured or with the Insureds consent in obtaining the Policy,
                         continuing the Policy or in presenting a claim under the Policy;

                    c.   Substantial change in the risk which increases the risk of loss after insurance coverage has been issued or renewed
                         including, but not limited to, an increase in exposure due to regulation, legislation or court decision;

                    d.   Failure to comply with reasonable loss control recommendations;

                    e.   Substantial breach of contractual duties, conditions or warranties; or

                    f.   Determination by the superintendent of insurance that the continuation of a class or block of business to which this
                         Policy belongs will jeopardize the Company's solvency or will place the Company in violation of the insurance
                         laws of Maine or any other state.

                Non-renewal

                    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
                    nonrenewal which will not be effective prior to thirty (30) days after the receipt by the First Named Insured of the
                    notice. A post office certificate of mailing to the First Named Insured at the last known address will be conclusive
                    proof of receipt of notice on the third calendar day after mailing.

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        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following:

                1) CONCEALMENT, MISREPRESENTATION OR FRAUD

                    The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it
                    relates to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time
                    intentionally conceal or misrepresent a material fact or make a false statement concerning:

                    a.   This Policy;

                    b.   The Covered Property;

                    c.   The Insured's interest in Covered Property; or

                    d.   A claim under this Policy.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                date of direct physical loss or damage to Covered Property or to other property as set forth herein.

        4.   SECTION VI – GENERAL POLICY CONDITIONS, JOINT LOSS, is deleted in its entirety.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Minnesota


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            1.   The following paragraph under SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, DUTIES IN
                 THE EVENT OF LOSS OR DAMAGE, is deleted in its entirety:

                 Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
                 any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
                 damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
                 attested to by a notary public or certified court reporter.

                 and replaced by the following:

                 Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
                 any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
                 damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
                 attested to by a notary public or certified court reporter. The Insured has the right to an attorney being present during nay
                 examination under oath. Any answers given may be used in future civil or criminal proceedings.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Mississippi


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                    No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                    Insured has fully complied with all the provisions of this Policy. Legal action must be started within three (3) years
                    after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Missouri


                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
             Cancellation:

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
                 least:

                     The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as
                     stated in the Declarations; or

                     The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in
                     the Declarations.

             and replaced by the following:

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation,
                 stating the actual reason for cancellation, at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium;

                     30 days before the effective date of cancellation if cancellation is for one or more of the following reasons:

                          Fraud or material misrepresentation affecting this policy or a claim filed under this Policy or a violation of any of
                          the terms or conditions of this Policy;

                          Changes in conditions after the effective of this Policy which have materially increased the risk assumed;

                          The Company becomes insolvent; or

                          The Company involuntarily loses reinsurance for this Policy.

                     60 days before the effective date of cancellation if the Company cancels for any other reason.

        2.   SECTION VI – General Policy Conditions, Cancellation/Non-Renewal, Nonrenewal is deleted in its entirety and replaced by the
             following:

                 Nonrenewal

                     The Company may elect not to renew this policy by mailing or delivering to the First Named Insured, at the last
                     mailing address known to the Company, written notice of nonrenewal, stating the actual reason for nonrenewal, at least
                     60 days prior to the effective date of the nonrenewal.

                     If notice is mailed, proof of mailing will be sufficient proof of notice.

        3.   SECTION VI – General Policy Conditions, Suit Against the Company is deleted in its entirety and replaced by the following:

                 The action must be brought within 10 years after the date on which the loss or damage occurred.




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        4. SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment is deleted in its entirety and
           replaced by the following:

            Loss Payment

                 In the event of a covered cause of loss, the Company will give the Insured notice, within 15 working days after the
                 Company receives a properly executed proof of loss, that the Company:

                     Accept your claim;

                     Denies your claim; or

                     Needs more time to determine whether the Insured’s claim should be accepted or denied.

                 If the Company denies the Insured’s claim, such notice will be in writing, and will state any policy provision, condition or
                 exclusion used as a basis for the denial.

                 If the Company needs more time to determine whether the Insured’s claim should be accepted or denied, the written notice
                 will state the reason(s) why more time is needed.

                 If the Company has not completed its investigation, the Company will notify the Insured again in writing, within 45 days
                 after the date the initial notice is sent informing the Insured that we need more time to determine whether the Insured’s
                 claim should be accepted or denied and thereafter every 45 days. The written notice shall state why more time is needed to
                 investigate the Insured’s claim.

            5.   The following is added to SECTION VI – GENERAL POLICY CONDITIONS, VALUATION:

                 If the Insured fails to notify the Company of their intent within the 2 year timeframe, such failure will not invalidate the
                 claim unless such failure operates to prejudice the Company’s rights.

            6.   The following is deleted from SECTION V- LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                 DISPOSAL:

                              When the Insured fails to give written notice of loss to the Company within 180 days after inception of the
                              loss.

                 and the following is added:


                              However, when the Insured fails to give written notice of loss to the Company within 180 days after inception
                              of the loss the maximum the Company will pay under this coverage is $25,000.



                                     ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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        Amendatory Endorsement - Montana


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

             CANCELLATION/NON-RENEWAL

                Cancellation

                    The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation.

                    If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
                    delivering to the First Named Insured written notice of cancellation at least:

                        Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                        Ten (10) days notice prior to the proposed cancellation date for any other reason.

                    If this Policy has been in effect for sixty (60) days or more, the Company may cancel this Policy by mailing or
                    delivering to the First Named Insured written notice of cancellation, prior to the expiration of the agreed term or
                    prior to one year from the effective date of the Policy or renewal, whichever is less, only for one or more of the
                    following reasons:

                        Failure to pay a premium when due;

                        Material misrepresentation;

                        Substantial change in the risk assumed, except to the extent that the Company should have reasonably foreseen the
                        change or contemplated the risk in writing the contract;

                        Substantial breaches of contractual duties, conditions or warranties;

                        Determination by the Commissioner of Insurance that continuation of the Policy would place us in violation of the
                        Montana Insurance Code; or

                        Such other reasons that are approved by the Commissioner of Insurance. If the Company cancels this Policy for
                        one of the reasons specified above, the Company may cancel this Policy by providing Ten (10) days notice before
                        the effective date of cancellation.

                    The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
                    Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the Policy,
                    such cancellation will be effective on the policy anniversary date.

                    The Company will mail or deliver notice to the First Named Insured's last mailing address known.

                    Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                    If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                    cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                    cancellation will be effective even if the Company has not made or offered a refund. However, when a financed


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                    insurance Policy is cancelled, the Company will send any refund due to the premium finance company on a pro rata
                    basis.

                Non-Renewal

                    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, at the
                    last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy. This Policy has
                    been written for a term of more than one year.

                    This non-renewal provision does not apply if the Insured has purchased insurance elsewhere, accepted replacement
                    coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.

        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following::

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
                to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
                or misrepresent a material fact or make a false statement concerning:

                    1. This Policy;

                    2. The Covered Property;

                    3. The Insured's interest in Covered Property; or

                    4. A claim under this Policy.

        3.   SECTION VI-GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
             following and supersede anything to the contrary:

                Any provisions required by Montana law to be included in policies issued by the Company shall be deemed to have been
                included in this Policy.

                If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
                provisions are required by Montana law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
                or deemed to include such provisions for Insured Locations within such jurisdictions.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Nebraska


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             CANCELLATION/NON-RENEWAL

                Cancellation

                    a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the
                         Company advance written notice of cancellation.

                    b) If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
                       delivering to the First Named Insured written notice of cancellation, stating the reasons for cancellation at least:

                         1) Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                         2) Sixty (60) days notice prior to the proposed cancellation date for any other reason.

                    c)   If this Policy has been in effect for sixty (60) days or more, or if this is a renewal, the Company may cancel this
                         Policy by mailing or delivering to the First Named Insured written notice of cancellation, only for one or more
                         of the following reasons:

                         1) Nonpayment of premium;

                         2) The Policy was obtained through material misrepresentation;

                         3) Any Insured has submitted a fraudulent claim;

                         4) Any Insured has violated the terms and conditions of this Policy;

                         5) The risk originally accepted has substantially increased;

                         6) Certification to the Director of Insurance of the Company's loss of reinsurance which provided coverage for
                            all or a substantial part of the underlying risk insured; or
                         7) The determination by the Director of Insurance that the continuation of the Policy could place the Company in
                            violation of the Nebraska Insurance Laws.

                         If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                         providing: Ten (10) days notice prior to the proposed cancellation date for non payment of premium or Sixty (60)
                         days notice prior to the proposed cancellation date for any other reason.

                    d) The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
                       Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the
                       Policy, such cancellation will be effective on the policy anniversary date.

                    e)   The Company will mail notice by first class mail to the First Named Insured's last mailing address known. A
                         United States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third
                         calendar day after the date of the certificate of mailing.

                    f)   Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.


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                      g) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the
                         Company cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than
                         pro rata. The cancellation will be effective even if the Company has not made or offered a refund.

                 Non-Renewal

                      The Company may non-renew this Policy. Written notice will be by first class mail to the First Named Insured, at the
                      last known address. Notice of non-renewal will be at least sixty (60) days before the expiration of this Policy. A United
                      States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third calendar day after
                      the date of the certificate of mailing.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             MISREPRESENTATION OR BREACH OF CONDITION OR WARRANTY

                 A misrepresentation or warranty made by the Insured or on the Insured's behalf in the negotiation of or application for this
                 coverage will void this Policy if:

                      1) It is material;

                      2) It is made with the intent to deceive to the Company's injury;

                      3) The Company relies on it; and

                      4) The Company is deceived to the Company's injury.

                 A breach of warranty or condition will void the Policy if such breach exists at the time of loss and contributes to the loss.

        3.   SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
             by the following:

             APPRAISAL

             If the Insured and the Company fail to agree on the value of the property or the amount of loss, upon mutual agreement, each
             will select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the claim. Each
             will notify the other of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal unless it
             has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage and has provided
             the Company with a signed and sworn statement of loss.

             The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
             within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
             appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
             They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
             item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

             If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash value
             and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or, if for
             Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two will
             determine the amount of loss.

             Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
             deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in whole
             or in part.

             The Insured and the Company will each pay its chosen appraiser and bear equally the other expenses of the appraisal and
             umpire.




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        4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

             When this policy is written to insure any real property in Nebraska against loss by fire, tornado, windstorm, lightning or
             explosion and the property insured shall be wholly destroyed, without criminal fault on the part of the Insured or the Insured
             assignee, the amount of the insurance written on such real property shall be taken conclusively to be the true value of the
             property insured and the true amount of loss and measure of damages




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Nevada


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

                1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation. The Company may cancel this Policy by mailing or delivering to the First
                    Named Insured written notice of cancellation at least:

                    a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                Policy or any Endorsement attached thereto.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
                refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

                If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                then cancellation terms or conditions will be as permitted by such laws.

                2). If this Policy has been in effect for seventy (70) days or more, or if it is a renewal of a Policy issued by the Company,
                    the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Conviction of the Insured of a crime arising out of acts increasing the hazard insured against;
                                                   c.
                    c.   Discovery of fraud or material misrepresentation in obtaining the Policy or in presenting a claim thereunder;

                    d.   Discovery of an act or omission or a violation of any condition of the Policy which occurred after the first
                         effective date of the current Policy, and substantially and materially increases the hazard insured against;

                    e.   A material change in the nature or extent of the risk occurring after the first effective date of the current Policy,
                         which causes the risk of loss to be substantially and materially increased beyond that contemplated at the time the
                         Policy was issued or last renewed;
                                                     d.
                    f.   A determination by the commissioner that continuation of the Company's present volume of premiums would
                         jeopardize the Company's solvency or be hazardous to the interests of the Company's Policyholders, creditors or
                         the public, or

                    g.   A determination by the commissioner that the continuation of the Policy would violate, or place the Company in
                         violation of, any provision of the code.

                3). If this Policy is written for a term longer than one year, the Company may cancel for any reason at an anniversary, by
                mailing or delivering written notice of cancellation to the First Named Insured at the last known mailing address at

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                    least sixty (60) days before the anniversary date. Notice of cancellation or non-renewal will be mailed, first class or
                    certified, or delivered to the First Named Insured at the last known mailing address and will state the reason for
                    cancellation or nonrenewal. The Company will also provide a copy of the notice of cancellation to the agent who wrote
                    the Policy.

                4). Non-renewal

                The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice at least sixty
                (60) days before the agreed expiration date. This non-renewal provision does not apply if the Insured has: accepted
                replacement coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.
                If notice is mailed, proof of mailing will be sufficient proof of notice.




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        Amendatory Endorsement - New York


        THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN NEW YORK. PLEASE READ
        IT CAREFULLY.

        1.   The following paragraph is deleted from Section III-property damage, exclusions:

                 Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic fusion,
                 radioactive force or radioactive material, whether in time of peace or war regardless of who commits the act.

             and replaced by the following:

                 Any weapon of war employing atomic fission, atomic fusion, radioactive force or radioactive material, whether in time of
                 peace or war regardless of who commits the act.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
             replaced by the following:

             Cancellation

                 a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                      advance written notice of cancellation.

                 b) For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the
                    First Named Insured written notice of cancellation at least:

                      1) Thirty (30) days before the effective date of cancellation if the Company cancels for any reason not included in
                         paragraph 2) below.

                      2) Fifteen (15) days before the effective date of cancellation if the Company cancels for any of the following reasons:

                            i)   Nonpayment of premium;

                            ii) Conviction of a crime arising out of acts increasing the hazard insured against;

                            iii) Discovery of fraud or material misrepresentation in the obtaining of the Policy or in the presentation of a
                                 claim;

                            iv) After issuance of the Policy or after the last renewal date, discovery of an act or omission, or a violation of
                                any Policy condition, that substantially and materially increases the hazard insured against, and which
                                occurred subsequent to inception of the current Policy period;

                            v) Material physical change in the property insured, occurring after issuance or last annual renewal anniversary
                               date of the Policy, which results in the property becoming uninsurable in accordance with the Company
                               objective, uniformly applied underwriting standards in effect at the time the Policy was issued or last renewed;
                               or material change in the nature or extent of the risk, occurring after issuance or last annual renewal
                               anniversary date of the Policy, which causes the risk of loss to be substantially and materially increased
                               beyond that contemplated at the time the Policy was issued or last renewed;

                            vi) Required pursuant to a determination by the Superintendent that the continuation of the Company's present
                                premium volume would jeopardize the Company's solvency or be hazardous to the interest of the Company's
                                policyholders, creditors or the public;




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                          vii) A determination by the superintendent that the continuation of the Policy would violate, or would place the
                               Company in violation of any provision of the Insurance Code; or

                          viii)Where the Company has reason to believe, in good faith and with sufficient cause, that there is a probable risk
                               of danger that the Insured will destroy, or permit to be destroyed, the insured property for the purpose of
                               collecting the insurance proceeds. If the Company cancels for this reason, the Insured may make a written
                               request to the Insurance Department, within 10 days of receipt of this notice, to review the cancellation
                               decision. Also, the Company will simultaneously send a copy of this cancellation notice to the Insurance
                               Department.

                          If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount of premium that
                          must be paid in order to avoid cancellation of the policy.

                c)   For Policies in effect for more than sixty (60) days, or if this Policy is a renewal or continuation of a Policy the
                     Company issued, the Company may cancel this Policy only for any of the reasons listed in paragraph 2) above,
                     provided the Company mails the First Named Insured written notice at least fifteen (15) days before the effective
                     date of cancellation. If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount
                     of premium that must be paid in order to avoid cancellation of the policy.

                d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                   this Policy or any Endorsement attached thereto and to the authorized agent or broker.

                e)   Notice of cancellation will state the effective date of and the reason for cancellation. The Policy Period will end on that
                     date.

                f)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                     cancels, the refund will be pro rata. If the premium is advanced under a premium finance agreement, the cancellation
                     refund will be pro rata. Under such financed policies, the Company will be entitled to retain a minimum earned
                     premium of 10% of the total policy premium or $60, whichever is greater. The cancellation will be effective even if the
                     Company has not made or offered a refund.

                g) If notice is mailed, proof of mailing will be sufficient proof of notice.

            Non-renewal

                a)   The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice along
                     with the reason for non-renewal.

                b) The Company may condition renewal this Policy upon:

                     1) Change of limits;

                     2) Change in type of coverage;

                     3) Reduction of coverage;

                     4) Increased deductible;

                     5) Addition of exclusion; or

                     6) Increased premiums in excess of 10% exclusive of any premium increase due to and commensurate with insured
                        value added or increased exposure units; or as a result of experience rating, loss rating, retrospective rating or
                        audit.

                c)   If the Company decides to non-renew this Policy or to conditionally renew this Policy as provided in paragraph b)., the
                     Company will mail or deliver written notice to the First Named Insured shown in the Declarations at least sixty (60)
                     days but not more than one hundred twenty (120) days before:

                     1) The expiration date; or


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                      2) The anniversary date, if this is a continuous Policy.

                 d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                    this Policy or any Endorsement attached thereto and to the authorized agent or broker.

                 e)   Notice will include the specific reason(s) for non-renewal or conditional renewal, including the amount of any
                      premium increase for conditional renewal and description of any other changes.

                 f)   If notice is mailed, proof of mailing will be sufficient proof of notice.

                 If the Company violates any of the provisions above by sending the First Named Insured an incomplete or late
                 conditional renewal notice or a late non-renewal notice coverage will remain in effect at the same terms and conditions of
                 this policy at the lower of the current rates or the prior period’s rates until 60 days after such notice is mailed or delivered,
                 unless the First Named Insured, during this 60 day period, has replaced the coverage or elects to cancel.

                 The Company will not send the Insured notice of non-renewal or conditional renewal if the Insured, the authorized agent or
                 broker or another insurer of the Insured mails or delivers notice that the Policy has been replaced or is no longer desired.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             SUIT AGAINST THE COMPANY

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                 date of direct physical loss or damage to Covered Property or to other property as set forth herein.


        4.   SECTION II – DECLARATIONS - POLICY LIMITS OF LIABILITY, Causation Definition is deleted in its entirety.

        5.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

             When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
             Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
             be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

             And replaced with the following:

             When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
             Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
             address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
             an endorsement. Any unearned premium due will be returned by the Company.

        6.   SECTION VII-DEFINITIONS, The following are deleted and replaced:

             Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s) caused
                     by:

             .        The unusual and rapid accumulation or runoff of surface waters, waves,     tides, tidal waves, tsunami, the release of
                      water, the rising, overflowing or breaking of boundaries of nature or man-made bodies of water; or the spray there
                      from all whether driven by wind or not; or

             .        Mudflow or mudslides caused by accumulation of water on or under the ground.

                      Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.



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             Flood also includes Storm Surge if shown on the declarations as part of Flood.

             And replaced with:

                     Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s)
                             caused by:

                             a). The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves,
                                 tsunami, the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                                 bodies of water; or the spray there from all whether driven by wind or not; or

                             b). Mudflow or mudslides caused by accumulation of water on or under the ground.

                             Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.

             Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                           Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                           comparable worldwide equivalent.

                              Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

             And replaced with:

             Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                           Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                           comparable worldwide equivalent.

        7.   SECTION VII- DEFINITIONS the following is deleted in its entirety:

             Storm Surge - A general and temporary condition of partial or complete inundation by salt water, caused by wind driven waves
             that result from a Named Storm, of normally dry land areas or structure(s) in coastal areas, bays or inland waters connected to
             an ocean or sea.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Ohio



                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
             replaced by the following:

             Cancellation

                 The First Named Insured shown in the policy declarations may cancel this policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 If the Insured’s policy has been in effect for more than 90 days, or is a renewal of a policy we issued, the Company may
                 cancel this policy only for one or more of the following reasons:

                     Nonpayment of premium;

                     Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                     submitted thereunder;

                     Discovery of a moral hazard or willful or reckless acts or omissions on an Insured’s part which increases any hazard
                     insured against;

                     The occurrence of a change in the individual risk which substantially increases any hazard insured against after the
                     insurance coverage has been issued or renewed, except to the extent the insurer could reasonably have foreseen the
                     change or contemplated the risk in writing the contract;

                     Loss of applicable reinsurance or a substantial decrease in applicable reinsurance, if the Superintendent has determined
                     that reasonable efforts have been made to prevent the loss of, or substantial decrease in, the applicable reinsurance, or
                     to obtain replacement coverage;

                     Failure of an Insured to correct material violations of safety codes or to comply with reasonable written loss control
                     recommendations; or

                     A determination by the Superintendent of Insurance that the continuation of the policy would create a condition that
                     would be hazardous to the policyholders or the public.

                 The Company will mail written notice of cancellation to the First Named Insured, and agent if any, at the last mailing
                 addresses known to us. Proof of mailing will be sufficient proof of notice.

                 The Company will mail notice of cancellation at least:

                     10 days before the effective date of cancellation, if the Company cancel for nonpayment of premium; or

                     30 days before the effective date of cancellation, if the Company cancels for any other reason.

                 The notice of cancellation will:

                     State the effective date of cancellation. The policy period will end on that date.




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                      Contain the date of the notice and the policy number, and will state the reason for cancellation.

                 Policies written for a term of more than one year or on a continuous basis may be cancelled by the Company for any reason
                 at an anniversary date, upon 30 day’s written notice of cancellation.

                 If this policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                 cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                 cancellation will be effective even if the Company have not made or offered a refund.

             Nonrenewal

                 If the Company elects not to renew this policy, the Company will mail written notice of nonrenewal to the First Named
                 Insured, and agent if any, at the last mailing addresses known to the Company. The notice will contain the date of the
                 notice and the policy number, and will state the expiration date of the policy.

                 The Company will mail the notice of nonrenewal at least 30 days before the expiration date of the policy.
                 Proof of mailing will be sufficient proof of notice.

        2.   SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, LOSS PAYMENT, the following is added:

             The Company will give you notice, within 21 days after the Company receives a properly executed, sworn statement of loss,
             that the Company:

                 Accepts the Insured’s claim;

                 Denies the Insured’s claim; or

                 Needs more time to investigate the Insured’s claim.

             If the Company needs more time to investigate the Insured’s claim, the Company will provide an explanation for the
             Company’s need for more time. The Company will continue to notify the Insured again in writing, at least every 45 days, of the
             status of the investigation and of the continued time needed for the investigation.

                 The Company will pay for covered cause of loss of or damage to covered property within:

                      Ten (10) days after the Company accepts your claim if such acceptance occurs within the first 21 days after the
                      Company receives a properly executed proof of loss, unless the claim involves an action by a probate court or other
                      extraordinary circumstances as documented in the claim file; or

                      Five (5) days after the Company accepts your claim if such acceptance occurs more than 21 days after the Company
                      receives a properly executed proof of loss, and

                          An appraisal award has been made; or

                          The Company has reached an agreement with you on the amount of loss that was in dispute.

        3.   SECTION VII – DEFINITIONS, Terrorist Activity is deleted in its entirety and replaced by the following:

             For the purposes of this endorsement Terrorist Activity shall include the following:

                1.    "Certified act of terrorism" which means an act that is certified by the Secretary of the Treasury, in concurrence with
                      the Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
                      Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of
                      terrorism" include the following:




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                    a.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                         subject to the Terrorism Risk Insurance Act;

                    b.   The act resulted in damage:

                             (1) Within the United States (including its territories and possessions and Puerto Rico); or

                             (2) Outside of the United States in the case of:

                                 (a) An air carrier (as defined in Section 40102 of title 49, United States Code) or United States flag
                                     vessel (or a vessel based principally in the United States, on which United States income tax is paid
                                     and whose insurance coverage is subject to regulation in the United States), regardless of where the
                                     loss occurs; or

                                 (b) The premises of any United States mission; and

                    c.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                         individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
                         the policy or affect the conduct of the United States Government by coercion.

               2.      "Non-Certified act of terrorism" which means a violent act or an act that is dangerous to human life, property or
                    infrastructure that is committed by an individual or individuals and that appears to be part of an effort to coerce a
                    civilian population or to influence the policy or affect the conduct of any government by coercion, and the act is not
                    certified as a terrorist act pursuant to the federal Terrorism Risk Insurance Act of 2002.

               3. Terrorist Activity which constitutes “Certified acts of terrorism” is not excluded in this policy, unless otherwise
                  endorsed.

               4. Terrorist Activity which constitutes “Non-Certified acts of terrorism” is not excluded in this policy, when it occurs in
                  the USA, its territories, possessions and missions, and the Commonwealth of Puerto Rico.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Oklahoma

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted and replaced by the
             following:

                1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation.

                The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
                least:

                    a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                Policy or any Endorsement attached thereto.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
                refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

                If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                then cancellation terms or conditions will be as permitted by such laws.

                2). If this Policy has been in effect for forty-five (45) business days or more, or after the effective date of a renewal of this
                    Policy, the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                         submitted under it;

                    c.   Discovery of willful or reckless acts or omissions by the Insured that increase any hazard insured against;

                    d.   The occurrence of a change in the risk that substantially increases any hazard insured against after insurance
                         coverage has been issued or renewed;

                    e.   A violation of any local fire, health, safety, building, or construction regulation or ordinance, with respect to any
                         covered property or its occupancy, that substantially increases any hazard insured against;

                    f.   A determination by the Insurance Commissioner that the continuation of the Policy would place the Company in
                         violation of the insurance laws of this state;

                    g.   The Insured's conviction of a crime having, as one of its necessary elements, an act increasing any hazard insured
                         against; or

                    h.   Loss of or substantial changes in applicable reinsurance.


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                3). Non-renewal

                    a.   If the Company decides to non-renew this Policy, the Company will mail or deliver written notice to the First
                         Named Insured shown in the Declarations at least forty-five (45) days before:

                           i).The expiration date; or

                           ii). The anniversary date of this Policy, if it is written for a term longer than one year or with no fixed
                              expiration date.

                    a.   The Company will mail or deliver notice to the First Named Insured's mailing address known to the Company.

                    b.   If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been given to
                         the First Named Insured on the day it is mailed.

                    c.   If notice of non-renewal is not mailed or delivered at least forty-five (45) days before the expiration date or an
                         anniversary date of this Policy, coverage will remain in effect until forty-five (45) days after notice is given.

                    d.   Earned premium for such extended period of coverage will be calculated pro rata, based on the rates applicable to
                         the expiring Policy.

                    e.   The Company will not provide notice of nonrenewal if the Company another company within the same insurance
                         group, has offered to issue a renewal Policy, or the Insured has obtained replacement coverage or has agreed in
                         writing to obtain replacement coverage.

                    f.   If the Company has provided the required notice of non-renewal as described in a). above, and thereafter extends
                         the Policy for a period of ninety (90) days or less, the Company will not provide an additional non-renewal notice
                         with respect to the period of extension.

                    g.   If the Company elects to renew this Policy, the Company will give written notice of any premium increase, change
                         in deductible, or reduction in limits or coverage, to the First Named Insured, at the last mailing address known to
                         the Company.

                          i). Any such notice will be mailed or delivered to the First Named Insured at least forty-five (45) days before the
                              expiration date of this Policy or the anniversary date of this Policy, if it is written for a term longer than one
                              year or with no fixed expiration date.

                            ii). If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been
                              given to the First Named Insured on the day it is mailed.

                            iii). If the First Named Insured accepts the renewal, the premium increase or coverage changes will be effective
                             the day following the prior policy's expiration or anniversary date.

                            iv). If notice is not mailed or delivered at least forty-five (45) days before the expiration date or anniversary
                             date of this Policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in
                             effect until:

                             a.) Forty-five (45) days after notice is given; or

                             b.) The effective date of replacement coverage obtained by the Insured; whichever occurs first. If the First
                                 Named Insured then elects not to renew, any earned premium for the resulting extended period of
                                 coverage will be calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.

                    h.   The Company will not provide notice of the following:




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                           i). Changes in a rate or plan filed with or approved by the State Board for Property and Casualty Rates or filed
                               pursuant to the Commercial Property and Casualty Competitive Loss Cost Rating Act and applicable to an
                               entire class of business; or
                         ii). Changes based upon the altered nature of extent of the risk insured; or
                         iii). Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an entire
                               class of business.

        2.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

                FRAUD WARNING

                1). Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for the proceeds
                    of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

        3.   SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                This Policy is voidable as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It is
                also voidable if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

                    This Policy;

                    The Covered Property;

                    The Insured's interest in Covered Property; or

                    A claim under this Policy.




        All other terms, conditions and limitations of this Policy remain unchanged.




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Reviewer: Carol M.




        Amendatory Endorsement - Rhode Island


                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - General Policy Conditions, Cancellation/Non-Renewal, Cancellation, is deleted in its entirety and replaced by
             the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured and agent, if any, written notice
                 of cancellation at least:

                            The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium,
                            as stated in the Declarations; or

                            The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated
                            in the Declarations.

                 The Company will mail or deliver notice to the First Named Insured's and agent’s, if any, mailing address shown in the
                 Declarations of this Policy or any Endorsement attached thereto.

                 Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                 If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. The Company will
                 compute the return premium pro rata and round to the next higher whole dollar if:

                            The Policy is cancelled at the Company’s request; or

                            The Policy is cancelled by us at the request of a premium finance company upon default of the first Named
                            Insured, when this policy is financed under a premium finance agreement.

                 If the First Named Insured cancels, the Company will return 90% of the pro rata unearned premium, rounded to the next
                 higher whole dollar. However, when such cancellation takes place during the first year of a multi-year prepaid policy, we
                 will return the full annual premium for the subsequent years. The cancellation will be effective even if the Company has
                 not made or offered a refund.

                 If notice is mailed, proof of mailing will be sufficient proof of notice.

                 If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                 then cancellation terms or conditions will be as permitted by such laws.




             All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - South Carolina


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI-CANCELLATION/NON-RENEWAL:

                 The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                 Policy or any Endorsement attached thereto.

             and replaced by the following:

                 The Company will mail or deliver notice to the First Named Insured's and agent's last known mailing address.

        2.   The following is added to SECTION VI-CANCELLATION/NON-RENEWAL:

             If this Policy has been in effect one hundred and twenty (120) days or more, or is a renewal or continuation of a Policy the
             Company issued, the Company may cancel this Policy only for one or more of the following reasons:

                 1) Nonpayment of premium;

                 2) Material misrepresentation of a fact, which, if known to the Company, would have caused the Company not to issue
                    the Policy;

                 3) Substantial change in the risk assumed, except to the extent that the Company should reasonably have foreseen the
                    change or contemplated the risk in writing the Policy;

                 4) Substantial breaches of contractual duties, conditions or warranties; or

                 5) Loss of reinsurance covering all or a significant portion of the particular Policy insured, or where continuation of the
                    Policy would imperil the Company's solvency or place the Company in violation of the insurance laws of South
                    Carolina.

             Prior to cancellation for reasons permitted in item 5). above, the Company will notify the Commissioner, in writing, at least
             sixty (60) days prior to such cancellation and the Commissioner will, within thirty (30) days of such notification, approve or
             disapprove such action.

             Any notice of cancellation will state the precise reason for cancellation.

        3.   SECTION VI-CANCELLATION/NON-RENEWAL, Non-Renewal is deleted in its entirety and replaced by the following:

             Non-Renewal

                 The Company may non-renew this Policy by mailing or delivering to the First Named Insured and the agent, written
                 notice, at the last known address, of non-renewal at least:

                      Sixty (60) days if non-renewal is effective between November 1 and May 31; or

                      Ninety (90) days if non-renewal is effective between June 1 and October 31;

                 before:

                      The expiration date of this Policy, if the Policy is written for a term of one year or less; or
                      An anniversary date of this policy, if the policy is written for a term of more than one year or for an indefinite term.


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                However, the Company will not refuse to renew a policy issued for a term of more than one year, until expiration of its full
                term, if anniversary renewal has been guaranteed by additional premium consideration. Any notice of non-renewal will state
                the precise reason for non-renewal. If notice is mailed, proof of mailing will be sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.




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Reviewer: Carol M.




        Amendatory Endorsement - South Dakota


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
             Cancellation:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations; or

                 The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                 Declarations.

             and replaced with:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least the greater of:

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
                 premium, as stated in the Declarations; or

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for any other
                 reason, as stated in the Declarations.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             SUIT AGAINST THE COMPANY

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within seventy-two (72)
                 months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Tennessee


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is added to Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL:

                1). If this Policy has been in effect for sixty (60) days or more, or if this Policy is a renewal of a Policy the Company
                    issued, this Policy may be cancelled only for one or more of the following reasons:

                    a.   Nonpayment of premium, including any additional premium, calculated in accordance with the Company's current
                         rating manual, justified by a physical change in the insured property or a change in the insured property or a
                         change in its occupancy or use;

                    b.   The Insured's conviction of a crime increasing any hazard insured against;

                    c.   Discovery of fraud or material misrepresentation on the part of either of the following;

                         i). The Insured or Insured representative in obtaining this insurance; or

                         ii). The Insured in pursuing a claim under this Policy.

                    d.   Failure to comply with written loss control recommendations;

                    e.   Material change in the risk which increases the risk of loss after the Company issued or renewed insurance
                         coverage;

                    f.   Determination by the insurance commissioner that the continuation of the Policy would jeopardize the Company’s
                         solvency or would place the Company in violation of the insurance laws of Tennessee or any other state;

                    g.   The Insured's violation or breach of any Policy terms or conditions; or

                    h.   Other reasons that are approved by the insurance commissioner. Notice of Cancellation will state the reason for
                         cancellation.

        2.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety and replaced
             by the following:

                1). If the Company decides not to renew this Policy, the Company will mail or deliver written notice of non-renewal to the
                    first Named Insured and agent, at least sixty (60) days before the expiration date unless:

                    a.   The Company has offered to issue a renewal Policy; or

                    b.   The Insured has obtained replacement coverage or has agreed in writing to obtain replacement coverage.

                    c.   Any notice of non-renewal will be mailed or delivered to the first Named Insured's and agent's addresses shown in
                         the Policy. If notice is mailed, proof of mailing will be sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.


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        Amendatory Endorsement - Vermont


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             CANCELLATION/NON-RENEWAL

             Cancellation

                 a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                      advance written notice of cancellation.

                 b) If this Policy has been in effect for less than sixty (60) days and this Policy is not a renewal of a Policy the Company
                    issued, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                    cancellation at least:

                      1) Fifteen (15) days notice prior to the proposed cancellation date for non payment of premium or substantial increase
                         in hazard; or

                      2) Forty-five (45) days notice prior to the proposed cancellation date for any other reason.

                 c)   If cancellation is for nonpayment of premium, written notice may be sent by certified mail. If cancellation is for any
                      reason other than nonpayment of premium, written notice must be sent by certified mail.

                 d) If this Policy has been in effect for sixty (60) days or more, or if this is a renewal of a Policy the Company issued, the
                    Company may cancel this Policy only for one or more of the following reasons:

                      1) Nonpayment of premium;

                      2) Fraud or material misrepresentation affecting this Policy or in the presentation of claims under this Policy;

                      3) Violation of any provisions of this Policy; or

                      4) Substantial increase in hazard, provided the Company has secured approval for the cancellation from the
                         commissioner of insurance.

                      If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                      mailing or delivering at least:

                      1) Fifteen (15) days notice before the effective date of cancellation for nonpayment of premium; or

                      2) Forty-five (45) days notice before the effective date of cancellation for any other reason.

                 e)   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

                 f)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                      cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
                      less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
                      offered a refund.

                 g) If notice is mailed, proof of mailing will be sufficient proof of notice.



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             Non-Renewal

                 a)   The Company may non-renew this Policy by mailing, certified mail, or delivering to the First Named Insured written
                      notice, at the last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy or the
                      anniversary date of this Policy, if this Policy has been written for a term of more than one year.

                      This non-renewal provision does not apply if the Company has indicated a willingness to renew, in case of nonpayment
                      of premium, or if the Insured does not pay any advance premium required for renewal.

                      If the Company fails to mail or deliver proper notice of non-renewal, this Policy will end on the effective date of any
                      other Policy with respect to property designated in both policies.

                 b) If the Company elects to renew this Policy and has the necessary information to issue a renewal Policy, the Company
                    will confirm in writing at least forty-five (45) days before the Policy expires the intention to renew this Policy and the
                    premium at which this Policy will be renewed.

                      If the Company fails to comply with this provision, the Insured will have renewal coverage. The renewal coverage will
                      be at the rates in effect under the expiring or expired Policy or in effect on the expiration date, that have been approved
                      by the Commissioner, whichever are lower. This renewal coverage will be on a pro rata basis and will continue for
                      forty-five (45) days after the Company confirms renewal coverage and premium. If the Insured accepts this renewal
                      Policy, this paragraph does not apply.

        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                 The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
                 to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
                 or misrepresent a material fact or make a false statement concerning:

                      a)   This Policy;

                      b) The Covered Property;

                      c)   The Insured's interest in Covered Property; or

                      d) A claim under this Policy.

        3.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE
             COMPANY:

             The Insureds' right to bring legal action against the Company is not conditioned upon compliance with the Appraisal Condition
             of this Policy.

        4.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                 The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
                 statement of loss, if the Insured has complied with all the terms of this Policy; and

             and replaced by the following:

                 We will pay for covered loss or damage within ten (10) working days after we receive the sworn statement of loss, if you
                 have complied with all the terms of this Policy; and


        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Washington


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION III - PROPERTY DAMAGE, EXCLUSIONS:

             3.03.03.             This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting from any
                                  of the following regardless of any other cause or event, whether or not insured under this Policy,
                                  contributing concurrently or in any other sequence to the loss:

             and replaced with:

             3.03.03.              The Company will not pay for loss or damage caused by any excluded event described below. Loss or
                                  damage will be considered to have been caused by an excluded event if the occurrence of that event
                                  directly and solely results in loss or damage; or initiates a sequence of events that results in loss or
                                  damage, regardless of the nature of any intermediate or final event in that sequence.

        2. When the following appears in CONTINGENT TIME ELEMENT, FINE ARTS, LAND IMPROVEMENTS,OFF PREMISES
           SERVICE INTERUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS, TENANTS PROHIBITED ACCESS and
           NEW CONSTRUCTION AND ADDITIONS, it will be deleted.

                                  "regardless of any other cause or event, whether or not insured under this Policy, contributing
                                  concurrently or in any other sequence to the loss."

             and replaced with:

                                  The Company will not pay for loss or damage caused by an excluded event described below. Loss or
                                  damage will be considered to have been caused by such excluded event if the occurrence of that event
                                  directly and solely results in loss or damage; or initiates a sequence of events in loss or damage,
                                  regardless of the nature of intermediate or final event in that sequence.

        3. The following is added to SECTION III - PROPERTY DAMAGE, EXCLUSIONS, 3.03.03.04.:

                                  This exclusion does not apply to acts of direct physical loss or damage resulting from an act of domestic
                                  abuse caused by another insured under the policy if such loss is an otherwise covered property loss and
                                  the insured making claim: files a police report, cooperates with any law enforcement investigation relating
                                  to the act of domestic abuse and did not cooperate in or contribute to the creation of the loss.

        4. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
           Cancellation:

                                  The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to
                                  the Company advance written notice of cancellation.

             and replaced with:

                                  The First Named Insured shown in the Declarations may cancel this Policy. The insured may provide
                                  notice before the effective date of cancellation using one of these methods:

                                     (i) Written notice of cancellation to the insurer or producer by mail, fax or e-mail;




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                                      (ii) Surrender of the policy or binder to the insurer or producer; or

                                      (iii) Verbal notice to the insurer or producer.

                                   If the insurer receives notice of cancellation from the insured, it must accept and promptly cancel the
                                   policy or any binder issued as evidence of coverage effective the later of:

                                      (i) The date notice is received; or

                                      (ii) The date the insured requests cancellation.

        5. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
           Cancellation:

                                   Notice of cancellation will state the reason for cancellation.

                                   The Company will send written notice of cancellation to each mortgagee, pledge or other person shown
                                   by the Policy to have an interest in any loss which may occur.

        6.    SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its
              entirety and replaced by the following:

                                   Non-renewal

                                   The Company may non-renew this Policy by mailing or delivering to the First Named Insured written
                                   notice, Forty-Five (45) days before the non-renewal. Notice of non-renewal will state the reason for
                                   non-renewal.

        7. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, INSPECTIONS AND SURVEYS:

                                   However, this condition does not apply to any inspections, surveys, reports or recommendations the
                                   Company may make relative to certification under state or municipal statutes, ordinances or regulations
                                   referenced above.

        8. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, OTHER INSURANCE:

                                   The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                                   attach in absence of this insurance; except that this insurance shall apply only as excess, Difference in
                                   Conditions/Difference in Limits and in no event as contributing insurance, and then only after all other
                                   insurance has been exhausted.

             and replaced with:

                                   The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                                   attach in absence of this insurance; except that this insurance shall apply only as pro rata contributing
                                   insurance.

        9. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

                                   The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                                   Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                                   depreciation) with materials of like kind, quality and capacity at the same or another site, but no more
                                   than the lesser of:

              and replaced by the following:




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                                 The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                                 Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                                 depreciation) with new materials of like kind, quality and capacity at the same or another site, but no
                                 more than the lesser of:

        9.   Section VI-General Policy Conditions, LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
             OBLIGATIONS is deleted in its entirety.

        10. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, APPRAISAL:

                                 The Company further retains its right to deny the claim in whole or in part.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - West Virginia


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
             by the following:

             APPRAISAL

                 In case the Insured and the Company fails to agree as to the actual cash value of the amount of loss, then on the written
                 demand of either party, each shall select a competent and disinterested appraiser and notify the other appraiser selected
                 within twenty (20) days of such demand. The appraiser shall first select a competent and disinterested umpire; and failing
                 for fifteen (15) days to agree upon such umpire, then either on the Insured’s or the Company’s request, such umpire shall
                 be selected by a judge of a court of record in the state in which the property covered is located. The appraisers shall then
                 appraise the loss, stating separately actual cash value and loss as to each item; and, failing to agree, shall submit their
                 differences only, to the umpire. An award in writing, so itemized, of any two when filed with this Company shall
                 determine the amount of actual cash value and loss. Each appraiser shall be paid by the parties equally.

        2.   The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
             Payment:

                 The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
                 statement of loss, if the Insured has complied with all the terms of this Policy; and

                     The Company has reached agreement on the amount of loss; or

                     An appraisal award has been made...

             and replaced by the following:

                 The Company will pay for loss of or damage to Covered Property within fifteen (15) days after we receive the signed,
                 sworn statement of loss if the Insured has complied with all the terms of this Policy and the Company has reached
                 agreement with the Insured on the amount of loss.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
           its entirety and replaced by the following:

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                 date of direct physical loss or damage to Covered Property or to other property as set forth herein.


             All other terms, conditions and limitations of this Policy remain unchanged.




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Reviewer: Carol M.




        Amendatory Endorsement - Wisconsin



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   Section VI-General Policy Conditions, Loss Conditions, Subrogation, is deleted in its entirety and replaced by the following:

             SUBROGATION

                     The Insured is required to cooperate in any subrogation proceedings. To the extent of the Company's payment, the
                     Insured's rights of recovery against any party are transferred to the Company.

                     The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss, nor will such waiver
                     affect the Insured's rights under this Policy.

                     The Company will be entitled to any recovery from subrogation proceedings only after the First Named Insured has
                     been fully compensated for Damages.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Wyoming


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - General Policy Conditions, Suit Against The Company is replaced in its entirety by the following:

             No one may bring a legal action against the Company under this Policy unless:

             All of its terms have been complied with; and, the action is brought within 4 years beginning from the date on which the direct
             physical loss or damage was discovered.

        2.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
             following:

             The Company will be entitled to recovery only after the insured has been fully compensated for the deductible amount, without
             any deduction for expenses of collection, out of any recovery on the subrogated claim, before any part of the recovery is applied
             to any other use. If the amount of the deductible exceeds the recovery, the insurer shall pay only the amount of the recovery to
             the insured.

        3.   The following is deleted from Section VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                                   The Company will pay for covered loss or damage within thirty (30) days or as required by law, after
                                   receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy; and

             And replaced with:

                                   The Company will pay for the undisputed covered loss or damage within forty-five (45) days, after
                                   receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy.

                          All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                           EDGE-251-A (02/11)
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        Amendatory Endorsement - Virginia


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION V-FIRE DEPARTMENT SERVICE CHARGE is replaced by the following:


             The Company will pay for the reasonable additional expenses, resulting from costs of fire extinguishing materials expended,
             incurred by the Insured when the Fire Department is called to save or protect Covered Property from a Covered Cause of Loss
             at an Insured Location. The Fire Department Service Charges are those assumed by contract or agreement prior to loss or
             damage or required by local ordinance.

             If the charges are billed to the Insured by a volunteer fire department, the Company will pay for the volunteer fire department
             service charges, provided that the volunteer fire department is not fully funded by real estate taxes or other property taxes.

             The most the Company will pay under this Additional Coverage at any one covered property, in any year beginning on the date
             coverage for such covered property was effective, is the greater of $250 or the Limit of Insurance shown in the Declarations for
             Fire Department Service Charge. The Limit for this Additional Coverage is in addition to the applicable Limit of Insurance
             shown in the Declarations for that covered property.




        All other terms, conditions and limitations of this Policy remain unchanged.




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          Change Endorsement
          Limited Coverage for Electronic Data, Programs or Software
                                                                                                                                             Q
                                                                                                                                           ZURICH“
          Certiﬁcates 0f Insurance
          Loss Adjustment/Payable


           Insured   Name                                                    Number
                                                                        Policy                            Effective Date          Endorsement Number
           Johnson    & Wales University                                ERP98 1 9903 -05                  05/0 1/2019             01




                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
          This Endorsement modiﬁes insurance provided under the Policy identiﬁed above.


               A.    Section 5.02.04.01.01      is   deleted.
               B.    Clause    CERTIFICATES OF INSURANCE                    is   deleted and replaced with the following:


                                  CERTIFICATES OF INSURANCE

                     Any  certiﬁcate of insurance issued in connection with this Policy is provided solely as a matter 0f convenience 0r
                     information for the addressee(s) or holder(s) of such certiﬁcate of insurance, except as provided under the Policy when a
                     Loss Payee(s) or M0rtgagee(s) are named. The certiﬁcate of insurance does not amend, extend or alter the coverage afforded
                     by the   Policy.


                     In the event this Policy is cancelled pursuant to the Cancellation subsection other than for nonpayment of premium, and
                     except as provided otherwise, the Company shall provide a notice t0 those entities set out in the certiﬁcates of insurance,
                     that   have been provided to the   Company in accordance with this Endorsement, within 30 days after notifying the First
                     Named Insured that the Policy      has been cancelled. Such entities Will be provided tothe Company, in the format requested
                     by the Company within 10 days of such request, by the Producer. However, in n0 event will failure to provide notice to
                     entities set out in any certiﬁcate 0f insurance provide such entities with rights broader than those 0f the Named Insured.


                     The Company hereby authorizes the Producer named on the Policy                      to issue certiﬁcates   of insurance consistent with the
                     foregoing.


                     Clause    LOSS ADJUSTMENTE’AYABLE is deleted and replaced with the                      following:


                                  LOSS ADJUSTMENT/PAYABLE

                     Loss, if any, will be adjusted with and payable to the First               Named   Insured as shown on     this Policy, or as directed   by the
                     First    Named Insured.

                     When a Lender        or Mortgagee     is   named   in the certiﬁcates    of insurance on ﬁle with the Company, the Lender 0r Mortgagee
                     will   be included   in loss   payment     as their interests   may   appear.


                     When     a Loss Payee is named in the certificates 0f insurance 0n ﬁle with the Company, the Loss Payee Will be included in
                     loss   payments made to the insured as their interests may appear. The Loss Payee has no other rights under the policy.

                     When an additional insured is named in the certiﬁcates 0f insurance on ﬁle with the Company, the additional insured Will
                     be included in loss payment as their interests may appear.

          All other terms, conditions and limitations 0f this Policy remain unchanged.




                                                                                                                                              EDGE-309-A (03/12)
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           Policy Changes Endorsement
                                                                                                                                                              9
                                                                                                                                                            ZURICH

           Insureds   Name                                                                                Policy   Number                 Effective Date         Endorsement Number

           Johnson     & Wales University                                                                       ERP9819903-05              OSIOU20I9                         02


                                PFlO DUCE H N0.                                        N0 CHANGE   IN   PREMIUM                  ADD ITIONAL PREMIUM              RETURN PREMIUM

                                                                                       T0 ADJUST PREMIUM AT AUDIT
                                62547000                                                                                                NA                             NA

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           This endorsement modiﬁes insurance provided under your policy as indicated bclow. The modiﬁcation(s)                                            may   result in a   change   in
           the   premium     as indicated above.

                                                                                        Type(s) of Change(s)

                  Name       of Insured                                                                            Mailing Address of Insured
           _5     Poli cy    Number                                                                                Company
           _      EffectivelExpiration Date                                                                        Legal Status 0f Insuredeusiness of Insured
                  Payment Plan                                                                                     Premium Determination
           -‘.
                  Additional Interested Parties                                                                    C(wemge Forms and Endorsements
                  Li mitlex posures                                                                                Deductibles
           '_
                  Covered Propertnyocation Description                                                   '__'
                                                                                                                   Classiﬁcatiom’Class Codes
                  Rates                                                                                            Underlying Insurance


                                                                                            CHANGE {SI
                                      It is   hereby agreed and understood that the following changes are made                                to the policy:


           The following coverage             is   added   to Section   5.02      DESCRIPTION 0F SPECIAL COVERAGES


                        5.02.34.       EMERGENCY VACATING EXPENSE:

                                       This policy         is   extended to cover the reasonable and necessary vacating expenses incurred by the Insured when
                                       an authorized governmental agency or other similar authority orders the emergency evacuation                                    of:



                                       l) Residents, tenants;           or


                                       2) Lawful occupants;


                                       From an        insured location as a direct result of immediately impending direct physical loss or                         damage of the
                                       type insured by this policy.


                                       No coverage is provided               if   the evacuation results from:


                                       1)   A planned evacuation drill;




                                                                                                                                                             EDGE       sos—A (06:03)
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                               2) Evacuation of any resident. tenant, or lawful occupant because of an actual or suspected medical
                               condition(s); or


                               3)   A false alarm


                               This coverage has a deductible of $250,000 and       is limited lo   $2,500,000   in the   Annual Aggregate.




           All other terms, conditions   and   limitations of this Policy   remain unchanged.

             Signature of Authorized Representative

             X
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           Policy Changes Endorsement
                                                                                                                                                        9
                                                                                                                                                      ZURICH

           Insureds   Name                                                                           Policy   Number                Effective Date         Endorsement Number

           Johnson     & Wales University                                                                ERP9819903—05                  05mli20l9                      03


                                PRODUCER N0.                                  N0 CHANGE   IN   PREMIUM                      ADDrrIONAL PREMIUM              RETURN PHEMtUM
                                                                     X
                                62547000                             E—i
                                                                              T0 ADJUST PREMIUM          M AUDIT                    _                              _




                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           This endorsement modiﬁes insurance provided under your policy as indicated bclow. The modiﬁcation(s)                                      may   result in a   change   in
           the   premium     as indicated above.

                                                                               Type(s) of Change(s)

                  Name       of Insured                                                                       Mailing Address of Insured
           _E     Poli cy    Number                                                             L             company
           _      EffectivelExpiration Date                                                                   Legal Status 0f Insuredeusiness of Insured
                  Payment Plan                                                                                Premium Determination
           -‘.
                  Additional Interested Parties                                                               Coverage Forms and Endorsements
                                                                                                ><>¢

                  Limitlexposures                                                                             Deductibles
                                                                                                     '


           '_
                  Covered Propertnyocation Description                                          '_

                                                                                                              Classiﬁcatiom’Class Codes
                  Rates                                                                                       Underlying Insurance


                                                                                   CHANGE {SI
                                     It is   hereby agreed and understood that the following changes are made                             to the policy:


           Effective    SﬂJUZ019      -   Section 5.02. 18.0 1. has been dckctcd from the Zurich                EDGE    IOO-B policy form:


                 5.02.1 8‘01.                      As   respects lawns, plants, shrubs or trees direct physical loss or                 damage   directly or indirectly     caused
                                                   by or resulting from Earthquake. Flood. or Named Storm regardless of any other cause or event,
                                                   whether or not insured under this Policy, contributing concurrently or in any other sequence to the
                                                   loss is excluded.


           Effective 5(01f2019        -   Section 5.02.3   l.   Valuable Papers and Records of the Zurich               EDGE     lOO—B policy form has been amended as
           follows:


                 5.02.31.                      VALUABLE PAPERS AND RECORDS
                                               The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss to
                                               Valuable Papers and Records at an Insured Location. For all Valuable Papers and Records, the
                                               Company     will   pay for the value of the blank personal property, and the Insured's reasonable and
                                               necessary costs incurred to research, replace 0r restore the information lost or                   damaged      thereon.




                                                                                                                                                        EDGE      303-A (06:08)
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                                                           Except:


                                                           For Electronic Data andfor Program (Software), the Company                     will   pay    for the value t0 replace 0r
                                                           repair    Media, and the cost   to restore   Electronic Data andfor       Program (Software)                including the costs
                                                           t0 rc-create research   and engineer.


                                                           This Coverage does not apply to loss or damage to property that cannot be repaired or restored with like
                                                           kind or quality.


           Effective             5m1ﬂﬂl9 - The             following provisions are hereby attached to and           made    part of this Policy:


                                                                                           Aggregate Deductible

           1.       It is    agreed the total deductible requirements 0f                 this policy is to   be no more than       1%   0f the total direct damage insured values
                    reported by the                Namad Insured to the Company as of the effective                date of this policy.   The 1% aggregate deductible              retention
                    for the period               of May I, 2019 t0 May 1,2020 is $1 2,490,430.


           2.       In order t0 maintain the deductible aggregate retention of $12,490,430, the                             Named   Insured shall report         all   insured losses to the
                    Company                as   soon   as practicable.   The Company    shall accept    a notarized afﬁdavit from an ofﬁcer of the              Named      Insured as proof
                    of the total dollar amount of the logs. Losses caused by or resulting from the peril of Named                                Windstorm       in    Florida and Flood at
                    all   locations shall not contribute to the above aggregate amount.


           3.       Expense of Subrogation                     -   Annual Aggregate Deductible


                            a.     The amount of expense                necessarily incuned in the subrogation for propeny lost or           damaged          shall    be considered as pan
                                   of the loss for the purposes of determining the annual aggregate deductible speciﬁed                                in   paragraph (l) above, but not
                                   for an         amount   in excess     of the amount by which the loss     is   reduced by such subrogation           activities.



                          b.       When,           in connection with       any loss or damage     to preperty insured hereunder,          any subrogation or any other right of
                                   recmrery the           Named      Insured might have against a third party       is   received subsequent     to:



                                   1   .        application of the loss toward the annual aggregate deductible speciﬁed in paragraph (l) above, and.


                                   2.           payment 0f such claim; such recovery        shall not require      re-computation of the per occurrence and annual aggregate
                                                deductibles.


           4.       In the event of cancellation of this policy by the                        Company, except            cancellation for non-payment of premium, the annual
                    aggregate deductible shall be computed on a pro rata basis predicated on that portion 0f the policy year that has lapsed up to
                    the date such cancellation                becomes effective. If losses assumed by the Insured exceed the amount that would have been
                    sustained              if   camputed on such a pro rata basis, the Company shall promptly pay the Insured their share of the difference
                    between the                 assumed losses and the pro rata amount. Cancellation by the Named Insured shall not result in any adjustment of
                    the annual aggregate deductible.




           All other terms, conditions                       and     limitations of this Policy   remain unchanged.

                Signature of Authorized Representative

                X




                                                                                                                                                                      EDGE   303-A (06MB)
                                                                                                                                                                               Page 2 of 2
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          Better      Green                  -
                                                 Additional            Green & Improvement Coverage
                                                                                                                                                   9
                                                                                                                                                 ZURICH
          Insureds   Name                                                                 Policy    Number                   Effective Date         Endorsement
                                                                                                                                                   Number
          Johnson and Wales University                                                    ERP98 l 9903-05                   052’01f2019            04




               THIS       ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          This Endorsement modiﬁes insurance provided under the policy.


          A.    SECTION [I-DECLAR ATIONS                       is   revised as follows:


                     2.03.06      Limits of Liability         is    revised to add the following:


               $2,500,000                                               INDOOR AIR QUALITY TESTING
               $2,500,000                                               EXISTING GREEN
               $2,500,000                                               ENHANCED UPGRADE COVERAGE:
               Provided                                                 ENHANCED UPGRADE COVERAGE                     Additional     Time Element


          B.    SECTION III-PROPERTY DAMAGE,                             3.02   PROPERTY NOT COVERED.            3.02.06   is   revised to add the following:


                0302.06.03        Any       vegetative roof as part of Additional Green         & Improvements Coverage.
          C.    SECTION V-SPECIAL COVERAGES                              & DESCRIBED CAUSES 0F LOSS 5.02                 Description of Special Coverages are
                revised t0 add the following:


                     INDOOR AIR QUALITY TESTING

                                 within Cavemd Property changes due to direct physical loss of or damage caused by a Covered Cause of Loss
                     If air quality

                     toCovered Property, then this Policy covers, the cost incurred of Indoor Air Quality Testing but no more than the limit
                     previded for this caverage. This Coverage excludes costs recoverable eisewhere in this Policy.


                     EXISTING GREEN

                     Each of the following are provided when the building or structure at a Scheduled Location is LEED®. Green Globes
                     0r foreign equivalent certiﬁed but no more than the limit provided for this coverage. This Coverage excludes costs
                     recoverable elsewhere              in this Policy.



                     l.    Air Quality           Management

                          If Air quality within Covered Property is changed due to direct physical loss of or damage caused by a Covered Cause
                          01’   Loss  Cuvered Preperty, then this Policy covers, the cost of LEED®, Green Globes
                                       L0                                                                            or foreign equivalent
                          certiﬁed air ﬂush-ou: procedure on the insured building or structure‘ This also covers the additional cost to replace
                          all air ﬁlters except those that have been processing only outside air.



                     2.    LEED®, Green Globes                       or Foreign Equivalent Coverage


                          This Policy covers the reasonable and necessary costs incuned. due t0 direct physical loss of or                 damage caused by a
                          Covered Cause of Loss t0 Covered Property,                  t0 return the insured to the   same pre-loss   point stams or equivalent level.
                          This includes but        is   not limited lo certiﬁcation fees, accredited professional fees and engineering fees.
                     3.   Additional        Time Element Coverage


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                       The Company         will   pay the increase           in   expenses, resulting from the loss of government subsidized ﬁnancial
                       incentives, utility cost credits, reduced loan rates          compared to other borrowers or other incentives, due to the direct
                       physical loss of or        damage     to   Covered Property caused by a Covered Cause of Loss, during the Period of Liability
                       until [he earlier 0f:



                       a).    The date any government subsidized ﬁnancial incentive, a utility cost credit, reduced loan rate compared to other
                              borrowers or other incentive arc reinstated lo the terms that existed prior lo the loss if still available; or


                       b).    The end of the Gross Proﬁts Period of Liability                  or Gross Earnings Extended Period of Liability as      shown     in this
                              policy.


                  ENHANCED UPGRADE COVERAGE

                  Each of the following are provided Lo a building or structure at a Scheduled Location when a Limit of Liability is shown
                  for this coveragc‘ The Campany will reimburse §% 0f the net PD loss that would have existed if ENHANCED
                  UPGRADE COVERAGE was not provided. For amounts incurred in excess 0f the §%, the Company will reimburse an
                  additional $570 0f lhc amount incurmd for enhancements under this clause, up l0 Q96 0f the net PD 1055 that would have
                  existed if ENHANCED UPGRADE COVERAGE was not provided or the Limit of Liability for this Coverage,
                  whichever is less. This Coverage excludes costs recoverable elsewhere in this Policy.


                  1.   Interior and Exterior Finish Materials                     Upgrade

                       This Policy covers the actual costs incurred by the Insured to upgrade interior and exterior ﬁnishes including
                       Improvements and Betterments, that have been physically damaged by a Covered Cause of Loss, with products,
                       building features or building techniques from one or more of the following standards:


                       a).   LEED®;
                       b).   Green Globes              ;



                       c).   ENERGY STAR®;or
                       d).   The   Life Safety Code, National Fire                 Alarm Code, Automatic    Fire Sprinkler Installation   Code   as developed   by the
                             National Fire Protection Association or similar safely standards.


                       If the   Scheduled Location           is   outside 0f the United States and the above standards are not recognized, an equivalent
                       nationally recognized and applicable standard related to;                    impmving   the environment. increasing efﬁciency. or
                       enhancing safety will apply.               If   the   non-US    location has no such standard dealing with environmental      improvement or
                       safely, the    US   standards       mcmiOncd above            will apply.


                  2.   Mechanical Systems Upgrade


                       This Policy covers the actual costs incun'ed by the Insured to upgrade mechanical systems including                   Improvements and
                       Betterments, which have been physically damaged by a Covered Cause of Loss, with products, building features or
                       building techniques from one or more of the following standards:


                       a).   LEED®;
                       b).   Green Globes          ;


                       c).   ENERGY STAR®;or
                       d).   The    Lifc Safely Code, National Fire                 Alarm Code. Automatic   Fire Sprinkler Installation   Code   as developed by the
                             Naliona! Fire Protection Association or similar safety standards.


                       If the   Scheduled Location           is   outside of the United States and the above standards arc not recognized, an equivalent
                       nationally rec0gnized and applicable standard related to: improving the environment, increasing efﬁciency, or
                       enhancing safely will apply.               If the     non—US    localian has n0 such standard dealing with environmental      imprnvement or
                       safety, the    US   standards mentioned above will apply.


                  3.   Personal Property Upgrade


                       This Policy covers the actual costs incurred by the Insured to upgrade Personal Property, which has been physically
                       damaged by a Covered Cause of Loss. with products from one or more of the following standards:



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                       a).    LEED®;
                       b}.    Green Globes                     ;


                       c).    ENERGY STAR®; or
                       d}.    The            Life Safety       Code, National Fire Alarm Code, Automatic Fire Sprinkler            Installation   Code   as deveIOped by the
                              Naliunai Fire Prntectinn Association 0r similar safely standards.


                       If the       Scheduled Location                  is   outside of the United States and the above standards are not recognized, an equivalent
                       nationally recognized and applicable standard related to: imprcwing the environment, increasing efﬁciency. or
                       enhancing safety will apply.                    If the non-US location has no such standard          dealing with environmental improvement or
                       safety, the             US   standards      memioned above will apply.

                  4.   Additional              Time Element Coverage

                       When this: opticm                is; pmvided, SECTION IV- TIME                 ELEMENT, 4.03 PERIOD OF LIABILITY, 4.03.0102                   is   deleted
                       in    its   entirety         and replaced with the following:


                       4.03.02.02 Making changes to the buildings or structures except as provided in the Demolition and Increased Costs
                                                of Censtruction C0vcrage or Enhanced Upgrade Coverage of the Special Coverages section; or


                       Any         loss      under      this   coverage      is   part of the Gross Earnings or Gross Proﬁt limit for this Policy   and not part of the
                       ENHANCED UPGRADE Coverage Limit.
          D.   SECTION VI           l
                                         -   DEFINITIONS            are revised t0       add the follmving:



                  ENERGY STAR® - A rating standard developed as ajoint program of the U.S.                                        Environmental Protection Agency and
                  the U.S. Department of Energy and intended to save                                    money and    protect the environment through energy efﬁcient
                  products and practices.


                  Green Globes                      -   An     environmental assessment, education and rating system promoted in the United States by the
                  Green Building                 Initiative.



                  LEED®             -   The Leadership             in   Energy and Environmental Design Green Building Rating System                  which   is   a voluntary,
                  consensus—based national              system for deveIOping high—performance, sustainable buildings developed and
                                                                   rating
                  promulgated by The U.S. Green Building Council (USGBC). LEED® addresses all building types and emphasizes state-
                  of-the-art strategies in ﬁve areas: sustainable site develop ment, water savings, energy efﬁciency, materials and resources
                  selection,            and indoor environmental quality.


                  NCP - N0 Coverage Provided.




          All other terms and conditions of the policy remain unchanged.




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           Policy Changes Endorsement
                                                                                                                                                      9
                                                                                                                                                    ZURICH

           Insureds   Name                                                                         Policy   Number                Effective Date         Endorsement Number

           Johnson     & Wales University                                                             ERP 9819903-05                05mli20l9                        05


                                PRODUCER N0.                                    N0 CHANGE   IN   PREMIUM                  ADDrrIONAL PREMIUM              RETURN PHEMLUM
                                                                      X
                                62547000                                        T0 ADJUST PREMIUM     M AUDIT                    NA                            NA

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           This endorsement modiﬁes insurance provided under your policy as indicated below. The modiﬁcation(s)                                    may   result in   a change in
           the   premium     as indicated above.

                                                                                des} of Change(s)
                  Name       of Insured                                                                     Mailing Address 0f Insured
                  Policy     Number                                                                         Company
                  EffectivefExpiration Date                                                                 Legal Status of InsuredJ'Business of Insured
                  Payment Plan                                                                              Premium Determination
                  AdditiOnal Interested Parties                                                   X         Coverage Farms and Endorsements
                  Linﬁtstxpogurcs                                                                           Deductiblcs
                  C0vcrcd Propertnyocation Description                                                      Classiﬁcatiom‘Class Codes
                  Rates                                                                                     Underlying Insurance


                                                                                    CHANGE 551
                                     It is     hereby agreed and understood that the following changes are made                       to the policy:


           EDGE—lOO-B          (12.40)    -   3.02   PROPERTY NOT COVERED is amended as follows:
           "302.05. Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or bulkheads, except as
           scheduled on most recent statement of value on ﬁle with the Company."




           All other terms, conditions               and   limitations of this Policy   remain unchanged.

              Signature of Authorized Representative

              X




                                                                                                                                                     EDGE       303—A (06:03)
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           Policy Changes                         Endorsement
                                                                                                                                                                  Q
                                                                                                                                                         ZURICH

           lnsureds.   Name                                                                         Policy   Number                    Effective Date         Endorsement Number

           Johnson      87.   Wales University                                                           ERP98 l9903-05                 OSKOUZOIQ                     06


                                    THIS     ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
           This endorsement modiﬁes insurance provided under your policy as indicated below. The modiﬁcation(s)                                         may   result in a   change   in
           the   premium       as indicated above.

                                                                                  TYPds) of Change(s)
           i      Name         of Insured                                                          7'.
                                                                                                             Mailing Address 0f Insured
                                                                                                   —
           i      Policy       Number                                                                        Company
                                                                                                   ]
           .:     EffectivefExpiration Date                                                        [         Legal Status of Insuredr'Business of Insured
                                                                                                   l
                  Paymcm         Plan                                                                        Premium Determination
           .H     Additional Interested Parties                                                    X         Coverage Forms and Endorsements
           j      Limitstxposurcs                                                                  :         Dcducliblcs
           _      Cmrcred Propertnyocation Description                                             '_I
                                                                                                             Classiﬁcatiow'Ciass       Codes
           g      Rates                                                                            _         Underlying Insurance


                                                                                      CHANGE [$1
           Subject to the Limit 0f Liability speciﬁed under Sccticm                 II-   Declarations, 2.03.06" Limits of Liability, the following Special
           Coverage       is   added under   SECTION V -        Special      COVERAGES        8c   DESCRIBED CAUSES 0F LOSS:

                                                                    Interruption by         Communicable Disease

                                              The Company        pay for the actual Gress Earnings loss sustained by the Insured, as provided by this
                                                                 will

                                              Policy, resultingfrom the necessary Suspension 0f the Insured‘s business activities at an Insured
                                              Location if the Suspension is caused by order of an authorized govern mental agency enforcing any law
                                              0r ordinance regulating cammunicuble diseases and that such portions of the location are declared
                                              uninhabitable due to the threat of the spread of communicable disease, prohibiting access to those
                                              portions of the Location.


                                              This Policy also omen". the reasonable and necessary cost incurred for the cleanup, removal and disposal of
                                              the actual not suspected presence 0f substances(s) causing the Spread of                      such communicable disease and to
                                              restore the locations in a       manner so as     to satisfy     such authorized governmental agency.


                                              This Coverage will Only apply          whcn     the period       OfIimc   that access    is   prohibited cxcccds a 24 hour
                                              Qualifying Period.        If   the Qualifying   Period      is         Policy will pay for the amount of
                                                                                                               exceeded, then   this

                                              loss in   exams   of the Policy Deductible. but not to exceed the number of consecutive days following
                                              such order as stated in the Declarations up to the limit applying to                    this   Coverage.


                                              This Coverage will not apply lo loss or damage that                  is   payable under any other provision in          this Policy.




           All other terms, conditions           and    limitations of this Policy        remain unchanged.




                                                                                                                                                  EDGE U-GU-SOS-A (06mg)
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          CAP ON LOSSES FROM CERTIFIED ACTS OF                                                                                                          a              a

          TERRORISM                                                                                                                            ZURICH
           Insured   Name                                               Policy   Number                      Effective Date                 Endorsement Number
           Johnson    & Wales University                                ERP9819903-05                        05/0 1/2019                    07




                               THIS ENDORSEMENT CHANGES                          YOUR POLICY. PLEASE READ IT CAREFULLY.
          This endorsement modiﬁes your insurance:

          Zurich Edge Property Policy




          A.   Cap on Losses From           Certified Terrorism            Losses
               “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury,                                       in   accordance with
                provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism.                                       The Terrorism Risk
                Insurance Act provides that the Secretary of Treasury shall                    certify   an act of terrorism:

                1.   To be an   act of terrorism;

               2.    To be a   violent act or     an act that   is   dangerous     to   human   life,   property or infrastructure;

               3.    To have    resulted   in   damage     within the United States, or outside of the United States in the                       case of an   air carrier
                     (as defined   in   section   40102 of   49, United States Code) or a United States flag vessel (or a vessel based
                                                                Title
                     principally in the United States, on which United States income tax is paid and whose insurance coverage is
                     subject to regulation in the United States), or the premises of a United States mission; and

               4.    To have been committed by an     individual or individuals as part of an effort to coerce the civilian population of the
                     United States or to influence the policy or affect the conduct of the United States Government by coercion.

               No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
               Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
               subject to TRIA, d0 not exceed $5,000,000.

               If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar

               year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
               Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
               in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
               established by the Secretary of Treasury.

          B.   Application of Other Exclusions

               The terms and       limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
               terrorism exclusion or       any other exclusion, do not serve to create coverage which would otherwise be excluded,
               limited or restricted     under this policy.




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                        EXHIBIT B
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        Disclosure Statement

                                          It is our pleasure to present the enclosed policy to you
                                                      for presentation to your customer.


                                                INSTRUCTION TO AGENT OR BROKER:

        WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                             WITH THE POLICY.

            Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                          U-GU-873-A CW (06/11)
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        Disclosure Statement

                                 NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


                          If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                              http://www.zurichnaproducercompensation.com

                                           or call the following toll-free number: (866) 903-1192.



                                 This Notice is provided on behalf of Zurich American Insurance Company

                                                     and its underwriting subsidiaries.




                                                                                                            U-GU-874-A CW (06/11)
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                                                                                             ZZZZZZZ

                                                                             The Zurich EDGE
                                                                                        Policy




                                                                                        EDGE 400 – B (08/16)
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                                                                                                                                                            9
                                                                                                                                                          ZURICH¢
                                   THIS ENDORSENIENT                     IS    ATTACHED T0 AND MADE PART 0F YOUR
                                          POLICY.
         THIS ENDORSEIVIENT DOES NOT GRANT ANY COVERAGE                                                                        OR CHANGE THE TERMS AND
                                           CONDITIONS 0F ANY COVERAGE UNDER THE POLICY.

                                             DISCLOSURE OF PREMIUM
                                         (RELATING T0 DISPOSITION OF TRIA)
                                                                                          SCHEDULE*


          (1)   Premium           attributable to risk of loss   from certiﬁed acts of terrorism for lines of insurance subject to TRIA:




          If TRIA terminates, the portion of lhis premium attributable to the remaining parl of the policy period, as modiﬁed by

          any change shown in (2) of lhis Schedule, applies to the risk of loss from terrorism after the termination of TRIA.

          (2)   Premium change upon termination of TRIA                        or    upon       applicability of    a Conditional Endorsement:

                    No change        unless one of the following          is   completed           -




                    Return Premium:



                    Additional      Premium:


          If   we   notify   you of an    additional   premium charge, the                additional premium will be due as speciﬁed in such                 notice.
        *lnformalion required to complete lhis Schedule,                       if   not   shown above, will be shown in the Declarations.
        A.     Disclosure of Premium

               In   accordance with the federal Terrorism Risk Insurance Act ("TRIM”), as amended,                                           we   are required to provide you
               with a notice disclosing the portion of your premium, if any, atlributable lo the risk of loss from terrorist acts certiﬁed
               under that Act for lines subject to TRIA. That portion of your premium attributable is shown in the Schedule above, but
               may be    subject to adjustment         upon premium            audit,      if   applicable.

        B.     Disclosure of Federal Participation                 in    Payment of Terrorism Losses
               The United States Government may pay a share of insured losses       resulting from an act of terrorism. The federal
               share   will       decrease by   5%   from    85%    to   80%
                                                           over a ﬁve-year period while the insurer share increases by the same
               amount during the same period. The schedule below illustrates the decrease in the federal share:
               January       1,   2015 — December      31,   2015   federal share:               85%
               January       1,   2016 — December      31,   2016   federal share:               84%
               January       1,   2017 — December      31,   2017   federal share:               83%
               January       1,   2018 — December      31,   2018   federal share:               82%
               January       1,   2019 — December      31,   2019   federal share: 81                  %
               January       1,   2020 — December      31, 202E} federal share:                  80%



        C.     Disclosure of $1 00 Billion           Cap on      All Insurer         and Federal Obligations
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                  aggregate insured losses attributable to terrorist acts
                                                                      certified under TRIA exceed $100 billion in a calendar year
            (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
            liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
            losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
            Secretary of Treasury.
        D. Availability
            As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
            of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
            arising from events other than acts of terrorism.
        E. Definition of Act of Terrorism under TRIA
            TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
            provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
            Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
            1. To be an act of terrorism;
            2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
            3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
                 (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
                 principally in the United States, on which United States income tax is paid and whose insurance coverage is
                 subject to regulation in the United States), or the premises of a United States mission; and
            4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
                 United States or to influence the policy or affect the conduct of the United States Government by coercion.
            No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
            Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
            subject to TRIA, do not exceed $5,000,000.
        F. Possibility of Additional or Return Premium
            The federal program established under TRIA is scheduled to terminate at the end of December 31, 2020 unless
            extended by the federal government. The premium attributable to the risk of loss from certified acts of terrorism
            coverage is calculated based on the coverage (if any) in effect at the beginning of your policy for certified acts of
            terrorism. If your policy contains a Conditional Endorsement, the termination of TRIA or extension of the federal
            program with certain modifications (as explained in that endorsement) may modify the extent of coverage (if any) your
            policy provides for terrorism. If TRIA terminates or the Conditional Endorsement becomes applicable to your policy,
            the return premium (if any) or additional premium (if any) shown in (2) of the Schedule will apply. If the level or terms
            of federal participation change, the premium shown in (1) of the Schedule attributable to that part of the policy period
            extending beyond such a change may not be appropriate and we will notify you of any changes in your premium.




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                                                      Copyright Zurich American Insurance Company 2019                              Page 2 of 2
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            SANCTIONS EXCLUSION
            ENDORSEMENT



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

            The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
            language in the policy, whether included in an Exclusion Section or otherwise:
            SANCTIONS EXCLUSION
            Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments
            or provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this
            policy to the extent that such cover, payment, service, benefit, or any business or activity of the insured would
            violate any applicable trade or economic sanctions law or regulation.

            The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
            coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
            coverage provided. Policy may also be referred to as contract or agreement.

            We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
            mean the company providing the coverage.

            Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
            otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.

            These definitions may be found in various parts of the policy and any applicable riders or endorsements.

            ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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          Important Notice                         -   In Witness Clause
                                                                                                                               9
                                                                                                                             ZURICH®

           In return for      the payment of premium, and subject to the terms of this policy, coverage                 is   provided as stated   in this

           policy.

           IN   WITNESS WHEREOF,            this   Company has executed and            attested these presents and,     where required by     law,   has
           caused    this policy to   be countersigned by    its   duly Authorized Representative(s).




                                        President                                                              Corporate Secretary




           QUESTIONS ABOUT YOUR INSURANCE? Your                           agent or broker     is   best equipped to provide information about your
           insurance. Should you require additional information or assistance                in   resolving a complaint, call or write to the following
           (please have your policy or claim number ready):



                                                                      Zurich   in   North America
                                                                  Customer Inquiry Center
                                                                      1299 Zurich Way
                                                               Schaumburg, Illinois 60196-1056
                                                       1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                                               Email: info.source@zurichna.com




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          EDGE-400-B                          The Zurich    EDGE Policy (Cover Page)
          U-GU-692-D          CW              DISCLOSURE 0F PREMIUM (RELATING To DISPOSITION 0F
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          U-GU-l 191-A        CW              SANCTIONS EXCLUSION ENDORSEMENT
          U-GU-3 19-F                         Important Notice         -   In Witness Clause

          EDGE-454-C                          The Zurich Edge Table 0f Contents

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          EDGE-lOO-B                          The Zurich Edge Body of Form

          EDGE-450-B                          Appendix    A     -   Earth Movement/Earthquake Zones for             USA
                                              including   its   Commonwealths and             Territories


          EDGE-451-D                          Appendix    B     -   Earth Movement/Earthquake Zones Worldwide except
                                              USA its Commonwealths and Territories
          EDGE-452-B                          Appendix C - Named Storm Zones                     for   USA including its
                                              Commonwealths and Territories

          EDGE-453-E                          Appendix D - Named Storm Zones Worldwide except                        USA and its
                                              Commonwealths and Territories

          ()                                  Appendix E        -
                                                                    Schedule of Locations

          EDGE-ZOl-B                          Amendatory Endorsement              -   Alaska

          EDGE-207-F                          Amendatory Endorsement              -   Connecticut

          EDGE-210-D                          Amendatory Endorsement              -   Florida

          EDGE-21 l-A                         Amendatory Endorsement              -
                                                                                      Georgia

          EDGE-214-C                          Amendatory Endorsement              -   Illinois


          EDGE-215-A                          Amendatory Endorsement              -   Indiana

          EDGE-217 B                          Amendatory Endorsement              -
                                                                                      Kansas

          EDGE-218-B                          Amendatory Endorsement              -
                                                                                      Kentucky

          EDGE-219-C                          Amendatory Endorsement              -   Louisiana

          EDGE-221-C                          Amendatory Endorsement              -
                                                                                      Maryland

          EDGE-222-C                          Amendatory Endorsement-Massachusetts

          EDGE-220-B                          Amendatory Endorsement              -   Maine

          EDGE-224-B                          Amendatory Endorsement              -   Minnesota

          EDGE-225-B                          Amendatory Endorsement              -   Mississippi

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          EDGE-229-B                          Amendatory Endorsement - Nevada




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          EDGE-236-A                          Amendatory Endorsement            -   Ohio

          EDGE-237-B                          Amendatory Endorsement            -   Oklahoma

          EDGE-240-A                          Amendatory Endorsement            -   Rhode   Island

          EDGE-241-B                          Amendatory Endorsement            -   South Carolina

          EDGE-242-C                          Amendatory Endorsement            -   South Dakota

          EDGE-243-B                          Amendatory Endorsement            -   Tennessee

          EDGE-246-B                          Amendatory Endorsement            -   Vermont

          EDGE-248-B                          Amendatory Endorsement            -   Washington

          EDGE-249-A                          Amendatory Endorsement            -   West Virginia

          EDGE-250-A                          Amendatory Endorsement            -   Wisconsin

          EDGE-251-A                          Amendatory Endorsement            -
                                                                                    Wyoming

          EDGE-252-A VA                       Amendatory Endorsement            -   Virginia

          EDGE-309-A                          Endorsement Limited Coverage for Electronic Data Programs or
                                              Software

          EDGE-3 13-C                         CYBER EVENT COVERAGE ENDORSEMENT
          ()                                  Endorsemt 3   -   Land improvement - valuable papers        -   aggregate
                                              deductible


          ()                                  Endorsement 4     -   Better Green


          ()                                  Endorsement 5     -
                                                                    piers,   wharves, docks, piers, etc

          U-GU-767-B          CW              Cap on Losses From Certiﬁed Acts of Terrorism




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               Policy     Number
               ERP98 1 9903-06

               Named Insured and Mailing Address
               Johnson & Wales University
               8 Abbott Park P1

               Providence, RI 02903



               hereafter referred to as the First         Named Insured.
               The following         are all hereafter referred t0 as the "Insured", including legal representatives.

               The First      Named Insured;        and

               any subsidiary 0f the First Named Insured. The First Named Insured‘s interest in any partnership, joint venture 0r other
               legal entity in which the First Named Insured has management control or ownership as now constituted 0r hereafter is
               acquired.


               When any   Insured described above is a party to a written contract or agreement on ﬁle, that requires a legal entity to be
               identiﬁed as an additional insured under this Policy, this Policy includes the legal entity as an additional insured, as its interest
               may appear, for physical damage to insured property Which is the subject 0f the written contract 0r agreement 0n ﬁle, before
               any   loss occurs; and does not provide any Time Element Coverage to the legal                 entity, except as   provided under Leasehold
               Interest   Coverage of this policy or as speciﬁcally endorsed t0 the policy.

               Producer
               Marsh USA,       Inc.

               99 High Street
               Boston,    MA     02110



               Policy Period
               Begins     May   1,   2020    at 12:01   AM; Ends May   1,   2021   at 12:01   AM
               Insurance is provided by the following Stock Company
               American Guarantee and Liability Insurance Company
               hereafter referred t0 as the "Company",


               Proportionate Share 0f Company for Loss 0r                          Damage
                           100%               Quota Share      Being $500,000,000 part 0f a $500,000,000 primary        loss layer


               Annual Policy Premium                               Surcharges, Taxes          & Fees               Total Policy   Premium



               PREMIUM PAYABLE
               This Policy      is   issued in consideration 0f an initial premium. The First Named Insured shown on the Policy isresponsible for
               the payment of         all   premiums and Will be the payee for any return premiums paid by the Company. Premiums Will be paid in
               the currency designated in Section II-2.02.




                                                                                                                                        EDGE—D—loo—B   (12/10)
                                                                                                                                                  1    D
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            SECTION I – POLICY APPLICABILITY
                1.01.        INSURING AGREEMENT
                             This Policy Insures against direct physical loss of or damage caused by a Covered Cause of Loss to Covered
                             Property, at an Insured Location described in Section II-2.01, all subject to the terms, conditions and
                             exclusions stated in this Policy.

                             No coverage can be provided in violation of any U.S. economic or trade sanctions laws or regulations. Such
                             coverage, which may be in violation of any U.S. economic or trade sanctions laws and regulations, shall be
                             null and void and the Company shall not be liable to make any payments or provide any defense under this
                             policy.

                1.02.        APPLICATION OF POLICY PERIOD
                             In the event of a claim the Policy Period is measured by local time at the location where the direct physical
                             loss or damage occurs.

                1.03.       TERRITORY
                             Coverage under this Policy applies to all covered loss or damage that takes place in the United States of
                             America, its territories and possessions, including the District of Columbia and the Commonwealth of Puerto
                             Rico.




                                                                                                                      EDGE-D-100-B (12/10)
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                SECTION II - DECLARATIONS
                     2.01         INSURED LOCATION
                                  This Policy insures an Insured Location unless otherwise provided.
                                  An Insured Location is          a Location   :




                     2.01.01.           Scheduled on       this   Policy by a Schedule 0f Locations attached t0 this Policy; Per Appendix E.

                     2.01.02.           Covered as a Miscellaneous            Unnamed Location and    ;




                     2.01.03.           Covered under the terms and conditions 0f the Newly Acquired Coverage 0r Errors and Omissions
                                        Coverage.

                     2.02.        CURRENCY
                                  A11 amounts, including deductibles and limits of liability, indicated in this Policy are in USD unless otherwise
                                  indicated by the three-letter currency designator as deﬁned in Table A.1 Currency and Funds code list,
                                  International Standards Organization (ISO) 4217, edition effective at inception 0f this Policy.


                     2.03.        POLICY LIMITS OF LIABILITY
                                  The Policy Limit is $500,000,000 for the total of all coverages combined regardless of the number of
                                  Locations involved subject t0 the following provisions:


                     2.03.01.           The Company         Will   pay no more     in   any one (1) Occurrence than         its   proportionate share 0f the Policy
                                        Limit.


                     2.03.02.           Limits 0f Liability stated below 0r elsewhere in this Policy are part of and not in addition to the Policy
                                        Limit.


                     2.03.03.           When an Annual Aggregate Limit of Liability is shown, the Company's maximum amount payable will
                                        not exceed such Limit 0f Liability during the Policy Year regardless of the number of Locations,
                                        Coverages 0r Occurrences involved.

                     2.03.04.           The most the Company will pay in an Occurrence caused by a Described Cause 0f Loss                          is   the Limit 0f
                                                       Described Cause 0f Loss.
                                        Liability for that

                     2.03.05.           Limits 0f Liability in an Occurrence apply to the total loss 0r damage, including any insured                           Time
                                        Element    loss, at all    Locations and for    all   Coverages involved.
                     2.03.06.           Limits 0f Liability


                                            The following are the Limits 0f Liability in an Occurrence unless otherwise shown. The Company
                                            willpay no more in any one (1) Occurrence than its proportionate share.
                                            The    limit    0f Liability     we show    for a coverage part   is    the   maximum amount we       Will   pay for the
                                            coverage    part.

                                            Sublimits within a coverage part            may reduce the amount payable under a coverage part.

                                Limits 0f Liability and Coverage Part

                                Limit                              Description


                                $500,000,000                       Property   Damage (PD) and Time Element (TE) combined at scheduled                locations:     0n
                                                                   ﬁle with the  Company per most recent statement 0f values.
                                                                   But not   t0 exceed:

                                                                    $25,000,000               EXTRA EXPENSE
                                                                    $5,000,000                LEASEHOLD INTEREST
                                $25,000,000                        ACCOUNTS RECEIVABLE

                                                                                                                                                EDGE—D—loo—B    (12/10)
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                              $2,500,000     COMPUTER SYSTEMS DAMAGE
                                             in the   Annual Aggregate

                              $25,000,000    CONTINGENT TIME ELEMENT
                                             For scheduled Direct Dependent Time Element Location and scheduled Indirect
                                             Dependent Time Element Location, $25,000,000 per location and per occurrence;

                                             For unscheduled Direct Dependent Time Element Location, $25,000,000 per
                                              location and per occurrence ,
                                             however $25,000,000 for Earth Movement, Flood, Named Storm or Volcanic
                                             Eruption;


                                             For unscheduled Indirect Dependent Time Element Location              ,   $1,000,000 per
                                             location and in the occurrence;


                                             For Indirect Dependent Time Element Location          as   deﬁned   in policy line 7.25.02(3
                                             rd or    more   tiers), NCP;


                                             For   ATTRACTION PROPERTY Located within               1   miles 0f the Insured Location,
                                             $2,500,000 per location
                                             and in the occurrence


                              $25,000,000    DEBRIS      REMOVAL
                              $25,000,000    DECONTAMINATION COSTS
                              $5,000,000     DEFERRED PAYMENTS
                              $25,000,000    ERRORS AND OMISSIONS
                              $25,000,000    EXPEDITING COSTS
                              $5,000,000     FINE ARTS         but not t0 exceed $50,000 limit per item

                              $5,000,000     FIRE     DEPARTMENT SERVICE CHARGE
                              $25,000,000    INCREASED COST OF CONSTRUCTION
                              $500,000       LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL
                                             in the   Annual Aggregate.

                              $5,000,000     LAND IMPROVEMENTS
                              $10,000,000    MISCELLANEOUS PERSONAL PROPERTY
                              $10,000,000    MISCELLANEOUS UNNAMED LOCATION
                              $10,000,000    OFF PREMISES SERVICE INTERRUPTION
                              $500,000       PROFESSIONAL FEES
                              $2,500,000     RADIOACTIVE CONTAMINATION
                              $1,000,000     RESEARCH ANIMALS in excess of $250,000
                              NCP            TENANTS PROHIBITED ACCESS
                              $1,000,000     TRANSIT
                              $25,000,000    VALUABLE PAPERS AND RECORDS
                              $5,000,000     NEW CONSTRUCTION AND ADDITIONS
                              $2,500,000     OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
                              $250,000,000   BREAKDOWN OF EQUIPMENT not t0 exceed:
                                             $2,500,000 for AMMONIA CONTAMINATION
                                             $2,500,000 for     SPOILAGE

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                                $50,000,000                           EARTH MOVEMENT in the Annual Aggregate but not to exceed the following
                                                                      limits in the   Annual Aggregate:

                                                                      a).   NCP     for property located in           Zone     1   for   Earth Movement        as described in
                                                                            Appendix    A & B.
                                                                      b).   NCP     for property located in           Zone 2       for   Earth Movement        as described in
                                                                            Appendix    A & B.
                                $50,000,000                           FLOOD in the Annual Aggregate but not to exceed                          the following limits in the
                                                                      Annual Aggregate:

                                                                      a).   $40,000,000 as respects Locations With any part 0f the legal description within a
                                                                            Special Flood Hazard Area (SFHA) and not otherwise listed herein.

                                                                      b).   $50,000,000 as respects Locations With any part 0f the legal description within a
                                                                            Moderate Flood Hazard Area (MFHA) and not otherwise                           listed herein.

                                                                      c).   $10,000,000 as respects        Newly Acquired Locations
                                                                      d).   $5,000,000 as respects Miscellaneous             Unnamed Locations
                                $500,000,000                          NAMED STORM per occurrence but not to exceed:
                                                                      a),   $50,000,000 for property located in Zone                1   for   Named Storm    as described in
                                                                            Appendix C D. &
                                                                      b).   $100,000,000 for property located in Zone 2 for                   Named Storm as     described in
                                                                            Appendix C & D.
                                $2,500,000                            Better Green
                                                                      per Endorsement 4       -   Better Green


                     2.03.07.          Causation Deﬁnition: The following term                     is   included in the deﬁnition of the Peril as indicated:

                                Storm Surge     is   part of Flood


                     2.03.08.          Time and Distance           Limitations: In addition t0 the Limits of Liability                   shown elsewhere    in this Policy, the
                                       following limitations apply:


                                Located Within       1   mile(s) of the Insured Location.                      ATTRACTION PROPERTY
                                60 day period   for property within           1   mile(s) but not to           CIVIL OR MILITARY AUTHORITY
                                exceed a $25,000,000         limit.

                                60 day(s)                                                                       The   actual   Time Element         loss sustained   by   the
                                                                                                               Insured arising out of the Delay in Completion

                                Not Applicable                                                                  GROSS EARNINGS
                                365 day(s)                                                                     EXTENDED PERIOD OF LIABILITY
                                90 day(s)                                                                      ORDINARY PAYROLL
                                30 day period but not        t0   exceed a $1,000,000       limit.             IMPOUNDED WATER
                                30 day period   for property within           1   mile(s) but not t0           INGRESS/EGRESS
                                exceed a $25,000,000         limit.

                                30 day period but not        t0   exceed a $1,000,000       limit.             INTERNATIONAL INTERDEPENDENCY
                                90 day period but not        to   exceed a $25,000,000 limit per               NEWLY ACQUIRED
                                Location.

                                48 hours    for Gross Earnings: not to exceed a $1,000,000                     PROTECTION AND PRESERVATION OF
                                limit per Location.                                                            PROPERTY
                                12 months but not t0 exceed a $1,000,000                limit.                 RESEARCH AND DEVELOPMENT


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                     2.03.09.             Time Speciﬁcations: As          follows:



                                  EARTH MOVEMENT Occurrence                                                                    168 hours

                                  NAMED STORM Occurrence                                                                        72 hours

                                  Cancellation for non-payment of premium                                                       10 days

                                  Cancellation for any other reason                                                             90 days


                     2.03.10.             Valuation:    As    follows:



                                  Finished Stock                                                        Selling Price


                                  Merchandise      that carries the                                     Selling Price
                                  Insured's brand 0r trade     name

                                  A11 other Merchandise                                                 Selling Price


                                  Vehicles                                                              Actual Cash Value

                                  101   Richmond    Street,   Providence,                               Actual Cash Value
                                  RI

                                  1146 Narragansett B1Vd., Cranston,                                    Actual Cash Value
                                  RI


                     2.04.                QUALIFYING PERIOD
                                          For the Coverages      listed   below the following Qualifying Period   applies:


                                  OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE &                                           12 Hours
                                  TIME ELEMENT COVERAGE applies separately at each location.
                                  COMPUTER SYSTEMS DAMAGE COVERAGE                                                             48 Hours

                                  TENANTS PROHIBITED ACCESS COVERAGE applies                       separately at each        Not Applicable
                                  location.


                                  NEW CONSTRUCTION AND ADDITIONS: Delay in Completion                                           7 Days
                                  applies separately at each location.



                     2.05     .           DEDUCTIBLES
                                          Each claim for loss 0r damage as insured against arising out of any one (1) Occurrence shall be adjusted
                                          separately. The Company shall not be liable unless the Insured sustains loss 0r damage in excess 0f the
                                          deductible(s) stated below and then only for the proportionate share 0f such excess amount(s).


                     2.05.01.                 A deductible that applies     0n a per Location basis will apply separately to each Location where the
                                              physical loss 0r     damage occurred regardless 0f the number 0f Locations involved in the Occurrence.

                     2.05.02.                 Unless stated otherwise, if two 0r more deductibles apply t0 an Occurrence, the total deducted Will
                                              not exceed the largest applicable deductible. If two 0r more deductibles apply 0n a per Location
                                              basis in an Occurrence, the largest deductible applying to each Location Will be applied separately
                                              to   each such Location.




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                2.05.03.             If separate Property Damage and Time Element loss deductibles are shown, then the deductibles shall
                                     apply separately.

                2.05.04.             When a “minimum deductible” per Occurrence is shown and is applicable to an Occurrence, the
                                     “minimum deductible” is the minimum dollar amount of covered damage that the Insured will retain
                                     in any one (1) Occurrence. The amount retained for purposes of applying the “minimum deductible”
                                     is the sum of:

                2.05.04.01.          the specified location deductible for each location where the amount of covered damage exceeds the
                                     specified location deductible; and

                2.05.04.02.          the amount of covered damage for each location where the amount of covered damage is less than
                                     specified location deductible.

                2.05.05.             Policy Deductible(s)
                2.05.05.01.          $250,000 combined Property Damage (PD) and Time Element (TE)
                                     per Occurrence except as follows:

                2.05.05.02.          Exceptions to Policy Deductible(s)

                2.05.05.02.01.       Contingent Time Element
                                     $250,000 per Location at each Direct Dependent Time Element Location, Indirect Dependent
                                     Time Element Location, and Attraction Property where the physical loss or damage occurs
                                     regardless of any other deductibles that may also apply.

                                     However, when the loss results from Earthquake, Named Storm and/or Flood such loss shall be
                                     subject to its respective deductible(s) for Direct Dependent Time Element Location as follows:
                2.05.05.02.02.       Earthquake
                                     The following deductibles apply to loss or damage caused by or resulting from Earthquake. This
                                     Earthquake deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.02.01     $250,000 combined Property Damage (PD) and Time Element (TE)
                                     per Occurrence;


                2.05.05.02.03.       Flood
                                     The following deductibles apply to loss or damage caused by or resulting from Flood. This Flood
                                     deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.03.01.    $250,000 combined Property Damage (PD) and Time Element (TE)
                                     per Occurrence except as follows:




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                2.05.05.02.03.02.    As respects Locations with any part of the legal description within a Special Flood Hazard Area
                                     (SFHA):
                                     Property Damage - 5% of the value per the most current Statement of Values on file with the
                                     company as of the date of loss, will be applied to loss to that type of property on the following basis:
                                     i). Each separate building or structure where the direct physical loss or damage occurs;

                                     ii). All personal property within each building or structure where the direct physical loss or
                                          damage occurs;

                                     iii). All personal property in the open at each Location where the direct
                                         physical loss or damage occurs.

                                     Time Element - 5% of the full 12 months Gross Earnings values that would have been earned
                                     following the Occurrence by use of the facilities at the Location where the direct physical loss or
                                     damage occurred and all other Locations where Time Element loss ensues, per Occurrence.

                                     The above Flood deductibles are subject to a minimum deductible of $1,000,000 for Property
                                     Damage
                                     and Time Element combined per Occurrence.
                2.05.05.02.03.03.    As respects Locations with any part of the legal description within a Moderate Flood Hazard Area
                                     (MFHA):
                2.05.05.02.03.03.01. Property Damage (PD) and Time Element (TE) combined - $250,000, per Occurrence.

                2.05.05.02.04.       Named Storm
                                     The following deductibles apply to loss or damage caused by or resulting from Named Storm. The
                                     Named Storm deductible will apply regardless of any other deductibles that may also apply.
                2.05.05.02.04.01.    $250,000 combined Property Damage (PD) and Time Element (TE)
                                     per Occurrence except as follows:
                2.05.05.02.04.02.    As respects Locations in Zone 1:
                                     Property Damage - 5% of the value per the most current Statement of Values on file with the
                                     company as of the date of loss, will be applied to loss to that type of property on the following basis:
                                     i). Each separate building or structure where the direct physical loss or damage occurs;

                                     ii). All personal property within each building or structure where the direct physical loss or
                                          damage occurs;

                                     iii). All personal property in the open at each Location where the direct
                                         physical loss or damage occurs.

                                     Time Element - 5% of the full 12 months Gross Earnings values that would have been earned
                                     following the Occurrence by use of the facilities at the Location where the direct physical loss or
                                     damage occurred and all other Locations where Time Element loss ensues, per Occurrence.

                                     The above Named Storm deductibles are subject to a minimum deductible of $250,000 for Property
                                     Damage
                                     and Time Element combined per Occurrence.
                2.05.05.02.04.03.    As respects Locations in Zone 2:
                2.05.05.02.04.03.01. Property Damage (PD) and Time Element (TE) combined - $250,000, per Occurrence.

                2.05.05.02.05.       Breakdown of Equipment Deductible(s)
                2.05.05.02.05.01.    $10,000 combined Property Damage (PD) and Time Element (TE)
                                     per Occurrence for loss or damage caused by Breakdown;


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                     2,05,05,0206,            Water or Liquid Damage Deductible(s)
                                              The following deductible   applies to loss or   damage caused by 0r resulting from covered water 0r
                                              other liquids not otherwise excluded, but not caused  by ﬂood 0r discharge in response t0 a ﬁre.

                     2.05.05.02.06.01.        $250,000 combined Property Damage (PD) and Time Element (TE)

                                              per Occurrence for loss 0r damage caused by water or liquid damage;



                     2.05.05.02.07.           Other Deductibles

                                              Not Applicable




                     Authorized Representative                                                  Date




                     Print    Name   0f Authorized Rep.                                         Ofﬁce




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            SECTION III - PROPERTY DAMAGE
                3.01.            COVERED PROPERTY
                                 This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, located
                                 at an Insured Location or within 1,000 feet thereof or as otherwise provided for in this Policy.

                3.01.01.             The Insured's interest in buildings (or structures) including new construction, additions, alterations,
                                     and repairs that the Insured owns, occupies, leases or rents.

                3.01.02.             The Insured's interest in Personal Property, including Improvements and Betterments.

                3.01.03.             Property of Others will not extend any Time Element Coverage provided under this Policy to the
                                     owner of the property and is limited to property:

                3.01.03.01.              In the Insured's care, custody or control;

                3.01.03.02.              In which the Insured has an insurable interest or obligation;

                3.01.03.03.              For which the Insured is legally liable; or

                3.01.03.04.              For which the Insured has agreed in writing prior to any loss or damage to provide coverage.

                3.01.04.             Personal Property of officers and employees of the Insured.

                3.02.            PROPERTY NOT COVERED
                                 This Policy does not insure the following property:

                3.02.01.             Money, precious metal in bullion form, notes, or Securities.

                3.02.02.             Watercraft or aircraft, except when unfueled and manufactured by the Insured.

                3.02.03.             Spacecraft, satellites, associated launch vehicles and any property contained therein.

                3.02.04.             Animals, standing timber and growing crops.

                3.02.05.             Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or
                                     bulkheads.

                3.02.06.             Land, water or any other substance in or on land; except this exclusion does not apply to:

                3.02.06.01.              Land Improvements, or

                3.02.06.02.              Water that is contained in any enclosed tank, piping system or any other processing
                                         equipment.

                3.02.07.             Land Improvements at a golf course.

                3.02.08.             Mines, mineshafts, caverns and any property contained therein.

                3.02.09.             Vehicles of officers and employees of the Insured or vehicles otherwise insured for physical loss or
                                     damage.




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                3.02.10.             Transmission and distribution lines situated beyond 1,000 feet of the Insured Location.

                3.02.11.             Property in transit, except as otherwise provided by the Transit Coverage of this Policy.

                3.02.12.             Contraband or property in the course of illegal transit or trade.

                3.02.13.             Property more specifically insured, except for any excess beyond such more specific insurance
                                     limit.

                3.02.14.             Property sold by the Insured under conditional sale, trust agreement, installment plan or other
                                     deferred payment plan after delivery to customers except as provided by the Deferred Payments
                                     Coverage of this Policy.

                3.02.15.             Electronic Data, Programs and Software, except when they are Stock in Process, Finished
                                     Stock, Raw Materials, supplies or Merchandise or as otherwise provided by the Computer
                                     Systems Damage Coverage or Valuable Papers and Records Coverage of this Policy.

                3.03.            EXCLUSIONS
                                 The following exclusions apply unless specifically stated elsewhere in this Policy:

                3.03.01.             This Policy excludes the following unless it results from direct physical loss or damage not
                                     excluded by this Policy.

                3.03.01.01.              Contamination, and any cost due to Contamination including the inability to use or occupy
                                         property or any cost of making property safe or suitable for use or occupancy, except as
                                         provided by the Radioactive Contamination Coverage of this Policy.

                3.03.01.02.              Changes in size, color, flavor, texture or finish.

                3.03.01.03.              Loss or damage arising from the enforcement of any law, ordinance, regulation or rule
                                         regulating or restricting the construction, installation, repair, replacement, improvement,
                                         modification, demolition, occupancy, operation or other use, or removal including debris
                                         removal of any property.

                3.03.02.             This Policy excludes:

                3.03.02.01.              Loss or damage arising from delay, loss of market, or loss of use.

                3.03.02.02.              Indirect or remote loss or damage.

                3.03.02.03.              Loss or damage arising from the interference by strikers or other persons with rebuilding,
                                         repairing or replacing property or with the resumption or continuation of the Insured's
                                         business.

                3.03.02.04.              Unexplained disappearance; mysterious disappearance; or shortage disclosed on taking
                                         inventory when the factual existence of such shortage is solely dependant on inventory
                                         records.

                3.03.02.05.              Loss or damage resulting from the Insured's suspension of business activities, except to the
                                         extent provided by this Policy.

                3.03.02.06.              Any applicable Special Coverage, Described Cause of Loss, or portion of coverage if a Limit
                                         of Liability is identified as NCP in Section II-Declarations.




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                3.03.03.             This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting
                                     from any of the following regardless of any other cause or event, whether or not insured under this
                                     Policy, contributing concurrently or in any other sequence to the loss:

                3.03.03.01.              Nuclear reaction or radiation, any by-product of nuclear reaction, any radiological material or
                                         radioactive contamination however caused; but if direct physical loss of or damage to Covered
                                         Property by fire or sprinkler leakage results, the Company will pay for the loss or damage
                                         caused by the fire or sprinkler leakage.

                3.03.03.02.              War, invasion, act of foreign enemy, hostilities or warlike operations (whether war be declared
                                         or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
                                         proportions of or amounting to an uprising, military or usurped power, nationalization,
                                         confiscation, requisition, seizure or destruction by the government or any public authority,
                                         including action in hindering, combating or defending against any of these. However,
                                         destruction by order of governmental or public authority to prevent spread of fire is covered.

                3.03.03.03.              Any weapon of war or of mass destruction employing biological or chemical warfare, atomic
                                         fission, atomic fusion, radioactive force or radioactive material, whether in time of peace or
                                         war regardless of who commits the act.

                3.03.03.04.              Dishonest, fraudulent or criminal acts by the Insured or any of the Insured's associates,
                                         proprietors, partners, officers, employees, directors, trustees or authorized representatives.

                                         This exclusion does not apply to acts of direct physical loss or damage resulting from a
                                         Covered Cause of Loss intentionally caused by any individual specified above and done
                                         without the knowledge of the Insured. In no event does this Policy cover loss caused by theft
                                         by any individual above.

                3.03.03.05.              Lack of the following services when caused by an event off the Insured Location (except as
                                         provided in Off Premises Service Interruption Property Damage and Time Element Coverage
                                         of this Policy). However, if the lack of any of the following services results in a Covered
                                         Cause of Loss, this exclusion does not apply to the loss or damage caused by the Covered
                                         Cause of Loss.

                3.03.03.05.01.               Incoming electricity, fuel, water, gas, steam, refrigerant;

                3.03.03.05.02.               Outgoing sewage; or

                3.03.03.05.03.               Incoming or outgoing voice, data or video.

                3.03.04.             This Policy excludes the following but any resulting physical damage not otherwise excluded is
                                     insured:

                3.03.04.01.              Faulty, inadequate or defective design, specifications, workmanship, construction or materials
                                         used.

                3.03.04.02.              Loss or damage to stock or material attributable to manufacturing or processing operations
                                         while such stock or material is being processed, manufactured, tested or otherwise worked on.

                3.03.04.03.              Corrosion, depletion, deterioration, erosion, inherent vice, latent defect, rust, wear and tear.

                3.03.04.04.              Changes of temperature (except to machinery or equipment) or changes in relative humidity,
                                         all whether atmospheric or not.




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                3.03.04.05.              Settling, cracking, shrinking, bulging or expansion of: foundations (including any pedestal,
                                         pad, platform or other property supporting machinery), floors, pavements, walls, ceilings or
                                         roofs.

                3.03.04.06.              Insects, animals or vermin damage.

                3.03.04.07.              Cumulative effects of smog, smoke, vapor, liquid and dust.




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                SECTION IV - TIME ELEMENT
                4.01.            LOSS INSURED
                4.01.01.             The Company will pay for the actual Time Element loss the Insured sustains, as provided in the
                                     Time Element Coverages, during the Period of Liability. The Time Element loss must result from
                                     the necessary Suspension of the Insured's business activities at an Insured Location. The
                                     Suspension must be due to direct physical loss of or damage to Property (of the type insurable
                                     under this Policy other than Finished Stock) caused by a Covered Cause of Loss at the Location,
                                     or as provided in Off Premises Storage for Property Under Construction Coverages.

                                     The Company will also pay for the actual Time Element loss sustained by the Insured, during the
                                     Period of Liability at other Insured Locations. The Time Element loss must result from the
                                     necessary Suspension of the Insured's business activities at the other Insured Locations. Such
                                     other Location must depend on the continuation of business activities at the Location that
                                     sustained direct physical loss or damage caused by a Covered Cause of Loss.

                4.01.02.             There is recovery only to the extent that the Insured is:

                4.01.02.01.              unable to make up lost production within a reasonable period of time not limited to the period
                                         during which production is Suspended;

                4.01.02.02.              unable to continue such operations or services during the Period of Liability; and

                4.01.02.03.              able to demonstrate a loss of revenue for the operations, services or production Suspended.

                4.01.03.             The Company insures Time Element loss only to the extent it cannot be reduced by:

                4.01.03.01.              The Insured resuming business activities in whole or part;

                4.01.03.02.              Using damaged or undamaged property (including Raw Stock, Stock in Process or Finished
                                         Stock) at the Insured Location or elsewhere;

                4.01.03.03.              Using the services or property of others;

                4.01.03.04.              Working extra time or overtime; or

                4.01.03.05.              The use of other Locations not covered under this Policy.

                4.01.03.06.              Any amount recovered under property damage coverage at selling price for loss or damage to
                                         Merchandise.

                4.01.04.             The Company will include in any calculation the combined operating results of all Insured
                                     Locations in determining the Time Element loss.

                4.01.05.             In determining the Time Element loss, the Company will evaluate the experience of the business
                                     before and after the loss or damage and the probable experience had no direct physical loss or
                                     damage occurred at an Insured Location during the Period of Liability.

                4.02.            TIME ELEMENT COVERAGES
                4.02.01.            GROSS EARNINGS
                4.02.01.01.         Gross Earnings loss is the actual loss sustained by the Insured during the Period of Liability.




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                4.02.01.02.              Gross Earnings value is determined as follows:

                4.02.01.02.01.               The sum of:

                4.02.01.02.01.01.                   Total net sales value of production;

                4.02.01.02.01.02.                   Total net sales of Merchandise;

                4.02.01.02.01.03.                   The rental income; and

                4.02.01.02.01.04.                   Other income derived from the Insured's business activities.

                4.02.01.02.02.               Less the cost of the following:

                4.02.01.02.02.01.                   Raw Stock from which production is derived;

                4.02.01.02.02.02.                   Supplies consisting of materials consumed directly in conversion of Raw Stock into
                                                    Finished Stock or in supplying the service(s) sold by the Insured;

                4.02.01.02.02.03.                   Merchandise sold, including related packaging materials; and

                4.02.01.02.02.04.                   Service(s) purchased from outsiders (not Insured's employees) for resale, which do
                                                    not continue under contract.

                4.02.01.02.03.               Gross Earnings loss is determined as follows:

                                             Gross Earnings value that would have been earned during the Period of Liability, less
                                             charges and expenses that do not necessarily continue during the Period of Liability.

                                             Consideration shall be given to the continuation of normal charges and expenses,
                                             including Ordinary Payroll for the number of consecutive days as stated in the
                                             Declarations but not to exceed the limit shown for Ordinary Payroll, to the extent
                                             necessary to resume the Insured's business activities with the same quality of service that
                                             existed immediately preceding the loss.

                4.02.01.02.04.               This Policy will also pay the reasonable and necessary expenses incurred (except the cost
                                             to extinguish a fire) by the Insured to reduce the amount of Gross Earnings loss during
                                             the Period of Liability. This Policy will pay for such expenses to the extent that they do
                                             not exceed the amount of Gross Earnings loss that otherwise would have been payable.
                                             This provision will not pay for the cost of permanent repair or replacement of property
                                             that has suffered direct physical loss or damage.

                4.02.01.02.05.               This Policy will also pay the increased tax liability incurred by the Insured due to the
                                             profit portion of a Gross Earnings loss payment being greater than the tax liability
                                             incurred on the profits that would have been earned had no loss occurred.

                4.02.02.             EXTENDED PERIOD OF LIABILITY
                                     Upon the termination of the coverage for Gross Earnings loss under 4.02.01.01. this Policy will
                                     continue to pay the actual Gross Earnings loss sustained by the Insured until the earlier of:

                4.02.02.01.              The date the Insured could restore its business with due diligence, to the condition that would
                                         have existed had no direct physical loss or damage occurred to the Insured's Covered Property;
                                         or




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                4.02.02.02.              The number of consecutive days as stated in the Declarations

                4.02.02.03.              Exclusion 4.02.05.01.02.01. is deleted during the Extended Period of Liability and is
                                         replaced with:

                                         4.02.05.01.02.01.          A reduction in sales after the Extended Period of Liability ends due
                                                                    to suspension, cancellation or lapse of any lease, contract, license or
                                                                    orders.

                4.02.03.             EXTRA EXPENSE
                                     The Company will pay for the reasonable and necessary Extra Expenses incurred by the Insured,
                                     during the Period of Liability, to resume and continue as nearly as practicable the Insured's normal
                                     business activities that otherwise would be necessarily suspended, due to direct physical loss of or
                                     damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                                     a Location.

                                     The Company will reduce the amount payable as Extra Expense by the fair market value remaining
                                     at the end of the Period of Liability for property obtained in connection with the above.

                                     Extra Expenses mean that amount spent to continue the Insured's business activities over and above
                                     the expenses the Insured would have normally incurred had there been no direct physical loss of or
                                     damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                                     a Location. Extra Expense does not include any Gross Earnings loss, the cost of permanent repair
                                     or replacement of property that has suffered direct physical loss or damage, or expenses otherwise
                                     payable elsewhere in the Policy.

                4.02.04.             LEASEHOLD INTEREST
                                     The Company will pay for the actual Leasehold Interest loss incurred by the Insured (as lessee)
                                     resulting from direct physical loss of or damage caused by a Covered Cause of Loss to a building
                                     (or structure) which is leased and not owned by the Insured, as follows:

                4.02.04.01.              If the building (or structure) becomes wholly untenantable or unusable and the lease
                                         agreement requires continuation of the rent, the Company will pay the Insured the present
                                         value of the actual rent payable for the unexpired term of the lease, not including any options;

                4.02.04.02.              If the building (or structure) becomes partially untenantable or unusable and the lease
                                         agreement requires continuation of the rent, the Company will pay the Insured for the present
                                         value of the proportionate amount of the actual rent payable for the unexpired term of the
                                         lease, not including any options; or

                4.02.04.03.              If the lease is cancelled by the lessor pursuant to the terms of the lease agreement or by
                                         operation of law, this Policy will pay the Insured for their Lease Interest for the first three (3)
                                         months following the loss or damage and for their Net Lease Interest for the remaining
                                         unexpired term of the lease.

                4.02.04.04.              The Insured must use any suitable property or service owned, controlled, or obtainable from
                                         any source to reduce the loss.

                4.02.04.05.              In addition to the exclusions elsewhere in this Policy, the Leasehold Interest Coverage
                                         excludes:

                4.02.04.05.01.           Any increase in the Leasehold Interest loss resulting from the suspension, lapse or cancellation
                                         of any lease;




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                4.02.04.05.02.                Any loss from the Insured exercising an option to cancel the lease; or

                4.02.04.05.03.                Any loss from an act or omission by the Insured that constitutes default under the lease.

                4.02.05.              EXCLUSIONS
                                      In addition to the exclusions elsewhere in this Policy, the following exclusions apply to Time
                                      Element Coverage;

                4.02.05.01.               This Policy does not insure against:

                4.02.05.01.01.                Any loss during any idle period that would have been experienced had the Suspension of
                                              business activities not occurred. This includes, but is not limited to, when production,
                                              operation, services, delivery or receipt of goods or services or any other business activities
                                              would have ceased, or would not have taken place or would have been prevented due to:

                4.02.05.01.01.01.                   Planned or rescheduled shutdown;

                4.02.05.01.01.02.                   Strikes or other work stoppage; or

                4.02.05.01.01.03.                   Any reason other than physical loss or damage insured by this Policy.

                4.02.05.01.02.                Any increase in Time Element loss due to:

                4.02.05.01.02.01.                   Suspension, cancellation or lapse of any lease, contract, license or orders;

                4.02.05.01.02.02.                   Fines or damages for breach of contract or for late or non-completion of orders;

                4.02.05.01.02.03.                   Penalties of any nature; or

                4.02.05.01.02.04.                   Any other consequential or remote factors.

                4.02.05.01.03.                Any loss resulting from loss or damage to Finished Stock, nor the time required for their
                                              reproduction.

                4.02.05.01.04.                Any Time Element loss due to physical loss or damage not insured by this Policy on or
                                              off of the Insured Location.

                                              However, in the event that a Suspension is due to a Covered Cause of Loss and during
                                              such Suspension a loss that is otherwise excluded occurs, the Company will pay for the
                                              Time Element loss which is directly caused by the Covered Cause of Loss to Covered
                                              Property under this Policy.

                4.02.05.01.05.                Any Time Element loss resulting from damage to Property of Others; however this
                                              exclusion does not apply to Time Element loss suffered by the Insured as a direct result of
                                              the damage to Property of Others.

                4.03.               PERIOD OF LIABILITY
                4.03.01.              The Period of Liability applying to all Time Element Coverages, except Leasehold Interest, and as
                                      shown below or if otherwise provided under any Special Coverage, and subject to any Time Limit
                                      provided in 2.03.08., is as follows:




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                4.03.01.01.              For building and equipment: The period starting from the time of physical loss or damage of
                                         the type insured against and ending when with due diligence and dispatch the building and
                                         equipment could be repaired or replaced, and made ready for operations under the same or
                                         equivalent physical and operating conditions that existed prior to the damage. The expiration
                                         of this Policy will not limit the Period of Liability.

                 4.03.01.02.             For building and equipment under construction: The equivalent of the above period of time
                                         will be applied to the level of business that reasonably would have been achieved after
                                         construction and startup would have been completed had there been no direct physical loss or
                                         damage. Due consideration will be given to the actual experience of the business after
                                         completion of the construction and startup.

                4.03.01.03.              For Stock in Process and Merchandise: The period of time required with the exercise of due
                                         diligence and dispatch to restore Stock in Process to the same state of manufacture in which it
                                         stood at the inception of the interruption of production or suspension of business operations or
                                         services and to replace physically damaged Merchandise.

                4.03.01.04.              For Raw Materials and supplies: The period of time of actual interruption of production or
                                         suspension of operations or services resulting from the inability to get suitable Raw Materials
                                         and supplies to replace Raw Materials and supplies damaged, but limited to that period for
                                         which the damaged Raw Materials and supplies would have supplied operating needs.

                4.03.02.             The Period of Liability applying to all Time Element Coverage, except Leasehold Interest, or if
                                     otherwise provided under any Special Coverage, and subject to any Time Limit provided in
                                     2.03.08., does not include any additional time due to the Insured's inability to resume operations
                                     for any reason, including but not limited to:

                4.03.02.01.              Making changes to equipment;

                4.03.02.02.              Making changes to the buildings or structures except as provided in the Increased Costs of
                                         Construction Coverage of the Special Coverages section; or

                4.03.02.03.              Re-staffing or retraining employees.




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            SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS
                5.01.            OPERATION OF SPECIAL COVERAGES & DESCRIBED CAUSES
                                 OF LOSS:
                5.01.01.             Special Coverages & Described Causes of Loss are subject to the applicable Limit of Liability
                                     and are included within and will not increase the Policy Limit.

                5.01.02.             Special Coverages & Described Causes of Loss are subject to the Policy provisions, including
                                     applicable exclusions and deductibles, all as shown in this section and elsewhere in this Policy,
                                     whether or not a Limit of Liability is shown.

                5.01.03.             If coverage is afforded under any Special Coverage or Described Cause of Loss, the applicable
                                     Limit of Liability for that Special Coverage or Described Cause of Loss is the most the Company
                                     will pay for all the loss or damage described therein even if coverage would otherwise be available
                                     under any other part of this Policy.

                5.01.04.             If no Limit of Liability is shown in this Policy, the Limit of Liability for that Special Coverage or
                                     Described Cause of Loss is part of the Policy Limit.

                5.01.05.             If NCP is shown for any Special Coverage or Described Cause of Loss in this Policy, then no
                                     coverage is provided for that Special Coverage or Described Cause of Loss.

                5.01.06.             If two or more Limits of Liability apply to a claim for loss or damage, or some part thereof, the
                                     lesser applicable Limit of Liability shall apply to the claim, or to the part thereof.

                5.01.07.             The Company will pay no more in any one (1) Occurrence than our proportionate share of any
                                     applicable Limit of Liability regardless of the number of Locations affected by such Occurrence
                                     and regardless of whether additional or greater limits would otherwise be available under any other
                                     part of this Policy.

                5.01.08.             Any Annual Aggregate limit is the most the Company will pay in the Policy Year regardless of
                                     the number of Occurrences.

                5.01.09.             In the event of loss or damage involving any one or more of the following Special Coverage or
                                     Described Causes of Loss, the Company will pay no more for the total of all such coverage
                                     combined than our proportionate share of the Policy Limit.

                5.02.            DESCRIPTION OF SPECIAL COVERAGES
                5.02.01.             ACCOUNTS RECEIVABLE
                .                    The Company will pay for the actual loss sustained resulting from direct physical loss of or
                                     damage caused by a Covered Cause of Loss to the Insured's accounts receivable records as
                                     respects the following:

                5.02.01.01.              All sums due the Insured from customers, provided the Insured is unable to collect these sums
                                         as a result of direct physical loss or damage to accounts receivable records;

                5.02.01.02.              Interest charges on any loan obtained by the Insured to offset impaired collections resulting
                                         from direct physical loss of or damage to accounts receivable records but only for such period
                                         of time reasonable and necessary for the Insured to resume normal collections;




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            5.02.01.03.              Necessary collection expense in excess of normal collection cost due to direct physical loss of or
                                     damage to accounts receivable records; and

            5.02.01.04.              Other expenses, when reasonably incurred by the Insured in re-establishing accounts receivable
                                     records following direct physical loss of or damage to accounts receivable records.

            5.02.01.05.              For the purpose of this insurance, credit card charge records shall be deemed to represent sums due
                                     the Insured from customers, until the charge records are delivered to the credit card company.

            5.02.01.06.              When there is proof that direct physical loss of accounts receivable records has occurred and the
                                     Insured cannot accurately establish the total amount of accounts receivable outstanding as of the
                                     date of loss, the amount payable shall be computed as follows:

            5.02.01.06.01.               The monthly average of accounts receivable during the last available twelve (12) months; the
                                         reasonable and necessary collection expenses in excess of normal collection costs due to direct
                                         physical loss of or damage to accounts receivable records; and the reasonable and necessary
                                         expenses incurred in reestablishing accounts receivable records following direct physical loss
                                         or damage, shall be adjusted in accordance with the percentage increase or decrease in the
                                         twelve (12) months average of monthly gross revenues which may have occurred in the
                                         interim.

            5.02.01.06.02.               The monthly amount of accounts receivable as established in 5.02.01.06.01.above shall be
                                         further adjusted in accordance with any demonstrable variance from the average for the
                                         particular month in which the loss occurred. Consideration will also be given to the normal
                                         fluctuations in the amount of accounts receivable within the fiscal month involved.

            5.02.01.06.03.               The Company shall deduct from the total amounts of account receivable, the amount of
                                         accounts evidenced by records not lost or damaged, or otherwise established or collected by
                                         the Insured, and an amount to allow for probable bad debts which the Insured normally would
                                         have been unable to collect and for the normal collection costs incurred due to accounts
                                         receivable.

            5.02.01.07.              The following additional exclusion applies:

                                     This Coverage does not insure against shortage resulting from bookkeeping, accounting, billing
                                     errors or omissions, alteration, falsification, manipulation, concealment, destruction or disposal of
                                     accounts receivable records committed to conceal the wrongful giving, taking, obtaining or
                                     withholding of money, securities or other property; but only to the extent of such wrongful giving,
                                     taking, obtaining or withholding.

            5.02.02.             AMMONIA CONTAMINATION
                                 In the event of direct physical loss of or damage to Covered Property caused by a Breakdown of
                                 Covered Equipment at a Scheduled Location, the Company will pay for resulting Ammonia
                                 Contamination.

            5.02.03.             CIVIL OR MILITARY AUTHORITY
                                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by this
                                 Policy, resulting from the necessary Suspension of the Insured's business activities at an Insured
                                 Location if the Suspension is caused by order of civil or military authority that prohibits access to the
                                 Location. That order must result from a civil authority's response to direct physical loss of or damage
                                 caused by a Covered Cause of Loss to property not owned, occupied, leased or




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                                     rented by the Insured or insured under this Policy and located within the distance of the Insured's
                                     Location as stated in the Declarations. The Company will pay for the actual Time Element loss
                                     sustained, subject to the deductible provisions that would have applied had the physical loss or
                                     damage occurred at the Insured Location, during the time the order remains in effect, but not to
                                     exceed the number of consecutive days following such order as stated in the Declarations up to the
                                     limit applying to this Coverage.

                5.02.04.             COMPUTER SYSTEMS DAMAGE
                                     The Company will pay for direct physical loss of or damage to the Insured's Electronic Data,
                                     Programs, Software and the actual Time Element loss sustained, as provided by this Policy,
                                     during the Period of Interruption directly resulting from mysterious disappearance of code, any
                                     failure, malfunction, deficiency, deletion, fault, Computer Virus or corruption to the Insured's
                                     Electronic Data, Programs, Software at an Insured Location. The Company will also pay for
                                     such loss or damage that may arise out of or result from any authorized or unauthorized access in,
                                     of, or to any computer, communication system, file server, networking equipment, computer
                                     system, computer hardware, data processing equipment, computer memory, microchip,
                                     microprocessor, integrated circuit or similar device.

                                     This Coverage will only apply when the Period of Interruption exceeds the time shown as
                                     Qualifying Period in the Qualifying Period clause of the Declarations section. If the Qualifying
                                     Period is exceeded, then this Policy will pay for the amount of loss in excess of the Policy
                                     Deductible, but not more than the limit applying to this Coverage.
                5.02.04.01.              The following additional exclusions apply:

                5.02.04.01.01.               The Company will not pay for any loss or damage to Electronic Data, Programs or
                                             Software when they are Raw Stock, Stock in Process, Finished Stock manufactured by
                                             the Insured, and supplies or other Merchandise.

                5.02.04.01.02.               Errors or omissions in processing or copying, except when direct physical loss or
                                             damage caused by a Covered Cause of Loss results. Then only that resulting
                                             damage is covered.

                5.02.04.01.03.               Loss or damage to Electronic Data, Programs or Software from errors or omissions in
                                             programming or machine instructions.

                5.02.05.             CONTINGENT TIME ELEMENT
                                     This Policy covers the actual Time Element loss as provided by the Policy, sustained by the
                                     Insured during the Period of Liability directly resulting from the necessary Suspension of the
                                     Insured's business activities at an Insured Location if the Suspension results from direct physical
                                     loss of or damage caused by a Covered Cause of Loss to Property (of the type insurable under
                                     this Policy) at Direct Dependent Time Element Locations, Indirect Dependent Time Element
                                     Locations, and Attraction Properties located worldwide, except for in the following:

                                     Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                                     -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                                     Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                                     Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                                     Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                                     Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                                     Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,
                                     Palestine, Reunion, Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri




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                                                    Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo,
                                                    Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                                     Any other country where prohibited by United States law or where trade relations are unlawful as
                                     determined by the Government of the United States of America or its agencies.

                5.02.05.01.              As respects Contingent Time Element:

                5.02.05.01.01.               The Insured will influence and cooperate with the Direct Dependent Time Element
                                             Locations, Indirect Dependent Time Element Locations, and Attraction Properties in
                                             every way and take any reasonable and necessary action, including the use of other
                                             machinery, supplies or locations, to mitigate the loss payable hereunder.

                5.02.05.01.02.               In determining the indemnity payable hereunder, the Company will consider the amount
                                             of income derived before the date of physical loss or damage and the probable amount of
                                             income after the date of loss or damage.

                5.02.05.01.03.               4.02.05.01.03. does not apply.

                5.02.05.02.          Any Time Element loss directly or indirectly caused by or resulting from any Terrorist Activity
                                     regardless of any other cause or event, whether or not insured under this Policy, contributing
                                     concurrently or in any other sequence to the loss is excluded when the Direct Dependent Time
                                     Element Locations, Indirect Dependent Time Element Locations, and Attraction Properties
                                     is outside of the USA, its territories, possessions and missions, and the Commonwealth of Puerto
                                     Rico.

                5.02.05.03.          As respects Indirect Dependent Time Element Locations and Attraction Properties any Time
                                     Element loss resulting from physical loss or damage caused by or resulting from Earthquake,
                                     Flood, or Named Storm regardless of any other cause or event, whether or not insured under this
                                     Policy, contributing concurrently or in any other sequence to the loss is excluded.

                5.02.06.             DEBRIS REMOVAL
                                     This Policy covers the reasonable and necessary costs incurred to demolish and remove debris of
                                     property from an Insured Location that remains following direct physical loss or damage resulting
                                     from a Covered Cause of Loss. This includes the cost to demolish the physically undamaged
                                     portion of such property insured due to the enforcement of any law or ordinance regulating the
                                     demolition, construction, repair, replacement or use of buildings or structures at an Insured
                                     Location.

                5.02.06.01.              This Coverage does not insure the costs to remove:

                5.02.06.01.01.               Property Not Covered that is Contaminated; or

                5.02.06.01.02.               The Contaminant in or on Property Not Covered, whether or not the Contamination
                                             results from direct physical loss or damage caused by a Covered Cause of Loss. This
                                             Coverage shall cover the costs of removal of contaminated Covered Property or the
                                             Contaminant in or on Covered Property only if the Contamination, due to the actual not
                                             suspected presence of Contaminant(s), of the debris resulted from direct physical loss or
                                             damage caused by a Covered Cause of Loss.




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                5.02.07.             DECONTAMINATION COSTS
                                     If Covered Property is Contaminated from direct physical loss of or damage caused by a Covered
                                     Cause of Loss to Covered Property and there is in force at the time of the loss any law or
                                     ordinance regulating Contamination due to the actual not suspected presence of Contaminant(s),
                                     then this Policy covers, as a direct result of enforcement of such law or ordinance, the increased
                                     cost of decontamination and/or removal of such Contaminated Covered Property in a manner to
                                     satisfy such law or ordinance. This Coverage applies only to that part of Covered Property so
                                     Contaminated due to the actual not suspected presence of Contaminant(s) as a result of direct
                                     physical loss or damage. The Company is not liable for the costs required for removing
                                     Contaminated uninsured property nor the Contaminant therein or thereon, whether or not the
                                     Contamination results from a Covered Cause of Loss.

                5.02.08.             DEFERRED PAYMENTS
                                     This Policy will pay for direct physical loss of or damage caused by a Covered Cause of Loss, to
                                     Personal Property (of the type insurable under this Policy). Such property must be sold by the
                                     Insured under a conditional sale, trust agreement, or installment or deferred payment plan. Such
                                     property must have been delivered to the buyer. Coverage is limited to the unpaid balance for
                                     such property.

                                     In the event of loss to property sold under deferred payment plans, the Insured will use all
                                     reasonable efforts, including legal action, if necessary, to collect outstanding amounts due or to
                                     regain possession of the property.

                5.02.08.01.              Under this Coverage the Policy excludes loss or damage:

                5.02.08.01.01.               Pertaining to products recalled including, but not limited to, the costs to recall, test or to
                                             advertise such recall by the Insured;

                5.02.08.01.02.               From theft or conversion by the buyer of the property after the buyer has taken possession
                                             of such property;

                5.02.08.01.03.               To the extent the buyer continues payments; or

                5.02.08.01.04.               Not within the covered Territory of this Policy.

                5.02.09.             ERRORS AND OMISSIONS
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                     to property which is not payable under this Policy because of an error or unintentional omission at
                                     the time of Policy inception in the description or inclusion of any Location owned, occupied,
                                     leased or rented by the Insured to be Covered Property; but only to the extent this Policy would
                                     have provided coverage had the error or unintentional omission not been made.

                                     The Policy also covers the actual Time Element loss sustained by the Insured, during the Period of
                                     Liability resulting from the necessary Suspension of the Insured's business activities at that
                                     Location, if the Suspension is caused by direct physical loss of or damage caused by a Covered
                                     Cause of Loss to such Property.

                                     The Insured must report any error or unintentional omission as soon as possible.

                5.02.09.01.              This Coverage does not apply:




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                5.02.09.01.01.               If there is coverage available under Newly Acquired Coverage or Miscellaneous Unnamed
                                             Locations Coverage of this Policy; or

                5.02.09.01.02.               For any error or omission in limits or deductibles.

                5.02.10.                     EXPEDITING COSTS
                                             This Policy covers the reasonable and necessary costs incurred to pay for the temporary
                                             repair of direct physical loss of or damage caused by a Covered Cause of Loss to
                                             Covered Property and to expedite the permanent repair or replacement of such damaged
                                             property.

                                             This Coverage excludes costs recoverable elsewhere in this Policy, or of permanent repair
                                             or replacement of damaged property.

                5.02.11.             FINE ARTS
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                            to Fine Arts at an Insured Location.

                5.02.11.01.                  This Policy excludes loss or damage to Fine Arts directly or indirectly caused by or
                                             resulting from the following regardless of any other cause or event, whether or not
                                             insured under this Policy, contributing concurrently or in any other sequence to the loss:

                5.02.11.01.01.               Breakage of bric-a-brac, glassware, marble, porcelain, statuary, and similar fragile
                                             property resulting from the article being dropped or knocked over, whether intentional or
                                             accidental;

                5.02.11.01.02.               Any repairing, restoring or retouching process; or

                5.02.11.01.03.               Any pre-existing condition.

                5.02.12.             FIRE DEPARTMENT SERVICE CHARGE
                                     The Company will pay for the reasonable additional expenses, resulting from costs of fire
                                     extinguishing materials expended, incurred by the Insured when the Fire Department is called to
                                     save or protect Covered Property from a Covered Cause of Loss at an Insured Location. The Fire
                                     Department Service Charges are those assumed by contract or agreement prior to loss or damage or
                                     required by local ordinance.

                5.02.13.             IMPOUNDED WATER
                                     The Company will pay for the actual Time Element loss as provided by this Policy, sustained by
                                     the Insured during the Period of Liability resulting from the necessary Suspension of the Insured's
                                     business activities at an Insured Location if the Suspension is caused by the lack of a supply of
                                     water from a water supply stored behind dams or in reservoirs on the Insured Location. The water
                                     supply must be used as a Raw Material or for generation of power or for other manufacturing
                                     purposes. The inadequate supply of water must result from the release of the water from the water
                                     supply and be caused by direct physical loss of or damage caused by a Covered Cause of Loss to
                                     the dam, reservoir, or connected equipment. The Company will pay for the actual Time Element
                                     loss sustained, in excess of the applicable deductible, but not to exceed the number of consecutive
                                     days as stated in the Declarations after the damaged dam, reservoir or connected equipment has
                                     been repaired or replaced, with the exercise of due diligence and dispatch, up to the limit applying
                                     to this Coverage.




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                     5.02.14.              INCREASED COST OF CONSTRUCTION
                     5.02.14.01.           This Policy covers the reasonable and necessary costs incurred, described in 05.02.14.03., t0
                                           satisfy the minimum requirements of the enforcement 0f any law or ordinance regulating the
                                           demolition, construction, repair, replacement 0r use of buildings or structures at an Insured
                                           Location, provided:


                     5.02.14.01.01.             Such law or ordinance         is   in force   on the date 0f direct physical   loss   0f 0r damage caused
                                               by a Covered Cause of Loss t0 Covered                 Property; and


                     5.02. 14.01.02.            Its   enforcement   is   a direct result 0f direct physical loss 0f 0r damage caused by a Covered
                                                Cause 0f Loss    to      Covered Property.

                     5.02.14.02.           This Coverage does not cover loss due t0 any law 0r ordinance with which the Insured was
                                                                                  When the building was undamaged, and the Insured
                                           required to comply before the loss, even
                                           did not comply.


                     5.02. 14.03.          This Coverage, as respects the property insured in 5.02.14.01 ., covers:


                     5.02.14.03.01.            The increased cost t0 repair 0r rebuild the physically damaged portion of such property
                                               with materials and in a manner to satisfy such law 0r ordinance; and

                     5.02.14.03.02.            The increased cost t0 rebuild physically undamaged property that has been demolished
                                               with materials and in a manner t0 satisfy such law 0r ordinance, to the extent that such
                                               costs result when the demolition 0f the insured property is required to satisfy such law 0r
                                                ordinance.


                     5.02. 14.03.03.            This Coverage applies only t0 the costs described in 5,02,14,03. The portion 0f the cost to
                                               repair, rebuild or replace propertyWith property 0f like kind and quality is not part 0f this
                                                Coverage and_is     t0    be considered direct physical loss of 0r damage under          1.01.


                     5.02.14.04.           This Coverage excludes any costs incurred as a direct or indirect result 0f enforcement 0f any
                                           laws 0r ordinances regulating any form 0f Contamination.


                     5.02.14.05.           The Company’s maximum              liability for this   Coverage in any Occurrence Will not exceed the
                                           actual cost incurred in 5.02. 14.03.        up   t0 the limit applying t0 this Coverage.


                     5.02.15.          INGRESS/EGRESS
                                       The Company         pay for the actual Time Element loss sustained by the Insured, as provided by
                                                        will
                                       this Policy, resulting  from the necessary Suspension 0f the Insured's business activities at an
                                       Insured Location if ingress or egress to that Insured Location by the Insured's suppliers, customers
                                       0r employees is prevented by physical obstruction due t0 direct physical loss 0f 0r damage caused
                                       by a Covered Cause 0f Loss t0 property not owned, occupied, leased 0r rented by the Insured 0r
                                       insured under this Policy and located Within the distance of the Insured Location as stated in the
                                       Declarations. The Company Will pay for the actual Time Element loss sustained, subject to the
                                       deductible provisions that would have applied had the physical loss or damage occurred at the
                                       Insured Location, during the time ingress or egress remains prevented by physical obstruction but
                                       not t0 exceed the number 0f consecutive days as stated in the Declarations following such
                                       obstruction up t0 the limit applying t0 this Coverage.


                     5 .02. 1 6.       INTERNATIONAL INTERDEPENDENCY
                                       The Company         pay for the actual Time Element loss sustained by the Insured, as provided by
                                                        will
                                       this Policy, resulting  from the necessary suspension 0f the Insured's business activities at an
                                       Insured Location, if the suspension is caused by direct physical loss 0f 0r damage t0 Property (0f




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                                     the type insurable under this Policy other than Finished Stock) caused by a Covered Cause of
                                     Loss at a Location, that would be an Insured Location if it were located in the Coverage Territory
                                     of this Policy.

                                     The Location that sustains direct physical loss or damage cannot be located within the Coverage
                                     Territory of this Policy and is located anywhere in the world, except for:

                                     Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                                     -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                                     Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                                     Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                                     Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                                     Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                                     Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,
                                     Palestine, Reunion, Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri
                                     Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan,
                                     Uganda, Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                                     Any other country where prohibited by United States law or where trade relations are unlawful as
                                     determined by the Government of the United States of America or its agencies.

                                     The Insured Location must depend on the continuation of business activities at the Location that
                                     sustained direct physical loss or damage caused by a Covered Cause of Loss. The Company will
                                     pay for the actual Time Element loss sustained, in excess of the Policy Deductible, but not to
                                     exceed the number of consecutive days following such suspension as stated in the Declarations up
                                     to the limit applying to this Coverage.

                5.02.16.01.          Any Time Element loss directly or indirectly caused by or resulting from any Terrorist Activity
                                     regardless of any other cause or event, whether or not insured under this Policy, contributing
                                     concurrently or in any other sequence to the loss is excluded when the Location, that would be an
                                     Insured Location if it were located in the Coverage Territory of this Policy is outside of the USA,
                                     its territories, possessions and missions, and the Commonwealth of Puerto Rico.

                5.02.17.             LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                                     DISPOSAL
                                     This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal of the
                                     actual not suspected presence of Contaminant(s) from uninsured property consisting of land,
                                     water or any other substance in or on land at the Insured Location if the release, discharge or
                                     dispersal of such Contaminant(s) is a result of direct physical loss of or damage caused by a
                                     Covered Cause of Loss to Covered Property.

                5.02.17.01.              This Policy excludes the cost to cleanup, remove and dispose of Contaminant(s) from such
                                         property:

                5.02.17.01.01.               At any Location where the building or structure is not insured by this Policy;

                5.02.17.01.02.               At any property insured under Newly Acquired, Errors and Omissions or Miscellaneous
                                             Unnamed Location Coverage provided by this Policy; or

                5.02.17.01.03.               When the Insured fails to give written notice of loss to the Company within 180 days
                                             after inception of the loss.




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                5.02.18.             LAND IMPROVEMENTS
                                     The Company will pay for the additional cost of reclaiming, restoring or repairing Land
                                     Improvements resulting from direct physical loss of or damage caused by a Covered Cause of
                                     Loss to Covered Property at an Insured Location.

                5.02.18.01.              As respects lawns, plants, shrubs or trees direct physical loss or damage directly or indirectly
                                         caused by or resulting from Earthquake, Flood, or Named Storm regardless of any other
                                         cause or event, whether or not insured under this Policy, contributing concurrently or in any
                                         other sequence to the loss is excluded.

                5.02.19.             MISCELLANEOUS PERSONAL PROPERTY
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                     to the following property while within the coverage territory but away from an Insured Location.

                5.02.19.01.              The Insured's interest in Personal Property; and

                5.02.19.02.              Property of Others that is:

                5.02.19.02.01.               In the Insured's care, custody or control;

                5.02.19.02.02.               In which the Insured has an insurable interest or obligation;

                5.02.19.02.03.               For which the Insured is legally liable; or

                5.02.19.02.04.               For which the Insured has agreed in writing prior to any loss or damage to provide
                                             coverage.

                5.02.19.02.05.               This Coverage excludes property in transit or insured under any other coverage in this
                                             Policy.

                5.02.20.             MISCELLANEOUS UNNAMED LOCATIONS
                5.02.20.01.              The Company will pay for:

                5.02.20.01.01.               Direct physical loss of or damage caused by a Covered Cause of Loss at a
                                             Miscellaneous Unnamed Location; and

                5.02.20.01.02.               The actual Time Element loss sustained by the Insured, during the Period of Liability,
                                             resulting from the Suspension of the Insured's business activities if such Suspension is
                                             caused by direct physical loss or damage caused by a Covered Cause of Loss;

                5.02.20.02.              To the following:

                5.02.20.02.01.               Covered Property at a Miscellaneous Unnamed Location that has been reported to the
                                             Insurer, but agreed by the Insurer not to be scheduled;

                5.02.20.02.02.               Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                                             the Insurer and is under the Insured's care, custody and control; or

                5.02.20.02.03.               Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                                             the Insurer and is not under the Insured's care, custody and control.

                5.02.20.03.                  This Coverage will not apply for loss or damage that is payable under any other provision
                                             in this Policy.




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                5.02.21.             NEWLY ACQUIRED
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                     to property (of the type insurable under this Policy), at any Location purchased, leased or rented
                                     by the Insured after the inception date of this Policy. This Coverage applies from the date of
                                     purchase, lease or rental. The Policy also covers the actual Time Element loss sustained by the
                                     Insured, during the Period of Liability resulting from the necessary Suspension of the Insured's
                                     business activities at that Location, if the Suspension is caused by direct physical loss of or
                                     damage caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                                     The Coverage provided above will end at the earliest of: the Policy expiration, the number of
                                     consecutive days as stated in the Declarations after the Insured first acquired an interest in the
                                     Covered Property, or when the Insured reports the Location to the Insurer.

                5.02.22.             OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND
                                     TIME ELEMENT LOSS
                                     The Company will pay for direct physical loss of or damage to Covered Property and for the
                                     actual Time Element loss sustained as provided by the Policy during the Period of Service
                                     Interruption at Insured Locations caused by the interruption of an incoming service
                                     consisting of electricity, gas, fuel, steam, water, refrigeration, voice, data or video or from the
                                     lack of outgoing voice, data, video or sewage service.

                                     The lack of service must result from direct physical loss of or damage caused by a Covered Cause
                                     of Loss to property (other than satellites but including transmission and distribution lines) of the
                                     supplier of such service located within this Policy's Territory, that immediately prevents in whole
                                     or in part the delivery of such usable services.

                                     This Coverage will only apply when the Period of Service Interruption exceeds the time shown
                                     as Qualifying Period in the Qualifying Period clause of the Declarations section. If the
                                     Qualifying Period is exceeded, then this Policy will pay for the amount of loss in excess of the
                                     applicable deductible, but not more than the limit applying to this Coverage.

                5.02.22.01.              Exclusions 3.03.01.02. and 3.03.04. do not apply to Off Premises Service Interruption
                                         Property Damage and Time Element Loss.

                5.02.22.02.              The following additional exclusion applies:

                                         This Policy excludes direct physical loss or damage and Time Element loss directly or
                                         indirectly caused by or resulting from the interruption of such services, when such interruption
                                         is caused directly or indirectly by the failure of the Insured to comply with the terms and
                                         conditions of any contracts the Insured has for the supply of such specified services regardless
                                         of any other cause or event, whether or not insured under this Policy, contributing
                                         concurrently or in any other sequence to the loss.

                5.02.23.             PROFESSIONAL FEES
                                     This Policy covers the actual costs incurred by the Insured, of reasonable fees paid to the Insured's
                                     accountants, architects, auditors, engineers, or other professionals and the cost of using the
                                     Insured’s employees, for producing and certifying any details contained in the Insured's books or
                                     documents, or such other proofs, information or evidence required by the Company resulting from
                                     loss or damage payable under this Policy for which the Company has accepted liability.




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                                     This Coverage will not include the fees and costs of attorneys, Public Adjusters, and loss
                                     appraisers, all including any of their subsidiary, related or associated entities either partially or
                                     wholly owned by them or retained by them for the purpose of assisting them, nor the fees and
                                     costs of loss consultants who provide consultation on coverage or negotiate claims.

                5.02.24.             PROTECTION AND PRESERVATION OF PROPERTY
                                         This Policy covers, up to the limit applying to this Coverage:

                5.02.24.01.              The reasonable and necessary costs incurred for actions to temporarily protect or preserve
                                         Covered Property; provided such actions are necessary due to actual or imminent physical loss
                                         or damage due to a Covered Cause of Loss to such Covered Property; and

                5.02.24.02.              The Gross Earnings loss sustained by the Insured for a period of time not to exceed the hours
                                         listed in the Declarations prior to and after the Insured first taking reasonable action for the
                                         temporary protection and preservation of Covered Property.

                5.02.24.03.              This Coverage is subject to the deductible provisions that would have applied had the physical
                                         loss or damage occurred.

                5.02.25.             RADIOACTIVE CONTAMINATION
                                     The Company will pay for direct physical loss of or damage to Covered Property at an Insured
                                     Location caused by sudden and accidental radioactive contamination, including resultant radiation
                                     damage, provided:

                5.02.25.01.              Radioactive contamination arises out of material at the Insured Location:

                5.02.25.01.01.                Which is commonly known to be radioactive;

                5.02.25.01.02.                Is used as part of the Insured's business activities; and

                5.02.25.01.03.                There is neither a nuclear reactor capable of sustaining nuclear fission in a self-supporting
                                              chain reaction, nor any new or used nuclear fuel which is intended for or which has been
                                              used in that type of nuclear reactor at the Insured Location.

                5.02.26.             RESEARCH AND DEVELOPMENT
                                     The Company will pay for the fixed charges and fixed expenses (including Ordinary Payroll)
                                     actually incurred by the Insured directly attributable to the interruption of research and
                                     development project(s) after direct physical loss of or damage caused by a Covered Cause of Loss
                                     to research and development project(s) up to the limit applying to this Coverage.

                5.02.26.01.              Coverage starts when there is direct physical loss of or damage caused by a Covered Cause of
                                         Loss to research and development project(s) and ends the earlier of:

                5.02.26.01.01.                The time period stated in the Declarations; or

                5.02.26.01.02.                When the research and development project(s) has resumed.

                5.02.26.02.              This Policy will not pay for any other Time Element loss under this Coverage. Loss under
                                         this Coverage does not include any fixed charges and/or fixed expenses (including Ordinary
                                         Payroll) otherwise payable elsewhere in the Policy.




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                5.02.27.             RESEARCH ANIMALS

                                     The Company will pay for death of Research Animals and the Insured’s reasonable and necessary
                                     costs incurred to research, replace or restore the animal lost to the condition that existed prior to
                                     the loss when caused by a Covered Cause of Loss, while anywhere within this Policy’s Territory,
                                     including while in transit, when the loss is in excess of the amount stated in the Declarations. No
                                     deductible applies to this Coverage. This Coverage does not apply to loss of the Research Animals
                                     that cannot be replaced to the condition that existed prior to the loss.

                5.02.27.01.              The following additional exclusions apply:

                5.02.27.01.01.               Death or destruction from natural causes, unknown causes, medical procedures including
                                             surgery, inoculation, parturition, or abortion;

                5.02.27.01.02.               Errors or omission in processing and/or failure on the part of the Insured to provide
                                             nourishment, medicine or sanitary conditions;

                5.02.27.01.03.               Contamination of animal, food or medicine;

                5.02.27.01.04.               The intentional slaughter of animals;

                5.02.27.01.05.               Escape, unless directly resulting from a Covered Cause of Loss; or

                5.02.27.01.06.               Death or destruction resulting from activities of any animal, unless resulting from a
                                             Covered Cause of Loss.

                5.02.28.             SPOILAGE
                                     In the event of spoilage of Raw Materials, Stock in Process, Finished Stock or Merchandise,
                                     caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, the
                                     Company will pay for such spoilage provided the Raw Materials, Stock in Process, Finished
                                     Stock or Merchandise is in storage or in the course of being manufactured.

                5.02.29.             TENANTS PROHIBITED ACCESS
                                     The Company will pay for the actual Gross Earnings loss sustained, as provided by this Policy,
                                     resulting from the necessary Suspension of the Insured's business activities at an Insured Location
                                     if access to that Location by the Insured's suppliers, customers or employees is physically
                                     obstructed due to the owner, landlord or a legal representative of the building owner or landlord,
                                     prohibiting access to the Insured Location. This Coverage will only apply when the period of time
                                     that access is prohibited exceeds the time shown as Qualifying Period in the Qualifying Period
                                     clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay
                                     for the amount of loss in excess of the Policy Deductible, but not more than the limit applying to
                                     this Coverage.

                5.02.29.01.              The following additional exclusion applies:

                                         This Policy excludes loss directly or indirectly caused by or resulting from prohibited access
                                         to the Insured Location, when such prohibited access is caused directly or indirectly by the
                                         failure of the Insured to comply with the terms and conditions of any contracts the Insured has
                                         for the use of such Location regardless of any other cause or event, whether or not insured
                                         under this Policy, contributing concurrently or in any other sequence to the loss.




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                5.02.30.             TRANSIT
                5.02.30.01.                  The Company will pay for direct physical loss of or damage caused by a Covered Cause
                                             of Loss to Covered Property while in transit within the coverage Territory and including:

                5.02. 30.01.01.              The Insured's interest in Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S)
                                             shipments and Returned shipments. The Insured’s contingent interest is admitted.

                 5.02. 30.01.02.             The Insured's loss of property caused by fraud or deceit perpetrated by any person or
                                             persons who may represent themselves to be the proper party or parties to receive goods
                                             for shipment or accept goods for delivery.

                5.02. 30.01.03.              The Insured's legal liability as a carrier of lawful goods and merchandise by vehicles
                                             under bills of lading or shipping receipts issued by the Insured, while in the Insured's
                                             custody or in the custody of connecting carriers in transit.

                5.02. 30.01.04.              The Insured’s interest in general average, salvage and other charges on shipments covered
                                             hereunder.

                5.02. 30.01.05.              The Insured is granted the privilege to ship under released or limited bills of lading or
                                             shipment receipts.

                5.02. 30.02.             The Policy also covers the actual Time Element loss sustained by the Insured, during the
                                         Period of Liability resulting from the necessary Suspension of the Insured's business activities
                                         at the destination Location, if the Suspension is caused by direct physical loss of or damage
                                         caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                                         The Company will pay for the reasonable and necessary extra expenses incurred by the
                                         Insured, during the Period of Liability, to resume and continue as nearly as practicable the
                                         Insured's normal business activities that otherwise would be necessarily suspended, due to
                                         direct physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                                         insurable under this policy.

                                         The Company will reduce the amount payable as extra expense by the fair market value
                                         remaining at the end of the Period of Liability for property obtained in connection with the
                                         above.

                                         Extra expenses mean that amount spent to continue the Insured's business activities over and
                                         above the expenses the Insured would have normally incurred had there been no direct
                                         physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                                         insurable under this policy. Extra expense does not include any Gross Earnings loss, the cost
                                         of permanent repair or replacement of property that has suffered direct physical loss or
                                         damage, or expenses otherwise payable elsewhere in the Policy.

                5.02. 30.03.             Coverage starts when Covered Property is in or on the transporting vehicle and the vehicle
                                         leaves the originating Location and ends upon arrival at the destination Location and the
                                         goods are transferred to the custody and control of the consignee, warehouseman, or receiver.

                5.02. 30.04.             The Company will not pay for loss or damage to:

                5.02. 30.04.01.              Property while waterborne, except:

                5.02. 30.04.01.01.                  While on the navigable inland waterways of a country;

                5.02. 30.04.01.02.                  While on roll-on/roll-off ferries between countries; or




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                5.02. 30.04.01.03.                  While on coastal shipments.

                5.02. 30.04.02.                Property shipped by mail from the time it passes into custody of any governmental postal
                                               service;

                5.02. 30.04.03.                Property for sale while in the care, custody or control of the Insured's sales persons or
                                               representatives;

                5.02. 30.04.04.                Any conveyance used for property in transit;

                5.02. 30.04.05.                Property insured under any import or export ocean marine insurance; or

                5.02. 30.04.06.                Property under airborne shipment unless by regularly scheduled passenger airlines or air
                                               freight Carriers.

                5.02. 30.05.             If this Policy expires during the due course of transit, coverage is extended until the shipment
                                         is delivered to its final destination.

                5.02.31.             VALUABLE PAPERS AND RECORDS
                                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                                     to Valuable Papers and Records at an Insured Location. For all Valuable Papers and Records,
                                     the Company will pay for the value of the blank personal property, and the Insured's reasonable
                                     and necessary costs incurred to research, replace or restore the information lost or damaged
                                     thereon.

                                     Except:

                                     For Electronic Data and/or Program (Software), the Company will pay for the value of the
                                     blank Media, and the cost of reproducing the Electronic Data and/or Program (Software) from
                                     duplicates or originals of the previous generation of the data.

                                     This Coverage does not apply to loss or damage to property that cannot be repaired or restored
                                     with like kind or quality.

                5.02.32.             NEW CONSTRUCTION AND ADDITIONS
                                     The Company will pay, up to the limit applying to this Coverage, for:

                5.02.32.01.              Direct physical loss of or damage to Property of the type insurable under this policy that is
                                         New Construction or Additions;

                5.02.32.02.              The actual Time Element loss sustained by the Insured arising out of the Delay in
                                         Completion; and

                5.02.32.03.              The Actual Loss Sustained incurred by the Insured as Soft Costs during such Delay in
                                         Completion.

                5.02.32.04.              The Coverage for Time Element will only apply when the Delay in Completion exceeds the
                                         time shown as Qualifying Period in the Qualifying Period clause of the Declarations section.
                                         If the Qualifying Period is exceeded, then this Policy will pay up to the number of
                                         consecutive days stated in the Declarations after the Qualifying Period.

                5.02.32.05.              The following additional exclusion applies to coverage provided in NEW CONSTRUCTION
                                         AND ADDITIONS:




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                                         This Policy excludes direct physical loss or damage directly or indirectly caused by or
                                         resulting from the effects of rain, sleet, or snow, whether or not driven by wind, on the interior
                                         portion of buildings under construction or addition when the installation of the roof, walls or
                                         windows of such buildings has not been completed regardless of any other cause or event,
                                         whether or not otherwise insured under this Policy, contributing concurrently or in any other
                                         sequence to the loss.

                5.02.33.             OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
                                     This Policy covers direct physical loss or damage to property (of the type insurable under this
                                     Policy) caused by a Covered Cause of Loss that is under contract to be used in a construction
                                     project at an Insured Location. Coverage attaches at the time such property is delivered to the
                                     Insured or its contractor (with respect to the property under construction) by the manufacturer or
                                     supplier and such property is located at a storage site within this Policy’s Territory but away from
                                     the Insured Location.

                                     This Coverage includes necessary expendable materials and supplies to be used in the construction
                                     project but does not include any property owned or rented by the contractor.

                5.03.            DESCRIBED CAUSES OF LOSS
                5.03.01.             BREAKDOWN OF EQUIPMENT
                                     The Company will pay for direct physical loss of or damage to Covered Equipment, Time
                                     Element loss and Special Coverages loss as provided by this Policy, if such loss or damage is
                                     caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, which
                                     manifests itself by physical damage at the time of its Occurrence and necessitates repair or
                                     replacement; subject to the terms and conditions set forth in this Policy, regardless of any other
                                     cause or event contributing concurrently or in any other sequence of loss.

                                     All Breakdown(s) at any one Insured Location that manifest themselves at the same time and are
                                     the result of the same cause will be considered one Breakdown.

                5.03.02.             EARTH MOVEMENT
                                     The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                     loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                     Earth Movement regardless of any other cause or event contributing concurrently or in any other
                                     sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
                                     sprinkler leakage or Flood will not be considered loss by Earth Movement within the terms and
                                     conditions of this Policy.

                                     All Earth Movement that occurs within the period defined in the Declarations will constitute a
                                     single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
                                     elect the point in time when the period defined in the Declarations begins; but such point in time
                                     must not precede loss or damage to Covered Property.

                5.03.03.             FLOOD
                                     The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                     loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                     Flood regardless of any other cause or event contributing concurrently or in any other sequence of
                                     loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism or sprinkler
                                     leakage will not be considered to be loss by Flood within the terms and conditions of this Policy.




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                5.03.04.             NAMED STORM
                                     The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                                     loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                                     Named Storm; regardless of any other cause or event contributing concurrently or in any other
                                     sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
                                     sprinkler leakage or Flood will not be considered loss by Named Storm within the terms and
                                     conditions of this Policy.

                                     All Named Storm damage that occurs within the period defined in the Declarations will constitute
                                     a single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
                                     elect the point in time when the period defined in the Declarations begins; but such point in time
                                     must not precede loss or damage to Covered Property.




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            SECTION VI –GENERAL POLICY CONDITIONS
                6.01.            CANCELLATION/NON-RENEWAL

                6.01.01.             Cancellation

                6.01.01.01.               The First Named Insured shown in the Declarations may cancel this Policy by mailing or
                                          delivering to the Company advance written notice of cancellation.

                6.01.01.02.               The Company may cancel this Policy by mailing or delivering to the First Named Insured
                                          written notice of cancellation at least:

                6.01.01.02.01.                The number of days before the effective date of cancellation if the Company cancels for
                                              nonpayment of premium, as stated in the Declarations; or

                6.01.01.02.02.                The number of days before the effective date of cancellation if the Company cancels for
                                              any other reason, as stated in the Declarations.

                6.01.01.03.               The Company will mail or deliver notice to the First Named Insured's mailing address
                                          shown in the Declarations of this Policy or any Endorsement attached thereto.

                6.01.01.04.               Notice of cancellation will state the effective date of cancellation. The Policy Period will end
                                          on that date.

                6.01.01.05.               If this Policy is cancelled, the Company will send the First Named Insured any premium
                                          refund due. If the Company cancels, the refund will be pro rata. If the First Named Insured
                                          cancels, the refund may be less than pro rata but no less than the customary short rate amount.
                                          The cancellation will be effective even if the Company has not made or offered a refund.

                6.01.01.06.               If notice is mailed, proof of mailing will be sufficient proof of notice.

                6.01.01.07.               If under the laws of the jurisdiction in which the property is located, such cancellation terms
                                          or conditions are different, then cancellation terms or conditions will be as permitted by such
                                          laws.

                6.01.02.             Non-renewal

                6.01.02.01.               The Company may non-renew this Policy by mailing or delivering to the First Named
                                          Insured written notice, the number of days before the non-renewal, as permitted by law in the
                                          jurisdiction where in the property is located.

                6.02.            CERTIFICATES OF INSURANCE
                                 Any certificate of insurance issued in connection with this Policy is provided solely as a matter of
                                 convenience or information for the addressee(s) or holder(s) of such certificate of insurance, except as
                                 provided under the Policy when a loss payee(s) or mortgagee(s) are named. The certificate does not
                                 amend, extend or alter the coverage afforded by the Policy.
                                 In the event this policy is cancelled pursuant to the CANCELLATION/NON-RENEWAL provision,
                                 other than for nonpayment of premium, and except as provided otherwise, the Company shall endeavor
                                 to provide notice of cancellation to those entities set out in the certificates of insurance on file with the
                                 Company, as soon as practicable, after notifying the First Named Insured. However, in no event will
                                 failure to provide notice to entities set out in certificates of insurance waive the Company’s right or
                                 ability to cancel the policy as allowed by law.




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                                 The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance
                                 consistent with the foregoing.


                6.03.            CONCEALMENT, MISREPRESENTATION OR FRAUD
                6.03.01.             This Policy is void as to all Insureds in any case of fraud by any Insured as it relates to this Policy
                                     at any time. It is also void if any Insured, at any time, intentionally conceals or misrepresents a
                                     material fact concerning:

                6.03.01.01.               This Policy;

                6.03.01.02.               The Covered Property;

                6.03.01.03.               The Insured's interest in Covered Property; or

                6.03.01.04.               A claim under this Policy.

                6.04.            CONFORMITY TO STATUTES
                                 Any provisions required by law to be included in policies issued by the Company shall be deemed to
                                 have been included in this Policy.

                                 If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies,
                                 and if certain provisions are required by law to be stated in this Policy, this Policy shall be read so as
                                 to eliminate such conflict or deemed to include such provisions for Insured Locations within such
                                 jurisdictions.

                6.05.            CONTROL OF DAMAGED GOODS
                                 In the event of direct physical loss of or damage caused by a Covered Cause of Loss to Finished
                                 Stock or Merchandise that carries the Insured's brand or trade name; this Policy gives control of the
                                 physically damaged property as follows, all subject to 6.05.05.

                6.05.01.             The Insured will have full rights to the possession, control and disposition of damaged property in
                                     the event of insured direct physical loss or damage to such property provided the Company agrees
                                     that the property is physically damaged.

                6.05.02.             The Insured, using reasonable judgment, will decide if the Insured can reprocess or sell the
                                     physically damaged property.

                6.05.03.             If the Company takes possession of property that carries the Insured's brand or trade name that
                                     has sustained direct physical loss or damage, the Company will pay for the Insured or the
                                     Insured representative to stamp “salvage”, remove, or obliterate the brand, label or trade name
                                     on the property or its containers if doing so will not damage the property. In either event, the
                                     Insured must re-label such property or its containers to comply with any applicable law.

                6.05.04.             The salvage value of property that is claimed damaged shall be determined at the time of loss.

                6.05.05.             The Insured will allow the Company to deduct from the amount of loss otherwise payable, the fair
                                     market value of such salvage, which could have been obtained on any sale or other disposition of
                                     goods or products through normal insurance industry salvage practices.




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                     6.06.            CURRENCY FOR LOSS PAYMENT
                     6.06.01.             Losses will be adjusted and paid in the currency designated in 2.02., unless directed otherwise by
                                          the Insured.  In the event 0f a loss adjustment involving local currency, the exchange-selling rate
                                          Will be calculated as follows:


                     6.06.01.01.                As     respects the calculation     0f deductibles and Limits 0f             Liability, the rate    0f exchange
                                                published in the Midwest Ed. ofThe Wall Street Journal on the date 0f settlement.

                     6.06.01 .02.               As   respects direct physical loss 0r    damage    t0   Real and Personal Property:

                     6.06.01.02.01.                    The cost to   repair 0r replace Real    and Personal Property will be converted         at the   time the
                                                       cost 0f repair or replacement     is   incurred based on the rate 0f exchange published in the
                                                       Midwest Ed. ofThe Wall        Street Journal     on the date 0f settlement.

                     6.06.01.02.02.                    If such property   is   not replaced or repaired, the conversion Will be based on the rate of
                                                       exchange published      in the Midwest Ed. ofThe Wall Street Journal 0n the date of loss.


                     6.06.01.03.                As  respects Time Element loss the conversion will be based 0n the average 0f the rate of
                                                exchange published in the Midwest Ed. 0f The Wall Street Journal on the date 0f loss and the
                                                rate 0f exchange published in the Midwest Ed. 0f The Wall Street Journal on the last day 0f
                                                the Period 0f Liability.


                     6.06.01.04.                If theMidwest Ed. 0f The Wall Street Journal was not published 0n the stipulated date, or the
                                                rateof exchange was not published on the stipulated date, the rate 0f exchanged Will be as
                                                published on the next business day the rate is published.


                     6.07.            INSPECTIONS            AND SURVEYS
                     6.07.01.             The Company has the         right but not the obligation t0       make inspections and surveys       at   any time, to
                                          give the Insured reports 0n the conditions found, and t0            recommend changes.

                     6.07.02.             Any inspections, surveys, reports or recommendations relate only to insurability and the premiums
                                          t0 be charged. The Company does not make safety inspections. The Company does not undertake
                                          to perform the duty of any person or organization t0 provide for the health or safety of workers or
                                          the public, nor does it represent that conditions are safe, healthful, or comply With laws,
                                          regulations, codes 0r standards.


                     6.07.03.             This condition applies not only t0 the Company, but also t0 any rating, advisory, rate service 0r
                                          similar organization that makes insurance inspections, surveys, reports 0r recommendations.


                     6.08.            JOINT LOSS
                                      This clause applies only if all of the following requirements are met:


                     6.08.01.             The   BREAKDOWN OF EQUIPMENT                        Coverage     is   shown   as   NCP   in the Declarations   0f   this
                                                       BREAKDOWN
                                          Policy and the                     OF EQUIPMENT Coverage carried by the Named Insured,
                                          insuring the Covered Property contains a similar Joint Loss provision with substantially the same
                                          requirements, procedures, and conditions as contained in this Policy.


                     6.08.02.             The loss 0r damage to the Covered Property was caused by a Covered Cause 0f Loss for which
                                          both the Insurer(s) of the Property Coverage and the Insurer(s) 0f the                 OF     BREAKDOWN
                                          EQUIPMENT Coverage admit to some liability for payment under the respective policies.




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                6.08.03.             The total amount of loss is agreed to by the Insured, the Insurer(s) of the Property Coverage and
                                     the Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage.

                6.08.04.             The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                                     EQUIPMENT Coverage disagree as to the amount of loss that both should pay that is attributable
                                     to:

                6.08.04.01.              An accident covered under the BREAKDOWN OF EQUIPMENT Coverage; and

                6.08.04.02.              A Covered Cause of Loss under the Property Coverage.

                6.08.05.             If the requirements listed above are satisfied, the Insurer(s) of the Property Coverage and of the
                                     BREAKDOWN OF EQUIPMENT Coverage will make payments to the extent, and in the
                                     manner, described in the following:

                6.08.05.01.              The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage will pay, after the Insured's
                                         written request, the entire amount of loss that they have agreed as being covered by
                                         BREAKDOWN OF EQUIPMENT Coverage and one-half (1/2) the amount of loss that is in
                                         disagreement.

                6.08.05.02.              The Insurer(s) of the Property Coverage will pay, after the Insured's written request, the entire
                                         amount of loss that they have agreed as being covered by the Property Coverage and one-half
                                         (1/2) the amount of loss that is in disagreement.

                6.08.05.03.              The amount in disagreement to be paid by the Insurer(s) of the BREAKDOWN OF
                                         EQUIPMENT Coverage and the Insurer(s) of the Property Coverage under this Joint Loss
                                         provision shall not exceed the amount payable under the equivalent loss adjustment provisions
                                         of the Insurer(s) of the Property Coverage and the BREAKDOWN OF EQUIPMENT
                                         Coverage.

                6.08.06.             The amount to be paid under this Joint Loss provision shall not exceed the amount that would
                                     have been paid had no Property Coverage or, in the alternative, no BREAKDOWN OF
                                     EQUIPMENT Coverage been in effect at the time of loss.

                6.08.07.             Acceptance by the Insured of sums paid under this Joint Loss provision does not alter, waive or
                                     surrender any other rights against the Insurer(s).

                6.08.08.             Additional Conditions:

                6.08.08.01.              The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                                         EQUIPMENT Coverage agree to submit their differences to arbitration within 90 days after
                                         payment of the loss under the terms of this Joint Loss provision.

                6.08.08.02.              The Insured agrees to cooperate with any arbitration procedures. There will be three
                                         arbitrators: one will be appointed by the Insurer(s) of the BREAKDOWN OF EQUIPMENT
                                         Coverage and the one will be appointed by the Insurer(s) of the Property Coverage. The two
                                         arbitrators will select a third arbitrator. If they cannot agree, either may request that selection
                                         be made by a judge of a court having jurisdiction. A decision agreed to by two of the three
                                         arbitrators will be binding on both parties. Judgment on any award can be entered in any
                                         court that has jurisdiction. The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage
                                         will pay their designated arbitrator and the Insurer(s) of the Property Coverage will pay their
                                         designated arbitrator. The Insurer(s) of the BREAKDOWN OF EQUIPMENT and the
                                         Insurer(s) of the Property Coverage will split the expense of the third arbitrator.




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                6.09.            JURISDICTION
                                 Any disputes arising hereunder will be exclusively subject to the jurisdiction of a court of competent
                                 jurisdiction within the USA.

                6.10.            LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
                                 OBLIGATIONS
                6.10.01.             When specified in the Policy or in Certificates of Insurance on file with the Company, the
                                     Company will pay for covered loss to property insured under this Policy to each:

                6.10.01.01.              Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear, in order of
                                         precedence; or

                6.10.01.02.              Mortgagee as its interest may appear, in order of precedence.

                6.10.02.             The interest of the specified Lender or Mortgagee in property insured under this Policy will not
                                     be invalidated by:

                6.10.02.01.              Any act or neglect of any Insured.

                6.10.02.02.              Commencement of foreclosure, notice of sale, or similar proceedings with respect to the
                                         property.

                6.10.02.03.              Change in the title or ownership of the property.

                6.10.02.04.              Change to a more hazardous occupancy.

                6.10.03.             The Lender or Mortgagee will notify the Company of any known change in ownership, occupancy,
                                     or hazard and, within ten (10) days of written request by the Company, may pay the increased
                                     premium associated with such known change. If the Lender or Mortgagee fails to pay the
                                     increased premium, all coverage under this Policy will cease.

                6.10.04.             In the event of a claim, upon request of the Company, the Lender or Mortgagee will cooperate in
                                     any claim investigation.

                6.10.05.             If this Policy is cancelled at the request of the Insured or its agent, the coverage for the interest of
                                     the Lender or Mortgagee will terminate ten (10) days after the Company sends to the Lender or
                                     Mortgagee written notice of cancellation, unless:

                6.10.05.01.              Earlier terminated by authorization, consent, approval, acceptance, or ratification of the
                                         Insured's action by the Lender, Mortgagee, or its agent.

                6.10.05.02.              This Policy is replaced by the Insured, with a policy providing coverage for the interest of the
                                         Lender or Mortgagee, in which event coverage under this Policy with respect to such interest
                                         will terminate as of the effective date of the replacement policy, notwithstanding any other
                                         provision of this Policy.

                6.10.06.             The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under this
                                     Policy, by sending the specified Lender or Mortgagee written notice sixty (60) days prior to the
                                     effective date of cancellation, if cancellation is for any reason other than non-payment of premium.
                                     If the Insured has failed to pay any premium due under this Policy, the Company may cancel this
                                     Policy for such non-payment, but will send the Lender or Mortgagee written notice ten (10) days
                                     prior to the effective date of cancellation. If the Lender or Mortgagee fails to pay the premium due
                                     by the specified cancellation date, all coverage under this Policy will cease.




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                6.10.07.             The Company has the right to invoke this Policy's Suspended Property clause. When the Company
                                     suspends the insurance, it will apply to the interest of any Lender or Mortgagee. The Company
                                     will send the specified Lender or Mortgagee, at the last known address, a copy of such notice.

                6.10.08.             If the Company pays a Lender or Mortgagee for any loss, and denies payment to the Insured, the
                                     Company will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the
                                     rights of the Lender or Mortgagee under all securities held as collateral. No subrogation will
                                     impair the right of the Lender or Mortgagee to recover the full amount of its claim. At its option,
                                     the Company may pay to a Lender or Mortgagee the whole principal due on the debt or mortgage
                                     plus any accrued interest and charges. In this event, all rights and securities will be assigned and
                                     transferred from the Lender or Mortgagee to the Company, and the remaining debt or mortgage
                                     will be paid to the Company.

                6.10.09.             If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the Insured's
                                     failure to do so, will render proof of loss within sixty (60) days of notice and will be subject to the
                                     Insured’s duties, obligations and provisions of this Policy when presenting a claim.

                6.10.10.             In no event will the amount payable to a Lender or Mortgagee exceed the amount which would be
                                     payable to the Named Insured.

                6.11.            LIBERALIZATION
                                 If during the period that insurance is in force under this Policy, any filed rules or regulations are
                                 revised by statute so as to broaden this insurance without additional premium charge, such extended or
                                 broadened insurance will inure to the benefit of the Insured within such jurisdiction, effective the date
                                 of the change specified in such statute.

                6.12.            LOSS ADJUSTMENT/PAYABLE
                                 Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or
                                 as directed by the First Named Insured.

                                 When a Lender or Mortgagee is named in the Certificates of Insurance on file with the Company, the
                                 Lender or Mortgagee will be included in loss payment as their interests may appear.

                                 When a Loss Payee is named in the Certificates of Insurance on file with the Company, the loss payee
                                 will be included in loss payments made to the insured as their interests may appear. The loss payee has
                                 no other rights under the policy.

                6.13.            LOSS CONDITIONS
                6.13.01.             DUTIES IN THE EVENT OF LOSS OR DAMAGE

                                     The Insured must see that the following are done in the event of direct physical loss or damage to
                                     Covered Property:

                6.13.01.01.              Notify the police if a law may have been broken.

                6.13.01.02.              Give the Company prompt notice of the loss or damage. Include a description of the property
                                         involved.

                6.13.01.03.              As soon as possible, give the Company a description of how, when and where the loss or
                                         damage occurred.




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                6.13.01.04.              Take all reasonable steps to protect the Covered Property from further damage caused by a
                                         Covered Cause of Loss. If feasible, set the damaged property aside and in the best possible
                                         order for examination. Also, keep a record of expenses for emergency and temporary repairs
                                         for consideration in the settlement of the claim. This will not increase the Limit of Liability.

                6.13.01.05.              At the Company's request, provide a complete inventory of the damaged and undamaged
                                         property, including quantities, costs, values and amount of loss claimed.

                6.13.01.06.              As often as reasonably required, permit the Company to inspect the property and records
                                         evidencing the loss or damage, including taking some or all of damaged and undamaged
                                         property for inspection, testing and analysis, and permit the Company to make copies of the
                                         Insured's books and records.

                6.13.01.07.              Permit the Company to question the Insured, the Insured's employees and agents under oath,
                                         while not in the presence of any other insured and at such times as may be reasonably
                                         required, about any matter relating to this insurance or the loss or damage, including an
                                         Insured's books and records. In the event of this examination, an Insured's answers must be
                                         signed or attested to by a notary public or certified court reporter.

                6.13.01.08.              Give the Company a signed sworn statement of loss containing the information necessary to
                                         investigate the claim. If requested by the Company, the Company will supply the necessary
                                         form and the Insured must return this completed form within sixty (60) days of the request or
                                         as required by law.

                6.13.01.09.              Cooperate with the Company in the investigation or settlement of the claim.

                6.13.02.             ABANDONMENT

                                     There may be no abandonment of any property to the Company.

                6.13.03.             SUBROGATION

                                     The Insured is required to cooperate in any subrogation proceedings. To the extent of the
                                     Company's payment, the Insured's rights of recovery against any party are transferred to the
                                     Company.

                                     The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss,
                                     nor will such waiver affect the Insured's rights under this Policy.

                                     Any recovery from subrogation proceedings, less costs incurred by the Company in such
                                     proceedings, will be payable to the Insured in the proportion that the amount of any applicable
                                     deductible and/or any provable uninsured loss, bears to the entire provable loss amount.

                6.13.04.             APPRAISAL

                                     If the Insured and the Company fail to agree on the value of the property or the amount of loss,
                                     each will, on the written demand of either, select a competent, disinterested, and impartial
                                     appraiser, who has no direct or indirect financial interest in the claim. Each will notify the other
                                     of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal
                                     unless it has first fully complied with all provisions of this Policy, including Duties in the Event of
                                     Loss or Damage and has provided the Company with a signed and sworn statement of loss.

                                     The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers
                                     fail to agree upon an umpire within 15 days then, on the request of the Insured or the Company, a
                                     judge of a court of record in the jurisdiction in which the appraisal is pending will select the
                                     umpire. The




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                                     appraisers will then appraise the value of the property or the amount of loss. They will state
                                     separately, the actual cash value and replacement cost value, as of the date of loss and the amount
                                     of loss, each item of physical loss or damage or, if for Time Element loss, the amount of loss for
                                     each Time Element Coverage of this Policy.

                                     If the appraisers fail to agree, they will submit their differences to the umpire. An award
                                     stating separately the actual cash value and replacement cost value, as of the date of loss and
                                     the amount of loss, for each item of physical loss or damage or, if for Time Element loss, the
                                     amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two
                                     will determine the amount of loss.

                                     Once there is an award, the Company retains the right to apply all policy terms and conditions
                                     (including but not limited to deductibles, exclusions, and Limits of Liability) to the award.
                                     The Company further retains its right to deny the claim in whole or in part.

                                     The Insured and the Company will each pay its chosen appraiser and bear equally the other
                                     expenses of the appraisal and umpire.

                6.13.05.             SUIT AGAINST THE COMPANY

                                     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
                                     equity unless the Insured has fully complied with all the provisions of this Policy. Legal action
                                     must be started within (12) twelve months after the date of direct physical loss or damage to
                                     Covered Property or to other property as set forth herein.

                                     If under the laws of the jurisdiction in which the property is located, such twelve months'
                                     limitation is invalid, then, any such legal action needs to be started within the shortest limit of time
                                     permitted by such laws.

                6.14.            NO REDUCTION BY LOSS
                                 Loss or damage shall not reduce the amount of insurance recoverable, except where an Annual
                                 Aggregate applies. The reinstatement of any exhausted Annual Aggregate is not permitted unless
                                 authorized by the Company in writing.

                6.15.            OTHER INSURANCE
                                 Insurance that is intended to pay proportionally with this insurance as a part of a property insurance
                                 plan or program expressly written with other participants is not other insurance as described below..

                6.15.01.             The Company will not be liable if, at the time of loss or damage, there is any other insurance that
                                     would attach in absence of this insurance; except that this insurance shall apply only as excess,
                                     Difference in Conditions/Difference in Limits and in no event as contributing insurance, and then
                                     only after all other insurance has been exhausted.

                6.15.02.             The Company gives the Insured permission to purchase insurance for all or any part of the
                                     deductibles in this Policy, and the existence of underlying insurance shall not prejudice the
                                     Insured's rights under this Policy.

                6.15.02.01.              The deductible and any amount paid under such insurance that would be covered under this
                                         Policy, shall apply to the deductible that would apply in this Policy.

                6.15.02.02.              This Policy shall then apply on an excess, Difference in Conditions/Difference in Limits basis.




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                6.15.03.             The Insured can purchase excess insurance commencing on or after the inception of this Policy that
                                     is specifically excess over the Limits of Liability set forth in this Policy without prejudice to this
                                     Policy and the existence of such insurance shall not reduce any liability under this Policy.

                6.15.04.             The Company will not be liable if, at the time of loss or damage, there is any insurance with
                                     National Flood Insurance Program (NFIP); except that this insurance shall apply only as excess
                                     and in no event as contributing insurance, and then only after all NFIP insurance has been
                                     exhausted.

                6.15.05.             The Company will not be liable if, at the time of loss or damage, there is any insurance for New
                                     Construction and Additions under a specific policy for such New Construction and Additions;
                                     except that this insurance shall apply only as excess and in no event as contributing insurance, and
                                     then only after all specific insurance has been exhausted.

                6.15.06.             The Company will not be liable if, at the time of loss or damage, there is any insurance for stock
                                     under a specific policy for such stock; except that this insurance shall apply only as excess and in
                                     no event as contributing insurance, and then only after all specific insurance has been exhausted.

                6.16.            POLICY MODIFICATION
                6.16.01.             This Policy contains all of the agreements between the Insured and the Company concerning this
                                     insurance. The Insured and the Company may request changes to this Policy. Only endorsements
                                     issued by the Company and made a part of this Policy can change this Policy.

                6.16.02.             Notice to any agent or knowledge possessed by any agent or by any other person will not create a
                                     waiver or change any part of this Policy or prevent the Company from asserting any rights under
                                     the Policy.

                6.17.            PRIVILEGE TO ADJUST WITH OWNER
                                 In the event of loss or damage involving Property of Others in your care, custody or control, we have
                                 the right, but not the duty to:

                6.17.01.             Settle the loss or damage with the owners of the Property.

                6.17.02.             Provide a defense for legal proceedings brought against the Insured. If provided, the expense for
                                     this defense will be at the Company’s cost and will not reduce any applicable limit of insurance.

                6.18.            SETTLEMENT OF CLAIMS
                6.18.01.             Loss Payment

                6.18.01.01.              In the event of loss or damage to Covered Property, the Company will, at its option, either:

                6.18.01.01.01.                Pay the value of lost or damaged property;

                6.18.01.01.02.                Pay the cost of repairing or replacing the lost or damaged property;

                6.18.01.01.03.                Take all or any part of the property at any agreed valuation; or

                6.18.01.01.04.                Repair, rebuild or replace the property with other property of like kind and quality.

                6.18.02.             The Company will give notice of its intentions within thirty (30) days after receiving the sworn
                                     statement of loss or as required by law.




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                6.18.03.             The Company will not pay more than the Insured's financial interest in the Covered Property.
                6.18.04.             The Company will pay for covered loss or damage within thirty (30) days or as required by law,
                                     after receiving the sworn statement of loss, if the Insured has complied with all the terms of this
                                     Policy; and

                6.18.04.01.              The Company has reached agreement on the amount of loss; or

                6.18.04.02.              An appraisal award has been made, subject to 6.13.04.

                6.18.05.             Priority of Payment

                                     In the event of a claim that involves more than one interest and/or coverage and/or peril; the
                                     insured has the option to apportion recovery under this Policy when submitting final proof of loss,
                                     subject to the overall amount of claim not exceeding the applicable limit of liability and subject to
                                     all other terms and conditions of the policy.

                                     For the purpose of attachment of coverage for excess layers, claims involving any interest and/or
                                     peril covered in the primary or underlying excess layers, but not covered in higher excess layers,
                                     will be recognized by such excess layers as eroding or exhausting the occurrence limits of the
                                     primary and/or underlying excess layer(s). Nothing, however, will extend coverage in such
                                     layers(s) to include loss from any interest and/or peril not covered in the excess layer(s) itself.

                6.19.            SUSPENDED PROPERTY
                                 When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's
                                 representatives may immediately suspend this insurance for that property. This can be done by
                                 delivering or mailing a written notice to the First Named Insured's mailing address or to the address
                                 where the Covered Property is located. Once suspended, this insurance can be reinstated only by an
                                 endorsement. Any unearned premium due will be returned by the Company.

                6.20.            TITLES
                                 The titles of the various paragraphs and endorsements are solely for reference and shall not in any way
                                 affect the provisions to which they relate.

                6.21.            TRANSFER OF RIGHTS AND DUTIES
                                 The Insured rights and duties under this Policy may not be transferred without the Company giving
                                 written consent.

                6.22.            VALUATION
                                 In the event of any claim for direct physical loss of or damage to Covered Property:

                6.22.01.             The basis of adjustment is on a replacement cost basis unless a specific valuation applies.
                                     Replacement Cost shall be the cost to repair, rebuild or replace the damaged property (without
                                     deduction for depreciation) with materials of like kind, quality and capacity at the same or another
                                     site, but no more than the lesser of:

                6.22.01.01.              The cost to repair;

                6.22.01.02.              The cost to rebuild or replace on the same or another site with materials of equivalent size,
                                         kind, quality and capacity;




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                6.22.01.03.              The necessary cost actually expended in repairing, rebuilding or replacing on the same or
                                         another site, but not exceeding the operating capacity that existed at the time of the loss; or

                6.22.01.04.              The Limits of Liability applicable to the lost or damaged property.

                6.22.02.             If there is direct physical loss of or damage to Covered Property for which repair, rebuilding or
                                     replacement has not started within two (2) years from the date of direct physical loss or damage,
                                     the Company will not be liable for more than the actual cash value of the property destroyed.

                6.22.03.             The Company, will pay the reduction in value of insured components or parts of products directly
                                     resulting from physical loss or damage caused by a Covered Cause of Loss to other insured
                                     components or parts of products, or part of a pair or set as follows:

                6.22.03.01.              In case of loss or damage to any components or parts of products, or part of a pair or set, the
                                         Company will at its option:

                6.22.03.01.01.               Pay the cost of repairing or replacing any part to restore the components or parts of
                                             products, pair or set to its value before the loss or damage;

                6.22.03.01.02.               Repair or replace any part to restore the components or parts of products, pair or set to its
                                             value before the loss or damage; or

                6.22.03.01.03.               Pay the difference between the value of the components or parts of products, pair or set
                                             before and after the loss or damage.

                6.22.03.02.              If settlement is based on a constructive total loss, the Insured will surrender the undamaged
                                         parts of such property to the Company.

                6.22.04.             The following property shall be valued as specified below:

                6.22.04.01.              For Raw Materials and supplies, the replacement cost.

                6.22.04.02.              For Stock in Process, the value of Raw Materials and labor expended plus the proportion of
                                         overhead charges attributable to that Stock in Process.

                6.22.04.03.              For Finished Stock manufactured by the Insured, the valuation as stated in the Declarations.
                                         If valued at Selling Price, this Policy will also pay the increased tax liability incurred by the
                                         Insured due to the profit portion of a loss payment involving Finished Stock being greater
                                         than the tax liability of the profits that would have been earned had no loss occurred.

                6.22.04.04.              For Merchandise that carries the Insured's brand or trade name, the valuation as stated in the
                                         Declarations.

                6.22.04.05.              For all other Merchandise, the valuation as stated in the Declarations.

                6.22.04.06.              For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such
                                         property to the physical condition that existed on the date of loss or the cost to replace the
                                         article or the value if stated on a schedule on file. If the Fine Arts article cannot be replaced
                                         and an appraisal is not available, the valuation shall be market value based on prevailing
                                         conditions at the time of loss or damage.

                6.22.04.07.              For property covered under Deferred Payments, the lesser of the total amount of unpaid
                                         installments less finance charges or the actual cash value of the property at the time of loss or
                                         the cost to repair or replace with material of like size, kind and quality.




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                6.22.04.08.              The selling price of buildings (or structures) or machinery and equipment, other than stock,
                                         offered for sale on the date of loss, but no more than the cost to repair or replace.

                6.22.04.09.              The cost to replace non-repairable electrical or mechanical equipment, including computer
                                         equipment, with equipment that is the most functionally equivalent to that damaged or
                                         destroyed, even if such equipment has technological advantages, represents an improvement in
                                         function, or forms part of a program of system enhancement.

                6.22.04.10.              Improvements and Betterments at replacement cost if such property is repaired or replaced
                                         at the expense of the insured. If there is direct physical loss of or damage to Improvements
                                         and Betterments which are not repaired, rebuilt or replaced at the expense of the insured, the
                                         Company will not be liable for more than a proportion of the original cost determined as
                                         follows:

                6.22.04.10.01.               Multiply the original cost of the Improvements and Betterments by the number of days
                                             from the loss or damage to the expiration of the lease; and

                6.22.04.10.02.               Divide the amount determined in 6.22.04.10.01. by the number of days from the
                                             installation of the Improvements and Betterments to the expiration of the lease.

                6.22.04.10.03.               If the lease contains a renewal option, the expiration of the renewal option period will
                                             replace the expiration of the lease in this procedure.

                6.22.04.11.              For property that is useless to the Insured or obsolete, the actual cash value.

                6.22.04.12.              For vehicles, the valuation as stated in the Declarations.

                6.22.04.13.              The Insured may elect not to repair or replace such damaged Covered Property, however, if
                                         loss settlement proceeds are expended on other capital expenditures, on property of the type
                                         insurable under this policy, related to the business activities of the Insured within two years
                                         from the date of loss, the lesser of the repair or replacement cost of such property will be paid.
                                         As a condition of collecting under this clause, such expenditure must be unplanned as of the
                                         date of loss and be made at a Scheduled Location. This clause does not extend to Increased
                                         Cost of Construction.




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            SECTION VII - DEFINITIONS
                              The following term(s) wherever used in this Policy means:

                7.01.             Ammonia Contamination - The loss or damage, including salvage expense, caused by ammonia
                                  contacting or permeating Covered Property under refrigeration or in process requiring refrigeration, as
                                  the result of any one accident.

                7.02.             Annual Aggregate - The maximum amount of loss or damage payable in any one (1) Policy Year
                                  regardless of the number of Occurrences within the same policy year.

                7.03.             Anticipated Date of Completion - The date on which the work is scheduled to be completed, as
                                  stated in the construction contract or amendments to such contract, for the start of commercial
                                  operations or use and occupancy.

                7.04.             Attraction Properties - A property within the distance described in the declarations of an Insured
                                  Location that attracts customers to the Insured's business.

                7.05.             Average Daily Value (ADV) - The 100% Gross Earnings value at the Location(s) where the direct
                                  physical loss or damage occurred and all other Locations where Time Element loss ensues for the
                                  Policy Period divided by the number of working days in the Policy period.

                7.06.             Breakdown -

                7.06.01.              A failure of pressure or vacuum equipment;

                7.06.02.              An electrical failure including arcing; or

                7.06.03.              A mechanical failure including rupture or bursting caused by centrifugal force.

                7.06.04.              7.06.01., 7.06.02., 7.06.03. includes an explosion to a steam boiler, electric steam generator, steam
                                      piping, steam turbine, steam engine, gas turbine, or moving or rotating machinery when such
                                      explosion is caused by centrifugal force or mechanical failure; but not the explosion of gases or
                                      fuel within the furnace of any Covered Equipment or within the flues or passages through which
                                      the gases of combustion pass; nor combustion explosion outside the Covered Equipment.

                7.06.05.              Breakdown does not mean or include:

                7.06.05.01.               Malfunction including but not limited to adjustment, alignment, calibration, cleaning or
                                          modification;

                7.06.05.02.               Defects, erasures, errors, limitations or viruses in computer equipment and programs;

                7.06.05.03.               Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

                7.06.05.04.               Damage to any vacuum tube, gas tube or brush;

                7.06.05.05.               Damage to any structure or foundation supporting any Covered Equipment or any of its
                                          parts;

                7.06.05.06.               Functioning of any safety or protective device; or

                7.06.05.07.               Cracking of any part on an internal combustion gas turbine exposed to the products of
                                          combustion.




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                7.07.            Carrier - Contract or public truck men and motor transit companies or connecting carriers.

                7.08.            Computer Virus - Any Software, Electronic Data or code that affects the operation or functionality
                                 of any computer, communication system, file server, networking equipment, computer system,
                                 computer hardware, data processing equipment, computer memory, microchip, microprocessor
                                 (computer chip), integrated circuit or similar device in computer equipment, Program, Computer
                                 Software or operating systems, programming instructions, or data including, but not limited to any
                                 destructive Program, computer code, Computer Virus, worm, logic bomb, denial of service attack,
                                 smurf attack, vandalism, Trojan Horse or any other data introduced into any electronic system causing
                                 deletion, destruction, degradation, corruption, malfunction or compromise of Electronic Data,
                                 Software or electronic business systems.

                7.09.            Contamination(Contaminated) - Any condition of property due to the actual presence of any foreign
                                 substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism,
                                 bacteria, virus, disease causing or illness causing agent, Fungus, mold or mildew.

                7.10.            Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant,
                                 including but not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including
                                 materials to be recycled, reconditioned or reclaimed), asbestos, ammonia, other hazardous substances,
                                 Fungus or Spores.

                7.11.            Covered Cause of Loss - All risks of direct physical loss of or damage from any cause unless
                                 excluded.

                7.12.            Covered Equipment - Any boiler fired pressure vessel, unfired vessel normally subject to vacuum or
                                 internal pressure other than weight of its contents, refrigerating and air conditioning systems, any metal
                                 piping and its accessory equipment, and mechanical, or electrical machines or apparatus used for the
                                 generation, transmission, or utilization of mechanical or electrical power, not otherwise excluded as
                                 Covered Property.

                7.12.01              Covered Equipment does not include any of the following:

                7.12.01.01.               Part of pressure or vacuum equipment that is not under internal pressure of its contents or
                                          internal vacuum;

                7.12.01.02.               Insulating or refractory material, but not excluding the glass lining of any Covered
                                          Equipment;

                7.12.01.03.               Non-metallic pressure or vacuum equipment unless it is constructed and used in accordance
                                          with the American Society of Mechanical Engineers (ASME) code or another appropriate and
                                          approved code;

                7.12.01.04.               Catalyst;

                7.12.01.05.               Vessels, piping and other equipment that is buried below ground and requires the excavation
                                          of materials to inspect, remove, repair or replace;

                7.12.01.06.               Vehicle, aircraft, self-propelled equipment or floating vessel including any Covered Property
                                          (equipment) that is mounted upon or used solely with any one or more Vehicle(s), aircraft,
                                          self-propelled equipment or floating vessel;

                7.12.01.07.               Drag-line, excavation or construction equipment including any Covered Property or Covered
                                          Equipment that is mounted upon or used solely with any one or more drag-lines, excavation,
                                          or construction equipment;




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                7.12.01.08.               Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade,
                                          non-electrical cable, chain, belt, rope, clutch plate, brake pad, non-metal part or any part or
                                          tool subject to periodic replacement;

                7.12.01.09.               Equipment or any part of such equipment manufactured by the Insured for sale.

                7.13.            Daily Value (DV) - The 100% Gross Earnings value at the Location(s) where the direct physical loss
                                 or damage occurred and all other Locations where Time Element loss ensues, for the Period of
                                 Liability divided by the number of working days in such Period of Liability.

                7.14.            Delay in Completion - The period of time between the Anticipated Date of Completion and the
                                 actual date on which commercial operations or use and occupancy can commence with the exercise of
                                 due diligence and dispatch.

                7.15.            Described Cause(s) of Loss - Breakdown of Equipment, Earth Movement, Flood, or Named Storm.

                7.16.            Direct Dependent Time Element Location -

                7.16.01.             Any Location of a direct: customer, supplier, contract manufacturer or contract service
                                     provider to the Insured;

                7.16.02.             Any Location of any company under a royalty, licensing fee or commission agreement with
                                     the Insured.

                7.16.03.             A Direct Dependent Time Element Location does not include Locations that are Insured
                                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                                     receiving from, the Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or
                                     video.

                7.17.            Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth
                                 sinking, rising, shifting, or sinkhole collapse.
                7.18.            Electronic Data - Data of any kind that is recorded or transmitted in a form usable in electronic
                                 computer systems or networks, microchips, integrated circuits or similar devices in non-computer
                                 equipment, and which can be stored on Media for use by Programs.
                7.19.            Fine Arts - Includes, but is not limited to, bona fide works of art, works of rarity, works of historical
                                 values, works of artistic merit, photographs (positives and negatives), lithographs, illustrations, gallery
                                 proofs, original records, and similar property.

                7.20.            Finished Stock – Stock, which is ready for sale by the Insured, that is manufactured:

                7.20.01.             By the Insured; or

                7.20.02.             Under the Insureds’ direction and to the Insureds’ specifications.

                7.20.03.             For the purposes of the Gross Earnings Coverage only:

                7.20.03.01.               Finished Stock also includes whiskey and alcoholic products being aged.

                7.20.03.02.               Finished Stock does not include stock that is held for sale at any retail outlet insured under
                                          this Policy or that has been sold, that is manufactured:

                7.20.03.02.01.                By the Insured; or

                7.20.03.02.02.                Under the Insureds’ direction and to the Insureds’ specifications.




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                7.21.            First Named Insured - The First Insured listed under Named Insured.

                7.22.            Flood - A general and temporary condition of partial or complete inundation of normally dry land
                                 areas or structure(s) caused by:

                7.22.01.             The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves, tsunami,
                                     the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                                     bodies of water; or the spray there from all whether driven by wind or not; or

                7.22.02.             Mudflow or mudslides caused by accumulation of water on or under the ground.

                7.22.03.             Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by
                                     Flood.

                7.22.04.             Flood also includes Storm Surge if shown on the declarations as part of Flood.

                7.23.            Fungus (or Fungi) - Any form of fungus including, but not limited to, yeast, mold, mildew, rust, smut,
                                 mushroom, spores, mycotoxins, odors, or any other substances or gases, products or byproducts
                                 produced by, released by, or arising out of the current or past presence of Fungi.

                7.24.            Improvements and Betterments - Fixtures, alterations, installation or additions comprising part of a
                                 building occupied, but not owned by the Insured and acquired or made at the Insured's expense which
                                 the Insured cannot legally move.

                7.25.            Indirect Dependent Time Element Location -

                7.25.01.             Any Location of a company that is a direct: customer, supplier, contract manufacturer or contract
                                     service provider to a Direct Dependent Time Element Location; or

                7.25.02.             Any Location of a company that is an indirect: customer, supplier, contract manufacturer or
                                     contract service provider to a Direct Dependent Time Element Location.

                7.25.03.             An Indirect Dependent Time Element Location does not include Locations that are Insured
                                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                                     receiving from, the Direct Dependent Time Element Location, electricity, fuel, gas, water,
                                     steam, refrigeration, sewage, voice, data or video.

                7.26.            Land Improvements - Lawns, plants, shrubs or trees; pavements, roadways, sidewalks or similar
                                 works, but not including any fill or land beneath such property.

                7.27.            Lease Interest - The excess rent paid for the same or similar replacement property over actual rent
                                 otherwise payable had there been no loss or damage, plus cash bonuses or advance rent paid (including
                                 any maintenance or operating charges) for each month during the unexpired term of the lease.

                7.28.            Location -

                7.28.01.             As specified in the Schedule of Locations;

                7.28.02.             If not so specified in the Schedule of Locations:

                7.28.02.01.              a Location is a building(s) bounded on all sides by public streets, clear land space or open
                                         waterways, each not less than fifty feet wide;

                7.28.02.02.              A site or tract of land occupied or available for occupancy with tangible property; or

                7.28.03.             If the Insured is a tenant,




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                7.28.03.01.               those portions of the building not rented by the Insured; or

                7.28.03.02.               those portions of the building not intended to be rented by the Insured or others.

                7.29.            Media - Tangible personal property on which Electronic Data or Programs can be recorded, but not
                                 the Data or Programs themselves. Money or Securities are not Media.

                7.30.            Merchandise - Goods kept for sale by the Insured which are not Raw Stock, Stock in Process or
                                 Finished Stock.
                7.31.            Miscellaneous Unnamed Location - A Location owned, leased or rented by the Insured, but not
                                 specified in the Schedule of Locations.

                7.32.            Moderate Flood Hazard Area (MFHA) - Is an area defined by FEMA (The Federal Emergency
                                 Management Agency) or any foreign equivalent, between the limits of the base flood and the
                                 0.2-percent-annual-chance or 500-year flood. A Moderate Flood Hazard Area is shown on the FIRM
                                 per FEMA and includes but is not limited to Zone B or Zone X (shaded). If not defined by FEMA or
                                 any foreign equivalent, it is an area between the limits of the base flood and the
                                 0.2-percent-annual-chance or 500-year flood.

                7.33.            Money - Currency, coins and bank notes whether or not in current use; travelers checks, register
                                 checks and money orders held for sale to the public.

                7.34.            Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and
                                 Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane
                                 Center or any comparable worldwide equivalent.

                                 Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

                7.35.            NCP - No Coverage Provided.

                7.36.            Net Lease Interest - That sum which placed at six percent 6% interest compounded annually would
                                 equal the Lease Interest (less any amounts otherwise payable).

                7.37.            New Construction or Additions - Additional square footage beyond what existed and was usable for
                                 the Insured’s business activities as of the inception of the policy period.

                7.38.            Occurrence - All loss(es) or damage that is attributable directly or indirectly to one cause or a series of
                                 similar or related causes. All such loss(es) or damage will be treated as one Occurrence. However, if
                                 Occurrence is specifically defined anywhere in this Policy, that definition will apply to the applicable
                                 coverage provided.

                7.39.            Operations - The Insured's business activities at the Insured Location.

                7.40.            Ordinary Payroll - Payroll expenses for all employees except officers, executives, department
                                 managers, employees under contract, and other important professional employees. Payroll expenses
                                 include the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and
                                 Workers' Compensation premiums the Insured pays for.
                7.41.            Period of Interruption - The period starting when the Insured's Electronic Data Processing Equipment
                                 or Media fails to operate and ending when with due diligence and dispatch, the Insured's Electronic
                                 Data Processing Equipment or Media could be restored to the same or equivalent operating condition
                                 that existed prior to the failure. The Period of Interruption does not include the additional time to
                                 make changes to the Insured's Electronic Data Processing Equipment or Media.




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                7.42.            Period of Service Interruption - The period starting when an interruption of a specified service
                                 occurs and ending when with due diligence and dispatch, the service could be restored to the same or
                                 equivalent operating condition that existed prior to the failure.

                7.43.            Policy Year - The (12) twelve consecutive months after the date coverage begins on this Policy.

                7.44.            Program (Software) - Any computer software, computer applications, or recorded instructions,
                                 whether digital or otherwise, for the processing, sequencing, collecting, transmittal, recording, retrieval
                                 or storage of Electronic Data.

                7.45.            Public Adjusters - Individuals or groups, including consultants, secured specifically for the purpose of
                                 representing the Insured's interest in the adjustment of a claim(s) under this Policy.

                7.46.            Qualifying Period - The continuous period of time expressed in hours or days which must be
                                 exceeded before coverage under this Policy begins.

                7.47.            Raw Stock (or Raw Material) - Materials in the state in which the Insured receives it for conversion
                                 into stock in process or Finished stock.

                7.48.            Scheduled Location - A Location scheduled on this Policy.

                7.49.            Securities - Negotiable and non-negotiable instruments or contracts representing either Money (but
                                 does not include Money) or other property and includes:

                7.49.01.             Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value
                                     in a meter) in current use; and

                7.49.02.             Evidences of debt issued in connection with credit or charge cards, which are not issued by the
                                     Insured.

                7.50.            Selling Price - The regular cash selling price at the Location where the loss occurs, less all discounts,
                                 pilferage, waste, returns and charges to which the Finished Stock and Merchandise would have been
                                 subject had no loss occurred.

                7.51.            Soft Costs - Expenses which are necessarily incurred during the Period of Liability, that would not
                                 have been incurred if the Delay in Completion had not occurred, at Locations undergoing renovation
                                 or in the course of construction, limited to the following:

                7.51.01.             Construction loan fees -The additional cost incurred to rearrange loans necessary for the
                                     completion of construction, repairs or reconstruction, including; the cost to arrange refinancing,
                                     accounting work necessary to restructure financing, legal work necessary to prepare new
                                     documents, charges by the lenders for the extension or renewal of loans necessary.

                7.51.02.             Commitment fees, leasing and marketing expenses - The additional cost of returning any
                                     commitment fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and
                                     marketing due to loss of tenant(s) or purchaser(s).

                7.51.03.             Additional fees – The additional cost for: architects, engineers, consultants, attorneys and
                                     accountants needed for the completion of construction, repairs or reconstruction.

                7.51.04.             Carrying costs – The additional cost of: property taxes, building permits, additional interest on
                                     loans, realty taxes and insurance premiums.

                7.52.            Special Flood Hazard Area (SFHA) - Is an area defined by FEMA (The Federal Emergency
                                 Management Agency) or any foreign equivalent that will be inundated by the flood event having a
                                 1-percent chance of being equaled or exceeded in any given year. The 1-percent annual chance flood is




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                                 also referred to by FEMA as the base flood or 100-year flood. SFHA’s per FEMA include but are not
                                 limited to Zone A, Zone AO, Zone AH, Zones A1-A30, Zone AE, Zone A99, Zone AR, Zone AR/AE,
                                 Zone AR/AO, Zone AR/A1-A30, Zone AR/A, Zone V, Zone VE, and Zones V1-V30. If not defined
                                 by FEMA or any foreign equivalent, it is an area that will be inundated by the flood event having a
                                 1-percent chance of being equaled or exceeded in any given year.

                7.53.            Spores - Any reproductive body produced by or arising out of any Fungus (or Fungi).

                7.54.            Stock in Process - Raw Stock (or material) which has undergone any aging, seasoning, mechanical or
                                 other process of manufacture at the Insured Location, but which has not become Finished Stock.

                7.55.            Storm Surge - A general and temporary condition of partial or complete inundation by salt water,
                                 caused by wind driven waves that result from a Named Storm, of normally dry land areas or
                                 structure(s) in coastal areas, bays or inland waters connected to an ocean or sea.

                7.56.            Suspension (Suspended) -

                7.56.01.             The slowdown or cessation of the Insured's business activities: or

                7.56.02.             As respects rental income that a part or all of the Insured Location is rendered
                                     untenantable.

                7.57.            Terrorist Activity - Any activity;

                7.57.01.             Defined as Terrorist Activity under the laws of the place where it is committed, or

                7.57.02.             Which involves any of the following:

                7.57.02.01.              The hijacking or sabotage of any conveyance (including an aircraft, vessel, or vehicle).

                7.57.02.02.              The seizing or detaining of, or threatening to kill, injure or continue to detain any person in
                                         order to compel a third person (including a governmental organization ) to do or abstain from
                                         doing any act as an explicit or implicit condition for the release of the individual seized or
                                         detained.

                7.57.02.03.              A violent attack upon an internationally protected person (as defined in section 1116(b)(4) of
                                         title 18, United States Code) or upon the liberty of such a person.

                7.57.02.04.              An assassination.

                7.57.02.05.              The use of any biological agent, chemical agent, or nuclear weapon or device, explosive or
                                         firearm (other than for mere personal monetary again), with intent to endanger, directly or
                                         indirectly, the safety of one or more individuals or to cause damage to property.

                7.57.02.06.              A threat, attempt, or conspiracy to do any of the foregoing.

                7.57.02.07.              Any act or acts deemed or declared by any government official, law enforcement agency,
                                         intelligence agency or other public authority to be terrorism or a terrorist act(s).

                7.58.            Valuable Papers and Records - Inscribed or printed or written documents, manuscripts or records,
                                 including abstracts, books, deeds, drawings, films, maps, mortgages, prints and tracings, card index
                                 systems, files, tapes, discs, drums, cells, magnetic recordings or storage Media for electronic data
                                 processing, Electronic Data, Program(Software); but Valuable Papers and Records does not mean
                                 Money or Securities.




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              Appendix
              USA including its Commonwealths
                                             A - Earth Movement/Earthquake
                                                                                               and Territories
                                                                                                                Zones for
                                                                                                                                      9
                                                                                                                                    ZURICH‘
              This   list is   for   is   for informational purposes only   and does not convey any coverage under the policy.



              COUNTRY           -    The United    States of America
                       STATE                     ZONE                           COUNTIES/PARISHES/INDEPENDENT CITIES
              ALABAMA                               3     Colbert, Franklin, Lauderdale, Lawrence, Limestone,   Morgan
                                                    4    Balance of State
              ALASKA                                1    Balance of State
                                                    2    North Slope
              ARIZONA                               4     Entire State
              ARKANSAS                              1     Clay, Craighead, Crittenden, Cross, Greene, Lee, Mississippi, Poinsett, St Francis
                                                    2     Independence, Jackson, Lawrence, Lonoke, Monroe, Phillips, Prairie, Randolph, Sharp, White,
                                                          Woodruff
                                                    3     Arkansas, Cleburne, Cleveland, Desha, Drew, Faulkner, Fulton, Grant, Izard, Jefferson,
                                                         Lincoln, Pulaski, Saline, Stone
                                                    4     Balance 0f State
              CALIFORNIA                            1    Entire State
              COLORADO                              4    Entire State
              CONNECTICUT                           4     Entire State
              DELAWARE                              4    Entire State
              D. C. (Territory)                     4    District   0f Columbia — Washington D. C.
              FLORIDA                               4     Entire State
              GEORGIA                               4     Entire State
              HAWAII                                1     Entire State
              IDAHO                                 3     Bannock, Bear Lake, Can'bou, Franklin, Oneida, Power
                                                    4    Balance of State
              ILLINOIS                              1     Alexander, Pulaski

                                                    2     Bond, Clay, Clinton, Edwards, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson,
                                                          Johnson, Lawrence, Madison, Marion, Massac, Monroe, Perry, Pope, Randolph, Richland,          St.

                                                          Clair, Saline, Union, Wabash, Washington, Wayne, White, Williamson

                                                    3     Calhoun, Christian, Clark, Coles, Crawford, Cumberland, Douglas, Edgar, Efﬁngham, Fayette,
                                                          Greene, Jasper, Jersey, Macoupin, Montgomery, Morgan, Moultrie, Pike, Sangamon, Scott,
                                                          Shelby
                                                    4    Balance of State

              INDIANA                               2     Crawford, Daviess, Dubois, Gibson, Greene, Knox, Lawrence, Martin, Orange, Perry, Pike,
                                                          Posey, Spencer, Sullivan, Vanderburgh, Warrick

                                                    3     Brown, Clay, Fayette, Johnson, Morgan, Monroe, Owen, Rush, Shelby, Union, Vigo

                                                    4     Balance 0f State
              IOWA                                  4     Entire State

              KANSAS                                4     Entire State

              KENTUCKY                              1     Ballard, Carlisle, Fulton,   Hickman, McCracken
                                                    2    Breckinridge, Butler, Caldwell, Calloway, Christian, Crittenden, Daviess, Graves, Hancock,
                                                          Henderson, Hopkins, Livingston, Logan, Lyon, Marshall, McLean, Muhlenberg, Ohio,
                                                          Simpson, Todd, Trigg, Union, Warren, Webster
                                                    4     Balance 0f State
              LOUISIANA                             4    Entire State

              MAINE                                 4    Entire State

              MARYLAND                              4     Entire State




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                       STATE   ZONE                             COUNTIES/PARISHES/INDEPENDENT CITIES
              MASSACHUSETTS     4     Entire State
              MICHIGAN          4     Entire State
              MINNESOTA         4     Entire State


              MISSISSIPPI       1     DeSoto, Tunica
                                2     Alcorn, Benton, Bolivar, Coahoma, Lafayette, Leﬂore, Marshall, Panola, Pontotoc, Prentiss,
                                      Quitman, Sunﬂower, Tallahatchie, Tate, Tippah, Tishomingo, Union, Yalobusha
                                3     Calhoun, Carroll, Chickasaw, Choctaw, Clay, Grenada, Holmes, Humphreys Issaquena,
                                                                                                                   ,


                                      Itawamba, Lee, Lowndes, Monroe, Montgomery, Oktibbeha, Sharkey, Warren, Washington,
                                      Webster, Yazoo
                                      Balance 0f State
              MISSOURI          1     Bollinger, Butler, Cape Girardeau, Dunklin, Mississippi, New Madrid, Pemiscot, Scott,
                                      Stoddard
                                2     Carter, Iron, Jefferson, Madison, Oregon, Perry, Reynolds, Ripley, St. Francois, Ste.
                                      Genevieve, St. Charles, St. Louis, Washington, Wayne, and the City 0f St Louis

                                3     Audrain, Callaway, Cole, Crawford, Dent, Franklin, Gasconade, Howell, Lincoln, Maries,
                                      Marion, Miller, Montgomery, Osage, Phelps, Pike, Pulaski, Ralls, Shannon, Texas, Warren
                                4     Balance 0f State
              MONTANA           4     Entire State
              NEBRASKA          4     Entire State
              NEVADA            1     Carson City, Douglas
                                2     Lyon    ,   Storey,   Washoe
                                3     Clark
                                4     Balance 0f State

              NEW HAMPSHIRE     4     Entire State
              NEW JERSEY        4     Entire State
              NEW MEXICO        4     Entire State
              NEW YORK          4     Entire State
              NORTH CAROLINA    4     Entire State
              NORTH DAKOTA      4     Entire State
              OHIO              4     Entire State
              OKLAHOMA          4     Entire State
              OREGON            2     Clackamas, Multnomah, Washington
                                3     Benton, Clatsop, Columbia, Coos, Curry, Douglas,   Hood River,   Jackson, Josephine, Lane,
                                      Lincoln, Linn, Marion, Polk, Tillamook, Yamhill
                                4     Balance of State
              PENNSYLVANIA      4     Entire State
              RHODE ISLAND      4     Entire State
              SOUTH DAKOTA      4     Entire State
              SOUTH CAROLINA    1     Berkely, Charleston, Dorchester


                                3     Bamberg, Beaufort, Calhoun, Clarendon, Colleton, Georgetown, Hampton,      Jasper,
                                      Orangeburg, Richland, Sumter, Williamsburg
                                4     Balance 0f State
              TENNESSEE         1     Crockett, Dyer, Haywood, Lake, Lauderdale, Obion, Shelby, Tipton
                                2     Benton, Carroll, Chester, Decatur, Fayette, Gibson, Hardeman, Hardin, Henderson, Henry,
                                      Humphreys, Madison, McNairy, Weakley
                                3     Cheatham, Davidson, Dickson, Hickman, Houston, Lawrence, Lewis, Montgomery, Perry,
                                      Robertson, Stewart,       Wayne
                                4     Balance 0f State
              TEXAS             4     Entire State




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              STATE                          ZONE                          COUNTIES/PARISHES/INDEPENDENT CITIES
              UTAH                               2   Davis, Salt Lake, Utah
                                                 3   Cache, Morgan, Rich, Summit, Wasatch, Weber
                                                 4   Balance 0f State
              VERMONT                            4   Entire State
              VIRGINIA                           4   Entire State
              WASHINGTON                         1   Clallam, Island, Jefferson, King, Kitsap, Mason, Pierce, San Juan, Thurston
                                                 2   Skagit,   Snohomish, Whatcom
                                                 3   Clark, Cowlitz, Grays Harbor, Lewis, Paciﬁc, Skamania,     Wahkiakum,
                                                 4   Balance of State
              WEST VIRGINIA                      4   Entire State
              WISCONSIN                          4   Entire State
              WYOMING                            4   Entire State


              Commonwealths and        Territories   of The United States 0f America
                                                                    ZONE
              AMERICAN SAMOA                                         2      Entire Territory
              GUAM                                                   1      Entire Territory
              NORTHERN MARIANA ISLANDS                               2      Entire   Commonwealth
              PUERTO RICO                                            1      Entire   Commonwealth
              U.S.   VIRGIN ISLANDS                                  1      Entire Territory for Limits 0f Liability
                                                                     2      Entire Territory for Deductibles
              A11 other   US   Territories   and Possessions         2      Entire Territory




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          Appendix B - Earth Movement/Earthquake Zones
          Worldwide except USA its Commonwealths and
                                                                                                                                                                                            a
                                                                                                                                                                                          ZURICH“
          Territories

          This   list is   for   is   for informational purposes only   and does not convey any coverage under the policy.




            Country                                                      Zone                                                     Provincesfl‘erritories/States/C ounties

           ALBANIA                                                                      1                                         Entire Country

           ALGERIA                                                                                                                Balance 0f Country
                                                                                                                                  Adrar, Bechar, Tamanghasset, Ouargla,      Illizi,   Tindouf, Ghardaia
           ANDORRA                                                                                                                Entire Country

           ANGUILLA                                                                                                               Entire Country for Limits of Liability

                                                                                                                                  Entire Country for Deductibles

           ANTARCTICA                                                                                                             Entire Country

           ANTIGUA & BARBUDA                                                                                                      Entire Country for Limits of Liability

                                                                                                                                  Entire Country for Deductibles

           ARGENTINA                                                                                                              Mendoza, Neuquen, San Juan
                                                                                                                                  Catamarca, Jujuy,      Salta,   Tucuman
                                                                                                                                  Balance of Country
           ARMENIA                                                                                                                Entire Country

           ARUBA                                                                                                                  Entire Country

           AUSTRALIA              including Christmas Island,                                                                     Christmas Island   ,
                                                                                                                                                         Cocos (Keeling) Islands
            Cocos (Keeling) Islands
                                                                                                                                  Western Australia
                                                                                                                                  Balance of Country
           AUSTRIA                                                         Nth-‘NH-b-wa-P-NP‘v-‘JkaH-b-wawr—‘hlvi-‘Nb—‘WNH-b-FN




                                                                                                                                  Entire Country

           AZERBAIJAN                                                                                                             Entire Country

           BAHAMAS                                                                                                                Entire Country

           BAHRAIN                                                                                                                Entire Country

           BANGLADESH                                                                                                             Entire Country

           BARBADOS                                                                                                               Entire Country for Limits 0f Liability

                                                                                                                                  Entire Country for Deductibles

           BELARUS                                                                                                                Entire Country

           BELGIUM                                                                                                                Entire Country

           BELIZE                                                                                                                 Entire Country

           BENIN                                                                                                                  Entire Country

           BERMUDA                                                                                                                Entire Country

           BHUTAN                                                                                                                 Balance of Country
                                                                                                                                  Gasa
           BOLIVIA                                                                                                                La Paz
                                                                                                                                  Oruro, Potosi, Tarija
                                                                                                                                  Beni, Chuquisaca, Cochabamba, Pando, Santa Cruz

           BOSNIA & HERZEGOVINA                                                                                                   Entire Country




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REVieweri @mhﬂtry                             Zone   Provinces/Territories/States/Counties

           BOTSWANA                             4    Entire Country

           BRAZIL                               4    Entire Country

           BRITISH VIRGIN ISLANDS               1    Entire Country for Limits of Liability

                                                2    Entire Country for Deductibles

           BRUNEI DARUSSALAM                    3    Entire Country

           BULGARIA                             2    Entire Country

           BURKINA FASO                         4    Entire Country

           BURUNDI                              2    Entire Country

           CAMBODIA                             4    Entire Country

            CAMEROON                            3    Entire Country

            CANADA                              2    British Columbia, Ontario, Quebec,   Yukon   except listed postal codes
                                                     With ﬁrst 3 characters in Zones 3 and 4
                                                3    British Columbia Postal Codes:V8C,V8G,VOM,VOT,VOV,V1M,V2P,
                                                     V2R,V2S,V2T,V2V,V2W,V2X,V2Y,V3B,V3C,V3E,V3 G,V3H,V3J.
                                                     V3K,V3L,V3N,V3R,V3T,V3V,V3Y,V4N,V4R,V4S,V4W,V4X,V4Z,
                                                     V5A,V5B,V5C,V5E,V5G,V5H,V5J,V5K,V5L,V5M,V5N,V5R,V5T,
                                                     V5V,V5Y,VSZ,V6A,V6B,V6C,V6E,V6G,V6H,V6J,V6K,V6L,V6R,
                                                     V6T,V6Z,V7G,V7H,V7J,V7K,V7L,V7M,V7N,V7P,V7R,V7S,V7T,
                                                     V7V,V7W,V7X,V7Y,V8B,V8J
                                                     New Brunswick Postal Codes: E1G,E1N,E1V,E1X,E2A,E2E,E2G,
                                                     E2H,E2J,E2K,E2L,E2M,E2N,E2P,E2R,E2S,E2V,E3A,E3B,E3C,E3E,
                                                     E3L,E3N,E3V,E3Y,E3Z,E4A,E4B,E4C,E4E,E4G,E4J,E4S,E4T,E4V,
                                                     E4W,E4X,E4Y,E4Z,E5A,E5B,E5C,E5E,E5H,E5J,E5K,E5L,E5M,
                                                     E5N,E5P,E5R,E5S,EST,E5V,E6A,E6B,E6C,E6E,E6G,E6H,E6J,E6K,
                                                     E6L,E7A,E7B,E7C,E7E,E7G,E7H,E7J,E7K,E7L,E7M,E7N,E7P,E8A,
                                                     E8B,E8C,E8E,E8G,E8J,E8K,E8L,E8M,E8N,E8P,E8R,E9A,E9B,E9C,
                                                     E9E,E9G,E9H,
                                                     Ontario Postal Codes:   KOE,KOG,K6T,K6V,K7A,K7H
                                                     Quebec Postal Codes:GOE,GOJ,GOK,GOM,GON,GOP,GOS,GOV,GOY,
                                                     GOZ,G4R,G4S,GSB,G5J,G5X,G5Y,GSZ,G6A,G6B,G6E,G6G,G6H,
                                                     G6J,G6K,G6L,G6P,G6R,G6S,G6T,G7A,G7B,G7G,G7H,G7J,G7K,
                                                     G7N,G7P,G7S,G7T,G7X,G7Y,G7Z,G8A,JOA,JOB,JOE,JOH,JOJ,J 1A,
                                                     J1 C,J1E,J1 G,J1H,J1J,J1K,J1L,J1M,J1N,J1R,J1
                                                                                              S,J1T,J1X,J2G,J2H,
                                                     J2J,J2K,J2L,J2M,J2N,J2R,J2S,J2T,J2X,J3M,J9V




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            CANADA (continued)                  4       British Columbia Postal Codes: VOC,VOJ,V 1 J,V2K,V2M,VOA,VOB,
                                                        VOE,VOG,VOH,VOK,VOL,VOW,VOX,V 1 A,V 1 B,V 1 C,V 1 E,V 1 G,V 1 H,
                                                        V 1 K,V 1 L,V1N,V 1 P,V 1 R,V1 S,V1 T,V 1 V,V 1 W,V 1 X,V 1 Y,V 1 Z,V2A,
                                                        V2B,V2C,V2E,V2G,V2H,V2J,V2L,V2N,V4T,V4V
                                                        Ontario Postal Codes: KOH,KOK,KOL,KOM,K7G,K7K,K7L,K7M,
                                                        K7N,K7P,K7R,K8N,K8P,K8R,K8V,K9A,K9H,K9J,K9K,K9L,K9V,
                                                        LOA,LOB,LOC,LOE,LOG,LOH,LOJ,LOK,LOL,LOM,LON,LOP,LOR,LOS,
                                                        L1A,L1B,L1C,L1E,L1G,L1H,L1J,L1K,L1L,L1M,L1P,L1R,L1S,L1T,
                                                        L 1 V,L 1 W,L1X,L 1 Y,L 1 Z,L2A,L2E,L2G,L2H,L2J,L2M,L2N,L2P,
                                                        L2R,L2S,L2T,L2V,L2W,L3B,L3C,L3 K,L3M,L3P,L3R,L3 S,L3T,
                                                        L3V,L3X,L3Y,L3Z,L4A,L4B,L4C,L4E,L4G,L4H,L4J,L4K,L4L,L4M
                                                        L4N,L4P,L4R,L4S,L4T,L4V,L4W,L4X,L4Y,L4Z,LSA,L5B,LSC,
                                                        L5E,L5G,L5H,L5J,L5K,L5L,L5M,L5N,L5P,L5R,L5 S,L5T,L5V,
                                                        L5W,L6A,L6B,L6C,L6E,L6G,L6H,L6J,L6K,L6L,L6M,L6P,L6R,
                                                        L6S,L6T,L6V,L6W,L6X,L6Y,L6Z,L7A,L7B,L7C,L7E,L7G,L7J,
                                                        L7K,L7L,L7M,L7N,L7P,L7R,L7S,L7T,L8E,L8G,L8H,L8J,L8K,L8L,
                                                        L8M,L8N,L8P,L8R,L8S,L8T,L8V,L8W,L9A,L9B,L9C,L9G,L9H,
                                                        L9K,L9L,L9M,L9N,L9P,L9R,L9S,L9T,L9V,L9W,L9Y,L9Z,M 1 B,
                                                        M1C,M1E,M1G,M1H,M1J,M1K,M1L,M1M,M1N,M1P,M1R,M1S,
                                                        M 1 T,M 1 V,M 1 W,M 1 X,M2H,M2J,M2K,M2L,M2M,M2N,M2P,MZR,
                                                        M3A,M3B,M3C,M3H,M3 J,M3K,M3L,M3M,M3N,M4A,M4B,M4C,
                                                        M4E,M4G,M4H,M4J,M4K,M4L,M4M,M4N,M4P,M4R,M4S,M4T,
                                                        M4V,M4W,M4X,M4Y,M5A,M5B,MSC,M5E,M5G,M5H,M5J,M5K,
                                                        M5L,M5M,M5N,M5P,M5R,M5 S,M5T,M5V,M5W,M5X,M6A,M6B,
                                                        M6C,M6E,M6G,M6H,M6J,M6K,M6L,M6M,M6N,M6P,M6R,M6S,
                                                        M7A,M7Y,M8V,M8W,M8X,M8Y,MSZ,M9A,M9B,M9C,M9L,M9M,
                                                        M9N,M9P,M9R,M9V,M9W,NOA,NOB,NOC,NOE,NOG,NOH,NOJ,
                                                        NOK,NOL,NOM,NON,NOP,NOR,N 1 A,N 1 C,N 1 E,N 1 G,N 1 H,N 1 K,N 1 L,
                                                        N M,N
                                                          1   1 P,N 1 R,N1 S,N 1 T,N2A,N2B,N2C,N2E,N2G,N2H,N2J,N2K,

                                                        N2L,N2M,N2N,N2P,N2R,N2T,N2V,NZZ,N3A,N3B,N3C,N3E,N3H,
                                                        N3L,N3P,N3 R,N3 S,N3T,N3V,N3W,N3Y,N4B,N4G,N4K,N4L,N4N,
                                                        N4S,N4T,N4V,N4W,N4X,N4Z,N5A,N5C,N5H,N5L,N5P,N5R,N5V,
                                                        N5W,N5X,N5Y,N5Z,N6A,N6B,N6C,N6E,N6G,N6H,N6J,N6K,N6L,
                                                        N6M,N6N,N6P,N7A,N7G,N7L,N7M,N7S,N7T,N7V,N7W,N7X,
                                                        N8A,N8H,N8M,N8N,N8P,N8R,N8,N8T,N8V,N8W,N8X,N8Y,N9A,
                                                        N9B,N9C,N9E,N9G,N9H,N9J,N9K,N9V,N9Y,POA,POB,POC,POE,
                                                        POG,POH,POJ,POK,POL,POM,PON,POP,POR,POS,POT,POV,POW,POX,
                                                        POY,P 1 A,P 1 B,P 1 C,P 1 H,P 1 L,P 1 P,P2A,P2B,P2N,P3A,P3B,P3 C,P3E,
                                                        P3 G,P3L,P3N,P3P,P3Y,P4N,P4P,P4R,P5A,P5E,P5N,P6A,P6B,P6C,
                                                        P7A,P7B,P7C,P7E,P7G,P7J,P7K,P7L,P8N,P8T,P9A,P9N
                                                        Quebec Postal Codes: GOC,GOG,GOW,G4T,G4X,G8B,G8C,G8E,
                                                        G8G,G8H,G8J,G8K,G8L,G8M,G8N,G8P,JOM,JOY,JOZ,J9P,J9T,J9X,
                                                        J9Y,J9Z
                                                        Balance 0f Country
            CAPE VERDE                                  Entire Country

            CAYMAN ISLANDS                      th—‘h
                                                        Entire Country for Limits 0f Liability

                                                        Entire Country for Deductibles

            CENTRAL AFRICAN REPUBLIC                    Entire Country




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RGVieweri @mhﬂtry                             Zone   Provinces/Territories/States/Counties
            CHAD                                4    Entire Country

            CHILE                               1    Entire Country

            CHINA                               1    Liaoning, Tianjin, Hebei, Shandong, Gansu, Sichuan, Shaanxi,
                                                     Yunnan
                                                2    Tibet   Autonomous Region, Macau
                                                3    Balance of Country
                                                4    Hong Kong
            COLOMBIA                            1    Antioquia, Cauca, Choco, Narino, Quindio, Risaralda, Valle del
                                                     Cauca, Bogota
                                                2    Balance of Country
                                                3    Amazona, Arauca, Caqueta, Casanare, Guainia, Guaviare, Meta,
                                                     Putumayo, San Antes and Providencia, Vaupes, Vichada
           COMOROS                              4    Entire Country

           CONGO, REPUBLIC OF                   2    Entire Country

           COOK ISLANDS                         2    Entire Country

           COSTA RICA                           1    Entire Country

           CROATIA                              2    Entire Country

           CURACAO                              3    Entire Country

           CYPRUS                               2    Entire Country

           CZECH REPUBLIC                       3    Entire Country

           DENMARK                              4    Entire Country

           DJIBOUTI                             2    Entire Country

           DOMINICA                             1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           DOMINICAN REPUBLIC                   1    Entire Country
           ECUADOR                              1    Entire Country

           EGYPT                                2    Cairo, Dakahlia, Damietta, Gharbia, Ismailia, Kafr el-Sheikh,
                                                     Monuﬁa, North    Sinai, Port Said,   Red   Sea, Sharqia, Suez

                                                3    Balance of Country
           EL SALVADOR                          1    Entire Country

           EQUATORIAL-GUINEA                    4    Entire Country

           ERITREA                              2    Entire Country

           ESTONIA                              4    Entire Country

           ETHIOPIA                             2    Balance of Country
                                                3    Benishangul, Dure Dawa, Gambela, Harari, Somalia, Tigray

           FAROE ISLANDS                        4    Entire Country

           FEDERATED STATES OF MICRONESIA       2    Entire Country

           FIJI                                 1    Entire Country

           FINLAND                              4    Entire Country

           FRANCE                               3    Entire Country

           FRENCH GUIANA                        4    Entire Country

           FRENCH POLYNESIA                     4    Entire Country

           GABON                                2    Ogooue-Ivindo, Ogooue-Lolo
                                                3    Balance 0f Country
           GAMBIA                               4    Entire Country

           GERMANY                              3    Entire Country




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           GHANA                                1    Accra
                                                2    Balance 0f Country
           GIBRALTAR                            3    Entire Country

           GREECE                               1    Entire Country

           GREENLAND                            3    Entire Country

           GRENADA                              1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           GUADELOUPE                           1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles

           GUATEMALA                            1    Balance 0f Country
                                                3    Peten
           GUINEA                               2    Boke
                                                3    Balance 0f Country
           GUINEA-BISSAU                        3    Entire Country

           GUYANA                               3    Entire Country

           HAITI                                1    Entire Country

           HONDURAS                             1    Balance 0f Country
                                                3    Atlantida, Colon,   Comayagua, E1   Paraiso, Francisco Morazan,
                                                     Gracias a Dios, Islas de 1a Bahia, Olancho, Yoro
           HUNGARY                              3    Entire Country

           ICELAND                              2    Northeast Region, South Region, Southern Peninsula Region,
                                                     Capital Region

                                                3    Balance of Country
           INDIA                                1    Arunachal Pradesh, Assam, Gujarat, Haryana, Himachal Pradesh,
                                                     Jammu and Kashmir, Manipur, Meghalaya, Mizoram, Nagaland,
                                                     Punj ab, Uttarakhand
                                                3    Balance 0f Country
           INDONESIA                            2    Balance of Country
                                                3    (B0rneo)-East Kalimantan, South Kalimantan, West Kalimantan,
                                                     Central Kalimantan, Riau, Jambi, South Sulawesi, Southeast
                                                     Sulawesi, Bengka—Belitung, West Nusa Tenggara

           IRAQ                                 2    Entire Country

           IRELAND                              4    Entire Country

           ISLE OF MAN                          3    Entire Country

           ISRAEL                               1    Entire Country

           ITALY                                1    Balance 0f Country
                                                3    Liguria,   Lombardy, Marche, Piedmont, Aosta Valley, Trentino-Alto
                                                     Adige/Siidtirol, Veneto, Sardinia

           IVORY COAST (COTE-D’IVOIRE)          4    Entire Country

           JAMAICA                              1    Entire Country for Limits 0f Liability

                                                2    Entire Country for Deductibles
           JAPAN                                1    Balance 0f Country
                                                2    Prefectures 0f Akita, Fukui, Fukuoka, Gifu,   Gunma, Hiroshima,
                                                     Ishikawa, Kagoshima, Niigata, Okayama, Okinawa, Saga, Shimane,
                                                     Tochigi, Tottori, Toyama,   Yamaguchi




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           JORDAN                               1    Balance 0f Country
                                                3    Ma'an
           KAZAKHSTAN                           1    Entire Country

           KENYA                                2    Entire Country

           KIRIBATI                             2    Entire Country

           KOSOVO                               3    Entire Country

           KUWAIT                               4    Entire Country

           KYRGYZSTAN (KYRGYZ REPUBLIC)         1    Entire Country

           LAOS                                 2    Balance of Country
                                                3    Attapu, Bolikhamxai, Champasak,   Khammouan,   Salavan,
                                                     Savannakhet, Xekong
           LATVIA                               4    Entire Country

           LEBANON                              1    Entire Country

           LESOTHO                              2    Balance of Country
                                                3    Berea, Butha-Buthe, Leribe, Mokhotlong, Thaba-Tseka

           LIBERIA                              4    Entire Country

           LIBYA                                2    Entire Country

           LIECHTENSTEIN                        4    Entire Country

           LITHUANIA                            4    Entire Country

           LUXEMBOURG                           4    Entire Country

           MACEDONIA                            1    Entire Country

           MADAGASCAR                           3    Entire Country

           MALAWI                               2    Entire Country

           MALAYSIA                             3    Entire Country

           MALDIVES                             4    Entire Country

           MALI                                 4    Entire Country

           MALTA                                4    Entire Country

           MARSHALL ISLANDS                     4    Entire Country

           MARTINIQUE                           1    Entire Country for Limits of Liability

                                                2    Entire Country for Deductibles

           MAURITANIA                           4    Entire Country

           MAURITIUS                            4    Entire Country

           MAYOTTE                              2    Entire Country

           MEXICO                               1    Balance of Country
                                                4    Chihuahua, Campeche, Coahuila, Durango, Nuevo Leon, Quintana
                                                     R00, San Luis Potosi, Sonora, Tamaulipas, Yucatan, Zacatecas
           MOLDOVA                              2    Entire Country

           MONACO                               3    Entire Country

           MONGOLIA                             1    Balance 0f Country
                                                2    GOVi-Altai, Arkhangai, Bulgan, Selenge, TOV, Ovorkhangai

                                                3    Khentii, Dundgovi,   Domogovi, Domod, Sukhbaatar
           MONTENEGRO                           2    Entire Country

           MONTSERRAT                           1    Entire Country For Limits

                                                2    Entire Country for Deductibles




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ReViewe“ @EﬁlM—ry                             Zone   Provinces/Territories/States/Counties
           MOROCCO                              2    Fés-Boulemane (Fés)   Gharb-Chrarda-Béni Hssen (Kénitra),
                                                                           ,


                                                     Tangier-Tétouan (Tangier)
                                                3    Taza-Al Hoceima-Taounate (A1 Hoceima)
                                                4    Balance of Country
           MOZAMBIQUE                           2    Manica, Sofala, Zambezia
                                                3    Balance 0f Country
           NAMIBIA                              4    Entire Country

           NAURU                                2    Entire Country

           NEPAL                                1    Entire Country

           NETHERLANDS                          4    Balance of Country
                                                3    Bonaire
                                                1    Saba, Sint Eustatius for Limits of Liability
                                                3    Saba, Sint Eustatius for Deductibles
           NEW CALEDONIA                        3    Entire Country

           NEW ZEALAND                          1    Balance of Country
                                                3    Northland, Auckland, Waikato
           NICARAGUA                            1    Balance 0f Country
                                                3    RAAN (Bilwi), RAAS (Blueﬁelds)
           NIGER                                4    Entire Country

           NIGERIA                              4    Entire Country

           NIUE                                 2    Entire Country

           NORFOLK ISLAND                       2    Entire Country

           NORWAY                               4    Entire Country

           OMAN                                 4    Entire Country

           PAKISTAN                             1    Balance of Country
                                                3    Punj ab
           PALAU                                2    Entire Country

           PALESTINE                            1    Entire Country

           PANAMA                               2    Entire Country

           PAPUA NEW GUINEA                     1    Entire Country

           PARAGUAY                             4    Entire Country

           PERU                                 1    Entire Country

           PHILIPPINES                          1    Entire Country

           PITCAIRN ISLANDS                     2    Entire Country

           POLAND                               4    Entire Country

           PORTUGAL                             2    Lisbon, Santarém, Faro, Azores   Autonomous Region
                                                4    Balance of Country
           QATAR                                4    Entire Country

           REUNION                              4    Entire Country

           ROMANIA                              2    Entire Country

           RUSSIAN FEDERATION                   1    Kamchatka, Buryatia, Tuva, Altai Republic,, Stavropol, Chechnya,
                                                     Adygea, Krasnodar, Karachay-Cherkessia, Ingushetia, Dagestan,
                                                     Kabardino-Balkaria, North Ossetia—Alania
                                                3    Balance of Country




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           RWANDA                               2                                                                 Entire Country

           SAMOA (WESTERN)                                                                                        Entire Country

           SAN MARINO                                                                                             Entire Country

           SAO TOME & PRINCIPE                                                                                    Entire Country

           SAUDI ARABIA                                                                                           Jizan,   Tabuk
                                                                                                                  Balance 0f Country
           SENEGAL                                                                                                Entire Country

           SERBIA                                                                                                 Entire Country

           SEYCHELLES                                                                                             Entire Country

           SIERRA LEONE                                                                                           Entire Country

           SINGAPORE                                                                                              Entire Country

           SINT    MAARTEN                                                                                        Entire Country for limits of Liability

                                                                                                                  Entire Country for Deductibles

           SLOVAKIA                                                                                               Entire Country

           SLOVENIA                                                                                               Entire Country

           SOLOMON ISLANDS                                                                                        Entire Country

           SOMALIA                                                                                                Entire Country

           SOUTH AFRICA                                                                                           Free State, Western Cape

                                                                                                                  Balance of Country
           SOUTH KOREA                                                                                            Entire Country

           SOUTHERN SUDAN                                                                                         Entire Country

           SPAIN                                NHH-P-hN-PNHN>—l[\)>—t[\.)>—tNHWWNWWWNWr—KNUJWH-lk-h-PNW-PN-PNN




                                                                                                                  Andalusia, Murcia
                                                                                                                  Balance of Country
           SR1   LANKA                                                                                            Entire Country

           ST.   BARTHELEMY                                                                                       Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   KITTS   AND NEVIS                                                                                Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   LUCIA                                                                                            Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   MARTIN                                                                                           Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           ST.   VINCENT AND GRENADINES                                                                           Entire Country for Limits of Liability

                                                                                                                  Entire Country for Deductibles

           SURINAME                                                                                               Entire Country

           SWAZILAND                                                                                              Entire Country

           SWEDEN                                                                                                 Entire Country

           SWITZERLAND                                                                                            Entire Country

           TAIWAN                                                                                                 Entire Country

           TAJIKISTAN                                                                                             Entire Country

           TANZANIA                                                                                               Kigoma, Arusha, Singida, Dodoma, Manyara, Rukwa, Mbeya,
                                                                                                                  Iringa,   Ruvuma, Mtwara
                                                                                                                  Balance 0f Country




                                                                                                                                                                EDGE-451-D (02/16)
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ReViewe“ Cﬂﬁﬂﬂtry                                                       Zone     Provinces/Territories/States/Caunties
            THAILAND                                                      2       Chiang Rai, Payao, Nan, Chang Mai,      Mae Hong    Son, Lampang,
                                                                                 Lampun, Phrae,                                     Kamphaeng
                                                                                                    Uttaradit, Sukhothai, Tak, Phitsanulok,
                                                                                              Nakhon Sawan, Uthai Thani, Kanchanaburi, Chai Nat,
                                                                                 Phet, Phichit,
                                                                                 Lop Buri, Sara Buri, Nakon Nayok, Ang Thong, Phra Nakhon Si
                                                                                 Ayuthaya, Nakhon Fathom, Sing Buri, Pathum Thani, Bangkok,
                                                                                  Samut Songkhram, Samut Sakhon, Nonthaburi, Samut Prakan,
                                                                                 Phetchaburi
                                                                          3      Balance 0f Country
            TIMOR-LESTE                                                   2      Entire Country

            TOGO                                                          3      Entire Country

            TONGA                                                         2      Entire Country

            TRINIDAD AND TOBAGO                                           1      Entire Country for Limits of Liability

                                                                          2      Entire Country for Deductibles

            TUNISIA                                                       2      Ariana, Béja,    Ben Arous,   Bizerte, Gafsa, Jendouba,   Manouba,
                                                                                 Monastir, Nabeul, Sousse, Tunis, Zaghouan

                                                                          3      Balance 0f Country
            TURKEY                                                        1      Entire Country

            TURKMENISTAN                                                  1      Entire Country

            TURKS AND CAICOS                                              1      Entire Country for Limits of Liability

                                                                          3      Entire Country for Deductibles

            TUVALU                                                        4      Entire Country

            UGANDA                                                        2      Entire Country

            UKRAINE                                                       4      Entire Country

            UNITED ARAB EMIRATES                                          4      Entire Country

            UNITED KINGDOM including Guernsey,                            3      Entire Country
            Jersey

            URUGUAY                                                       4      Entire Country

            UZBEKISTAN                                                    1      Entire Country

            VANUATU                                                       2      Entire Country

            VATICAN CITY                                                  1      Entire Country
            VENEZUELA                                                     1      Balance 0f Country
                                                                          2      Carabobo, Aragua, Guarico, Vargas, Miranda, Dpto Capital,
                                                                                 Anzoategui, Monagas
                                                                          4      Delta Amacuro, Bolivar,       Amazonas
            VIETNAM                                                       2      Lai Chau, Lao Cai,    Yen Bai, Son La, Hoa Binh, Vinh Phu,      Hanoi,
                                                                                 Hai Phong, Ha Tay, Hai Hung, Thai Binh, Nom Ha, Ninh Binh,
                                                                                 Thanh Hoa, Nghe An, Ha Tinh, Quang Binh, Quang Ngai, Binh
                                                                                 Dinh, Phu Yen, Khanh Hoa, Ninh Thuan
                                                                          3      Balance of Country
            WESTERN SAHARA                                                4      Entire Country

            YEMEN                                                         4      Entire Country

            ZAMBIA                                                        2      Northern, Southern

                                                                          3      Balance of Country
            ZIMBABWE                                                      3      Entire Country




           Any   country not listed   is   Zone   1   unless stated differently in the Declarations of the Policy.




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              Appendix C — Named Storm Zones
              its Commonwealths and Territories
                                                                                                            for     USA including
                                                                                                                                                                e
                                                                                                                                                              ZURICHE
              This   list is   for   is   for informational purposes only         and does not convey any coverage under the policy.


          WIND ZONES ARE DEFINED AS FOLLOWS:
          COUNTRY — The United States of America




          STATE                                 ZONE                                     COUNTIES/PARISHES/INDEPENDENT CITIES
          Alabama                                                 Baldwin, Mobile
                                                                  Clarke, Covington, Escambia, Geneva, Houston, Washington
          Florida                                                 Bay, Brevard, Broward, Calhoun, Charlotte, CitIus, Collier, Dixie, Duval, Escambia,
                                                                  Flagler, Franklin, Glades, Gulf, Hendry, Hernando, Hillsborough, Indian River, Jefferson,
                                                                  Lee, Levy, Liberty, Manatee, Martin, Miami-Dade, Monroe, Nassau, Okaloosa, Okeechobee,
                                                                  Palm Beach, Pasco, Pinellas, Saint Johns, Saint Lucie, Santa Rosa, Sarasota, Taylor,
                                                                  Volusia, Wakulla Walton, Washington
                                                                  Balance of State
          Georgia                                                 Bryan, Camden, Chatham, Glynn, Liberty, McIntosh
                                                   Hr—INb—IN
                                                                  Appling, Brantley, Bulloch, Charlton, Efﬁngham, Evans, Long, Pierce, Tattnall,                    Wayne
          Hawaii                                                  Entire State
          Louisiana                                               Ascension, Assumption, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans,
                                                                  Plaquemines,   St.   Bernard,   St.   Charles, St. James,   St.   John the Baptist,   St.   Martin,   St.   Mary,
                                                                  St.   Tammany, Tangipahoa, Terrebonne, Vermilion, Washington
                                                                  Acadia, Allen, Beauregard, Calcasieu, East Baton Rouge, East Feliciana, Evangeline,
                                                                  Iberville, Jefferson Davis, Lafayette, Pointe Coupes, St. Landry, St. Helena, West Baton
                                                                  Rouge, West Feliciana
          Maryland                                                Somerset, Wicomico, Worcester
          Mississippi                                r—INr—tr—I
                                                                  George, Hancock, Harrison, Jackson, Pearl River, Stone
                                                                  Amite, Forrest, Greene, Lamar, Marion, Perry, Pike, Walthall Wilkinson
          North Carolina                                          Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven, Currituck,
                                                                  Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank, Fender, Perquimans,
                                                                  Tyrrell,   Washington
                                                                  Bladen, Duplin, Gates, Greene, Hertford, Lenoir, Pitt, Robeson, Sampson
          South Carolina                                          Beaufort, Berkeley, Charleston, Colleton, Dorchester, Georgetown, Horry, Jasper
                                                   b—‘Nr—IN



                                                                  Allendale, Bamberg, Clarendon, Dillon, Florence,            Hampton, Marion, Williamsburg
          Texas                                                   Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jackson, Jefferson, Kenedy,
                                                                  Kleberg, Matagorda, Nueces, Orange, Refugio, San Patricio, Willacy
                                                                  Austin, Bee, Brooks, Colorado, DeWitt, Duval, Fort Bend, Goliad, Grimes, Hardin, Harris,
                                                                  Hidalgo, Jasper, Jim Hogg, Jim Wells, Lavaca, Liberty, Live Oak, McMullen, Montgomery,
                                                                  Newton, Polk, San Jacinto, Starr, Tyler, Victoria, Walker, Waller, Wharton
          Virginia                                                Accomack, Gloucester, Isle 0f Wight, James City, Lancaster, Mathews, Middlesex,
                                                                  Northampton, Northumberland, Southampton, Surry, York
                                                                  Independent Cities: Chesapeake, Franklin City, Hampton, Newport News, Norfolk,
                                                                  Poquoson, Portsmouth, Suffolk, Virginia Beach, and Williamsburg
                                                                  Caroline, Charles City, Essex, Henrico, King and Queen, King George, King William,                           New
                                                                  Kent, Prince George, Richmond, Sussex, Westmoreland




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          Commonwealths and        Territories   0f The United States of America
                                                            ZONE
          AMERICAN SAMOA                                        2     Entire Territory
          GUAM                                                  1     Entire Territory
          NORTHERN MARIANA ISLANDS                              1     Entire   Commonwealth
          PUERTO RICO                                           1     Entire   Commonwealth
          U.S.   VIRGIN ISLANDS                                 1     Entire Territory
          A11 other   US   Territories   and Possessions        1     Entire Territory




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          Appendix D — Named Storm Zones Worldwide except
          USA and its Commonwealths and Territories
                                                                                                                       9
                                                                                                                     ZURICH‘

          This   list is   for informational   purposes only and does not convey any coverage under the    policy.




           Country                             Zone     Provinces/Territories/States/Counties

           ALBANIA                             4        Entire Country

           ALGERIA                             3        Entire Country

           ANDORRA                             3        Entire Country

           ANGUILLA                            1        Entire Country

           ANTARCTICA                          4        Entire Country

           ANTIGUA & BARBUDA                   1        Entire Country

           ARMENIA                             4        Entire Country

           ARGENTINA                           4        Entire Country

           ARUBA                               1        Entire Country for Limits of Liability

                                               3        Entire Country for Deductibles

           AU$TRAL'A          inC'UdinQ        1
                                                        Western Australia Postcodes:
           Chr'STmaS Island, COCOS                      6701,6707,671o,6711,6712,6713,6714,6716,6718,6720,6721,6722,6725,6726,
           (Keellng) Islands                            6728,6731 ,6733,674o,6743,6751 ,6754,6760,6762,6765,
                                                        Northern Territory Postcodes: 0800,0810,0812,0820,0822,0828,0829,0830,0832,
                                                        0835,0836,0837,0838,0840,0841 ,0845,0846,0847,0850,0852,0853,0854,0862,
                                                        0880.0885,0886,
                                                        Christmas Island, Cocos (Keeling) Islands

                                               2        Queensland Postcodes: 4580,4581 ,4620,4621 ,4630,4650,4655,4659,4660,
                                                        4662,4670,4671 ,4673,4674,4676,4677,4678,4680,4694,4695,4697,4699,4700,
                                                        4701 ,4702,4703.4704,4705,4706,4707,471 0,471 1 ,471 2,471 4,471 5,471 6,471 7,
                                                        471 8,4720,4721 ,4723,4737,4738,4739,4740,4741 ,4742,4743,4744,4745,4746,
                                                        4750,4751 ,4753,4754,4756,4757,4798,4799,4800,4801 ,4802,4803,4804,4805,
                                                        4806,4807,4808,4809,481 0,481 1 ,481 2,481 3,4814,481 5,481 6,481 7,481 8,481 9,
                                                        4820,4830,4849,4850,4852,4854,4855,4856,4857,4858,4859,4860,4861 ,4865,
                                                        4868,4869,4870,4871 ,4872,4873,4874,4875,4876.4877,4878,4879,4880,4881,
                                                        4882,4883,4884.4885,4886,4887,4888,4890,4891 ,4895

                                               3        Balance of Country

           AUSTRIA                             4        Entire Country

           AZERBAIJAN                          4        Entire Country

           BAHAMAS                             1        Entire Country

           BAHRAIN                             4        Entire Country

           BANGLADESH                          1        Entire Country

           BARBADOS                            1        Entire Country

           BELARUS                             4        Entire Country




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           géﬂ Mry             Zone    Provinces/Territories/States/Counties

           BELGIUM             3       Entire Country

           BELIZE               1      Entire Country

           BENIN               4       Entire Country

           BERMUDA              1      Entire Country

           BHUTAN              4       Entire Country

           BOLIVIA             4       Entire Country

           BOSNIA &            4       Entire Country
           HERZEGOVINA
           BOTSWANA            3       Entire Country

           BRAZIL              4       Entire Country

           BRITISH VIRGIN       1      Entire Country
           ISLANDS
           BRUNEI DARUSSALAM 4         Entire Country

           BULGARIA            4       Entire Country

           BURKINA FASO        4       Entire Country

           BURUNDI              1      Entire Country

           CAMBODIA            3       Entire Country

           CAMEROON            4       Entire Country

           CANADA              4       Entire Country

           CAPE VERDE          3       Entire Country

           CAYMAN ISLANDS       1      Entire Country

           CENTRAL AFRICAN     4       Entire Country
           REPUBLIC
           CHAD                3       Entire Country

           CHILE               3       Entire Country

           CHINA                1      Hainan, Macau, Guangdong, Fujian, Zhejiang, Shanghai, Jiangsu, Shangdong

                               2       Hong Kong
                               4       Balance of Country

           COLOMBIA            3       Entire Country

           COMOROS             3       Entire Country

           CONGO, REPUBLIC OF 4        Entire Country

           COOK ISLANDS         1      Entire Country

           COSTA RICA           1      Entire Country

           CROATIA             3       Entire Country

           CURACAO              1      Entire Country for Limits of Liability

                               3       Entire Country for Deductibles

           CYPRUS              4       Entire Country

           CZECH REPUBLIC      4       Entire Country




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            WWARK                3      Entire Country

            DJIBOUTI                    Entire Country

            DOMINICA                    Entire Country

            Country              Zone   Provinces/Territories/States/Counties

            DOMINICAN REPUBLIC   1      Entire Country

            ECUADOR              4      Entire Country

            EGYPT                4      Entire Country

            EL SALVADOR          2      Entire Country

            EQUATORIAL GUINEA    4      Entire Country

            ERITREA              4      Entire Country

            ESTONIA              3      Entire Country

            ETHIOPIA             4      Entire Country

            FAROE ISLANDS        3      Entire Country

            FEDERATED STATES     1      Entire Country
            OF MICRONESIA
            FIJI                 1      Entire Country

            FINLAND              3      Entire Country

            FRANCE               4      Entire Country

            FRENCH GUIANA        4      Entire Country

            FRENCH POLYNESIA     1      Entire Country

            GABON                3      Entire Country

            GAMBIA               4      Entire Country

            GERMANY              3      Entire Country

            GHANA                3      Entire Country

            GIBRALTAR            3      Entire Country

            GREECE               4      Entire Country

            GREENLAND            4      Entire Country

            GRENADA              1      Entire Country

            GUADELOUPE           1      Entire Country

            GUATEMALA            1      Izabal

                                 2      Balance of Country

            GUINEA               4      Entire Country

            GUINEA— BISSAU       4      Entire Country

            GUYANA               3      Entire Country

            HAITI                1      Entire Country

            HONDURAS             1      Entire Country

            HUNGARY              4      Entire Country

            ICELAND              4      Entire Country




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ReViewer:
           WEN                  1      Andhra Pradesh, Jharkhand, Mizoram, Orissa, Tamil Nadu, Telangana,   Tripura,
                                       West Bengal
                               3       Balance of Country

           INDONESIA           3       Entire Country

           IRAQ                4       Entire Country

           IRELAND             3       Entire Country

           ISLE   OF MAN       3       Entire Country

           Country             Zone    Provinces/Territories/States/Counties

           ISRAEL              4       Entire Country

           ITALY               3       Entire Country

           IVORY COAST         4       Entire Country
           (COTE-D’IVOIRE)
           JAMAICA              1      Entire Country

           JAPAN               3       Regions of Hokkaido, Tohoku

                                1      Balance of Country

           JORDAN              4       Entire Country

           KAZAKHSTAN          4       Entire Country

           KENYA               3       Entire Country

           KIRIBATI             1      Entire Country

           KOSOVO              4       Entire Country

           KUWAIT              4       Entire Country

           KYRGYZSTAN          4       Entire Country
           (KYRGYZ REPUBLIC)
           LAOS                3       Entire Country

           LATVIA              3       Entire Country

           LEBANON             4       Entire Country

           LESOTHO             4       Entire Country

           LIBERIA             4       Entire Country

           LIBYA               4       Entire Country

           LIECHTENSTEIN       4       Entire Country

           LITHUANIA           3       Entire Country

           LUXEMBOURG          4       Entire Country

           MACEDONIA           4       Entire Country

           MADAGASCAR          2       Entire Country

           MALAWI              4       Entire Country

           MALAYSIA            3       Entire Country

           MALDIVES            3       Entire Country

           MALI                4       Entire Country

           MALTA               4       Entire Country




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           RﬁﬂﬁgHALL ISLANDS   2       Entire Country

           MARTINIQUE           1      Entire Country

           MAURITANIA          4       Entire Country

           MAURITIUS            1      Entire Country

           MAYOTTE              1      Entire Country

           MEXICO               1      Baja California Sur, Colima, Campeche, Chiapas, Guerrero, Jalisco, Michoacan,
                                       Oaxaca, Quintana R00, Tabasco, Tamaulipas, Veracruz, Yucatan

                               4       Balance of Country

           MOLDOVA             4       Entire Country

           MONACO              3       Entire Country

           Country             Zone    Provinces/Territories/States/Counties

           MONGOLIA                    Entire Country

           MONTENEGRO          4       Entire Country

           MONTSERRAT           1      Entire Country

           MOROCCO             4       Entire Country

           MOZAMBIQUE           1      Entire Country

           NAMIBIA             4       Entire Country

           NAURU               4       Entire Country

           NEPAL               4       Entire Country

           NETHERLANDS         4       Balance of Country

                                1      Bonaire for Limits of    Liability

                               3       Bonaire for Deductibles

                                1      Saba
                                1      Sint Eustatius

           NEW CALEDONIA        1      Entire Country

           NEW ZEALAND         3       Entire Country

           NICARAGUA            1      RAAN   (Bilwi),   RAAS   (Bluefields)

                               2       Balance of Country

           NIGER               4       Entire Country

           NIGERIA             4       Entire Country

           NIUE                 1      Entire Country

           NORFOLK ISLAND      2       Entire Country

           NORWAY              3       Entire Country

           OMAN                3       Entire Country

           PAKISTAN            3       Entire Country

           PALAU                1      Entire Country

           PALESTINE           4       Entire Country

           PANAMA              3       Entire Country

           PAPUA NEW GUINEA    3       Entire Country

           PARAGUAY            4       Entire Country

           PERU                4       Entire Country


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           Bliﬁ'LWbPINEs              1      Entire Country

           PITCAIRN ISLANDS           1      Entire Country

           POLAND                     3      Entire Country

           PORTUGAL                   3      Azores Autonomous Region

                                      4      Entire Country

           QATAR                      4      Entire Country

           REUNION                    1      Entire Country

           ROMANIA                    4      Entire Country

           RUSSIAN                    4      Entire Country
           FEDERATION
           Country                    Zone   Provinces/Territories/States/Counties

           RWAN DA                    4      Entire Country

           SAMOA (WESTERN        )
                                      1      Entire Country

           SAN MARINO                 4      Entire Country

           SAO TOME &                 4      Entire Country
           PRINCIPE
           SAUDI ARABIA               4      Entire Country

           SENEGAL                    4      Entire Country

           SERBIA                     4      Entire Country

           SEYCHELLES                 3      Entire Country

           SIERRA LEONE               4      Entire Country

           SINGAPORE                  4      Entire Country

           SINT    MAARTEN            1      Entire Country

           SLOVAKIA                   4      Entire Country

           SLOVENIA                   4      Entire Country

           SOLOMON ISLANDS            2      Entire Country

           SOMALIA                    4      Entire Country

           SOUTH AFRICA               4      Entire Country

           SOUTH KOREA                2      Entire Country

           SOUTHERN SUDAN             4      Entire Country

           SPAIN                      4      Entire Country

           SRI   LANKA                2      Entire Country

           ST.   BARTHELEMY           1      Entire Country

           ST. KITTS      AND NEVIS   1      Entire Country

           ST.   LUCIA                1      Entire Country

           ST.   MARTIN               1      Entire Country

           ST.   VINCENT AND THE      1      Entire Country
           GRENADINES
           SURINAME                   4      Entire Country




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           E‘WﬂﬁILAND                             4        Entire Country

           SWEDEN                                 3        Entire Country

           SWITZERLAND                            4        Entire Country

           TAIWAN                                 1        Entire Country

           TAJIKISTAN                             4        Entire Country

           TANZANIA                               4        Entire Country

           THAILAND                               3        Entire Country

           TIMOR-LESTE                            3        Entire Country

           TOGO                                   4        Entire Country

           TONGA                                  1        Entire Country

           TRINIDAD AND                           1        Entire Country
           TOBAGO
           TUNISIA                                4        Entire Country

           Country                                Zone      Provinces/Territories/States/Counties

           TURKEY                                 4         Entire Country

           TU RKMENISTAN                          4         Entire Country

           TURKS AND CAICOS                       1         Entire Country

           TUVALU                                 3         Entire Country

           UGANDA                                 4         Entire Country

           UKRAINE                                4         Entire Country

           UNITED ARAB                            4         Entire Country
           EMIRATES
           UNITED KINGDOM                         3         Entire Country
           including Guernsey,
           Jersey

           URUGUAY                                3         Entire Country

           UZBEKISTAN                             4         Entire Country

           VANUATU                                1         Entire Country

           VATICAN CITY                           4         Entire Country

           VENEZUELA                              3         Entire Country

           VIETNAM                                2         Entire Country

           WESTERN SAHARA                         4         Entire Country

           YEMEN                                  3         Entire Country

           ZAMBIA                                 4         Entire Country

           ZIMBABWE                               4         Entire Country




          Any country         not listed   is   designated as Zone   1   unless stated differently   in   the Declarations of this Policy




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        Amendatory Endorsement - Alaska



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, Cancellation/Non-renewal, is deleted in its entirety and replaced by the following:

             CANCELLATION/NON-RENEWAL/CONDITIONAL RENEWAL

             Cancellation

             The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
             written notice of cancellation.

             The Company may cancel this Policy by mailing or delivering to the First Named Insured and to the agent or broker of record
             written notice of cancellation at least the greater of:

                 Ten (10) days before the effective date of cancellation if the Company cancels for discovery of fraud or material
                 misrepresentation by the insured;

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
                 premium, as stated in the Declarations; or

                 Sixty (60) days or the number of days before the effective date of cancellation if the Company cancels for any other reason,
                 as stated in the Declarations.

             The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
             Policy or any Endorsement attached thereto and to the agent or broker of record.

             Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

             If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
             the refund will be pro rata. If the First Named Insured cancels, the refund may be subject to a cancellation fee of 7.5% of any
             unearned premium. If the Company cancels, any unearned premium will be returned before the effective date of cancellation or
             forty-five (45) days after the cancellation notice is given in cases of nonpayment, misrepresentation or fraud. If the Insured
             cancels, any unearned premium will be returned the later of the effective date of cancellation or 45 days after receipt of the
             request for cancellation.

             If notice is mailed, proof of mailing will be sufficient proof of notice.

             If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
             cancellation terms or conditions will be as permitted by such laws.

             Non-renewal

             The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, the number of
             days before the non-renewal, as permitted by law in the jurisdiction where in the property is located.

             Conditional Renewal

             If the premium to renew this policy increases more than 10% for a reason other than an increase in coverage or exposure basis,
             or if after the renewal there will be a material restriction or reduction in coverage not specifically requested by the First Named
             Insured, the Company shall mail written notice of the change(s) to the First Named Insured the number of days before the
             expiration date of the policy, as permitted by law in the jurisdiction where in the property is located.

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        2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRSENTATION OR FRAUD, is deleted in its
             entirety and replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD
                The Company will not pay for any loss or damage in any case involving misrepresentations, omissions, concealment of
                facts, or incorrect statements:
                          That are fraudulent;
                          That are material either to the acceptance of the risk, or to the hazard assumed by the Company; or
                          If the Company, in good faith, would not have:
                                    Issued the policy or contract;
                                    Issued a policy or contract in as large an amount, or at the same premium or rate; or
                                    Provided coverage with respect to the hazard resulting in the loss;
                          if the true facts had been made known to the Company as required either by the application for the policy or
                          contract or otherwise.

        3.   Section VI-General Policy Conditions, Loss Conditions, Appraisal is deleted in its entirety and replaced by the following:

             APPRAISAL

             If the Insured and the Company fail to agree on the value of the property or the amount of loss, each will, on the written
             demand of either, select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the
             claim. Each will notify the other of the appraiser selected within 10 days of such demand. The Insured may not invoke
             appraisal unless it has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage
             and has provided the Company with a signed and sworn statement of loss.

             The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
             within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
             appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
             They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
             item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

             If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash
             value and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or,
             if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any
             two will determine the amount of loss and will be binding on the Company.

             Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
             deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in
             whole or in part.

             All expenses and fees, not including counsel or adjuster fees, incurred because of the appraisal shall be paid as determined
             by the umpire.

        3. The following is added to Subsection 6.13.01 of Section VI-General Policy Conditions, Loss Conditions, Duties in the Event of
           Loss or Damage:

             The Insured has the right to an attorney being present during any examination under oath.

        4.   The following is added to Section VI-General Policy Conditions and supersedes any provision to the contrary:

             As required by Alaska Statute Section 21.36.212, we will not deny a claim if a risk, hazard or contingency insured against is the
             dominant cause of a loss and an excluded risk, hazard, or contingency is also in the chain of causes but operates on a secondary
             basis.




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        5.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
             fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date on which
             the cause of action accrues.




        All other terms, conditions and limitations of this Policy remain unchanged.




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          Amendatory Endorsement - Connecticut
                                                                                                                                                          9
                                                                                                                                                        ZURICH®

           Insured   Name                                                         Policy    Number                               Effective Date
           Johnson    & Wales University                                          ERP9819903-06                                  05/0 1/2 020



          THISENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN CONNECTICUT. PLEASE
          READ IT CAREFULLY.
          1.   SECTION V i SPECIAL COVERAGES                           & DESCRIBED CAUSES OF LOSS, DESCRIPTION OF SPECIAL COVERAGES, is
               amended by        the addition of the following:


                                                                                                                     Covered Cause 0f Loss,
               In the event of an electrical outage 0r interruption of electn'cal service at an Insured Location from a
               Personal Property that        is    perishable food that       you donate     emergency shelter operated or supervised by a
                                                                                                t0 a temporary
               municipality or the state during a state of emergency for a limited time period Will be considered physically damaged, for the
               purpose 0f coverage as required by Connecticut Public Act 12-123 only, if:


               a)    The   Insured's food establishment is classiﬁed as class III or class              IV pursuant    t0 regulations adopted under section 19a—36
                     of Connecticut general            statutes;



               b)    The Governor proclaims             that a state   of emergency   exists;




               c)    The   electrical   outage or interruption of electrical service to the Insured Location                is   forecast   by the    electric supplier to last

                     longer for that Insured Location than the time period prescribed by the Department of Public Health or local director of
                     health, 0r   an authorized agent thereof, for the safe handling 0f such perishable food;


               d)    Such perishable food         is   donated prior to the expiration of the time period described in c) above; and


               e)    The Insured provides us written documentation from such                    shelter stating the date   and time of such donation.

               Coverage under       this provision is        provided only up the applicable Limit of Liability and subject to               all   other terms and conditions
               of the policy.

          2.    SECTION VI — GENERAL POLICY CONDITIONS, CANCELLATION/NON—RENEWAL,                                                           is   deleted in   its   entirety   and
               replaced by the following:


               Cancellation


                     The First Named Insured shown                 in the Declarations   may cancel this    Policy by mailing 0r delivering to the             Company
                     advance written notice of cancellation.

                     For Policies in Effect Sixty (60) Days or Less, the Company                   may cancel this   Policy   by mailing         or delivering to the First
                     Named Insured written notice of cancellation at least:

                           Ten   (10) days before the effective date of cancellation if the           Company    cancels for      nonpayment of premium.




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                    Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
                Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                cancellation at least ten (10) days before the effective date of cancellation if the Company cancels for one or more of the
                following reasons:

                    Nonpayment of premium;

                    Conviction of a crime arising out of acts increasing the hazard insured against;

                    Discovery of fraud or material misrepresentation by the Insured in obtaining the Policy or in perfecting any claim;

                    Discovery of any willful or reckless act or omission by the Insured increasing the hazard insured against; or;

                    A determination by the Commissioner that continuation of the Policy would violate or place the Company in violation
                    of the law.

                If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
                Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                cancellation at least sixty (60) days before the effective date of cancellation if the Company cancels for one or more of the
                following reasons:

                    Physical changes in the property which increase the hazard insured against;

                    A material increase in the hazard insured against; or

                    A substantial loss of reinsurance by the Company affecting this particular line of insurance.

                The Company may not cancel policies in effect for sixty (60) days or more or renewal policies for any reason other than the
                reasons described above.

                If the Company cancels for nonpayment of premium, the Insured may continue the coverage and avoid the effect of
                cancellation by payment in full at any time prior to the effective date of cancellation.

                Notice of cancellation will state the reason(s) for cancellation.

                Notice of Cancellation will be delivered or sent by Registered mail, Certified mail, or Mail evidenced by a United States
                Post Office certificate of mailing.

                The Company will give notice to the First Named Insured at the last mailing address known.

                Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                cancellation will be effective even if the Company has not made or offered a refund. Notice of cancellation will state that
                the excess premium (if not tendered) will be refunded on demand.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

            Non-renewal




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                 The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
                 non-renewal at least sixty (60) days before the expiration date of this Policy stating the reason for non-renewal . This
                 notice will be delivered or sent by Registered mail or Certified mail to the last address known to us. The Company is not
                 required to send this notice if nonrenewal is due to the Insured failure to pay any advance premium required for renewal.

            3.   SECTION VI – GENERAL POLICY CONDITIONS, LENDERS LOSS PAYEE AND MORTGAGE HOLDER
                 INTERESTS AND OBLIGATIONS, is modified to add the following:

                 Mortgagee interests and obligations. If loss hereunder is made payable, in whole or in part, to a designated mortgagee not
                 named herein as the insured, such interest in this policy may be cancelled by giving to such mortgagee a ten days' written
                 notice of cancellation.

                 If the insured fails to render proof of loss such mortgagee, upon notice, shall render proof of loss in the form herein
                 specified within sixty (60) days thereafter and shall be subject to the provisions hereof relating to appraisal and time of
                 payment and of bringing suit. If this Company shall claim that no liability existed as the mortgagor or owner, it shall, to the
                 extent of payment of loss to the mortgagee, be subrogated to all the mortgagee's rights of recovery, but without impairing
                 mortgagee's right to sue; or it may pay off the mortgage debt and require an assignment thereof and of the mortgage. Other
                 provisions relating to the interests and obligations of such mortgagee may be added hereto by agreement in writing.


            4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

                 For any loss subject to the Standard Fire Insurance Policy of the State of Connecticut, as set forth in the General Statutes of
                 Connecticut, if any conditions of the Standard Fire Insurance Policy of the State of Connecticut are construed to be more
                 liberal than the conditions of this Policy, then the conditions of The Standard Fire Insurance Policy of the State of
                 Connecticut will apply with respect to the perils insured by the Standard Fire Policy of Connecticut.

            5.   SECTION VI –GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
                 following and supersede anything to the contrary:

                 Any provisions required by Connecticut law to be included in policies issued by the Company shall be deemed to have
                 been included in this Policy.

                 If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
                 provisions are required by Connecticut law to be stated in this Policy, this Policy shall be read so as to eliminate such
                 conflict or deemed to include such provisions for Insured Locations within such jurisdictions.

            6.   SECTION VI –GENERAL POLICY CONDITIONS, SUIT AGAINST THE COMPANY, is amended by the addition of the
                 following and supersede anything to the contrary:

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within twenty-four (24)
                 months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

                 If under the laws of the jurisdiction in which the property is located, such twenty-four months' limitation is invalid, then,
                 any such legal action needs to be started within the shortest limit of time permitted by such laws.


            7.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

                 For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such property to the physical
                 condition that existed on the date of loss or the cost to replace the article or the value if stated on a




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            schedule on file. If the Fine Arts article cannot be replaced and an appraisal is not available, the valuation shall be market
            value based on prevailing conditions at the time of loss or damage.

            and

            The cost to replace non-repairable electrical or mechanical equipment, including computer equipment, with equipment that is the
            most functionally equivalent to that damaged or destroyed, even if such equipment has technological advantages, represents an
            improvement in function, or forms part of a program of system enhancement.


        All other terms, conditions and limitations of this Policy remain unchanged




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        Amendatory Endorsement - Florida
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 A single claim on a property insurance policy which is the result of water damage may not be used as the sole cause for
                 cancellation or nonrenewal unless the insurer can demonstrate that the insured has failed to take action reasonably requested
                 by the insurer to prevent a future similar occurrence of damage to the insured property.

                 Cancellation for Policies in Effect for Ninety (90) Days or Less

                     If this Policy has been in effect for ninety (90) days or less, the Company may cancel this Policy by mailing or
                     delivering to the First Named Insured written notice of cancellation, accompanied by the specific reasons for
                     cancellation, at least:

                            Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                            Twenty (20) days before the effective date of cancellation if the Company cancels for any other reason, except the
                            Company may cancel immediately if there has been a material misstatement or misrepresentation, or a failure to
                            comply with underwriting requirements established by the Company.

                     The Company may not cancel:

                            On the basis of property insurance claims that are the result of an act of God, unless the Company can
                            demonstrate, by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary as
                            requested by the Company to prevent recurrence of damage to the insured property; or

                            Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                            can demonstrate that the Insured has failed to take action reasonably requested by us to prevent a future similar
                            occurrence of damage to the insured property.

                 Cancellation for Policies in Effect for More Than Ninety (90) Days

                     If this Policy has been in effect for more than ninety (90) days, the Company may cancel this Policy only for one or
                     more of the following reasons:

                            (a) Nonpayment of premium;

                            (b) The Policy was obtained by a material misstatement;

                            (c) In the event of failure to comply, within ninety (90) days after the effective date of coverage, with
                                underwriting requirements established by the Company before the effective date of coverage;

                            (d) There has been a substantial change in the risk covered by the Policy;

                            (e) The cancellation is for all Insureds under such Policies for a given class of Insured;

                            (f) On the basis of property insurance claims that are the result of an act of God, if the Company can demonstrate,
                                by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary by the
                                Company to prevent recurrence of damage to the insured property;

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                         (g) On the basis of a single property insurance claim which is the result of water damage, if the Company can
                             demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                             similar occurrence of damage to the insured property; or

                         (h) The cancellation of some or all of our policies is necessary to protect the best interests of the public or
                             policyholders and such cancellation is approved by the Florida Office of Insurance Regulation.

                     If the Company cancels this Policy for any of these reasons, the Company will mail or deliver to the First Named
                     Insured written notice of cancellation, accompanied by the specific reasons for cancellation, at least:

                         Ten (10) days before the effective date of cancellation if cancellation is for nonpayment of premium; or

                         Forty-five (45) days before the effective date of cancellation if:

                         (a) Cancellation is for one of the other reasons stated in paragraphs (a) through (g) above and this policy does not
                             cover a residential structure or its contents; or

                         (b) Cancellation is based upon the reason stated in (h) above.

                         120 days before the effective date of cancellation if cancellation is for one of the reasons stated in paragraphs (b)
                         through (g) above and this policy covers a residential structure or its contents.

                     If this policy has been in effect for more than 90 days and covers a residential structure or its contents, the Company
                     may not cancel this policy based on credit information available in public records.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than 90% of the pro rata unearned premium. If the return premium is not refunded with the notice of cancellation or when
                this policy is returned to us, the Company will mail the refund within 15 working days after the date cancellation takes
                effect, unless this is an audit policy.

                If this is an audit policy, then subject to the Insured’s full cooperation with us or our agent in securing the necessary data
                for audit, the Company will return any premium refund due within 90 days of the date cancellation takes effect. If our audit
                is not completed within this time limitation, then the Company shall accept the Insured’s own audit, and any premium
                refund due shall be mailed within 10 working days of receipt of the Insured’s audit.

                The cancellation will be effective even if the Company has not made or offered a refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.


            Non-Renewal

                1.   The Company may non-renew this Policy by mailing or delivering to the First Named Insured, at the Insured’s last
                     mailing address known to us, written notice of non-renewal, accompanied by the specific reason for non-renewal at
                     least:

                     (a) Forty-five (45) days prior to the expiration of this Policy if this policy does not cover a residential structure or its
                         contents of it is necessary to protect the best interests of the public or policyholders and such nonrenewal is
                         approved by the Florida Office of Insurance Regulation; or

                     (b) 120 days prior to the expiration of the policy if this policy covers a residential structure or its contents.

                2.   Any notice of nonrenewal will be mailed or delivered to the first Named Insured at the last mailing address known to
                     the Company. If notice is mailed, proof of mailing will be sufficient proof of notice.




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                3.   The Company may not refuse to renew this policy:

                     (a) On the basis of property insurance claims that are the result of an act of God, unless the Company can
                         demonstrate, by claims frequency or otherwise, that the Insured failed to take action reasonably necessary as
                         requested by the Company to prevent recurrence of damage to the insured property;

                     (b) On the basis of filing of claims for Sinkhole Loss. However, the Company may refuse to renew this policy if:

                         (1) The total of such property insurance claim payments for this policy equals or exceeds the policy limits in
                             effect on the date of loss for property damage to the covered building; or
                         (2) The Insured has failed to repair the structure in accordance with the engineering recommendations upon which
                             any loss payment or policy proceeds were based; or
                     (c) Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                         can demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                         similar occurrence of damage to the insured property.

                     (d) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if this policy
                         includes Sinkhole Loss coverage. If the Company nonrenews this policy for purposes of removing Sinkhole Loss
                         coverage, pursuant to section 627.706, Florida Statutes, the Company will offer the Insured a policy that includes
                         catastrophic ground cover collapse coverage.

                     (e) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if nonrenewal of
                         some or all of the Company’s policies is necessary to protect the best interests of the public or policyholders and
                         such nonrenewal is approved by the Florida Office of Insurance Regulation.

            Limitations on Cancellation and Nonrenewal In the Event of Hurricane or Wind Loss- Residential Property

                The following provisions apply to a policy covering a residential structure or its contents, if such property has sustained
                damage as a result of a hurricane or windstorm that is the subject of a declaration of emergency by the Governor and filing
                of an order by the Commissioner of Insurance Regulation:

                (a) Except as provided in the paragraph (b), the Company may not cancel or nonrenew the policy until at least 90 days
                    after repairs to the residential structure or its contents have been substantially completed so that it is restored to the
                    extent that it is insurable by another insurer writing policies in Florida. If the Company elects to not renew the policy,
                    the Company will provide at least 100 days’ notice that the Company intends to nonrenew 90 days after the substantial
                    completion of repairs.

                (b) The Company may cancel or nonrenew the policy prior to restoration of the structure or its contents for any of the
                    following reasons:

                     (1)   Nonpayment of premium;
                     (2)   Material misstatement or fraud related to the claim;
                     (3)   The Company determines that the Insured has unreasonably caused a delay in the repair of the structure; or
                     (4)   The Company has paid the policy limits.

                     If the Company cancels or nonrenew for nonpayment of premium, the Company will give the Insured 10 days' notice.
                     If the Company cancels or nonrenews for a reason listed in Paragraph (b)(2), (b)(3) or (b)(4), the Company will give
                     the Insured 45 days' notice.
               With respect to a policy covering a residential structure or its contents, any cancellation or nonrenewal that would otherwise
               take effect during the duration of a hurricane will not take effect until the end of the duration of such hurricane, unless a
               replacement policy has been obtained and is in effect for a claim occurring during the duration of the hurricane. The
               Company may collect premium for the period of time for which the policy period is extended.
               With respect to the above paragraph, a hurricane is a storm system that has been declared to be a hurricane by the National
               Hurricane Center of the National Weather Service (hereafter referred to as NHC). The hurricane occurrence begins at the time
               a hurricane watch or hurricane warning is issued for any part of Florida by the NHC and ends 72 hours after the termination
               of the last hurricane watch or hurricane warning issued for any part of Florida by the NHC.

        2. SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
           its entirety and replaced by the following:


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              CONCEALMENT, MISREPRESENTATION OR FRAUD

                  This Policy may be void as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It may
                  also be void if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

                       This Policy;

                       The Covered Property;

                       The Insured's interest in Covered Property; or

                       A claim under this Policy.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
           its entirety and replaced by the following:

                  No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                  Insured has fully complied with all the provisions of this Policy. Legal action must be started within five (5) years from the
                  date of loss.

        4.    The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
              Payment:

              The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
              statement of loss, if the Insured has complied with all the terms of this Policy; and

                  The Company has reached agreement on the amount of loss; or

                  An appraisal award has been made,

              and replaced by the following:

              If the Insured has complied with all the terms of this Policy, the Company will pay for covered loss or damage within:

                  Twenty (20) days after receiving the sworn statement of loss and reaching written agreement with the Insured; or

                  Thirty (30) days after receiving the sworn statement of loss; and

                  There is an entry of a final judgment; or

                  A filing of an appraisal award with the Company.

        5. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS Is amended by adding the following:

             A claim, supplemental claim or reopened claim for loss or damage caused by the peril of windstorm or hurricane is barred unless
             notice of the claim supplemental claim or reopened claim is given to the Company within 3 years after the hurricane first made
             landfall or the windstorm caused covered damage.

             For purposes of this section, the term “supplemental claim” or “reopened claim” means any additional claim for recovery from
             the insurer for losses from the same hurricane or windstorm which the insurer has previously adjusted pursuant to the initial
             claim.

        6. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

             Upon receipt of a claim for a Sinkhole Loss to a covered building, the Company shall meet the following standards in
             investigating a claim:

             (1) Inspect the Insured's premises to determine if there is Structural Damage that may be the result of Sinkhole Activity.



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              (2) If the        Company conﬁrms              that Structural      Damage                              of such damage or discovers
                                                                                                exists but is unable to identify a valid cause
                    that such        damage   is   consistent with Sinkhole Loss, the                Company
                                                                                             engage a Professional Engineer or a Professional
                                                                                                                shall
                    Geologist to conduct testing as provided in s. 627.7072, Florida Statutes to determine the cause of the loss within a
                    reasonable professional probability and issue a report as provided in s. 627.7073, Florida Statutes only if Sinkhole Loss is
                    covered under the policy. Except as provided in subsections (4) and (6), the fees and costs of the Professional Engineer or
                    Professional Geologist shall be paid by the Company.


              (3)   Following the          initial      inspection 0f the policyholder's premises, the              Company     shall provide written notice t0 the Insured
                    disclosing the following information:


                    (a)   What the Company               has determined to be the cause of damage, if the                  Company   has   made such   a determination.


                    (b)   A statement of the circumstances under which the Company is required t0 engage a Professional Engineer or a
                          Professional Geologist to verify or eliminate Sinkhole Loss and to engage a Professional Engineer to                                     make
                          recommendations regarding land and building stabilization and foundation repair.

                    (c)   A statement regarding the right of the Insured t0 request testing by a Professional Engineer 0r a Professional Geologist,
                          the circumstances under             which     the Insured     may demand certain testing, and the          circumstances under Which the Insured
                          may     incur costs associated With testing.


              (4) (a) If the       Company         determines that there         is   n0 Sinkhole Loss, the Company may deny the claim.

                    (b) If coverage for           Sinkhole Loss         is   available and theCompany denies the claim without performing testing under
                          s.   627.7072, Florida Statutes, the Insured                  may demand testing by the Company under s. 627.7072, Florida Statutes.

                          1.   The   Insured‘s     demand      for testing     must be communicated          to the   Company     in writing within    60 days   after the Insured's
                               receipt of the insurer's denial of the claim.


                          2.   The Insured    shall pay 50 percent 0f the actual costs 0f the analyses and services provided under ss. 627.7072, Florida
                               Statutes    and 627.7073, Florida Statutes or $2,500, whichever is less.

                          3.   The Company           shall   reimburse the Insured for the costs           if the   Company's engineer or geologist provides written
                               certiﬁcation pursuant to          s.   627.7073, Florida Statutes that there           is   Sinkhole Loss.


              (5) If a Sinkhole           Loss     is   veriﬁed, the    Company        shall   pay   t0 stabilize the land   and building and repair the foundation in
                    accordance with the recommendations 0f the Professional Engineer retained pursuant to subsection (2), with notice to the
                    Insured, subject t0 the coverage and terms 0f the policy. The Company shall pay for other repairs t0 the structure and contents
                    in accordance with the termsof the policy. If a covered building suffers a Sinkhole Loss, the insured must repair such
                    damage                                Company's Professional Engineer’s recommended repairs. However, if the Company's
                                  0r loss in accordance with the
                    Professional Engineer determines that the repair cannot be completed within policy limits, the Company must pay t0
                    complete the repairs recommended by the insurer's Professional Engineer or tender the policy limits of the affected building
                    t0 the Insured.


                    (a)   The Company may limit its total claims payment to the actual cash value of the Sinkhole Loss, which does not include
                          underpinning 0r grouting or any other repair technique performed below the existing foundation 0f the building, until the
                          Insured enters into a contract for the performance of building stabilization or foundation repairs in accordance with the
                          recommendations set forth in the Company's report issued pursuant t0 s. 627.7073, Florida Statutes.

                    (b) In order to prevent additional                 damage     to the building or structure, the Insured          must enter   into a contract for the
                          performance of building stabilization and foundation repairs within 90 days after the Company conﬁrms coverage for the
                          Sinkhole Loss and notiﬁes the Insured 0f such conﬁlmation. This time period is tolled if either party invokes the Neutral
                          Evaluation process, and begins again 10 days                         after the conclusion     of the Neutral Evaluation process.


                    (c)   After the Insured enters into the contract for the performance of building stabilization and foundation repairs, the
                          Company         shallpay the amounts necessary to begin and perform such repairs as the work is performed and                               the expenses
                          are incurred.      The Company may not require the Insured to advance payment for such repairs.

                          If repair has     begun and the aforementioned professional engineer determines that the repairs Will exceed the applicable
                          Limit 0f Insurance, the     Company will pay only the remaining portion 0f the applicable Limit of Insurance upon such




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                           determination.            The most     the   Company       will pay for the total of all Sinkhole Loss, including building and land stabilization
                           and foundation        repair, is the applicable            Limit 0f Insurance on the affected building.


                     (d)   The    stabilization       and   all   other repairs t0 the structure and contents           must be completed within 12 months           after entering into
                           the contract for repairs described in paragraph (b) unless:


                            1.   There   is   a mutual agreement between the                  Company and the        Insured;


                            2.   The claim      is   involved with the Neutral Evaluation process;


                            3.   The claim      is   in litigation; 0r


                            4.   The claim      is   under appraisal or mediation.

                     (e)   Upon the Company's               obtaining the written approval of any lienholder, the                    Company may make payment        directly to the
                           persons selected by the Insured to perform the land and building stabilization and foundation repairs. The decision by the
                           Company t0 make payment t0 such persons does not hold the Company liable for the work performed. The Insured may
                           not accept a rebate from any person performing the repairs speciﬁed in this section. If an Insured does receive a rebate,
                           coverage      is   void and the Insured must refund the amount of the rebate to the Company.


               (6) If the        Company       obtains, pursuant to           s.   627.7073, Florida Statutes, written certiﬁcation that there           is   no Sinkhole Loss or   that
                     the cause 0f the          damage was not Sinkhole                Activity,   and   if the   Insured has submitted the Sinkhole claim without good faith
                     grounds for submitting such claim, the Insured shall reimburse the Company for 50 percent of the actual costs of the analyses
                     and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida Statutes; however, an Insured is not
                     required to reimburse the Company more than $2,500 with respect to any claim. The Insured is required t0 pay reimbursement
                     only if the Insured requested the analysis and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida
                     Statutes and the Company, before ordering the analysis under s. 627.7072, Florida Statutes, informs the Insured in writing of
                     the Insured's potential liability for reimbursement and gives the Insured the opportunity to withdraw the claim.


               (7)   The Company may engage a professional                            structural engineer to      make recommendations       as to the repair of the structure.


               (8)   Any claim,          including but not limited             t0, initial,   supplemental, and reopened claims under an insurance policy that provides
                     sinkhole coverage           is   barred unless notice of the claim            was given to the insurer in accordance with the terms 0f the policy
                     within 2 years after the policyholder                    knew    0r reasonably should have         known about the sinkhole loss.


          7.         SECTION VI i GENERAL POLICY CONDITIONS, LOSS CONDITIONS                                                    is   amended by adding    the following:


                     (a)    Within 90 days after an insurer receives notice of a property insurance claim from a policyholder, the insurer shall pay or
                           deny such claim or a portion of the claim unless the failure to pay such claim or a portion of the claim is caused by factors
                           beyond the control of the insurer Which reasonably prevent such payment. Any payment of a claim or portion of a claim
                           paid 90 days after the insurer receives notice of the claim, or paid more than 15 days after there are no longer factors
                           beyond the control of the insurer which reasonably prevented such payment, whichever is later, shall bear interest at the
                           rate set forth in s. 55.03. Interest begins to accrue from the date the insurer receives notice 0f the claim. The provisions of
                           this subsection may not be waived, voided, 0r nulliﬁed by the terms of the insurance policy. If there is a right to
                           prejudgment interest, the insured shall select whether t0 receive prejudgment interest or interest under this subsection.
                           Interest is payable When the claim or portion of the claim is paid. Failure to comply with this subsection constitutes a
                           Violation of this code. However, failure to comply with this subsection shall not form the sole basis for a private cause of
                           action.


                     (b)   Notwithstanding subsection                   (4), for    purposes of this subsection, the term “claim” means any of the following:


                            1.   A claim under an insurance policy providing residential coverage as deﬁned in                              s.   627.4025(l);


                            2.   A claim for structural 0r contents coverage under a commercial property insurance policy if the insured structure is
                                  10,000 square feet or            less; or


                            3.   A claim for contents coverage under a commercial tenants policy ifthe insured premises is                                10,000 square feet or   less.




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                  (c)      This subsection shall not apply to claims under an insurance policy covering nonresidential commercial structures or
                        contents in  more than one state.


                SECTION VII — DEFINITIONS, Earth Movement is                              deleted in   its   entirety   and replaced by the following:

                Earth Movement - Any Earth Movement including earthquake,                               landslide,      mine subsidence,       earth sinking, rising, shifting,   and
                Sinkhole collapse. Catastrophic Ground Cover Collapse                            (CGCC) will not be              considered Earth       Movement within the
                terms and conditions of this Policy.


                SECTION VII — DEFINITIONS,                   the following   is    added    to the deﬁnition of Terrorist Activity:


                If both the Terrorist Activity           and subject   loss take place at       Locations         in the   USA,   its territories,   possessions and missions, and
                the   Commonwealth 0f Puerto            Rico, then any Terrorist Activity shall be an act of terrorism as                       deﬁned by the (United   States)
                Terrorism Risk Insurance Act 2002, as amended.

          10.   SECTION VII — DEFINITIONS,                   the following   is   added:


                Catastrophic       Ground Cover Collapse (CGCC)                    -   Geological activity that results in          all   the following:


                      1.     The abrupt collapse of the ground         cover;


                      2.     A depression in the ground cover clearly Visible to the naked eye;

                      3.     Structural        Damage t0 the covered building, including the foundation; and
                      4.     The insured   structure being      condemned and ordered            to   be vacated by the governmental agency authorized by law                to
                             issue such an order for that structure.


                Contents coverage applies if there is a loss resulting from a catastrophic ground cover collapse. Damage consisting merely of
                the settling or cracking of a foundation, structure, or building does not constitute a loss resulting from a catastrophic ground
                cover collapse.


                Neutral Evaluation         —   The   alternative dispute resolution provided in              s.   627.7074, Florida Statutes.


                Neutral Evaluator — A professional engineer or a Professional Geologist who has completed a course of study in alternative
                dispute resolution designed or approved by the department for use in the neutral evaluation process and who is determined by
                the department to be fair and impartial.


                Primary Structural Member -                 A structural element designed to provide support and stability for the vertical or lateral loads of
                the overall structure.


                Primary Structural System               -   An assemblage    of Primary Structural Members.

                Professional Engineer        A person, as deﬁned in 471.005, Florida Statutes, who has a bachelor's degree 0r higher in
                                               -                              s.

                engineering.     A professional engineer must also have experience and expertise in the identiﬁcation ofSinkhole Activity as well
                as other potential causes of Structural            Damage.

                Professional Geologist          -   A person, as deﬁned in        s.   492. 102, Florida Statutes,         who   has a bachelor's degree or higher in geology
                or related earth science and experience and expertise in the identiﬁcation ofSinkhole Activity as well as other potential
                geologic causes ofStructural            Damage.

                Sinkhole - A landform created
                                              by subsidence of soil, sediment, 0r rock as underlying strata are dissolved by groundwater. A
                Sinkhole forms by collapse into subterranean voids created by dissolution 0f limestone 0r dolostone 0r by subsidence as these
                strata are dissolved.


                Sinkhole Activity - Settlement or systematic weakening of the earth supporting the covered building only if the settlement or
                systematic weakening results from contemporaneous movement 0r raveling 0f soils, sediments, or rock materials into
                subterranean voids created by the effect of water on a limestone or similar rock formation.



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            Sinkhole Loss - Structural Damage to the covered building, including the foundation, caused by Sinkhole Activity. Contents
            coverage and additional living expenses apply only if there is Structural Damage to the covered building caused by Sinkhole
            Activity.

            Structural Damage - A covered building, regardless of the date of its construction, has experienced the following:

            1. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the Florida Building
              Code, which results in settlement related damage to the interior such that the interior building structure or members become
              unfit for service or represents a safety hazard as defined within the Florida Building Code;

            2. Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or the Florida Building
              Code, which results in settlement related damage to the primary structural members or primary structural systems that
              prevents those members or systems from supporting the loads and forces they were designed to support to the extent that
              stresses in those primary structural members or primary structural systems exceeds one and one-third the nominal strength
              allowed under the Florida Building Code for new buildings of similar structure, purpose, or location;

            3. Damage that results in listing, leaning, or buckling of the exterior load-bearing walls or other vertical primary structural
              members to such an extent that a plumb line passing through the center of gravity does not fall inside the middle one-third of
              the base as defined within the Florida Building Code;

            4. Damage that results in the building, or any portion of the building containing primary structural members or primary
              structural systems, being significantly likely to imminently collapse because of the movement or instability of the ground
              within the influence zone of the supporting ground within the sheer plane necessary for the purpose of supporting such
              building as defined within the Florida Building Code; or

            5. Damage occurring on or after October 15, 2005, that qualifies as Substantial Structural Damage as defined in the Florida
              Building Code.

          11. SECTION V – SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, B. Description of Special Coverages, TAX
              LIABILITY is deleted in its entirety and replaced by the following:

              TAX LIABILITY

                If the amount of loss covered hereunder cannot be paid in the country where the loss occurred and the corporate tax rate is
                higher in the country where the payment occurs, and the payee is required to pay tax on the claim proceeds or has realized a
                reduction of a tax benefit that would otherwise have been recognized in the payee's country of residence, the Company will
                be liable for the difference in tax basis as an additional loss payment (ALP).

                Financial accounting income shall be determined under generally accepted accounting principles or standards.

                Financial accounting income and corporate income tax shall be determined in the local currency of the country where the
                loss occurred and where the loss payments are received.

                The ALP will be paid only after receipt of documentation supporting the claim and a certification by the Chief Executive
                Officer or Chief Financial Officer of the payee that to the best of his or her knowledge, based on a review of all applicable
                financial and tax data:

              1).The payee is required to pay tax on the claim proceeds or will realize a reduction of a tax benefit that would otherwise
                have been recognized in the payee's country of residence; and

              2).The tax to be paid and pre-tax Financial Accounting Income data provided is accurate and complete and fairly presents in
                all material respects the financial results of the payee in the applicable country.

                Notwithstanding the coverage for tax payment granted under this Coverage, it is understood and agreed that the Insured
                will cooperate with the Company in making every reasonable effort to have the amount of loss paid in the country in which
                the loss occurred, where permitted by law. In addition the Insured agrees to try to mitigate any loss that the Company may
                be responsible for under this Tax Liability Coverage.




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                With respect to payments made under this Coverage, the Company may examine and audit the Insured's books and records
                at any time up to three years after payment.

          12. Any reference to First Named Insured shown in this policy shall be deemed to refer to the Named Insured as shown on the
              declarations.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Georgia



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                    No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                    Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
                    months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.



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        Amendatory Endorsement - Illinois


                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and
             replaced by the following:

             Cancellation

             The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
             written notice of cancellation.

             If this Policy has been in effect for 60 days or less, except as provided below when the Policy covers real property other than
             residential property occupied by four families or less, the Company may cancel this Policy by mailing written notice of
             cancellation at least:

             Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or,
             Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

             If this Policy has been in effect for more than 60 days, except as provided below when the Policy covers real property other
             than residential property occupied by four families or less, the Company may cancel this Policy only for one or more of the
             following reasons:
             a.   Nonpayment of premium;
             b.   The Policy was obtained through a material misrepresentation;
             c.   The First Named Insured has violated any of the terms and conditions of the Policy;
             d.   The risk originally accepted has measurably increased;
             e.   Certification to the Director of Insurance of the loss by reinsurance by the insurer which provided coverage to the Company
                  for all or a substantial part of the underlying risk insured; or
             f.   A determination by the Director that the continuation of the Policy could place the Company in violation of the insurance
                  laws of this State.
             If the Company cancels this Policy based on one or more of the above reasons except for nonpayment of premium, the
             Company will mail written notice at least 60 days before the effective date of cancellation. When cancellation is for
             nonpayment of premium, the Company will mail written notice at least 10 days before the effective date of cancellation.
             The Company will mail notice to the First Named Insured’s last known mailing address.

             Notification of cancellation will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
             to the mortgagee or lienholder listed on the Policy.

             Notice of cancellation will state the effective date and specific reason(s) for cancellation. The Policy Period will end on that
             date.

             If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
             the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less than the
             customary short rate amount. The cancellation will be effective even if the Company has not made or offered a refund.



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             If notice is mailed, then proof of mailing will be sufficient proof of notice.

             If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
             cancellation terms or conditions will be as permitted by such laws.

             The following applies only if this Policy covers property other than residential property occupied by four families or less:

             If any one or more of the following conditions exists at any building that is Covered Property in this Policy, the Company may
             cancel this Policy by mailing to the First Named Insured written notice of cancellation, by both certified and regular mail, if:

             a.   After a fire loss, permanent repairs to the building have not started within 60 days of satisfactory adjustment of loss, unless
                  the delay is due to a labor dispute or weather conditions.

             b.            The building has been occupied 60 or more consecutive days. This does not apply to:
                  (1) Seasonal unoccupancy; or
                  (2) Buildings under repair, construction or reconstruction, if property secured against unauthorized entry.
             c.   The building has:
                  (1) An outstanding order to vacate;
                  (2) An outstanding demolition order; or
                  (3) Been declared unsafe in accordance with the law.
             d.        Heat, water, sewer service or public lighting have not been connected to the building for 30 consecutive days or more.
             The Policy will terminate 10 days following receipt of the written notice by the named insured(s).
             The following applies only with respect to grain in public grain warehouses:
                  The First Named Insured or the Company may cancel this Policy at any time by mailing to:
                  a.     The other; and
                  b.     The Director of the Illinois Department of Agriculture (at its Springfield Office);
                  60 days’ written notice of cancellation.
             Non-renewal

             The Company may non-renew this Policy by mailing to all Named Insured, the Insured’s last mailing address known to us,
             written notice of non-renewal, accompanied by the specific reason for non-renewal at least sixty (60) days prior to the
             expiration of this Policy. Proof of mailing will be sufficient proof of notice.

             If the Company offers to renew or continue and the First Named Insured does not accept, this Policy will terminate at the end of
             the current policy period. Failure to pay the required renewal or continuation premium when due shall mean that the First
             Named Insured has not accepted the offer.

             If the Company fails to mail proper written notice of nonrenewal and the First Named Insured obtains other insurance, this
             Policy will end on the effective date of that insurance.

             Notification of nonrenewal will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
             the mortgagee or lienholder listed on the Policy.

        2.   SECTION VI- General Policy Conditions, Loss Conditions, Suit Against The Company is deleted in its entirety and replaced
             by the following:

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity, unless the Insured
             has fully complied with all the provisions of this Policy. Legal action must be started within twelve (12) months after the date
             of direct physical loss or damage to Covered Property or to other property as set forth herein. However, the Company will
             extend this period by the number of days between the date the proof of loss is filed and the date the claim is denied in whole or
             in part.




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        3.   SECTION VI- General Policy Conditions, Other Insurance, the following provision is deleted:

             The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
             this insurance; except that this insurance shall apply only as excess, Difference in Conditions/Difference in Limits and in no
             event as contributing insurance, and then only after all other insurance has been exhausted.

             And replaced with the following:

             The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
             this insurance; except that this insurance shall apply only as pro rata contributing insurance.

        4.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

             When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
             Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
             be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

             And replaced with the following:

             When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
             Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
             address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
             an endorsement. Any unearned premium due will be returned by the Company.




                                 All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement – Indiana


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             The Company will not pay for any loss or damage in any case of:

                 Concealment or misrepresentation of a material fact; or

                 Fraud

                 Committed by an insured at any time relating to a claim under this Policy.

             However, this does not apply when a claim is made by an Innocent Coinsured provided:

                 The property loss or damage occurs to a the primary residence of the Innocent Coinsured as covered under COVERED
                 PROPERTY.

                 The Final Settlement for the property loss or damage is at least 60% of available insurance proceeds under the Policy.

             The following is added and supersedes provisions to the contrary:

             Any payment made pursuant to a claim made by an Innocent Coinsured as described above, will be for:

                 The actual cost of repair or replacement of the property that is the subject of the claim if the actual cost of repair or
                 replacement is less than or equal to the maximum limit of coverage under the Policy, or

                 The maximum limit of coverage under the Policy is the actual cost of repair or replacement of the property that is the
                 subject of the claim is greater than the maximum limit of coverage under the Policy.

             Any payment made pursuant to above, is limited to the following:

                 An Innocent Coinsured’s ownership interest in the property, less any payments the Company makes to mortgagee or other
                 lienholder with a secured interest in the property.

                 The Company will not pay another coinsured for any part of the claim for which the Company has already paid to an
                 Innocent Coinsured.

                 The Company will not pay an amount that is greater than the amount an Innocent Coinsured is entitled to under a decree
                 of dissolution of marriage between the Innocent Coinsured and an individual described below.

             As used in this endorsement, Innocent Coinsured is an insured who:

                 Did not have knowledge of, cooperate in, or intentionally contribute to a property loss or damage that was caused or
                 arranged by another individual who:

                     Is an insured and:




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                Died in connection with the circumstances that caused the property loss or damage; or

                Has been charged with a crime based on a court finding that there is probable cause to believe that the individual
                committed the crime in connection with the circumstances that caused the property loss or damage;

                Signs a sworn affidavit attesting that they did not have knowledge of, cooperate in, or intentionally contribute to the
                property loss or damage; and

                Cooperates in the investigation and resolution of the claim for the property loss or damage, any police investigation related
                to the property loss or damage, and any criminal prosecution of the individual that caused or arranged the property loss or
                damage.

            As used in this endorsement, Final Settlement is a determination:

                Of the amount owed by the Company to an Innocent Coinsured under COVERED PROPERTY under this Policy and for
                property loss or damage to the Innocent Coinsured’s primary residence; and

                Made by:

                Acceptance of a proof of loss by the Company;

                Execution of a release by an Innocent Coinsured;

                Acceptance of an arbitration award by the Innocent Coinsured and the Company; or

                Judgment of a court of competent jurisdiction.

            However, Final Settlement does not apply to loss or damage related to contents, personal property or another loss that is not
            covered under Covered Property under this Policy.




                                All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Kansas




        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from Section VI-General Policy Conditions, Cancellation/Non-renewal, Cancellation,

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations; or

                 The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                 Declarations.

             and replaced by the following:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations, which shall not be less than five (5) days if the nonpayment is for a premium installment; or

                 The greater of thirty (30) days or the number of days before the effective date of cancellation if the Company cancels for
                 any other reason, as stated in the Declarations.

        2. Section VI-General Policy Conditions, Loss Conditions, Suit Against the Company, is deleted in its entirety and replaced by the
           following:

             SUIT AGAINST THE COMPANY

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
             fully complied with all the provisions of this Policy. Legal action must be started within five (5) years after the date of direct
             physical loss or damage to Covered Property or to other property as set forth herein.

             If under the laws of the jurisdiction in which the property is located, such twelve months' limitation is invalid, then, any such
             legal action needs to be started within the shortest limit of time permitted by such laws.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Kentucky


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1. The following section is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL:

            The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
            least:

                The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                in the Declarations; or

                The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                Declarations.

            and replaced with:

            The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
            least:

                Fourteen (14) days before the effective date of cancellation if this Policy has been in effect for sixty (60) days or less.
                Cancellation can be for any reason, and the notice will state the reason for cancellation.

                For Policies in effect for more than sixty (60) days or that are a renewal of a Policy the Company issued:

                    Fourteen (14) days before the effective date of the cancellation, if cancellation is for nonpayment of premium; or

                    Seventy-five (75) days before the effective date of cancellation, if cancellation is for:

                         Discovery of fraud or material misrepresentation made by the Insured or with the Insureds' knowledge in obtaining
                         the Policy, continuing the Policy, or in presenting a claim under the Policy;

                         Discovery of willful or reckless acts or omissions on the Insureds' part which increase any hazard insured against;

                         The occurrence of a change in the risk which substantially increases any hazard insured against after insurance
                         coverage has been issued or renewed;

                         A violation of any local fire, health, safety, building, or construction regulation or ordinance with respect to any
                         insured property or the occupancy thereof which substantially increases any hazard insured against;

                         The Company is unable to reinsure the risk covered by the Policy; or

                         A determination by the commissioner that the continuation of the Policy would place the Company in violation of
                         the Kentucky insurance code or regulations of the commissioner.




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        2.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety
             and replaced by the following:

             Non-renewal

                For the purpose of this Condition:

                    Any Policy period or term of less than six (6) months shall be considered to be a Policy period or term of six (6)
                    months; and

                    Any Policy period or term of more than one (1) year or any Policy with no fixed expiration date shall be considered a
                    Policy period or term of one (1) year.

                If the Company elects not to renew this Policy, the Company will mail or deliver written notice of nonrenewal, stating the
                reason for nonrenewal, to the first Named Insured shown in the Declarations, at the last mailing address known to the
                Company, at least seventy-five (75) days before the expiration date of the Policy period.

                If notice of nonrenewal is not provided pursuant to this Condition, coverage under the same terms and conditions shall be
                deemed to be renewed for the ensuing Policy period upon payment of the appropriate premium until the Insured has
                accepted replacement coverage with another insurer, or until the Insured has agreed to the nonrenewal.

                If the Company mails or delivers a renewal notice to the first Named Insured at least thirty (30) days before the end of the
                Policy period, stating the renewal premium and its due date, the Policy will terminate without further notice unless the
                renewal premium is received by the Company or its authorized agent by the due date.

                If this Policy terminates because the renewal premium has not been received by the due date, the Company will, within
                fifteen (15) days, mail or deliver to the first Named Insured at the last known address a notice that the Policy was not
                renewed and the date it was terminated.

                If notice is mailed, proof of mailing is sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Louisiana

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.01.01.is deleted in its entirety and replaced by the
             following:

             3.03.01.01. Contamination or asbestos, and any cost due to Contamination or asbestos including the inability to use or
                         occupy property or any cost of making property safe or suitable for use or occupancy.

        2.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.03.03 is deleted in its entirety and replaced by the
             following:

             3.03.03.03    Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic
                           fusion, radioactive force or radioactive material, regardless of who commits the act.

        3. Section VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and replaced
           with the following::

                 If this Policy is cancelled, the Company will return any premium refund due. The cancellation will be effective even if the
                 Company has not made or offered a refund.

                 1.   If the first Named Insured cancels, the refund will not be less than 90% of the pro rata unearned premium, rounded to
                      the next higher whole dollar. The refund will be returned within 30 days after the effective date of cancellation.

                      We will send the refund to the first Named Insured and any mortgagee that has provided us with written notice of the
                      percentage of the premium being funded with the mortgagee's own funds. The percentage of the unearned premium
                      attributable to the mortgagee shall be returned to the mortgagee and the percentage of the unearned premium
                      attributable to the first Named Insured shall be returned to the first Named Insured.

                 2.   If we cancel, the refund will be pro rata and we will send the refund to the first Named Insured

                 If we cancel a policy that has been in effect for fewer than 60 days and is not a renewal of a policy we issued,
                 we will give written notice to the First Named Insured at least:

                 1.       10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

                 2.       60 days before the effective date of cancellation, if we cancel for any other reason.

                  If we cancel a policy that has been in effect for 60 days or more, or is a renewal of a policy we issued, we will give written
                 notice to the First Named Insured at least:

                 1.   10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

                 2.   30 days before the effective date of cancellation, if we cancel for any other reason.

                 Cancellation of a policy in effect more than 60 days will be based on one of the following reasons:

                 1.   Nonpayment of premium.

                 2.    Fraud or material misrepresentation made by or with the knowledge of the named insured in obtaining the policy,
                      continuing the policy, or presenting a claim under the policy.



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                 3.   Activities or omissions on the part of the named insured change or increase any hazard insured against.

                 4.   Change in the risk, which increases the risk of loss after coverage has been issued or renewed.

                 5.   Determination by the Commissioner (of Insurance) that the continuation of the policy would jeopardize the solvency of
                      the insurer or place the insurer in violation of the law.

                 6.   Violation or breach of policy terms or conditions by the Insured.

                 7.   Other approved reasons.

                 If we elect not to renew the policy, we will mail or deliver written notice of nonrenewal to the First Named Insured at
                 least 60 days before its expiration date, or its anniversary date if it is a policy written for a term of more than one year or
                 with no fixed expiration date. The notice will include the insured’s loss run information for the period the policy has been
                 in force, not to exceed three years.

        4.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             This Policy will be canceled in any case of fraud by any Insured as it relates to this Policy at any time. It will also be canceled
             if any Insured, at any time, intentionally conceals or misrepresents a material fact, with the intent to deceive concerning:

                 1. This Policy;

                 2. The Covered Property;

                 3. The interest in the Covered Property; or

                 4. A claim under this Policy.

        5.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
             following:

             The Company will be entitled to recovery only after the insured has been fully compensated for the loss or damage sustained,
             including expenses incurred in obtaining full compensation for the loss or damage.

        6.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL is deleted in its entirety.

        7.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
             Payment:

                 The Company has reached agreement on the amount of loss; or

             and replaced by the following:

                 The Company has reached agreement on a portion of or the total amount of loss; or

        8.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                      No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                      Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
                      months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

        9.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

             Any reference to “ the most functionally equivalent “ shall be replaced with “of like kind and quality”.




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          10.   SECTION II — DECLARATIONS, Time                    Speciﬁcations,       is   deleted in   its   entirety   and replaced by the following:

                     2.03.10.   Time Speciﬁcations: As        follows:



                                 EARTH MOVEMENT Occurrence                                                       168 hours

                                 NAMED STORM Occurrence                                                          72 hours

                                 Cancellation for nonpayment of premium                                          10 days

                                 Cancellation for any other reason                                               60 days


          11.   The following   is   deleted from   SECTION VII - DEFINITIONS

                                      C0ntaminati0n(Contaminated)               -
                                                                                    Any condition of property due             to the actual presence    of any foreign
                                      substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
                                      Virus, disease causing 0r illness causing agent,            Fungus, mold 0r mildew.

                and replaced by the following:

                                      C0ntaminati0n(Contaminated)               -
                                                                                    Any condition of property due t0 the                actual presence of any
                                      Contaminant(s).

          12.   The following   is   deleted from   SECTION VII — DEFINITIONS:

                                      C0ntaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant, including but
                                      not limited t0 smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials t0 be recycled,
                                      reconditioned 0r reclaimed), asbestos, ammonia, other hazardous substances, Fungus 0r Spores.


                 And replaced with the      following:


                                      C0ntaminant(s)     -
                                                             Any   solid, liquid, gaseous,       thermal or other          irritant,   including but not limited to smoke,
                                      vapor, soot, fumes, acids,     alkalis,   chemicals, waste (including materials to be recycled, reconditioned 0r
                                      reclaimed), other hazardous substances,            Fungus 0r Spores.




          All other terms, conditions        and    limitations 0f this Policy         remain unchanged.




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        Amendatory Endorsement - Maryland
                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The Cancellation subsection under SECTION IV- GENERAL POLICY CONDITIONS, CANCELLATION/NON- RENEWAL
             is deleted in its entirety and replaced by the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 When this policy has been in effect for 45 days or less and is not a renewal policy, the Company may cancel this policy by
                 mailing to the First Named Insured, at the last mailing address, written notice of cancellation, stating the reason for
                 cancellation, at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

                     15 days before the effective date of cancellation if the Company cancels because the risk does not meet its underwriting
                     standards.

                 When this policy has been in effect for more than 45 days or is a renewal policy, the Company may cancel this policy by
                 mailing to the First Named Insured, at the last mailing address, written notice of cancellation at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

                     45 days before the effective date of cancellation if the Company cancels for a permissible reason other than
                     nonpayment of premium, stating the reason for cancellation. The Company may cancel only for one (1) or more of the
                     following reasons:

                            When there exists material misrepresentation or fraud in connection with the application, policy, or presentation of
                            a claim.

                            A change in the condition of the risk that results in an increase in the hazard insured against. A matter or issue

                            related to the risk that constitutes a threat to public safety.

                 If this policy is cancelled, the Company will send the First Named Insured any premium refund due.

                 The refund will be pro rata if:

                     The First Named Insured cancelsor:

                     The policy is not a renewal policy, and the First Named Insured cancels upon receiving written notice that the
                     Company recalculated the premium based on the discovery of a material risk factor during the first 45 days the policy
                     has been in effect. Other than this type of cancellation, the refund will be calculated as follows:

                     For policies written for one year or less, the Company will refund 90% of the pro rata unearned premium. For policies
                     written for more than one year:

                            If the policy is cancelled in the first year, the Company will refund 90% of the pro rata unearned premium for the

                            first year, plus the full annual premium for subsequent years.

                            If the policy is cancelled after the first year, the Company will refund the pro rata unearned premium.
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                     Continuous and Annual Premium Payment Policies

                         The Company will refund 90% of the pro rata unearned premium for the year in which the policy is cancelled.

                         The Company will retain the minimum premium, except if the policy is cancelled as of the inception date.

                         However, if this policy is financed by a premium finance company and the Company or the premium finance
                         company or the First Named Insured cancels the policy, the refund will consist of the gross unearned premium
                         computed pro rata, excluding any expense constant, administrative fee or nonrefundable charge filed with and
                         approved by the insurance commissioner.

                     The cancellation will be effective even if the Company has not made or offered a refund.

                The Company will send notice of cancellation to the First Named Insured by certificate of mail if:

                The Company cancel for nonpayment of premium; or

                      This policy is not a renewal of a policy the Company issued and has been in effect for 45 days or less.

                The Company will send notice to the First Named Insured by certificate of mail or by commercial mail delivery service if
                the Company cancels for a reason other than nonpayment of premium and this policy:

                     Is a renewal of a policy we issued; or

                     Has been in effect for more than 45 days.

                The Company will maintain proof of mailing in a form authorized or accepted by the United States Postal Service or by
                other commercial mail delivery service when such service is used. Proof of mailing will be sufficient proof of notice.

        2. SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD, is deleted in its
            entirety.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in its
            entirety and replaced by the following:

            No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
            fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date of direct
            physical loss or damage to Covered Property or to other property as set forth herein.

        4. SECTION VI – GENERAL POLICY CONDITIONS, SUSPENDED PROPERTY, is deleted in its entirety.

        5. The following is added to 3.02. PROPERTY NOT COVERED:

            Any property, prior to a loss, found to be in, or exposed to, a dangerous condition, by any of the Company's representatives, and
            the Insured is put on notice for such condition, until the dangerous condition has been corrected.




                                 All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Massachusetts


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

            MASSACHUSETTS CONDITION

            1.   In spite of any provision of any general or special law:

                 a)    The Company will not pay for loss or damage to buildings or structures caused by any Covered Cause of Loss if the
                       amount of loss is $5,000 or more unless the Insured first submits a certificate of municipal liens from the collector of
                       taxes of the city or town where the property is located.

                 b) The Company will pay to the city or town any amount outstanding on the certificate of municipal liens arising from the
                    provisions of Massachusetts General Law Chapters 40, 59, 60, 80, 83, and 164, Sections 58B through 58F.

                 The payment will not exceed the amount of loss payable under this Policy.

                 We will send the Insured and the mortgage holder proof of payment to the city or town.

                 c)    The claim of the city or town will have priority over the claim of any mortgage holder, assignee, Insured or any other
                       interested party, except where otherwise provided by the laws of the United States.

                 d) The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

                       1) Amounts paid to a city or town; or

                       2) Amounts not paid to a city or town based upon a certificate showing that no municipal liens exist.

                 This section 1. above does not apply to any owner-occupied one to four-family dwelling if the owner of the dwelling lived
                 there when the claim for loss or damage arose.

            2.   The Company will not pay any claim for:

                 a). Loss, damage, or destruction of $1,000 or more to a building or structure; or

                 b). Loss, damage or destruction, of any amount, that causes a building or structure to become:

                       1).   Dangerous to life or limb; or

                       2).   Unused, uninhabited or abandoned and open to the weather; as provided under Massachusetts General Law,
                             Section 6 of Chapter 143;

                 c).    Without giving at least ten (10) days written notice before such payment to:

                       1).   The Building Commissioner or the appointed Inspector of Buildings; and

                       2).   The Board of Health or the Board of Selectmen of the city or town where the property is located

            3.   If at any time before the Company's payment, the city or town notifies the Company by certified mail of its intent to begin
                 proceedings designed to perfect a lien under Massachusetts General Law:

                 a). Chapter 143, Section 3A or 9; or


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                 b). Chapter 111, Section 127B;

                 The Company will not pay while the proceedings are pending. The proceedings must be started within thirty (30) days
                 after the Company receives the notice.

                 Any lien perfected under the Massachusetts General Laws referred to above, will extend to the city or town and may be
                 enforced by it against the proceeds of this Policy.

            4.   The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

                 a)   Amounts paid to a city or town; or

                 b) Amounts not paid to a city or town under sections 2. and 3. above.

        A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

            STANDARD FIRE POLICY PROVISIONS

            Your Policy contains LEGAL ACTION AGAINST US, APPRAISAL and CANCELLATION provisions.
            Massachusetts law requires that the Suit, Appraisal and Cancellation provisions of the Massachusetts Standard Fire Policy
            supersede any similar provisions contained in your Policy. Therefore, all LEGAL ACTION AGAINST US, APPRAISAL and
            CANCELLATION provisions contained in your policy are void. The Suit, Appraisal and Cancellation provisions of the
            Massachusetts Standard Fire Policy shall apply instead

            In consideration of the Provisions and Stipulations Herein or Added Hereto and of the Premium Specified in the Declarations,
            this Company, for the term of years specified in the Declarations from inception date (At 12:01 A.M. Standard Time) to
            expiration date (At 12:01 A.M. Standard Time) at location of property involved, to an amount not exceeding the amount(s)
            specified in the Declarations, does insure the Insured named in the Declarations and legal representatives, to the extent of the
            actual cash value of the property at the time of loss or the valuation terms of the policy, but in no event for more than the
            interest of the Insured, against all LOSS BY FIRE, LIGHTNING AND BY REMOVAL FROM PREMISES ENDANGERED
            BY THE PERILS INSURED AGAINST IN THIS POLICY, EXCEPT AS HEREINAFTER PROVIDED, to the property
            described in the Declarations while located or contained as described in this Policy or pro rata for five (5) days at each proper
            place to which any of the property shall necessarily be removed for preservation from the perils insured against in this Policy,
            but not elsewhere.

            Assignment of this Policy shall not be valid except with the written consent of this Company.

            This Policy is made and accepted subject to the foregoing provisions and stipulations and those hereinafter stated, which are
            hereby made a part of this Policy together with such other provisions, stipulations and agreements as may be added hereto, as
            provided in this Policy.

            Concealment fraud.

            This entire Policy shall be void if, whether before or after a loss, the Insured has willfully concealed or misrepresented any
            material fact or circumstance concerning this insurance or the subject thereof, or the interest of the Insured therein, or in case of
            any fraud or false swearing by the Insured relating thereto.

            Uninsurable and excepted property.

            This Policy shall not cover accounts, bills, currency, deeds, evidences of debt, money or securities; nor, unless specifically
            named herein in writing, bullion or manuscripts.

            Perils not included.

            This Company shall not be liable for loss by fire or other perils insured against in this Policy caused, directly or indirectly, by
            (a) enemy attack by armed forces, including action taken by military, naval or air forces in resisting an actual or an immediately
            impending enemy attack; (b) invasion; (c) insurrection; (d) rebellion; (e) revolution; (f) civil war; (g) usurped power; (h)
            order of any civil authority except acts of destruction at the time of and for the purpose of preventing the spread of fire,
            provided that such fire did not originate from any of the perils excluded by this Policy; (i) neglect of the Insured to use all




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            reasonable means to save and to preserve the property at and after a loss, or when the property is endangered by fire in the
            neighboring premises; (j) nor shall this company be liable for loss by theft.

            Other Insurance.

            Other insurance may be prohibited or the amount of insurance may be limited by endorsement attached hereto.

            Conditions suspending or restricting insurance.

            Unless otherwise provided in writing added hereto this Company shall not be liable for loss occurring (a) while the hazard is
            increased by any means within the control or knowledge of the Insured; or (b) while the Described Premises, whether intended
            for occupancy by owner or tenant, are vacant or unoccupied beyond a period of sixty (60) consecutive days, for residential
            premises of three units or less and thirty (30) consecutive days for all other premises, or (c) as a result of explosion or riot,
            unless fire ensues, and in that event for loss by fire only. . This paragraph does not suspend or restrict the coverage contained in
            the following policies: Zurich Edge Domestic Policy, Edge-100-B (12/10); Zurich Edge Global Policy, Edge-101-B (12/10);
            Zurich Edge Domestic Healthcare Policy, Edge-102-B (12/10); Zurich Edge Global Healthcare Policy, Edge-103-B (12/10).

            Other perils of subject.

            Any other peril to the insured against or subject of insurance to be covered in this Policy shall be by endorsement in writing
            hereon or added hereto.
            Added provisions.

            The extent of the application of insurance under this Policy and of the contribution to be made by this Company in case of loss,
            and any other provision or agreement not inconsistent with the provisions of this Policy, may be provided for in writing added
            hereto, but no provision may be waived except such as by the terms of this Policy is subject to change.

            Waiver provisions.

            No permission affecting this insurance shall exist, or waiver of any provision be valid, unless granted herein or expressed in
            writing hereto. No provision stipulation or forfeiture shall be held to be waived by any requirement or proceeding on the part of
            this Company relating to appraisal or to any examination provided for herein.

            Cancellation of Policy.

            This Policy shall be cancelled at any time at the request of the Insured, in which case this Company shall, upon demand and
            surrender of this Policy, refund the excess of paid premium above the customary short rates for the expired time. This Policy
            may be cancelled at any time by this Company by giving to1 the Insured a five (5) days written notice of cancellation, and to the
            mortgagee to whom this Policy is payable twenty (20) days written notice of cancellation except where the stated reason for
            cancellation is nonpayment of premium where, in such instance, this Policy may be cancelled at any time by this Company by
            giving to the Insured a ten (10) days written notice of cancellation, and the mortgagee a twenty (20) days written notice of
            cancellation, with or without tender of the excess paid premium above the pro rata premium for the expired time, which excess,
            if not tendered, shall be refunded on demand. If notice is mailed, proof of mailing will be sufficient proof of notice. Notice of
            cancellation shall state that said excess premium (if not tendered) will be refunded on demand and shall state or be accompanied
            by a statement of the specific reason or reasons for such cancellation. After this Policy has been in effect for sixty (60) days, or
            after sixty (60) days from any anniversary date, no notice of cancellation shall be effective unless it is based on the occurrence,
            after the effective date of the Policy, of one or more of the following:

            (1) nonpayment of premium; (2) conviction of a crime arising out of acts increasing the hazard insured against; (3) discovery
            of fraud or material misrepresentation by the Insured in obtaining the Policy; (4) discovery of willful or reckless acts or
            omissions by the Insured increasing the hazard insured against; (5) physical changes in the property insured which result in the
            property becoming uninsurable; or (6) a determination by the commissioner that continuation of the Policy would violate or
            place the Insurer in violation of the law. Where the stated reason is nonpayment of premium, the Insured may continue the
            coverage and avoid the effect of the cancellation by payment at any time prior to the effective date of cancellation.

            Mortgagee interests and obligations.




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            Notwithstanding any other provisions of this Policy, if this Policy shall be made payable to a mortgagee of the covered real
            estate, no act or default of any person other than such mortgagee or his agent or those claiming under him, whether the same
            occurs before or during the term of this Policy, shall render this Policy void as to such mortgagee nor affect such mortgagee !~
            right to recover in case of loss on such real estate; provided, that the mortgagee shall on demand pay according to the
            established scale of rate for any increase of risk not paid for by the Insured; and whenever this Company shall be liable to a
            mortgagee for any sum for loss under this Policy for which no liability exists as to the mortgagor, or owner, and this Company
            shall elect by itself, or with others, to pay the mortgagee, the full amount secured by such mortgage, then the mortgagee shall
            assign and transfer to the Company interested, upon such payment, the said mortgage together with the note and debt thereby
            secured.

            Pro rata liability.

            This Company shall not be liable for a greater proportion of any loss than the amount hereby insured shall bear to the whole
            insurance covering the property against the peril involved.

            Requirements in case loss occurs.

            The Insured shall give immediate written notice to this Company of any loss, protect the property from further damage,
            forthwith separate the damaged and undamaged personal property, put it in the best possible order, furnish a complete inventory
            of the destroyed and damaged property, showing in detail the quantity, description, actual cash value and amount of loss
            claimed; and the Insured shall forthwith render to this Company a signed, sworn statement in proof of loss which sets forth to
            the best knowledge and belief of the Insured the following: the time and cause of the loss, the interest of the Insured and of all
            others in the property, the actual cash value of each item thereof and the amount of loss thereto, all encumbrances thereon, all
            other contracts of insurance, whether valid or not, covering any of said property, any changes in the title, use, occupancy,
            location, possession or exposures of said property, since the issuing of this Policy, by whom and for what purpose any building
            herein described and the several parts thereof were occupied at the time of loss and whether or not it then stood on leased
            ground, and shall furnish a copy of all the descriptions and schedules in all Policies and detailed estimates for repair of the
            damage. The Insured, as often as may be reasonably required, shall exhibit to any person designated by this Company all that
            remains of any property herein described, and submit to examinations under oath by any person named by this Company, and
            subscribe the same; and as often as may be reasonably required, shall produce for examination all books of account, bills,
            invoices and other vouchers, or certified copies thereof if originals be lost, at such reasonable time and place as may be
            designated by this Company or its representative, and shall permit extracts and copies thereof to be made.

            When loss payable.

            In case of any loss or damage, the Company within thirty (30) days after the Insured shall have submitted a statement, as
            provided in the preceding clause, shall either pay the amount for which it shall be liable, which amount if not agreed upon shall
            be ascertained by award of referees as hereinafter provided, or replace the property with other of the same kind and goodness, or
            it may, within fifteen (15) days after such statement is submitted, notify the Insured of its intention to rebuild or repair the
            premises, or any portion thereof separately covered by this Policy, and shall thereupon enter upon said premises and proceed to
            rebuild or repair the same with reasonable expedition. It is more over understood that there can be no abandonment of the
            property described to the Company, and that the Company shall not in any case be liable for more than the sum insured, with
            interest thereon from the time when the loss shall become payable, as provided above. The Company shall be liable for the
            payment of interest to the Insured at a rate of one (1) percent over the prime interest rate on the agreed figure commencing
            thirty (30) days after the date an executed proof of loss for such figure is received by the Company, said interest to continue so
            long as the claim remains unpaid.

            Appraisal.

            In case of loss under this Policy and a failure of the parties to agree as to the amount of loss, it is mutually agreed that the
            amount of such loss shall be referred to three disinterested men, the Company and the Insured each choosing one out of three
            (3) persons to be named by the other, and the third being selected by the two (2) chosen, and the award in writing by a majority
            of the referees shall be conclusive and final upon the parties as to the amount of loss or damage, and such reference, unless
            waived by the parties, shall be a condition precedent to any right of action in law or equity to recover for such loss; but no
            person shall be chosen or act as a referee, against the objection of either party, who has acted in a like capacity within four (4)
            months.

            Suit.




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            No suit or action against this Company for the recovery of any claim by virtue of this Policy shall be sustained in any court of
            law or equity in this commonwealth unless commenced within two (2) years from the time the loss occurred; provided,
            however, that if, within said two (2) years, in accordance with the provisions of the preceding paragraph, the amount of loss
            shall have been referred to arbitration after failure of the parties to agree thereon, the limitation of time for bringing such suit or
            action shall in no event be less than ninety (90) days after a valid award has been made upon such reference or after such
            reference or award has been expressly waived by the parties. If suit or action upon this Policy is enjoined or abated, suit or
            action may be commenced at any time within one (1) year after the dissolution of such injunction, or the abatement of such suit
            or action, to the same extent as would be possible if there was no limitation of time provided herein for the bringing of such
            suit or action.

            Subrogation.

            This Company may require from the Insured an assignment of all rights of recovery against any party for loss to the extent that
            payment therefore is made by this Company.

        C. The following is added to Paragraph B. Description of Special Coverages of SECTION V – SPECIAL COVERAGES &
           DESCRIBED CAUSES OF LOSS:

                MASSACHUSETTS RESIDENTIAL FUEL TANKS SPILLS COVEAGE - PROPERTY REMEDIATION FOR
                “RELEASE OF HEATING OIL”
                a)   With respect to the “release of heating oil” from a tank, or any piping, fuel supply lines, equipment, or systems
                     connected to the tank, at a residential property, the Company will pay for:

                     1). Reasonable response action costs the Insured incurred under chapter 21E or 21K of the Massachusetts law or
                         applicable regulations, including costs to assess and remediate a “release of heating oil” impacting soil, indoor
                         air, water and other environmental media at that residential property; and

                     2). With respect to a “release of heating oil” for which response action costs are incurred and covered pursuant to 1).
                         above, direct physical loss of or damage to personal property at that residential property.

                b) The most the Company will pay under this endorsement for a “release of heating oil” is the applicable limits provided
                   in this policy or $50,000 whichever is greater, for the total of all loss, damage, or costs regardless of:

                     1) The amount of time over which the “release of heating oil” continues and regardless of whether the release
                        occurs in repeated intervals;

                     2). The number of policy years during which the “release of heating oil” persists;

                     3). Whether the heating oil is released from one or multiple outlets on the tank body and its related equipment;

                     4). Whether there are multiple effects, such as damage to personal property, pollution of land and pollution of water;

                     5). Whether the effects of the “release of heating oil” are discovered and reported once or discovered and reported
                         over time as such effects become apparent;

                     6). The number of locations affected by the “release of heating oil”; or

                     7). The number of claims made.

                     Notwithstanding anything to the contrary in the Policy, the coverage provided by this endorsement is included within
                     the Policy Limit.

                c)   The following additional exclusions apply:

                     The Company will not pay:




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                     1) For any loss of business income or any expenses incurred due to interruption or reduction in business operations,
                        including any Time Element Coverages, even if the Policy includes such coverage;

                     2). For any other consequential loss, damage or costs; or

                     3). To replace any heating oil that was released.

                d) The Company will not pay for loss, damage or costs under this endorsement until the amount of loss, damage or costs
                   exceed $1,000. The Company will then pay the amount of loss, damage or costs in excess of $1,000 up to the
                   applicable limit, subject to all applicable provisions of A. above. This deductible applies whenever there is a “release
                   of heating oil” covered under this endorsement. No other deductible will apply to the coverage provided solely by
                   this endorsement.

                e)   When the “release of heating oil” results from a covered cause of loss, the following apply:

                     1) If the loss or damage described in A.a. 2) above is also covered under another coverage(s) in this Policy, then such
                        covered loss or damage will be settled in accordance with all applicable terms of that coverage and this
                        endorsement will not apply. Any deductible applicable to that coverage that is higher than $1,000 is recoverable
                        under this endorsement but not to exceed $50,000.

                     2) With respect to pollution of land and water, the costs addressed in A.a.1) above will be settled under the terms of
                        the Land and Water Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs
                        Coverage, and this endorsement will apply as excess if the amount of coverage available under the Land and Water
                        Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs Coverage is less than
                        $50,000.

                f)   Coverage applies only in response to a “release of heating oil” which an insured first discovers or learns of during the
                     current policy year and reports to the Company as soon as practicable. If the First Named Insured discovers or
                     learns of the “release of heating oil” during the policy year and reports it to the Company following the end of that
                     policy year, coverage will apply, provided this endorsement was in effect when the First Named Insured discovered
                     or learned of the “release of heating oil”, if the First Named Insured reported the “release of heating oil” to the
                     Company as soon as practicable.

        D. The following is added to SECTION VI. GENERAL POLICY CONDITIONS, OTHER INSURANCE:
           Except as provided in 1) below, if there is other insurance covering the same loss, damage or costs covered, the Company will
           pay only its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss, damage, or costs
           that the amount of insurance that applies under this endorsement bears to the total amount of insurance covering such loss,
           damage, or costs.

            1). If there is a service agreement covering the same loss, damage, or costs, this insurance is excess over any other
                amounts payable under the service agreement. If there is a government fund covering the same loss, damage, or costs, the
                Company will pay its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss,
                damage, or costs that the amount of insurance that applies under this endorsement bears to the total amount of insurance
                covering such loss, damage, or costs to the extent permitted by law.

        E. The following is added to SECTION VII. DEFINITIONS:

            Compliance means compliance with Massachusetts’s law governing release prevention, pursuant to applicable subsection (b) or
            (c) of section 38J of chapter 148 of the laws of Massachusetts.

            Personal property means property owned by you.

            “Release of heating oil” means both the release of and the threat of release of heating oil.

            Residential property means a one (1) to four (4) unit dwelling used for living or sleeping located in the Commonwealth of
            Massachusetts.

            Service Agreement means a fuel system service plan, property restoration plan, or similar service or warranty agreement, even
            if it is characterized as insurance




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            Tank means a liquid fuel tank in which heating oil is stored and from which heating oil is delivered or pumped through a fuel
            supply line to a device for burning oil in heating appliances, whether located within a residential property or other structure
            and installed at or below grade level, or located outdoors. Tank does not mean any underground tank, wherever located.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Maine

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

                Cancellation

                1) The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                   advance written notice of cancellation.

                2) The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                   cancellation which will not be effective prior to ten (10) days after the receipt by the First Named Insured of the
                   notice.

                3) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                   this Policy or any Endorsement attached thereto.

                4) Notice of cancellation will state the effective date of and reasons for cancellation. The Policy Period will end on that
                   date.

                5) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
                   less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
                   offered a refund.

                6) A post office certificate of mailing to the First Named Insured at the last known mailing address will be conclusive
                   proof of receipt of notice on the third calendar day after mailing.

                7) If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by
                   the Company, the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Fraud or material misrepresentation made by the Insured or with the Insureds consent in obtaining the Policy,
                         continuing the Policy or in presenting a claim under the Policy;

                    c.   Substantial change in the risk which increases the risk of loss after insurance coverage has been issued or renewed
                         including, but not limited to, an increase in exposure due to regulation, legislation or court decision;

                    d.   Failure to comply with reasonable loss control recommendations;

                    e.   Substantial breach of contractual duties, conditions or warranties; or

                    f.   Determination by the superintendent of insurance that the continuation of a class or block of business to which this
                         Policy belongs will jeopardize the Company's solvency or will place the Company in violation of the insurance
                         laws of Maine or any other state.

                Non-renewal

                    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
                    nonrenewal which will not be effective prior to thirty (30) days after the receipt by the First Named Insured of the
                    notice. A post office certificate of mailing to the First Named Insured at the last known address will be conclusive
                    proof of receipt of notice on the third calendar day after mailing.

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        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following:

                1) CONCEALMENT, MISREPRESENTATION OR FRAUD

                    The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it
                    relates to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time
                    intentionally conceal or misrepresent a material fact or make a false statement concerning:

                    a.   This Policy;

                    b.   The Covered Property;

                    c.   The Insured's interest in Covered Property; or

                    d.   A claim under this Policy.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                date of direct physical loss or damage to Covered Property or to other property as set forth herein.

        4.   SECTION VI – GENERAL POLICY CONDITIONS, JOINT LOSS, is deleted in its entirety.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Minnesota


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            1.   The following paragraph under SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, DUTIES IN
                 THE EVENT OF LOSS OR DAMAGE, is deleted in its entirety:

                 Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
                 any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
                 damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
                 attested to by a notary public or certified court reporter.

                 and replaced by the following:

                 Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
                 any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
                 damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
                 attested to by a notary public or certified court reporter. The Insured has the right to an attorney being present during nay
                 examination under oath. Any answers given may be used in future civil or criminal proceedings.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Mississippi


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

                    No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                    Insured has fully complied with all the provisions of this Policy. Legal action must be started within three (3) years
                    after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Missouri


                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
             Cancellation:

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
                 least:

                     The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as
                     stated in the Declarations; or

                     The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in
                     the Declarations.

             and replaced by the following:

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation,
                 stating the actual reason for cancellation, at least:

                     10 days before the effective date of cancellation if the Company cancels for nonpayment of premium;

                     30 days before the effective date of cancellation if cancellation is for one or more of the following reasons:

                          Fraud or material misrepresentation affecting this policy or a claim filed under this Policy or a violation of any of
                          the terms or conditions of this Policy;

                          Changes in conditions after the effective of this Policy which have materially increased the risk assumed;

                          The Company becomes insolvent; or

                          The Company involuntarily loses reinsurance for this Policy.

                     60 days before the effective date of cancellation if the Company cancels for any other reason.

        2.   SECTION VI – General Policy Conditions, Cancellation/Non-Renewal, Nonrenewal is deleted in its entirety and replaced by the
             following:

                 Nonrenewal

                     The Company may elect not to renew this policy by mailing or delivering to the First Named Insured, at the last
                     mailing address known to the Company, written notice of nonrenewal, stating the actual reason for nonrenewal, at least
                     60 days prior to the effective date of the nonrenewal.

                     If notice is mailed, proof of mailing will be sufficient proof of notice.

        3.   SECTION VI – General Policy Conditions, Suit Against the Company is deleted in its entirety and replaced by the following:

                 The action must be brought within 10 years after the date on which the loss or damage occurred.




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        4. SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment is deleted in its entirety and
           replaced by the following:

            Loss Payment

                 In the event of a covered cause of loss, the Company will give the Insured notice, within 15 working days after the
                 Company receives a properly executed proof of loss, that the Company:

                     Accept your claim;

                     Denies your claim; or

                     Needs more time to determine whether the Insured’s claim should be accepted or denied.

                 If the Company denies the Insured’s claim, such notice will be in writing, and will state any policy provision, condition or
                 exclusion used as a basis for the denial.

                 If the Company needs more time to determine whether the Insured’s claim should be accepted or denied, the written notice
                 will state the reason(s) why more time is needed.

                 If the Company has not completed its investigation, the Company will notify the Insured again in writing, within 45 days
                 after the date the initial notice is sent informing the Insured that we need more time to determine whether the Insured’s
                 claim should be accepted or denied and thereafter every 45 days. The written notice shall state why more time is needed to
                 investigate the Insured’s claim.

            5.   The following is added to SECTION VI – GENERAL POLICY CONDITIONS, VALUATION:

                 If the Insured fails to notify the Company of their intent within the 2 year timeframe, such failure will not invalidate the
                 claim unless such failure operates to prejudice the Company’s rights.

            6.   The following is deleted from SECTION V- LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                 DISPOSAL:

                              When the Insured fails to give written notice of loss to the Company within 180 days after inception of the
                              loss.

                 and the following is added:


                              However, when the Insured fails to give written notice of loss to the Company within 180 days after inception
                              of the loss the maximum the Company will pay under this coverage is $25,000.



                                     ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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        Amendatory Endorsement - Montana


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

             CANCELLATION/NON-RENEWAL

                Cancellation

                    The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation.

                    If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
                    delivering to the First Named Insured written notice of cancellation at least:

                        Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                        Ten (10) days notice prior to the proposed cancellation date for any other reason.

                    If this Policy has been in effect for sixty (60) days or more, the Company may cancel this Policy by mailing or
                    delivering to the First Named Insured written notice of cancellation, prior to the expiration of the agreed term or
                    prior to one year from the effective date of the Policy or renewal, whichever is less, only for one or more of the
                    following reasons:

                        Failure to pay a premium when due;

                        Material misrepresentation;

                        Substantial change in the risk assumed, except to the extent that the Company should have reasonably foreseen the
                        change or contemplated the risk in writing the contract;

                        Substantial breaches of contractual duties, conditions or warranties;

                        Determination by the Commissioner of Insurance that continuation of the Policy would place us in violation of the
                        Montana Insurance Code; or

                        Such other reasons that are approved by the Commissioner of Insurance. If the Company cancels this Policy for
                        one of the reasons specified above, the Company may cancel this Policy by providing Ten (10) days notice before
                        the effective date of cancellation.

                    The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
                    Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the Policy,
                    such cancellation will be effective on the policy anniversary date.

                    The Company will mail or deliver notice to the First Named Insured's last mailing address known.

                    Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                    If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                    cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                    cancellation will be effective even if the Company has not made or offered a refund. However, when a financed


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                    insurance Policy is cancelled, the Company will send any refund due to the premium finance company on a pro rata
                    basis.

                Non-Renewal

                    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, at the
                    last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy. This Policy has
                    been written for a term of more than one year.

                    This non-renewal provision does not apply if the Insured has purchased insurance elsewhere, accepted replacement
                    coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.

        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following::

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
                to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
                or misrepresent a material fact or make a false statement concerning:

                    1. This Policy;

                    2. The Covered Property;

                    3. The Insured's interest in Covered Property; or

                    4. A claim under this Policy.

        3.   SECTION VI-GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
             following and supersede anything to the contrary:

                Any provisions required by Montana law to be included in policies issued by the Company shall be deemed to have been
                included in this Policy.

                If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
                provisions are required by Montana law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
                or deemed to include such provisions for Insured Locations within such jurisdictions.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Nebraska


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             CANCELLATION/NON-RENEWAL

                Cancellation

                    a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the
                         Company advance written notice of cancellation.

                    b) If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
                       delivering to the First Named Insured written notice of cancellation, stating the reasons for cancellation at least:

                         1) Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                         2) Sixty (60) days notice prior to the proposed cancellation date for any other reason.

                    c)   If this Policy has been in effect for sixty (60) days or more, or if this is a renewal, the Company may cancel this
                         Policy by mailing or delivering to the First Named Insured written notice of cancellation, only for one or more
                         of the following reasons:

                         1) Nonpayment of premium;

                         2) The Policy was obtained through material misrepresentation;

                         3) Any Insured has submitted a fraudulent claim;

                         4) Any Insured has violated the terms and conditions of this Policy;

                         5) The risk originally accepted has substantially increased;

                         6) Certification to the Director of Insurance of the Company's loss of reinsurance which provided coverage for
                            all or a substantial part of the underlying risk insured; or
                         7) The determination by the Director of Insurance that the continuation of the Policy could place the Company in
                            violation of the Nebraska Insurance Laws.

                         If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                         providing: Ten (10) days notice prior to the proposed cancellation date for non payment of premium or Sixty (60)
                         days notice prior to the proposed cancellation date for any other reason.

                    d) The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
                       Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the
                       Policy, such cancellation will be effective on the policy anniversary date.

                    e)   The Company will mail notice by first class mail to the First Named Insured's last mailing address known. A
                         United States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third
                         calendar day after the date of the certificate of mailing.

                    f)   Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.


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                      g) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the
                         Company cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than
                         pro rata. The cancellation will be effective even if the Company has not made or offered a refund.

                 Non-Renewal

                      The Company may non-renew this Policy. Written notice will be by first class mail to the First Named Insured, at the
                      last known address. Notice of non-renewal will be at least sixty (60) days before the expiration of this Policy. A United
                      States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third calendar day after
                      the date of the certificate of mailing.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             MISREPRESENTATION OR BREACH OF CONDITION OR WARRANTY

                 A misrepresentation or warranty made by the Insured or on the Insured's behalf in the negotiation of or application for this
                 coverage will void this Policy if:

                      1) It is material;

                      2) It is made with the intent to deceive to the Company's injury;

                      3) The Company relies on it; and

                      4) The Company is deceived to the Company's injury.

                 A breach of warranty or condition will void the Policy if such breach exists at the time of loss and contributes to the loss.

        3.   SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
             by the following:

             APPRAISAL

             If the Insured and the Company fail to agree on the value of the property or the amount of loss, upon mutual agreement, each
             will select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the claim. Each
             will notify the other of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal unless it
             has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage and has provided
             the Company with a signed and sworn statement of loss.

             The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
             within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
             appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
             They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
             item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

             If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash value
             and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or, if for
             Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two will
             determine the amount of loss.

             Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
             deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in whole
             or in part.

             The Insured and the Company will each pay its chosen appraiser and bear equally the other expenses of the appraisal and
             umpire.




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        4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

             When this policy is written to insure any real property in Nebraska against loss by fire, tornado, windstorm, lightning or
             explosion and the property insured shall be wholly destroyed, without criminal fault on the part of the Insured or the Insured
             assignee, the amount of the insurance written on such real property shall be taken conclusively to be the true value of the
             property insured and the true amount of loss and measure of damages




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Nevada


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
             following:

                1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation. The Company may cancel this Policy by mailing or delivering to the First
                    Named Insured written notice of cancellation at least:

                    a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                Policy or any Endorsement attached thereto.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
                refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

                If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                then cancellation terms or conditions will be as permitted by such laws.

                2). If this Policy has been in effect for seventy (70) days or more, or if it is a renewal of a Policy issued by the Company,
                    the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Conviction of the Insured of a crime arising out of acts increasing the hazard insured against;
                                                   c.
                    c.   Discovery of fraud or material misrepresentation in obtaining the Policy or in presenting a claim thereunder;

                    d.   Discovery of an act or omission or a violation of any condition of the Policy which occurred after the first
                         effective date of the current Policy, and substantially and materially increases the hazard insured against;

                    e.   A material change in the nature or extent of the risk occurring after the first effective date of the current Policy,
                         which causes the risk of loss to be substantially and materially increased beyond that contemplated at the time the
                         Policy was issued or last renewed;
                                                     d.
                    f.   A determination by the commissioner that continuation of the Company's present volume of premiums would
                         jeopardize the Company's solvency or be hazardous to the interests of the Company's Policyholders, creditors or
                         the public, or

                    g.   A determination by the commissioner that the continuation of the Policy would violate, or place the Company in
                         violation of, any provision of the code.

                3). If this Policy is written for a term longer than one year, the Company may cancel for any reason at an anniversary, by
                mailing or delivering written notice of cancellation to the First Named Insured at the last known mailing address at

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                    least sixty (60) days before the anniversary date. Notice of cancellation or non-renewal will be mailed, first class or
                    certified, or delivered to the First Named Insured at the last known mailing address and will state the reason for
                    cancellation or nonrenewal. The Company will also provide a copy of the notice of cancellation to the agent who wrote
                    the Policy.

                4). Non-renewal

                The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice at least sixty
                (60) days before the agreed expiration date. This non-renewal provision does not apply if the Insured has: accepted
                replacement coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.
                If notice is mailed, proof of mailing will be sufficient proof of notice.




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        Amendatory Endorsement - New York


        THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN NEW YORK. PLEASE READ
        IT CAREFULLY.

        1.   The following paragraph is deleted from Section III-property damage, exclusions:

                 Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic fusion,
                 radioactive force or radioactive material, whether in time of peace or war regardless of who commits the act.

             and replaced by the following:

                 Any weapon of war employing atomic fission, atomic fusion, radioactive force or radioactive material, whether in time of
                 peace or war regardless of who commits the act.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
             replaced by the following:

             Cancellation

                 a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                      advance written notice of cancellation.

                 b) For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the
                    First Named Insured written notice of cancellation at least:

                      1) Thirty (30) days before the effective date of cancellation if the Company cancels for any reason not included in
                         paragraph 2) below.

                      2) Fifteen (15) days before the effective date of cancellation if the Company cancels for any of the following reasons:

                            i)   Nonpayment of premium;

                            ii) Conviction of a crime arising out of acts increasing the hazard insured against;

                            iii) Discovery of fraud or material misrepresentation in the obtaining of the Policy or in the presentation of a
                                 claim;

                            iv) After issuance of the Policy or after the last renewal date, discovery of an act or omission, or a violation of
                                any Policy condition, that substantially and materially increases the hazard insured against, and which
                                occurred subsequent to inception of the current Policy period;

                            v) Material physical change in the property insured, occurring after issuance or last annual renewal anniversary
                               date of the Policy, which results in the property becoming uninsurable in accordance with the Company
                               objective, uniformly applied underwriting standards in effect at the time the Policy was issued or last renewed;
                               or material change in the nature or extent of the risk, occurring after issuance or last annual renewal
                               anniversary date of the Policy, which causes the risk of loss to be substantially and materially increased
                               beyond that contemplated at the time the Policy was issued or last renewed;

                            vi) Required pursuant to a determination by the Superintendent that the continuation of the Company's present
                                premium volume would jeopardize the Company's solvency or be hazardous to the interest of the Company's
                                policyholders, creditors or the public;




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                          vii) A determination by the superintendent that the continuation of the Policy would violate, or would place the
                               Company in violation of any provision of the Insurance Code; or

                          viii)Where the Company has reason to believe, in good faith and with sufficient cause, that there is a probable risk
                               of danger that the Insured will destroy, or permit to be destroyed, the insured property for the purpose of
                               collecting the insurance proceeds. If the Company cancels for this reason, the Insured may make a written
                               request to the Insurance Department, within 10 days of receipt of this notice, to review the cancellation
                               decision. Also, the Company will simultaneously send a copy of this cancellation notice to the Insurance
                               Department.

                          If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount of premium that
                          must be paid in order to avoid cancellation of the policy.

                c)   For Policies in effect for more than sixty (60) days, or if this Policy is a renewal or continuation of a Policy the
                     Company issued, the Company may cancel this Policy only for any of the reasons listed in paragraph 2) above,
                     provided the Company mails the First Named Insured written notice at least fifteen (15) days before the effective
                     date of cancellation. If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount
                     of premium that must be paid in order to avoid cancellation of the policy.

                d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                   this Policy or any Endorsement attached thereto and to the authorized agent or broker.

                e)   Notice of cancellation will state the effective date of and the reason for cancellation. The Policy Period will end on that
                     date.

                f)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                     cancels, the refund will be pro rata. If the premium is advanced under a premium finance agreement, the cancellation
                     refund will be pro rata. Under such financed policies, the Company will be entitled to retain a minimum earned
                     premium of 10% of the total policy premium or $60, whichever is greater. The cancellation will be effective even if the
                     Company has not made or offered a refund.

                g) If notice is mailed, proof of mailing will be sufficient proof of notice.

            Non-renewal

                a)   The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice along
                     with the reason for non-renewal.

                b) The Company may condition renewal this Policy upon:

                     1) Change of limits;

                     2) Change in type of coverage;

                     3) Reduction of coverage;

                     4) Increased deductible;

                     5) Addition of exclusion; or

                     6) Increased premiums in excess of 10% exclusive of any premium increase due to and commensurate with insured
                        value added or increased exposure units; or as a result of experience rating, loss rating, retrospective rating or
                        audit.

                c)   If the Company decides to non-renew this Policy or to conditionally renew this Policy as provided in paragraph b)., the
                     Company will mail or deliver written notice to the First Named Insured shown in the Declarations at least sixty (60)
                     days but not more than one hundred twenty (120) days before:

                     1) The expiration date; or


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                      2) The anniversary date, if this is a continuous Policy.

                 d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
                    this Policy or any Endorsement attached thereto and to the authorized agent or broker.

                 e)   Notice will include the specific reason(s) for non-renewal or conditional renewal, including the amount of any
                      premium increase for conditional renewal and description of any other changes.

                 f)   If notice is mailed, proof of mailing will be sufficient proof of notice.

                 If the Company violates any of the provisions above by sending the First Named Insured an incomplete or late
                 conditional renewal notice or a late non-renewal notice coverage will remain in effect at the same terms and conditions of
                 this policy at the lower of the current rates or the prior period’s rates until 60 days after such notice is mailed or delivered,
                 unless the First Named Insured, during this 60 day period, has replaced the coverage or elects to cancel.

                 The Company will not send the Insured notice of non-renewal or conditional renewal if the Insured, the authorized agent or
                 broker or another insurer of the Insured mails or delivers notice that the Policy has been replaced or is no longer desired.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             SUIT AGAINST THE COMPANY

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                 date of direct physical loss or damage to Covered Property or to other property as set forth herein.


        4.   SECTION II – DECLARATIONS - POLICY LIMITS OF LIABILITY, Causation Definition is deleted in its entirety.

        5.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

             When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
             Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
             be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

             And replaced with the following:

             When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
             immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
             Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
             address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
             an endorsement. Any unearned premium due will be returned by the Company.

        6.   SECTION VII-DEFINITIONS, The following are deleted and replaced:

             Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s) caused
                     by:

             .        The unusual and rapid accumulation or runoff of surface waters, waves,     tides, tidal waves, tsunami, the release of
                      water, the rising, overflowing or breaking of boundaries of nature or man-made bodies of water; or the spray there
                      from all whether driven by wind or not; or

             .        Mudflow or mudslides caused by accumulation of water on or under the ground.

                      Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.



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             Flood also includes Storm Surge if shown on the declarations as part of Flood.

             And replaced with:

                     Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s)
                             caused by:

                             a). The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves,
                                 tsunami, the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                                 bodies of water; or the spray there from all whether driven by wind or not; or

                             b). Mudflow or mudslides caused by accumulation of water on or under the ground.

                             Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.

             Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                           Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                           comparable worldwide equivalent.

                              Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

             And replaced with:

             Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                           Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                           comparable worldwide equivalent.

        7.   SECTION VII- DEFINITIONS the following is deleted in its entirety:

             Storm Surge - A general and temporary condition of partial or complete inundation by salt water, caused by wind driven waves
             that result from a Named Storm, of normally dry land areas or structure(s) in coastal areas, bays or inland waters connected to
             an ocean or sea.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Ohio



                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
             replaced by the following:

             Cancellation

                 The First Named Insured shown in the policy declarations may cancel this policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 If the Insured’s policy has been in effect for more than 90 days, or is a renewal of a policy we issued, the Company may
                 cancel this policy only for one or more of the following reasons:

                     Nonpayment of premium;

                     Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                     submitted thereunder;

                     Discovery of a moral hazard or willful or reckless acts or omissions on an Insured’s part which increases any hazard
                     insured against;

                     The occurrence of a change in the individual risk which substantially increases any hazard insured against after the
                     insurance coverage has been issued or renewed, except to the extent the insurer could reasonably have foreseen the
                     change or contemplated the risk in writing the contract;

                     Loss of applicable reinsurance or a substantial decrease in applicable reinsurance, if the Superintendent has determined
                     that reasonable efforts have been made to prevent the loss of, or substantial decrease in, the applicable reinsurance, or
                     to obtain replacement coverage;

                     Failure of an Insured to correct material violations of safety codes or to comply with reasonable written loss control
                     recommendations; or

                     A determination by the Superintendent of Insurance that the continuation of the policy would create a condition that
                     would be hazardous to the policyholders or the public.

                 The Company will mail written notice of cancellation to the First Named Insured, and agent if any, at the last mailing
                 addresses known to us. Proof of mailing will be sufficient proof of notice.

                 The Company will mail notice of cancellation at least:

                     10 days before the effective date of cancellation, if the Company cancel for nonpayment of premium; or

                     30 days before the effective date of cancellation, if the Company cancels for any other reason.

                 The notice of cancellation will:

                     State the effective date of cancellation. The policy period will end on that date.




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                      Contain the date of the notice and the policy number, and will state the reason for cancellation.

                 Policies written for a term of more than one year or on a continuous basis may be cancelled by the Company for any reason
                 at an anniversary date, upon 30 day’s written notice of cancellation.

                 If this policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                 cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
                 cancellation will be effective even if the Company have not made or offered a refund.

             Nonrenewal

                 If the Company elects not to renew this policy, the Company will mail written notice of nonrenewal to the First Named
                 Insured, and agent if any, at the last mailing addresses known to the Company. The notice will contain the date of the
                 notice and the policy number, and will state the expiration date of the policy.

                 The Company will mail the notice of nonrenewal at least 30 days before the expiration date of the policy.
                 Proof of mailing will be sufficient proof of notice.

        2.   SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, LOSS PAYMENT, the following is added:

             The Company will give you notice, within 21 days after the Company receives a properly executed, sworn statement of loss,
             that the Company:

                 Accepts the Insured’s claim;

                 Denies the Insured’s claim; or

                 Needs more time to investigate the Insured’s claim.

             If the Company needs more time to investigate the Insured’s claim, the Company will provide an explanation for the
             Company’s need for more time. The Company will continue to notify the Insured again in writing, at least every 45 days, of the
             status of the investigation and of the continued time needed for the investigation.

                 The Company will pay for covered cause of loss of or damage to covered property within:

                      Ten (10) days after the Company accepts your claim if such acceptance occurs within the first 21 days after the
                      Company receives a properly executed proof of loss, unless the claim involves an action by a probate court or other
                      extraordinary circumstances as documented in the claim file; or

                      Five (5) days after the Company accepts your claim if such acceptance occurs more than 21 days after the Company
                      receives a properly executed proof of loss, and

                          An appraisal award has been made; or

                          The Company has reached an agreement with you on the amount of loss that was in dispute.

        3.   SECTION VII – DEFINITIONS, Terrorist Activity is deleted in its entirety and replaced by the following:

             For the purposes of this endorsement Terrorist Activity shall include the following:

                1.    "Certified act of terrorism" which means an act that is certified by the Secretary of the Treasury, in concurrence with
                      the Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
                      Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of
                      terrorism" include the following:




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                    a.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                         subject to the Terrorism Risk Insurance Act;

                    b.   The act resulted in damage:

                             (1) Within the United States (including its territories and possessions and Puerto Rico); or

                             (2) Outside of the United States in the case of:

                                 (a) An air carrier (as defined in Section 40102 of title 49, United States Code) or United States flag
                                     vessel (or a vessel based principally in the United States, on which United States income tax is paid
                                     and whose insurance coverage is subject to regulation in the United States), regardless of where the
                                     loss occurs; or

                                 (b) The premises of any United States mission; and

                    c.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                         individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
                         the policy or affect the conduct of the United States Government by coercion.

               2.      "Non-Certified act of terrorism" which means a violent act or an act that is dangerous to human life, property or
                    infrastructure that is committed by an individual or individuals and that appears to be part of an effort to coerce a
                    civilian population or to influence the policy or affect the conduct of any government by coercion, and the act is not
                    certified as a terrorist act pursuant to the federal Terrorism Risk Insurance Act of 2002.

               3. Terrorist Activity which constitutes “Certified acts of terrorism” is not excluded in this policy, unless otherwise
                  endorsed.

               4. Terrorist Activity which constitutes “Non-Certified acts of terrorism” is not excluded in this policy, when it occurs in
                  the USA, its territories, possessions and missions, and the Commonwealth of Puerto Rico.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Oklahoma

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted and replaced by the
             following:

                1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                    advance written notice of cancellation.

                The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
                least:

                    a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

                The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                Policy or any Endorsement attached thereto.

                Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
                than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
                refund.

                If notice is mailed, proof of mailing will be sufficient proof of notice.

                If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                then cancellation terms or conditions will be as permitted by such laws.

                2). If this Policy has been in effect for forty-five (45) business days or more, or after the effective date of a renewal of this
                    Policy, the Company may cancel this Policy only for one or more of the following reasons:

                    a.   Nonpayment of premium;

                    b.   Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                         submitted under it;

                    c.   Discovery of willful or reckless acts or omissions by the Insured that increase any hazard insured against;

                    d.   The occurrence of a change in the risk that substantially increases any hazard insured against after insurance
                         coverage has been issued or renewed;

                    e.   A violation of any local fire, health, safety, building, or construction regulation or ordinance, with respect to any
                         covered property or its occupancy, that substantially increases any hazard insured against;

                    f.   A determination by the Insurance Commissioner that the continuation of the Policy would place the Company in
                         violation of the insurance laws of this state;

                    g.   The Insured's conviction of a crime having, as one of its necessary elements, an act increasing any hazard insured
                         against; or

                    h.   Loss of or substantial changes in applicable reinsurance.


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                3). Non-renewal

                    a.   If the Company decides to non-renew this Policy, the Company will mail or deliver written notice to the First
                         Named Insured shown in the Declarations at least forty-five (45) days before:

                           i).The expiration date; or

                           ii). The anniversary date of this Policy, if it is written for a term longer than one year or with no fixed
                              expiration date.

                    a.   The Company will mail or deliver notice to the First Named Insured's mailing address known to the Company.

                    b.   If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been given to
                         the First Named Insured on the day it is mailed.

                    c.   If notice of non-renewal is not mailed or delivered at least forty-five (45) days before the expiration date or an
                         anniversary date of this Policy, coverage will remain in effect until forty-five (45) days after notice is given.

                    d.   Earned premium for such extended period of coverage will be calculated pro rata, based on the rates applicable to
                         the expiring Policy.

                    e.   The Company will not provide notice of nonrenewal if the Company another company within the same insurance
                         group, has offered to issue a renewal Policy, or the Insured has obtained replacement coverage or has agreed in
                         writing to obtain replacement coverage.

                    f.   If the Company has provided the required notice of non-renewal as described in a). above, and thereafter extends
                         the Policy for a period of ninety (90) days or less, the Company will not provide an additional non-renewal notice
                         with respect to the period of extension.

                    g.   If the Company elects to renew this Policy, the Company will give written notice of any premium increase, change
                         in deductible, or reduction in limits or coverage, to the First Named Insured, at the last mailing address known to
                         the Company.

                          i). Any such notice will be mailed or delivered to the First Named Insured at least forty-five (45) days before the
                              expiration date of this Policy or the anniversary date of this Policy, if it is written for a term longer than one
                              year or with no fixed expiration date.

                            ii). If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been
                              given to the First Named Insured on the day it is mailed.

                            iii). If the First Named Insured accepts the renewal, the premium increase or coverage changes will be effective
                             the day following the prior policy's expiration or anniversary date.

                            iv). If notice is not mailed or delivered at least forty-five (45) days before the expiration date or anniversary
                             date of this Policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in
                             effect until:

                             a.) Forty-five (45) days after notice is given; or

                             b.) The effective date of replacement coverage obtained by the Insured; whichever occurs first. If the First
                                 Named Insured then elects not to renew, any earned premium for the resulting extended period of
                                 coverage will be calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.

                    h.   The Company will not provide notice of the following:




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                           i). Changes in a rate or plan filed with or approved by the State Board for Property and Casualty Rates or filed
                               pursuant to the Commercial Property and Casualty Competitive Loss Cost Rating Act and applicable to an
                               entire class of business; or
                         ii). Changes based upon the altered nature of extent of the risk insured; or
                         iii). Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an entire
                               class of business.

        2.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

                FRAUD WARNING

                1). Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for the proceeds
                    of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

        3.   SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
             its entirety and replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                This Policy is voidable as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It is
                also voidable if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

                    This Policy;

                    The Covered Property;

                    The Insured's interest in Covered Property; or

                    A claim under this Policy.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Rhode Island


                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - General Policy Conditions, Cancellation/Non-Renewal, Cancellation, is deleted in its entirety and replaced by
             the following:

             Cancellation

                 The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                 advance written notice of cancellation.

                 The Company may cancel this Policy by mailing or delivering to the First Named Insured and agent, if any, written notice
                 of cancellation at least:

                            The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium,
                            as stated in the Declarations; or

                            The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated
                            in the Declarations.

                 The Company will mail or deliver notice to the First Named Insured's and agent’s, if any, mailing address shown in the
                 Declarations of this Policy or any Endorsement attached thereto.

                 Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

                 If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. The Company will
                 compute the return premium pro rata and round to the next higher whole dollar if:

                            The Policy is cancelled at the Company’s request; or

                            The Policy is cancelled by us at the request of a premium finance company upon default of the first Named
                            Insured, when this policy is financed under a premium finance agreement.

                 If the First Named Insured cancels, the Company will return 90% of the pro rata unearned premium, rounded to the next
                 higher whole dollar. However, when such cancellation takes place during the first year of a multi-year prepaid policy, we
                 will return the full annual premium for the subsequent years. The cancellation will be effective even if the Company has
                 not made or offered a refund.

                 If notice is mailed, proof of mailing will be sufficient proof of notice.

                 If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
                 then cancellation terms or conditions will be as permitted by such laws.




             All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - South Carolina


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI-CANCELLATION/NON-RENEWAL:

                 The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
                 Policy or any Endorsement attached thereto.

             and replaced by the following:

                 The Company will mail or deliver notice to the First Named Insured's and agent's last known mailing address.

        2.   The following is added to SECTION VI-CANCELLATION/NON-RENEWAL:

             If this Policy has been in effect one hundred and twenty (120) days or more, or is a renewal or continuation of a Policy the
             Company issued, the Company may cancel this Policy only for one or more of the following reasons:

                 1) Nonpayment of premium;

                 2) Material misrepresentation of a fact, which, if known to the Company, would have caused the Company not to issue
                    the Policy;

                 3) Substantial change in the risk assumed, except to the extent that the Company should reasonably have foreseen the
                    change or contemplated the risk in writing the Policy;

                 4) Substantial breaches of contractual duties, conditions or warranties; or

                 5) Loss of reinsurance covering all or a significant portion of the particular Policy insured, or where continuation of the
                    Policy would imperil the Company's solvency or place the Company in violation of the insurance laws of South
                    Carolina.

             Prior to cancellation for reasons permitted in item 5). above, the Company will notify the Commissioner, in writing, at least
             sixty (60) days prior to such cancellation and the Commissioner will, within thirty (30) days of such notification, approve or
             disapprove such action.

             Any notice of cancellation will state the precise reason for cancellation.

        3.   SECTION VI-CANCELLATION/NON-RENEWAL, Non-Renewal is deleted in its entirety and replaced by the following:

             Non-Renewal

                 The Company may non-renew this Policy by mailing or delivering to the First Named Insured and the agent, written
                 notice, at the last known address, of non-renewal at least:

                      Sixty (60) days if non-renewal is effective between November 1 and May 31; or

                      Ninety (90) days if non-renewal is effective between June 1 and October 31;

                 before:

                      The expiration date of this Policy, if the Policy is written for a term of one year or less; or
                      An anniversary date of this policy, if the policy is written for a term of more than one year or for an indefinite term.


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                However, the Company will not refuse to renew a policy issued for a term of more than one year, until expiration of its full
                term, if anniversary renewal has been guaranteed by additional premium consideration. Any notice of non-renewal will state
                the precise reason for non-renewal. If notice is mailed, proof of mailing will be sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - South Dakota


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
             Cancellation:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least:

                 The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
                 in the Declarations; or

                 The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
                 Declarations.

             and replaced with:

             The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
             least the greater of:

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
                 premium, as stated in the Declarations; or

                 Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for any other
                 reason, as stated in the Declarations.

        2.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety.

        3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
             its entirety and replaced by the following:

             SUIT AGAINST THE COMPANY

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within seventy-two (72)
                 months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Tennessee


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is added to Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL:

                1). If this Policy has been in effect for sixty (60) days or more, or if this Policy is a renewal of a Policy the Company
                    issued, this Policy may be cancelled only for one or more of the following reasons:

                    a.   Nonpayment of premium, including any additional premium, calculated in accordance with the Company's current
                         rating manual, justified by a physical change in the insured property or a change in the insured property or a
                         change in its occupancy or use;

                    b.   The Insured's conviction of a crime increasing any hazard insured against;

                    c.   Discovery of fraud or material misrepresentation on the part of either of the following;

                         i). The Insured or Insured representative in obtaining this insurance; or

                         ii). The Insured in pursuing a claim under this Policy.

                    d.   Failure to comply with written loss control recommendations;

                    e.   Material change in the risk which increases the risk of loss after the Company issued or renewed insurance
                         coverage;

                    f.   Determination by the insurance commissioner that the continuation of the Policy would jeopardize the Company’s
                         solvency or would place the Company in violation of the insurance laws of Tennessee or any other state;

                    g.   The Insured's violation or breach of any Policy terms or conditions; or

                    h.   Other reasons that are approved by the insurance commissioner. Notice of Cancellation will state the reason for
                         cancellation.

        2.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety and replaced
             by the following:

                1). If the Company decides not to renew this Policy, the Company will mail or deliver written notice of non-renewal to the
                    first Named Insured and agent, at least sixty (60) days before the expiration date unless:

                    a.   The Company has offered to issue a renewal Policy; or

                    b.   The Insured has obtained replacement coverage or has agreed in writing to obtain replacement coverage.

                    c.   Any notice of non-renewal will be mailed or delivered to the first Named Insured's and agent's addresses shown in
                         the Policy. If notice is mailed, proof of mailing will be sufficient proof of notice.




        All other terms, conditions and limitations of this Policy remain unchanged.


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        Amendatory Endorsement - Vermont


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
             by the following:

             CANCELLATION/NON-RENEWAL

             Cancellation

                 a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
                      advance written notice of cancellation.

                 b) If this Policy has been in effect for less than sixty (60) days and this Policy is not a renewal of a Policy the Company
                    issued, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
                    cancellation at least:

                      1) Fifteen (15) days notice prior to the proposed cancellation date for non payment of premium or substantial increase
                         in hazard; or

                      2) Forty-five (45) days notice prior to the proposed cancellation date for any other reason.

                 c)   If cancellation is for nonpayment of premium, written notice may be sent by certified mail. If cancellation is for any
                      reason other than nonpayment of premium, written notice must be sent by certified mail.

                 d) If this Policy has been in effect for sixty (60) days or more, or if this is a renewal of a Policy the Company issued, the
                    Company may cancel this Policy only for one or more of the following reasons:

                      1) Nonpayment of premium;

                      2) Fraud or material misrepresentation affecting this Policy or in the presentation of claims under this Policy;

                      3) Violation of any provisions of this Policy; or

                      4) Substantial increase in hazard, provided the Company has secured approval for the cancellation from the
                         commissioner of insurance.

                      If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                      mailing or delivering at least:

                      1) Fifteen (15) days notice before the effective date of cancellation for nonpayment of premium; or

                      2) Forty-five (45) days notice before the effective date of cancellation for any other reason.

                 e)   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

                 f)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
                      cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
                      less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
                      offered a refund.

                 g) If notice is mailed, proof of mailing will be sufficient proof of notice.



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             Non-Renewal

                 a)   The Company may non-renew this Policy by mailing, certified mail, or delivering to the First Named Insured written
                      notice, at the last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy or the
                      anniversary date of this Policy, if this Policy has been written for a term of more than one year.

                      This non-renewal provision does not apply if the Company has indicated a willingness to renew, in case of nonpayment
                      of premium, or if the Insured does not pay any advance premium required for renewal.

                      If the Company fails to mail or deliver proper notice of non-renewal, this Policy will end on the effective date of any
                      other Policy with respect to property designated in both policies.

                 b) If the Company elects to renew this Policy and has the necessary information to issue a renewal Policy, the Company
                    will confirm in writing at least forty-five (45) days before the Policy expires the intention to renew this Policy and the
                    premium at which this Policy will be renewed.

                      If the Company fails to comply with this provision, the Insured will have renewal coverage. The renewal coverage will
                      be at the rates in effect under the expiring or expired Policy or in effect on the expiration date, that have been approved
                      by the Commissioner, whichever are lower. This renewal coverage will be on a pro rata basis and will continue for
                      forty-five (45) days after the Company confirms renewal coverage and premium. If the Insured accepts this renewal
                      Policy, this paragraph does not apply.

        2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
             replaced by the following:

             CONCEALMENT, MISREPRESENTATION OR FRAUD

                 The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
                 to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
                 or misrepresent a material fact or make a false statement concerning:

                      a)   This Policy;

                      b) The Covered Property;

                      c)   The Insured's interest in Covered Property; or

                      d) A claim under this Policy.

        3.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE
             COMPANY:

             The Insureds' right to bring legal action against the Company is not conditioned upon compliance with the Appraisal Condition
             of this Policy.

        4.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                 The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
                 statement of loss, if the Insured has complied with all the terms of this Policy; and

             and replaced by the following:

                 We will pay for covered loss or damage within ten (10) working days after we receive the sworn statement of loss, if you
                 have complied with all the terms of this Policy; and


        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - Washington


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   The following is deleted from SECTION III - PROPERTY DAMAGE, EXCLUSIONS:

             3.03.03.             This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting from any
                                  of the following regardless of any other cause or event, whether or not insured under this Policy,
                                  contributing concurrently or in any other sequence to the loss:

             and replaced with:

             3.03.03.              The Company will not pay for loss or damage caused by any excluded event described below. Loss or
                                  damage will be considered to have been caused by an excluded event if the occurrence of that event
                                  directly and solely results in loss or damage; or initiates a sequence of events that results in loss or
                                  damage, regardless of the nature of any intermediate or final event in that sequence.

        2. When the following appears in CONTINGENT TIME ELEMENT, FINE ARTS, LAND IMPROVEMENTS,OFF PREMISES
           SERVICE INTERUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS, TENANTS PROHIBITED ACCESS and
           NEW CONSTRUCTION AND ADDITIONS, it will be deleted.

                                  "regardless of any other cause or event, whether or not insured under this Policy, contributing
                                  concurrently or in any other sequence to the loss."

             and replaced with:

                                  The Company will not pay for loss or damage caused by an excluded event described below. Loss or
                                  damage will be considered to have been caused by such excluded event if the occurrence of that event
                                  directly and solely results in loss or damage; or initiates a sequence of events in loss or damage,
                                  regardless of the nature of intermediate or final event in that sequence.

        3. The following is added to SECTION III - PROPERTY DAMAGE, EXCLUSIONS, 3.03.03.04.:

                                  This exclusion does not apply to acts of direct physical loss or damage resulting from an act of domestic
                                  abuse caused by another insured under the policy if such loss is an otherwise covered property loss and
                                  the insured making claim: files a police report, cooperates with any law enforcement investigation relating
                                  to the act of domestic abuse and did not cooperate in or contribute to the creation of the loss.

        4. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
           Cancellation:

                                  The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to
                                  the Company advance written notice of cancellation.

             and replaced with:

                                  The First Named Insured shown in the Declarations may cancel this Policy. The insured may provide
                                  notice before the effective date of cancellation using one of these methods:

                                     (i) Written notice of cancellation to the insurer or producer by mail, fax or e-mail;




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                                      (ii) Surrender of the policy or binder to the insurer or producer; or

                                      (iii) Verbal notice to the insurer or producer.

                                   If the insurer receives notice of cancellation from the insured, it must accept and promptly cancel the
                                   policy or any binder issued as evidence of coverage effective the later of:

                                      (i) The date notice is received; or

                                      (ii) The date the insured requests cancellation.

        5. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
           Cancellation:

                                   Notice of cancellation will state the reason for cancellation.

                                   The Company will send written notice of cancellation to each mortgagee, pledge or other person shown
                                   by the Policy to have an interest in any loss which may occur.

        6.    SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its
              entirety and replaced by the following:

                                   Non-renewal

                                   The Company may non-renew this Policy by mailing or delivering to the First Named Insured written
                                   notice, Forty-Five (45) days before the non-renewal. Notice of non-renewal will state the reason for
                                   non-renewal.

        7. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, INSPECTIONS AND SURVEYS:

                                   However, this condition does not apply to any inspections, surveys, reports or recommendations the
                                   Company may make relative to certification under state or municipal statutes, ordinances or regulations
                                   referenced above.

        8. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, OTHER INSURANCE:

                                   The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                                   attach in absence of this insurance; except that this insurance shall apply only as excess, Difference in
                                   Conditions/Difference in Limits and in no event as contributing insurance, and then only after all other
                                   insurance has been exhausted.

             and replaced with:

                                   The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                                   attach in absence of this insurance; except that this insurance shall apply only as pro rata contributing
                                   insurance.

        9. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

                                   The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                                   Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                                   depreciation) with materials of like kind, quality and capacity at the same or another site, but no more
                                   than the lesser of:

              and replaced by the following:




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                                 The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                                 Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                                 depreciation) with new materials of like kind, quality and capacity at the same or another site, but no
                                 more than the lesser of:

        9.   Section VI-General Policy Conditions, LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
             OBLIGATIONS is deleted in its entirety.

        10. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, APPRAISAL:

                                 The Company further retains its right to deny the claim in whole or in part.

        All other terms, conditions and limitations of this Policy remain unchanged.




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        Amendatory Endorsement - West Virginia


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
             by the following:

             APPRAISAL

                 In case the Insured and the Company fails to agree as to the actual cash value of the amount of loss, then on the written
                 demand of either party, each shall select a competent and disinterested appraiser and notify the other appraiser selected
                 within twenty (20) days of such demand. The appraiser shall first select a competent and disinterested umpire; and failing
                 for fifteen (15) days to agree upon such umpire, then either on the Insured’s or the Company’s request, such umpire shall
                 be selected by a judge of a court of record in the state in which the property covered is located. The appraisers shall then
                 appraise the loss, stating separately actual cash value and loss as to each item; and, failing to agree, shall submit their
                 differences only, to the umpire. An award in writing, so itemized, of any two when filed with this Company shall
                 determine the amount of actual cash value and loss. Each appraiser shall be paid by the parties equally.

        2.   The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
             Payment:

                 The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
                 statement of loss, if the Insured has complied with all the terms of this Policy; and

                     The Company has reached agreement on the amount of loss; or

                     An appraisal award has been made...

             and replaced by the following:

                 The Company will pay for loss of or damage to Covered Property within fifteen (15) days after we receive the signed,
                 sworn statement of loss if the Insured has complied with all the terms of this Policy and the Company has reached
                 agreement with the Insured on the amount of loss.

        3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
           its entirety and replaced by the following:

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
                 Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
                 date of direct physical loss or damage to Covered Property or to other property as set forth herein.


             All other terms, conditions and limitations of this Policy remain unchanged.




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Reviewer: Carol M.




        Amendatory Endorsement - Wisconsin



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   Section VI-General Policy Conditions, Loss Conditions, Subrogation, is deleted in its entirety and replaced by the following:

             SUBROGATION

                     The Insured is required to cooperate in any subrogation proceedings. To the extent of the Company's payment, the
                     Insured's rights of recovery against any party are transferred to the Company.

                     The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss, nor will such waiver
                     affect the Insured's rights under this Policy.

                     The Company will be entitled to any recovery from subrogation proceedings only after the First Named Insured has
                     been fully compensated for Damages.




        All other terms, conditions and limitations of this Policy remain unchanged.




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Reviewer: Carol M.




        Amendatory Endorsement - Wyoming


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        1.   SECTION VI - General Policy Conditions, Suit Against The Company is replaced in its entirety by the following:

             No one may bring a legal action against the Company under this Policy unless:

             All of its terms have been complied with; and, the action is brought within 4 years beginning from the date on which the direct
             physical loss or damage was discovered.

        2.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
             following:

             The Company will be entitled to recovery only after the insured has been fully compensated for the deductible amount, without
             any deduction for expenses of collection, out of any recovery on the subrogated claim, before any part of the recovery is applied
             to any other use. If the amount of the deductible exceeds the recovery, the insurer shall pay only the amount of the recovery to
             the insured.

        3.   The following is deleted from Section VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                                   The Company will pay for covered loss or damage within thirty (30) days or as required by law, after
                                   receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy; and

             And replaced with:

                                   The Company will pay for the undisputed covered loss or damage within forty-five (45) days, after
                                   receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy.

                          All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                           EDGE-251-A (02/11)
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Reviewer: Carol M.




        Amendatory Endorsement - Virginia


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        1.   SECTION V-FIRE DEPARTMENT SERVICE CHARGE is replaced by the following:


             The Company will pay for the reasonable additional expenses, resulting from costs of fire extinguishing materials expended,
             incurred by the Insured when the Fire Department is called to save or protect Covered Property from a Covered Cause of Loss
             at an Insured Location. The Fire Department Service Charges are those assumed by contract or agreement prior to loss or
             damage or required by local ordinance.

             If the charges are billed to the Insured by a volunteer fire department, the Company will pay for the volunteer fire department
             service charges, provided that the volunteer fire department is not fully funded by real estate taxes or other property taxes.

             The most the Company will pay under this Additional Coverage at any one covered property, in any year beginning on the date
             coverage for such covered property was effective, is the greater of $250 or the Limit of Insurance shown in the Declarations for
             Fire Department Service Charge. The Limit for this Additional Coverage is in addition to the applicable Limit of Insurance
             shown in the Declarations for that covered property.




        All other terms, conditions and limitations of this Policy remain unchanged.




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          Change Endorsement
          Limited Coverage for Electronic Data, Programs or Software
                                                                                                                                             Q
                                                                                                                                           ZURICH“
          Certiﬁcates 0f Insurance
          Loss Adjustment/Payable


           Insured   Name                                                    Number
                                                                        Policy                            Effective Date          Endorsement Number
           Johnson    & Wales University                                ERP98 1 9903 -06                  05/0 1/2 020            01




                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
          This Endorsement modiﬁes insurance provided under the Policy identiﬁed above.


               A.    Section 5.02.04.01.01      is   deleted.
               B.    Clause    CERTIFICATES OF INSURANCE                    is   deleted and replaced with the following:


                                  CERTIFICATES OF INSURANCE

                     Any  certiﬁcate of insurance issued in connection with this Policy is provided solely as a matter 0f convenience 0r
                     information for the addressee(s) or holder(s) of such certiﬁcate of insurance, except as provided under the Policy when a
                     Loss Payee(s) or M0rtgagee(s) are named. The certiﬁcate of insurance does not amend, extend or alter the coverage afforded
                     by the   Policy.


                     In the event this Policy is cancelled pursuant to the Cancellation subsection other than for nonpayment of premium, and
                     except as provided otherwise, the Company shall provide a notice t0 those entities set out in the certiﬁcates of insurance,
                     that   have been provided to the   Company in accordance with this Endorsement, within 30 days after notifying the First
                     Named Insured that the Policy      has been cancelled. Such entities Will be provided tothe Company, in the format requested
                     by the Company within 10 days of such request, by the Producer. However, in n0 event will failure to provide notice to
                     entities set out in any certiﬁcate 0f insurance provide such entities with rights broader than those 0f the Named Insured.


                     The Company hereby authorizes the Producer named on the Policy                      to issue certiﬁcates   of insurance consistent with the
                     foregoing.


                     Clause    LOSS ADJUSTMENTE’AYABLE is deleted and replaced with the                      following:


                                  LOSS ADJUSTMENT/PAYABLE

                     Loss, if any, will be adjusted with and payable to the First               Named   Insured as shown on     this Policy, or as directed   by the
                     First    Named Insured.

                     When a Lender        or Mortgagee     is   named   in the certiﬁcates    of insurance on ﬁle with the Company, the Lender 0r Mortgagee
                     will   be included   in loss   payment     as their interests   may   appear.


                     When     a Loss Payee is named in the certificates 0f insurance 0n ﬁle with the Company, the Loss Payee Will be included in
                     loss   payments made to the insured as their interests may appear. The Loss Payee has no other rights under the policy.

                     When an additional insured is named in the certiﬁcates 0f insurance on ﬁle with the Company, the additional insured Will
                     be included in loss payment as their interests may appear.

          All other terms, conditions and limitations 0f this Policy remain unchanged.




                                                                                                                                              EDGE-309-A (03/12)
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          Cyber Event Coverage Endorsement
                                                                                                                                           9
                                                                                                                                         ZURICH“

           Insured   Name                                               Policy   Number                    Effective Date         Endorsement Number
           Johnson    & Wales University                                ERP9819903-06                      05/0 1/2 020           02




                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          This endorsement modiﬁes insurance provided under the:

               EDGE-D-lOO-B (12/10) The Zurich EDGE Declarations (Domestic Form)
               EDGE-lOO—B (12/10) The Zurich EDGE Coverage Form (Domestic Form)
               EDGE-D-lOl-B (12/10) The Zurich EDGE Declarations (Global Form)
               EDGE-lOl—B (12/10) The Zurich EDGE Coverage Fonn (Global Form)
               EDGE-D-lOZ-B (12/10) The Zurich EDGE Declarations (Domestic Healthcare Form)
               EDGE-lOZ—B (12/10) The Zurich EDGE Coverage Form (Domestic Healthcare Form)
               EDGE-D-103-A (12/ 10) The Zurich EDGE Declarations (Global Healthcare Form)
               EDGE-103-A (12/10) The Zurich EDGE Coverage Form (Global Healthcare Form)


          A.    The following      is   added   t0 2.03.06. Limits    0f Liability:

                              $100,000                          CYBER EVENT A11 Coverages Combined and in the Annual Aggregate
                                                                but not to exceed the following:

                                                                $100,000 OFF PREMISES SERVICE INTERRUPTION                     CYBER EVENT
                                                                i PROPERTY DAMAGE AND TIME ELEMENT


               The following       is   added   to 2.03.   Time and Distance     Limitations:


                              48 hours    for   Gross Earnings:                                 PROTECTION AND PRESERVATION OF
                              not to exceed $100,000        limit.                              DIGITAL ASSETS — PROPERTY DAMAGE
                                                                                                AND TIME ELEMENT Combined
               The following       is   added   t0 Section 2.04.     QUALIFYING PERIOD:

                              CYBER EVENT per Occurrence                                                                            48 hours
                              OFF PREMISES SERVICE INTERRUPTION CYBER                                                               48 hours
                              EVENT 7 PROPERTY DAMAGE AND TIME ELEMENT
                              applies separately at each location.

               The following       is   added   t0 Section 2.05.     DEDUCTIBLES,        Exceptions t0 Policy Deductible(s):

                          Cyber Event
                          The following deductibles apply              to loss 0r     damage caused by or    resulting   from Cyber Event.   The Cyber Event
                          deductible will apply regardless of any other deductibles that             may   also apply.

                          $250,000 combined Cyber Event per Occurrence




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Envelope: 3257725
Reviewer: B.
           CarolSection
                 M.      3.02. PROPERTY NOT COVERED, Subsection 3.02.15. is replaced by the following:
            Digital Assets except when they are Stock in Process, Finished Stock, Raw Materials, supplies or Merchandise or as
            otherwise provided by the Computer Systems Damage Coverage, Valuable Papers and Records Coverage or Cyber Event
            Coverage of this Policy.
        C. Section 5.02. DESCRIPTION OF SPECIAL COVERAGES is revised as follows:
            1. The COMPUTER SYSTEMS DAMAGE Coverage is replaced by the following:
                COMPUTER SYSTEMS DAMAGE
                The Company will pay for the corruption or loss of the Insured's Digital Assets resulting from direct physical loss of or
                damage to Computer Systems or Media as covered by this Policy, and the actual Time Element loss sustained, as
                provided by this Policy during the Period of Interruption directly resulting from a Covered Cause of Loss at an Insured
                Location.
                This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
                Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
                the amount of loss in excess of the Policy Deductible, but not more than the limit applying to this Coverage.
                This Coverage excludes loss or damage caused by or resulting from:
                a.   Errors or omissions in processing or copying, except when direct physical loss or damage caused by a Covered
                     Cause of Loss results. Then only that resulting damage is covered;
                b.   Loss or damage to Digital Asset from errors or omissions in programming or machine instructions; or
                c.   Cyber Event..
            2. The OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS Coverage is
               replaced by the following:
                OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS

                The Company will pay for direct physical loss of or damage to Covered Property and for the actual Time Element loss
                sustained as provided by the Policy during the Period of Service Interruption at Insured Locations caused by the
                interruption of an incoming service consisting of electricity, gas, fuel, steam, water, refrigeration, voice, data or video
                or from the lack of outgoing voice, data, video or sewage service.

                The lack of service must result from direct physical loss of or damage caused by a Covered Cause of Loss to property (
                other than satellites but including transmission and distribution lines) of the supplier of such service located within this
                Policy's Territory, that immediately prevents in whole or in part the delivery of such usable services.

                This Coverage will only apply when the Period of Service Interruption exceeds the time shown as Qualifying Period in
                the Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay
                for the amount of loss in excess of the applicable deductible, but not more than the limit applying to this Coverage.

                Exclusions 3.03.01.02. and 3.03.04. do not apply to Off Premises Service Interruption Property Damage and Time
                Element Loss.

                The following additional exclusion applies:
                This Coverage excludes loss or damage to Covered Property and for the actual Time Element loss directly or indirectly
                caused by or resulting from the interruption of such services, when such interruption is caused directly or indirectly by:
                a. The failure of the Insured to comply with the terms and conditions of any contracts the Insured has for the supply of
                   such specified services; or
                b. Cyber Event,
                regardless of any other cause or event, whether or not insured under this Policy, contributing concurrently or in any other
                sequence to the loss.
        D. The following is added to Section 5.03. DESCRIBED CAUSES OF LOSS:
            CYBER EVENT
            1. Property Damage and Time Element
                The Company will pay Digital Asset Replacement Expenses and the actual Time Element loss sustained during the
                                                                                                                            EDGE-313-C (09/19)
                                                                                                                                  Page 2 of 5
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Envelope: 3257725
Reviewer: Carol M. Period of Interruption caused by a Cyber Event resulting in the corruption or destruction of the Insured's Digital Assets.
                 The Time Element loss must result from the necessary Suspension of the Insured's business activities at the Insured
                 Location. The Suspension must be due to a Cyber Event resulting in corruption, destruction or loss of access to the
                 Insured's Digital Assets while within this Policy's territory.
                 This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
                 Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
                 the amount of loss in excess of the Cyber Event Deductible, but not more than the limit applying to this Coverage.
                 This Coverage, as respects to Cyber Event, also covers:
                 a. Expediting Expense
                     The reasonable and necessary costs incurred to pay for the temporary repair or to expedite the permanent repair or
                     replacement of Digital Assets resulting from a Cyber Event to the Insured's Digital Assets.
                     This coverage excludes the costs of the permanent repair or replacement of Digital Assets or damaged property.
                 b. Computer Forensic Expense
                     The reasonable fees paid to a professional or the reasonable cost of using the Insured's employees to conduct a
                     computer forensic analysis to investigate and determine the cause and extent of loss to the Insured's Digital Assets
                     and Computer System due to a Cyber Event.
                 The Company will pay for direct physical loss of or damage to Digital Assets, Covered Property, Time Element loss
                 and Special Coverages loss as provided by this Policy, if such loss or damage is caused by Cyber Event regardless of
                 any other cause or event contributing concurrently or in any other sequence of loss. However, ensuing physical loss or
                 damage to Covered Property from a Covered Cause of Loss will not be considered loss by a Cyber Event within the
                 terms and conditions of this Policy.
                 Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs,
                 expenses or loss recoverable under the Cyber Event Property Damage and Time Element Coverages are payable only
                 under Cyber Event Property Damage and Time Element Coverage and not elsewhere in this Policy.
             2. Protection And Preservation Of Digital Assets – Property Damage And Time Element
                 The reasonable and necessary cost incurred for actions taken by the Insured to temporarily protect or preserve Digital
                 Assets from further damage, during or after a Cyber Event, provided that such costs are over and above the Insured's
                 normal operating expenses.
                 The Gross Earnings loss or Gross Profit loss sustained by the Insured for a period of time not to exceed the hours listed
                 in the Declarations for the Insured first taking reasonable and necessary actions to temporarily protect or preserve from
                 further damage the insured's Digital Assets, during or after a Cyber Event provided that such costs are over and above
                 the Insured's normal operating expenses.
                     Protection and Preservation of Digital Assets coverage does not include the following costs or expense:
                          To correct any deficiencies or problems or to remediate Programs (Software) errors or vulnerabilities that
                          existed prior to the Cyber Event and you failed to correct;
                          To update, restore, replace or improve any Digital Assets to a level beyond that which existed just prior to the
                          Cyber Event, unless such costs or expenses are standard technological advancements included within any
                          newer Digital Assets;
                          For any contractual penalties.
                 Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs
                 recoverable under Protection and Preservation of Digital Assets are payable only under Protection And Preservation Of
                 Digital Assets – Property Damage And Time Element Coverage and not elsewhere in this Policy.
             3. Off Premises Service Interruption Cyber Event Property Damage And Time Element
                 The Company will pay for the loss of or damage to the Insured's Covered Property at an Insured Location and for the
                 actual Time Element loss sustained by the Insured during the Period of Interruption, directly resulting from the necessary
                 Suspension of the Insured's business activities at an Insured Location, resulting from a Cyber Event, regardless of any
                 other event contributing concurrently or in any sequence to the loss, at a service provider company directly or indirectly
                 supplying electricity, gas, fuel, steam, water, refrigeration, voice, data, video or Cloud Services. The interruption of
                 service must result from a Cyber Event to property (other than satellites but including transmission and distribution lines)
                 of the supplier of such services that immediately prevents in whole or in part the delivery of such usable services, when
                 located worldwide, except for in the following:
                     Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina Faso, Burundi,
                                                                                                                         EDGE-313-C (09/19)
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Envelope: 3257725
Reviewer: Carol M.        Cameroon, Cape Verde, Central African Republic,
                                                                        Chad, Comoros, Republic of Congo, Democratic Republic of the
                     Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia, Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia,
                     Haiti, Iran, Iraq, Ivory Coast, Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan (Kyrgyz Republic), Laos,
                     Lebanon, Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                     Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan, Palestine, Reunion,
                     Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri Lanka, Southern Sudan, Sudan,
                     Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen,
                     Zambia, Zimbabwe; or
                     Any other country where prohibited by United States law or where trade relations are unlawful as determined by the
                     Government of the United States of America or its agencies.
                 This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
                 Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
                 the amount of loss in excess of the applicable Cyber Event Deductible, but no more than the limit applying to this
                 Coverage.
                 The following additional exclusion applies:
                     This Policy excludes physical loss or damage directly or indirectly caused by or resulting from the interruption of
                     such services, when such interruption is caused directly or indirectly by the failure of the Insured to comply with the
                     terms and conditions of any contracts the Insured has for the supply of such specified services regardless of any
                     other cause or event, whether or not insured under this Policy, contributing concurrently or in any other sequence to
                     the loss.
                 Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs
                 recoverable under Off Premises Service Interruption Cyber Event Property Damage And Time Element are payable only
                 under Off Premises Service Interruption Cyber Event Property Damage and Time Element Coverage and not elsewhere in
                 this Policy.
             4. The following additional exclusions apply to D. 1., 2., and 3.:
                 We will not pay for loss or damage to Digital Assets resulting from:
                     a. Errors or omissions in programming, processing or copying; or
                     b. Correcting any deficiencies or problems including remediation of Digital Asset errors or vulnerabilities that
                        existed prior to the Cyber Event and the Insured failed to correct.
                 We do not cover expenses or costs of Cyber Extortion Payments.
        E. The following definitions in SECTION VII – DEFINITIONS are replaced by the following:
                 Computer Virus – Any hostile or intrusive Program (Software), instructions, code or data which infiltrates and disrupts
                 computer operations, gathers sensitive information, gains access to Computer Systems or Digital Assets without consent,
                 or any other data or instructions introduced into any electronic system that affects the operation or functionality of
                 Computer Systems or Digital Assets, including but not limited to any destructive Program, computer code, worm, logic
                 bomb, smurf attack, vandalism, malware, Trojan Horse, spyware, rootkits, ransomware, adware, keyloggers, rogue security
                 software or malicious browsers.
                 Described Cause(s) of Loss – Breakdown of Equipment, Earth Movement, Flood, Named Storm or Cyber Event.
                 Period of Interruption – The period starting when the Insured's Digital Assets, Computer Systems or Media fails to
                 operate and ending when with due diligence and dispatch, the Insured's Digital Assets, Computer Systems or Media
                 could be restored to the same or equivalent operating condition that existed prior to the failure. The Period of Interruption
                 does not include the additional time to make changes to the Insured's Digital Assets, Computer Systems or Media.
             For purposes of Cyber Event only, the following definition in SECTION VII – DEFINITIONS is replaced by the following:
                 Media – Punch cards, paper tapes, floppy disks, CD-ROM, hard drives, magnetic tapes, magnetic discs or any other
                 tangible personal property on which Digital Assets are recorded or transmitted, but not the Digital Assets themselves.
             The following are added to SECTION VII – DEFINITIONS:
                 Cloud Services – A contracted service in the business of storing, processing and managing the Insured's Digital Assets
                 and providing access and use of Programs (Software) or a network of servers hosted away from the Insured's location
                 to store, process and manage the Digital Assets.
                 Computer Systems – Information Technology (IT), industrial process control or communication systems including any
                 other item or element of IT infrastructure, computer hardware, devices and electronic equipment used for the purpose of
                 creating, accessing, processing, protecting, monitoring, storing, retrieving, displaying or transmitting Digital Assets,
                 including but not limited to, associated input and output devices, laptop and desk top computers, Media, computer
                                                                                                                          EDGE-313-C (09/19)
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Reviewer: Carol M. networks and networking equipment, components, file    servers, data processing equipment, microchip, microprocessors,
                computer chips, integrated circuits, systems controlling or associated with the operation or monitoring of equipment or
                machinery, or similar device or equipment, but not including the Digital Assets contained therein. Computer Systems also
                includes external drives, CD-ROM's, DVD ROM's, magnetic tapes, magnetic discs and USB sticks, that are used to process,
                record or store Digital Assets.
                Cyber Event – Authorized access, unauthorized access, authorized use, unauthorized use, disappearance of code,
                malicious act, distortion, malfunction, deficiency, deletion, fault, Computer Virus, Denial of Service Attack or
                corruption perpetuated through the Insured's computer network, an internet enabled device or Computer Systems that
                occurs during the Policy Period.
                However, as applied in Off Premises Service Interruption Property Damage and Time Element and in D.3., Off
                Premises Service Interruption Cyber Event Property Damage And Time Element of this endorsement, Cyber Event
                means such Cyber Event as defined above but perpetuated through the service provider's computer network, internet
                enabled device or Computer Systems during the Policy Period.
                Cyber Extortion Payments – Monies paid to third parties for an act, threat or series of threats made to introduce a
                Computer Virus or gain unauthorized access to Computer Systems.
                Denial of Service Attack – A malicious attack by an authorized or unauthorized party which is designed to slow or
                completely interrupt an authorized party from gaining access to the Insured's Computer Systems, Digital Assets or
                website.
                Digital Assets – Electronic Data, Programs (Software), audio and image files. To the extent they exist as Electronic
                Data and only in that form, Digital Assets include the following: accounts, bills, evidences of debts, valuable papers,
                records, abstracts, deeds, manuscripts, or other documents.
                Digital Asset Replacement Expenses – The reasonable and necessary costs or expenses the Insured incurs to replace,
                restore or recollect Digital Assets from written records or partially or fully matching Electronic Data.


        All other terms, conditions, provisions and exclusions of this policy remain the same.




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Reviewer: Carol M.




          CAP ON LOSSES FROM CERTIFIED ACTS OF                                                                                                          a              a

          TERRORISM                                                                                                                            ZURICH
           Insured   Name                                               Policy   Number                      Effective Date                 Endorsement Number
           Johnson    & Wales University                                ERP9819903-06                        05/0 1/2020                    06




                               THIS ENDORSEMENT CHANGES                          YOUR POLICY. PLEASE READ IT CAREFULLY.
          This endorsement modiﬁes your insurance:

          Zurich Edge Property Policy




          A.   Cap on Losses From           Certified Terrorism            Losses
               “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury,                                       in   accordance with
                provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism.                                       The Terrorism Risk
                Insurance Act provides that the Secretary of Treasury shall                    certify   an act of terrorism:

                1.   To be an   act of terrorism;

               2.    To be a   violent act or     an act that   is   dangerous     to   human   life,   property or infrastructure;

               3.    To have    resulted   in   damage     within the United States, or outside of the United States in the                       case of an   air carrier
                     (as defined   in   section   40102 of   49, United States Code) or a United States flag vessel (or a vessel based
                                                                Title
                     principally in the United States, on which United States income tax is paid and whose insurance coverage is
                     subject to regulation in the United States), or the premises of a United States mission; and

               4.    To have been committed by an     individual or individuals as part of an effort to coerce the civilian population of the
                     United States or to influence the policy or affect the conduct of the United States Government by coercion.

               No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
               Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
               subject to TRIA, d0 not exceed $5,000,000.

               If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar

               year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
               Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
               in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
               established by the Secretary of Treasury.

          B.   Application of Other Exclusions

               The terms and       limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
               terrorism exclusion or       any other exclusion, do not serve to create coverage which would otherwise be excluded,
               limited or restricted     under this policy.




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                       Appendix               — Schedule                of Locations
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                                                                                  & Wales University
                                                                            May 2020 —1 May 20201
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                                                                                                                             ZURICHQ
                                                                               ERP 981 9903—06



                         Location         Location Description                  Location Address                 City              State
                         ID
                         LOC   703        Cedar     Hall   South                21 5 South Cedar St              Charlotte         NC
                         LOC   71 3       Student Center                        235   South Cedar          St    Charlotte         NC
                         LOC   71 2       City    View Towers                   425   West 5th Street            Charlotte         NC
                         LOC   703        Cedar     Hall   North                725   West 4th St                Charlotte         NC
                         LOC   704        Gateway         Village (offices)     800   West Trade St              Charlotte         NC
                         LOC   704        Gateway         Village               800   West Trade St              Charlotte         NC
                                          (Library)
                         LOC   702        Academic Center                       801 West Trade            St     Charlotte         NC
                         LOC   701        Gateway Center                        901 West Trade            St     Charlotte         NC
                         LOC   709        Garage                                                                 Charlotte         NC
                         LOC   511        Gaebe Hall (Curtis        Hall)       1740 Pontiac         St          Denver            CO
                         LOC   510        Triangolo Hall (Porter                1790 Pontiac         St          Denver            CO
                                          Bldg)
                         LOC   51 6       Chapel (Whatley)                      1800 Oneida St                   Denver            CO
                         LOC   51 3       Business College (Lowell              1900 Olive St                    Denver            CO
                                          Thomas) Academic
                         LOC   51 3       Business College (Lowell              1900      Olive St               Denver            CO
                                          Thomas)     Library
                         LOC   51 2       School 0f Arts        &               7039      E   18th Ave           Denver            CO
                                          Sciences (Porter)
                         LOC 514          Wildcat Center (Mason                 7050 Montview             Blvd   Denver            CO
                                          Hall)

                         LOC 505          Presidents Hall (Pulliam              71 1O     Montview        Blvd   Denver            CO
                                          Hall)

                         LOC 501          Hospitality College                   71 50     Montview        Blvd   Denver            CO
                                          (Foote Hall)
                         LOC 502          Culinary Arts College                 71 50     Montview        Blvd   Denver            CO
                                          (huchinson)
                         LOC 506          Teacher Education                     71 50     Montview        Blvd   Denver            CO
                                          (BAC)
                         LOC 507          Historic Treat Hall                   71 50 Montview            Blvd   Denver            CO
                         LOC 503          Johnson     Hall    (Dunklee          71 50 Montview            Blvd   Denver            CO
                                          Hall)
                         LOC 504          Wales     Hall   (Dunton    Hall)     71 50  Montview Blvd             Denver            CO
                         LOC 27           Culinary    West     Boiler           1   Washington Avenue            Providence        RI

                                          Room
                         LOC 31           West     Hall                         1Washington Avenue               Providence        RI

                         LOC 32           East Hall                             1Washington Avenue               Providence        RI

                         LOC 86-98        Harborside Village                    100 Harborside Blvd.             Providence        RI

                                          Harborside Athletic                   108-128 Harborside Blvd.         Providence        RI

                                          fields
                                          Port    Edgewood Marina               1   128   Narragansett Blvd.     Cranston          RI

                                          Port    Edgewood Marina               1   128   Narragansett Blvd.     Cransotn          RI

                                          Port    Edgewood Marina               1   128   Narragansett Blvd.     Cranston          RI

                         LOC 53           Narragansett House                    1   144   Narragansett Blvd      Cranston          RI




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                       Appendix                 — Schedule         of Locations
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                                                                              & Wales University
                                                                        May 2020 —1 May 20201
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                         Location         Location Description              Location Address                      City            State
                         ID
                         LOC 52           Vilma Triangelo Alumni            1146 Narragansett              Blvd   Cranston        RI

                                          House
                         LOC   51         Harbor View                       1150 Narragansett Blvd                Cranston        RI

                         LOC   42         Grace Welcome Center              120 Harborside Blvd.                  Cranston        RI

                         LOC   26         South   Hall                      2 Washington Avenue                   Providence      RI

                         LOC   25         HAC    Building                   265 Harborside Blvd.                  Providence      RI

                         LOC   28         Wildcat Center                    305 Shipyard                          Providence      RI

                         LOC   28         Wildcat Center                    305 Shipyard                          Providence      RI

                         LOC   62         Friedman Center                   321 Harborside Blvd                   Providence      RI

                         LOC   99         Cuisinart Ctr for                 333 Shipyard       St                 Providence      RI

                                          Culinary Excellence
                         LOC 100          Shipyard                          55 Shipyard Street                    Providence      RI

                                          (Transportation)
                         LOC 45           Harborside RinkParcel 9—          6O Harborside           Blvd          Cranston        RI

                                          12
                                          Buses while parked at             62 Shipyard       St.                 Providence      RI

                                          lot

                         LOC 413          Biscayne    Commons               12350 Biscayne Blvd                   North Miami     FL
                         LOC 405          ASC Garage                        12900 NE 17th Avenue                  North Miami     FL
                         LOC 405          Academic & Student                12900 NE 17th Avenue                  North Miami     FL
                                          Center Bldg (ASC)
                         LOC 401          Emerald Lake Hall                 13025 Emerald Drive                   North Miami     FL
                         LOC 412          Wildcat Center                    1600 NE 126th Sreet                   North Miami     FL
                         LOC 407          Arch Creek Place    -
                                                                  Res       1605 NE 126th Street                  North Miami     FL
                                          Hall

                         LOC 407          Arch Creek Place    -
                                                                  Res       1640-42 NE 126th               St     North Miami     FL
                                          Hall

                         LOC 410          Lakeside    Tower                 1700 NE 133rd Street                  North Miami     FL
                         LOC 404          University Center                 1701 N E 127th St                     North Miami     FL
                                          including Flamingo Hall
                         LOC 404          University Center                 1701 N      E   127th St              North Miami     FL
                                          including Flamingo Hall
                         LOC 422          Palm Gardens                      1704, 1740        & 1770 NE           North Miami     FL
                                          (previously    Malden             125th Street & 1705       & 1735
                                          Manor)                            NE 124th Street
                         LOC 411          Tropical Pointe                   1725 NE 125th Street                  North Miami     FL
                                          115 Cedar                         115 Cedar Street                      Providence
                                          101 Richmond                      101 Richmond St.                      Providence      RI

                         LOC    111       Centennial House                  135 Norwood Ave                       Cranston        RI

                         LOC   59         J&W    Equine Center              29 Frances St                         Rehoboth        MA
                         LOC   103        Baker Street                      63 Baker St                           Providence      RI

                         LOC   21         TACO    Center                    1O Abbott Park Place                  Providence      RI

                         LOC    11        Renaissance Hall                  101 Cedar Street                      Providence      RI

                         LOC   7O         McNulty     Hall                  101 Pine Street                       Providence      RI

                         LOC   O9         Yena Center                       11   1   Dorrance Street              Providence      RI

                         LOC   108        PA Building (Health               135      Clifford Street              Providence      RI

                                          Sciences)



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                                                                                     & Wales University
                                                                               May 2020 —1 May 20201
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                                                                                  ERP 981 9903—06

                         Location         Location Description                     Location Address             City            State
                         ID
                         LOC 05           Xavier    Academy        Hall            15 Foster Street             Providence      RI

                         LOC 35           Imperial Hall                            15 Hospital Street           Providence      RI

                         LOC 14           Citizens   Bank Ctr       for            2 Richmond Street            Providence      RI

                                          Student Involvement
                         LOC 36           260-266 Weybosset               St       260-266 Weybosset       St   Providence      RI

                                          (safety   &   security)
                         LOC   34         Richmond Bldg                            270 Weybossett     Street    Providence      RI

                         LOC   43         Rolo                                     274 Pine Street              Providence      RI

                         LOC   02         DeISesto Building                        274 Weybossett     Street    Providence      RI

                         LOC    13        Academic Center                          291 Westminster Street       Providence      RI

                         LOC   50         JHW    Center                            30 Chestnut Street           Providence      RI

                         LOC   73         Snowden        Hall                      32 Page Street               Providence      RI

                         LOC   107        Richmond        Street   Garage          37 Richmond Street           Providence      RI

                         LOC   08         Johnson       Hall                       59 Chestnut Street           Providence      RI

                         LOC   06         Xavier Mercy Hall                        6O Broad Street              Providence      RI

                         LOC   O1         Wales Hall                               8 Abbott Park Place          Providence      RI

                         LOC    17        Automotive Garage                        80 Pleasant Valley Pkwy      Providence      RI

                         LOC    18        Pleasant Valley                          80 Pleasant Valley Pkwy      Providence      RI

                                          Warehouse
                         LOC 102          The Cove                                 One   Park   Rowe West       Providence      RI

                                          Remington Building                       91 Friendship Street         Providence      RI

                                          Bowen Center                             75 Chestnut    Street        Providence      RI




                                                                                                                       EDGE SchLOC   (0420)
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              Policy Changes                           Endorsement
                                                                                                                                                      9
                                                                                                                                                ZURICH

              Insureds   Name                                                                   Policy   Number              Effective Date       Endorsement Number

              Johnson      & Wales University                                                      ERP9819903-06                05/01/2020                   03



                                      THIS        ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              This endorsement modiﬁes insurance provided under your policy as indicated below. The modiﬁcati0n(s)                            may result   in a   change in
              the     premium    as indicated above.


                                                                                   Type(s) of Change(s)

              D        Name     of Insured                                                     D         Mailing Address of Insured
              D        Policy   Number                                                         D         Company
              D        Effective/Expiration Date                                               D         Legal Status of Insured/Business of Insured
              D        Payment Plan                                                            D         Premium Determination
              D        Additional Interested Parties                                           X         Coverage Forms and Endorsements
              D        Limits/Exposures                                                        X         Deductibles
              D        Covered Property/Location Description                                   D         Classiﬁcation/Class Codes
              D        Rates                                                                   D         Underlying Insurance


                                                                                      CHANGE {St
                                          It is   hereby agreed and understood that the following changes are made t0 the policy:

              Effective 5/01/2019         — Section    5.02.18.01. has been deleted from the Zurich        EDGE    lOO-B policy form:


                      5.02.18.01.                      As respects lawns, plants, shrubs or trees direct physical loss 0r damage directly 0r indirectly caused
                                                       by 0r resulting from Earthquake, Flood, 0r Named Storm regardless 0f any other cause 0r event,
                                                       Whether 0r not insured under      this Policy, contributing concurrently or in    any other sequence         to the
                                                       loss   is   excluded.


              Effective 5/01/2019         — Section    5.02.3   1.   Valuable Papers and Records of the Zurich     EDGE   lOO-B policy form has been amended as
              follows:


                      5.02.3    1.                 VALUABLE PAPERS AND RECORDS
                                                   The Company Will pay for direct physical loss of or damage caused by a Covered Cause 0f Loss to
                                                   Valuable Papers and Records at an Insured Location. For all Valuable Papers and Records, the
                                                   Company will pay for the value 0f the blank personal property, and the Insured's reasonable and
                                                   necessary costs incurred t0 research, replace or restore the information lost or damaged thereon.




                                                   Except:




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                                                                                                                                                 EDGE 303—A (06/08)
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                                                       For Electronic Data and/or Program (Software), the Company will pay for the value to replace or
                                                       repairMedia, and the cost to restore Electronic Data and/or Program (Software) including the costs
                                                       t0 re-create research    and engineer.


                                                       This Coverage does not apply to loss or damage to property that cannot be repaired or restored with like
                                                       kind 0r quality.


              Effective 5/01/2019              -   The following provisions     are hereby attached t0               and made part 0f this Policy:


                                                                                          Aggregate Deductible

              1.       It is   agreed the      total deductible    requirements 0f this policy        is   t0   be n0 more than        1%   0f thetotal direct damage insured values
                       reported    by    Named Insured t0 the Company as of the effective
                                         the                                                                           date 0f this policy.   The 1% aggregate deductible retention
                       for the   period ofMay 1, 2020 t0 May 1, 2021 is $12,393,668.


              2.       In order t0 maintain the deductible aggregate retention of $12,393,668, the                              Named   Insured shall report       all   insured losses t0 the
                       Company         as soon as practicable.      The Company                            from an ofﬁcer of the Named Insured as proof
                                                                                         shall accept a notarized afﬁdavit
                       of the total dollar amount 0f the loss. Losses caused by 0r resulting from the peril 0f Named Windstorm in Florida and Flood at
                       all locations shall not contribute t0 the above aggregate amount.



              3.       Expense 0f Subrogation            -   Annual Aggregate Deductible

                           a.     The amount 0f expense necessarily incurred                   in the subrogation for property lost or           damaged        shall    be considered as part
                                  0f the loss for the purposes 0f determining the annual aggregate deductible speciﬁed in paragraph                                        (1) above, but not
                                  for an   amount      in excess of the    amount by which        the loss      is   reduced by such subrogation           activities.



                           b.     When,        in connection with     any loss 0r damage          t0 property insured hereunder,              any subrogation 0r any other            right   0f
                                  recovery the        Named     Insured might have against a third party                is   received subsequent     to:



                                  1.     application 0f the loss toward the annual aggregate deductible speciﬁed in paragraph (1) above, and,


                                  2.     payment 0f such claim; such recovery               shall not require re-computation            0f the per occurrence and annual aggregate
                                         deductibles.


              4.       In the event 0f cancellation 0f this policy                  by   the   Company, except               cancellation for non-payment 0f premium, the annual
                       aggregate deductible shall be computed on a pro rata basis predicated 0n that portion of the policy year that has lapsed up t0
                       the date such cancellation             becomes     effective.            assumed by the Insured exceed the amount that would have been
                                                                                          If losses
                       sustained if computed 0n such a pro rata basis, the                      Company
                                                                                                      shall promptly pay the Insured their share 0f the difference
                       between the assumed losses and the pro                rata   amount. Cancellation by the Named Insured shall not result in any adjustment 0f
                       the annual aggregate deductible.




              All other terms, conditions                and    limitations 0f this Policy       remain unchanged.

                   Signature 0f Authorized Representative

                   X




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             Better GreenT'V'                  -   Additional           Green & Improvement Coverage
                                                                                                                                                               Q
                                                                                                                                                        ZURICH
             Insureds   Name                                                                   Policy   Number                     Effective Date         Endorsement
                                                                                                                                                          Number
             Johnson and Wales University                                                      ERP9819903—06                       05/01/2020             04




                  THIS       ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             This Endorsement modiﬁes insurance provided under the policy.


             A.    SECTION II-DECLARATIONS                      is   revised as follows:


                        2.03.06       Limits of Liability      is    revised t0 add the following:


                  $2,500,000                                             INDOOR AIR QUALITY TESTING
                  $2,500,000                                             EXISTING GREEN
                  $2,500,000                                             ENHANCED UPGRADE COVERAGE:
                  Provided                                               ENHANCED UPGRADE COVERAGE Additional Time Element


             B.    SECTION III-PROPERTY DAMAGE,                           3.02   PROPERTY NOT COVERED,                  3.02.06   is   revised t0 add the following:


                   03.02.06.03        Any vegetative       roof as part 0f Additional Green           & Improvements Coverage.
             C.    SECTION V-SPECIAL COVERAGES                            & DESCRIBED CAUSES OF LOSS                    5.02 Description 0f Special Coverages are
                   revised t0 add the following:


                        INDOOR AIR QUALITY TESTING

                                            Covered Property changes due t0 direct physical loss 0f 0r damage caused by a Covered Cause 0f Loss
                        If air quality within
                        to Covered Property, then this Policy covers, the cost incurred of Indoor Air Quality Testing but no more than the limit
                        provided for this coverage. This Coverage excludes costs recoverable elsewhere in this Policy.


                        EXISTING GREEN

                        Each 0f the following            are provided    when    the building 0r structure at a    Scheduled Location           is   LEED®, Green   GlobesTM
                        0r foreign equivalent certiﬁed but n0              more than      the limit provided for this coverage. This Coverage excludes costs
                        recoverable elsewhere in this Policy.


                        1.     Air Quality Management


                              If   Air quality within Covered Property           is   changed due   to direct physical loss   of or damage caused by a Covered Cause
                              0f Loss to Covered Property, then this Policy covers, the cost ofLEED®, Green GlobesTM or foreign equivalent
                              certiﬁed air ﬂush-out procedure on the insured building or structure. This also covers the additional cost t0 replace
                              all air ﬁlters   except those that have been processing only outside               air.



                        2.     LEED®, Green          GlobesTM or Foreign Equivalent Coverage

                              This Policy covers the reasonable and necessary costs incurred, due t0 direct physical loss 0f 0r            damage caused by a
                              Covered Cause 0f Loss            t0    Covered Property,                                same pre-loss point status 0r equivalent level.
                                                                                           t0 return the insured t0 the
                              This includes but     is   not limited t0 ceItiﬁcation fees,     accredited professional fees and engineering fees.
                        3.    Additional   Time Element Coverage


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                              The Company          Will   pay the increase                        from the loss 0f government subsidized ﬁnancial
                                                                              in expenses, resulting
                              incentives, utility cost credits, reduced loan rates         compared t0 other borrowers 0r other incentives, due t0 the direct
                              physical loss 0f 0r         damage   t0   Covered Property caused by a Covered Cause 0f Loss, during the Period 0f Liability
                              until the earlier 0f:


                              a).    The date any government subsidized ﬁnancial incentive, a utility cost credit, reduced loan rate compared to other
                                     borrowers 0r other incentive are reinstated t0 the terms that existed prior to the loss if still available; or


                              b).    The end of the Gross Proﬁts Period 0f Liability 0r Gross Earnings Extended Period of Liability                    as   shown   in this
                                     policy.


                       ENHANCED UPGRADE COVERAGE

                       Each 0f the following are provided to a building 0r structure at a Scheduled Location When a Limit 0f Liability is shown
                       for this coverage. The Company will reimburse §% 0f the net PD loss that would have existed if ENHANCED
                       UPGRADE COVERAGE was not provided. For amounts incurred in excess 0f the §%, the Company will reimburse an
                       additional       ﬂ%
                                        0f the amount incurred for enhancements under this clause, up t0                  2%
                                                                                                             0f the net PD loss that would have
                       existed if ENHANCED UPGRADE COVERAGE was not provided 0r the Limit 0f Liability for this Coverage,
                       Whichever is less. This Coverage excludes costs recoverable elsewhere in this Policy.

                        1.    Interior   and Exterior Finish Materials Upgrade

                              This Policy covers the actual costs incurred by the Insured to upgrade interior and exterior ﬁnishes including
                              Improvements and Betterments,                  that   have been physically damaged by a Covered Cause of Loss, with products,
                              building features or building techniques from one or more 0f the following standards:


                              a).   LEED®;
                              b).   Green GlobesTM;
                              c).   ENERGY STAR®;or
                              d).   The Life Safety Code, National           Fire    Alarm Code, Automatic   Fire Sprinkler Installation   Code   as   developed by the
                                    National Fire Protection Association 0r similar safety standards.


                              If the   Scheduled Location          is   outside 0f the United States and the above standards are not recognized, an equivalent
                              nationally recognized and applicable standard related t0: improving the environment, increasing efﬁciency, or
                              enhancing safety will apply. If the non—US location has n0 such standard dealing with environmental improvement 0r
                              safety, the US standards mentioned above will apply.


                         .    Mechanical Systems Upgrade


                              This Policy covers the actual costs incurred            by the Insured to upgrade mechanical systems including Improvements and
                              Betterments, which have been physically damaged by a Covered Cause 0f Loss, With products, building features or
                              building techniques from one or more 0f the following standards:


                              a).   LEED®;
                              b).   Green GlobesTM;
                              c).   ENERGY STAR®;or
                              d).   The Life Safety Code, National            Fire   Alarm Code, Automatic   Fire Sprinkler Installation   Code   as   developed by the
                                    National Fire Protection Association 0r similar safety standards.


                              If the   Scheduled Location          is   outside 0f the United States and the above standards are not recognized, an equivalent
                              nationally recognized and applicable standard related t0: improving the environment, increasing efﬁciency, or
                              enhancing safety will apply. If the non—US location has n0 such standard dealing With environmental improvement or
                              safety, the US standards mentioned above will apply.


                         .    Personal Property Upgrade


                              This Policy covers the actual costs incurred by the Insured to upgrade Personal Property, which has been physically
                              damaged by       a   Covered Cause 0f Loss, With products from one           or   more of the following   standards:




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                              a).       LEED®;
                              b).       Green GlobesTM;
                              c).       ENERGY STAR®; or
                              d).       The   Life Safety Code, National Fire           Alarm Code, Automatic         Fire Sprinkler Installation     Code    as   developed by the
                                        National Fire Protection Association 0r similar safety standards.


                              If the      Scheduled Location          is   outside of the United States and the above standards are not recognized, an equivalent
                              nationally recognized and applicable standard related to: improving the environment, increasing efﬁciency, or
                              enhancing safety will apply. Ifthe non-US location has n0 such standard dealing with environmental improvement or
                              safety, the US standards mentioned above will apply.


                       4.     Additional        Time Element Coverage

                              When this         option   is   provided,    SECTION       IV-   TIME ELEMENT, 4.03 PERIOD OF LIABILITY,                       4.03.02.02   is   deleted
                              in    its   entirety   and replaced with the following:

                              4.03.02.02         Making changes          t0 the buildings or structures except as        provided in the Demolition and Increased Costs
                                                 0f Construction Coverage 0r Enhanced Upgrade Coverage 0f the Special Coverages section; 0r


                              Any loss        under   this    coverage     is   part of the Gross Earnings   01'   Gross Proﬁt limit for   this   Policy and not part 0f the
                              ENHANCED UPGRADE Coverage Limit.

             D.   SECTION VI I - DEFINITIONS                       are revised to      add the following:



                       ENERGY STAR® - A rating standard developed as a joint program of the U.S.                                     Environmental Protection Agency and
                       the U.S. Department 0f                   Energy and intended            t0 save   money and      protect the environment through energy efﬁcient
                       products and practices.


                       Green GlobesTM- An environmental assessment, education and                                    rating system   promoted       in the   United States by the
                       Green Building             Initiative.



                       LEED® -                         Energy and Environmental Design Green Building Rating SystemTM which is a voluntary,
                                            The Leadership       in
                       consensus-based national rating       system for developing high—performance, sustainable buildings developed and
                       promulgated by The U.S. Green Building Council (USGBC). LEED® addresses all building types and emphasizes state-
                       of—the-art strategies in ﬁve areas: sustainable site development, water savings, energy efﬁciency, materials and resources
                       selection, and indoor environmental quality.


                       NCP No Coverage Provided.
                                    -




             All other terms and conditions of the policy remain unchanged.




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              Policy Changes                            Endorsement
                                                                                                                                                         9
                                                                                                                                                   ZURICH

              Insureds   Name                                                                   Policy       Number             Effective Date       Endorsement Number

              Johnson      & Wales University                                                           ERP    98 1 9903-05         05/01/2020                  05




                                      THIS        ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              This endorsement modiﬁes insurance provided under your policy as indicated below. The modiﬁcati0n(s)                               may result   in a   change in
              the     premium   as indicated above.


                                                                                  Type(s) 0f Change(s)

              D        Name     0f Insured                                                      D            Mailing Address 0f Insured
              D        Policy   Number                                                          D            Company
              D        Effective/Expiration Date                                                D            Legal Status 0f InsuredBusiness 0f Insured
              D        Payment Plan                                                             D            Premium Determination
              D        Additional Interested Parties                                           X             Coverage Forms and Endorsements
              D        Limits/Exposures                                                         D            Deductibles
              D        Covered Property/Location Description                                    D            Classiﬁcation/Class Codes
              D        Rates                                                                    D            Underlying Insurance


                                                                                      CHANGE        g
                                                                                                        St

                                          It is   hereby agreed and understood that the following changes are made to the policy:

              EDGE-lOO-B         (12/10)    -   3.02   PROPERTY NOT COVERED is amended as                     follows:
              "3.02.05. Bridges and tunnels             when not part of a building   0r structure, dams, dikes, piers, Wharfs, docks or bulkheads, except as
              scheduled 0n most recent statement 0f value 0n ﬁle With the Company."




              All other terms, conditions              and   limitations 0f this Policy   remain unchanged.

                  Signature 0f Authorized Representative

                  X




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                                                                                                                                                    EDGE 303-A (06/08)
Plaintiff
Johnson
            m
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                        600E ‘59?




            & Wales University
                                  '



                                            o
                                                     STATE 0F RHODE ISLAND
                                                        SUPERIOR COURT
                                                           SUMMONS
                                                                      Civil Action File
                                                                      PC-2021-05585
                                                                                            Number

                                                                      Attorney for the Plaintiff 0r the Plaintiff
                                                                      Joseph D. Whelan
V.                                                                    Address of the     Plaintiff’s   Attorney 0r the Plaintiff
American Guarantee                & Liability Insurance               100   WESTMINSTER STREET
Company                                                               SUITE 710
Defendant                                                             PROVIDENCE RI          02903

Licht Judicial     Complex                                            Address 0f the Defendant
Providence/Bristol County                                             1299 Zurich     Way
250 Beneﬁt       Street                                               Schaumburg IL 60196
Providence RI 02903
(401) 222-3250


TO THE DEFENDANT, American Guarantee & Liability Insurance Company:
     The above-named                         an action against you in said Superior Court in the county
                                      Plaintiff has brought
indicated above. You are hereby summoned and required to serve upon the Plaintiffs attorney, whose
address is listed above, an answer to the complaint Which is herewith served upon you Within twenty (20)
days after service of this                  Summons upon   you, exclusive 0f the day of service.

     If   you   fail to      do       so,   judgment by default will be taken against you         for the relief   demanded   in the
complaint.      Your answer must                also be ﬁled with the court.

     As provided    Rule 13(a) of the Superior Court Rules 0f Civil Procedure, unless the relief demanded in
                        in
the complaint      is damage arising out of your ownership, maintenance, operation, or control of a motor
                          for
vehicle, or unless otherwise provided in Rule 13(a), your answer must state as a counterclaim any related
claim which you may have against the Plaintiff, 0r you will thereafter be barred from making such claim in
any other   action.


This   Summons was              generated on 8/30/2021.                     /s/   Stephen Burke
                                                                            Clerk



                                                Witness the seal/watermark of the Superior Court




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                              \CI
                        ‘00         4f}.
                    /           '
                         I.
                                             STATE 0F RHODE ISLAND
                                                     SUPERIOR COURT
Plaintiff                                                                             Civil Action File    Number
Johnson      & Wales University                                                       PC—2021-05585
V.

American Guarantee             & Liability Insurance Company
Defendant



                                                      PROOF 0F SERVICE
     I   hereby certify that on the date below        I   served a copy of this   Summons, complaint, Language Assistance
Notice, and       all   other required documents received herewith             upon the Defendant, American Guarantee            &
Liability Insurance       Company, by delivering 0r leaving        said papers in the following manner:


     U With the Defendant personally.
     D    At the Defendant’s dwelling house or usual place of abode with a person of              suitable age     and discretion
          then residing therein.
          Name



                _ of person of suitable age and discretion
          Address of dwelling house or usual place of abode


          Age
           Relationship to the Defendant


     D With an agent authorized by appointment or by law to receive service of process.
          Name    of authorized agent
           If the agent is    one designated by   statute to receive service, further notice as required   by   statute   was given
           as noted below.




     U With a guardian or conservator 0f the Defendant.
          Name    0f person and designation

     D By delivering said papers to the attorney general or an assistant attorney general if serving the state.
     U Upon a public corporation, body, or authority by delivering said papers t0 any ofﬁcer, director, 0r
           manager.
           Name    of person and designation




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                  i.“ I‘    '
                                                   STATE OF RHODE ISLAND
                                                       SUPERIOR COURT
     Upon   a private corporation, domestic or foreign:
      U By delivering said papers to an ofﬁcer or a managing 0r general agent.
        Name 0f person and designation
      U By leaving said papers at the ofﬁce 0f the corporation with a person employed therein.
        Name of person and designation
      U By delivering said papers to an agent authorized by appointment or by law to receive service                               of process.
       Name 0f authorized agent
        If the agent is   one designated by         statute to receive service,          ﬁmher notice     as required   by   statute   was given
        as noted below.



     U Iwas unable to make service after the following reasonable attempts:


SERVICE DATE:                         /        /                                       SERVICE FEE   $
                    Month Day      Year
Signature   of SHERIFF or DEPUTY SHERIFF                    or       CONSTABLE

SIGNATURE OF PERSON OTHER THAN A SHERIFF                                          0r   DEPUTY SHERIFF        0r   CONSTABLE MUST BE
NOTARIZED.

Signature


State 0f

County of

     On this                day of                               ,
                                                                     20       ,
                                                                                  before me, the undersigned notary public, personally
appeared                                                                                            U     personally    known    to the notary

0r    U     proved     to       the       notary    through          satisfactory        evidence    of     identiﬁcation,        Which      was
                                                                          ,
                                                                              to   be the person    Who    signed above in       my     presence,
and Who swore 0r afﬁrmed              to the notary that the contents             of the document are truthful to the best 0f his or her
knowledge.
                                                                      Notary Public:
                                                                      My commission expires:
                                                                      Notary identiﬁcation number:
                                                                     Page 2 of 2




SC-CMS-l       (revised July 2020)
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                                                    STATE OF RHODE ISLAND
                                                       SUPERIOR COURT
                                                          SUMMONS
                                                                Civil Action File           Number
                                                                PC—2021-05585
         Plaintiff                                              Attorney for the Plaintiff or the Plaintiff
         Johnson   & Wales University                           Joseph D. Whelan
          V.                                                    Address 0f the Plaintiff’s Attorney or the                     Plaintiff
         American Guarantee     & Liability Insurance           100    WESTMINSTER STREET
         Company                                                SUITE 710
                                                                        L;   I




         Defendant

         Licht Judicial   Complex
         Providence/Bristol County
         250 Beneﬁt Street
         Providence RI 02903
         (401) 222—3250


         T0 THE DEFENDANi




                                                                                                                (K
                                                                                                                      demanded      in the



                                                                                                               he    relief   demanded     in
                                                                                                           or control of a motor
                                                                                                           ,



                                                                                                   _
                                                                                                       counterclaim any related
                                                                                                       r




                                                                                                   ed from making such claim in
        any other action.

        This   Summons was    generated on 8/30/2021.                            teph'en   Burke
                                                                   ,
                                                                       Clerk



                                           Witness the seal/watermark 0f the Superior Court




        SC—CMS—l     (revised July 2020}
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                                                        STATE OF RHODE ISLAND
                                                              SUPERIOR COURT
         Plaintiff                                                                        Civil Action File   Number
         Johnson         & Wales University                                               PC—2021-05585
          v.

         American Guarantee               & Liability Insurance Company
         Defendant



                                                                  PROOF OF SERVICE
                                                              L




               I   hereby certify that on the date below                               ummqns, complaint, Language Assistance




                                                                                                       E‘Iable     age and discretion




                    Name     of authorized
                    If the   agent   is   one de                                                      ired    by   statute   was given
                    as   noted below.



               D With a guardian 0r conservator 0f the Defenda
                   Name      of person and designation

               D By delivering said papers to the attorney general or an assistant attorney general if serving the state.
               U Upon a public corporation, body, or authority by delivering said papers to any ofﬁcer, director, or
                    manager.
                     Name     ofperson and designation



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                                                             STATE OF RHODE ISLAND
                                                                    SUPERIOR COURT
              Upon   a private corporation, domestic or foreign:
               U By delivering said papers t0 an ofﬁcer 0r a managing 0r general agent.
                   Name      of person and designation
               U By leaving said papers at the ofﬁce 0f the corporation with a person employed therein.
                Name ofperson and designation
              D By delivering said papers to an agent authorized by appointment or by law to receive service                                             ofprocess.
               Name 0f authorized agent
                                                                            ‘
                                                                                ‘   "   '




                   If the agent is    one designated by       statute t0H
                                                                    L
                                                                                                             further notice as required       by   statute   was given
                   as noted below.



              D   Iwas unable    to    make    se




         SERVICE DATE:




         Signature


        State 0f

        County 0f

              On   this                day 0f                                                                                :fsigned notary public, personally
        appaared                                                                                                           5U    personally   known    to the notary
        0r     D      proved      t0     the        notary    thr                                                  ence     of     identiﬁcation,      which      was
                                                                                                          they:
                                                                                            ',*-

                                                                                                   tube           person   who    signed above in      my    presence,
        and   who swore       or afﬁxmed to the notary that the contents 0f the document are truthful to the best of his 0r her
        knowledge.
                                                                                Notary Public:
                                                                                My commission expires:
                                                                                Notary identiﬁcation number:
                                                                            Page 2 of 2




        SC—CMS-l          (revised July 2020)
